     Case 19-05831-LA11     Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312     Pg. 1 of
                                                 364



      John L. Smaha, Esq., Bar No. 95855
 1    Gustavo E. Bravo, Esq., Bar. No. 218752
      SMAHA LAW GROUP
 2    2398 San Diego Avenue
      San Diego, California 92110
 3    Telephone:    (619) 688-1557
      Facsimile:    (619) 688-1558
 4
      Attorneys for Debtor, Dana Aaron Linett dba Early American Numismatics
 5

 6
 7
                            UNITED STATES BANKRUPTCY COURT
 8
                            SOUTHERN DISTRICT OF CALIFORNIA
 9

10                                                    LEAD CASE NO.: 19-05831-LAl 1
11      In re
                                                      Chapter 11
12      DANA AARON LINETT, dba EARLY
        AMERICAN NUMISMATICS                          FINAL FEE APPLICATION OF
13                                                    SMAHA LAW GROUP FOR
                                                      COMPENSATION OF
14                                                    ATTORNEYS FEES AND
                      Debtor-In-Possession            REIMBURSEMENT OF COSTS
15
                                                      Date:    February 10, 2022
16                                                    Time:    2:00 p.m.
                                                      Dept:    2; Room: 118
17                                                    Judge:   Hon. Louise DeCarl Adler

18
19
20

21

22

23

24
25

26
27
28
                                              1
                          FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11       Filed 01/11/22       Entered 01/11/22 09:20:43      Doc 312      Pg. 2 of
                                                    364



                              UNITED STATES BANKRUPTCY COURT
 1
                              SOUTHERN DISTRICT OF CALIFORNIA
 2

 3                                                       LEAD CASE NO.: 19-05831-LAll
 4      Inre
                                                         Chapter 11
 5      DANA AARON LINETT, dba EARLY
        AMERICAN NUMISMATICS                             SUMMARY SHEET FOR DANA
 6                                                       AARON LINETT

 7                      Debtor-In-Possession
 8

 9

10                                      CURRENT APPLICATION

11    Fees Requested:               $456,630.00              Fees Previously Requested:   $141,187.00

12    Expenses Requested:           $   2,137.81             Fees Previously Awarded:     $ 98,830.90

13    Fees Previously Awarded       $      0.00              Fees Previously Awarded      $ 31,174.14
      And Held Back:                                         But Not Yet Paid:
14
      Total Fees and Costs          $458,767.81              Fees Held Back:              $ 42,356.10
15    Requested:

16                                                           Total Fees (Previously
                                                             Awarded And Held Back) $141,187.00
17
                                                             Expenses Previously Requested:$1,867 .99
18
                                                             Expenses Previously Awarded: $1,867.99
19
      NAMES OF PROF.         YEARADM.               HOURS BILLED               RATE       TOTAL
20    Principal
      John Smaha             1980                   141.30                     $550       $ 77,715.00
21
      Associates
22    Gustavo Bravo          2002                   915.45                     $400       $366,180.00
      Kristen M. Fritz       2009                    27.00                     $450       $ 12,150.00
23    John Paul Teague       2007                     1.80                     $325       $    585.00
      TOTALS:                                      1085.55                                $456,630.00
24
                                                    TOTAL BLENDED HOURLY RATE:                $420.64
25

26

27

28
                                                     2
                           FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11        Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312      Pg. 3 of
                                                   364




 1            For a complete chronological itemization of all services rendered and all expenses

 2    incurred on behalf of the Debtor, Dana Aaron Linett dba Early American Numismatics (the

 3    "Debtor"), the applicant has attached to this application detailed billing statements for the period

 4    April 1, 2020 through December 31, 2021. (See Exhibit "A" for a summary of all services

 5    rendered and all expenses incurred April 1, 2020 through December 31, 2021; see Exhibit "B"

 6    for detailed billing statement of categorized fees accrued and Exhibit "C" for a detailed billing

 7    statement of all costs incurred between April 1, 2020 and December 31, 2021.

 8                                                    L

 9                                           INTRODUCTION

10            John L. Smaha, principal of the Smaha Law Group, APC ("Your Applicant"), as counsel

11    for Debtor in this Chapter 11 case respectfully requests this Court to award, as an administrative

12    expense for services rendered in connection with these bankruptcy proceedings, the sum of

13    $456,630 for attorneys' fees and the sum of $2,137.81 in costs, which represents fees accrued

14    and costs incurred during the time period from April 1, 2020 through December 31, 2021. There

15    was one previous interim fee application for fees and costs in this case by Your Applicant. The

16    court approved $98,830.90 for payment, holding back $42,356.10.            In addition, the Court

17    approved $1,867.99 in expenses. After discussions with secured creditor U.S. Bank, the Debtor

18    and U.S. Bank stipulated to allow payment of the allowed fees and costs in the amount of the

19    retainer that remaineq in Your Applicant's client trust account. The amount held by Your

20    Applicant was $69,524.75. This left $31,174.14 in unpaid, allowed fees. The amount held back

21    was $42,356.10. In all, Your Applicant still has $73,530.24 in fees owed from its first, interim

22    fee application. Your Applicant respectfully requests that the Court allow its current fees of

23     $456,630, plus its costs of$2,137.81 and that it further allow for the allowance and payment of

24    the $73,530.24 in fees previously requested (a portion of which were allowed for payment but

25    remain outstanding). In total, Your Applicant would receive a maximum of $532,298.05 from

26    the Debtor's liquidating plan assuming other creditors are paid first.

27    Ill

28    Ill
                                                3
                            FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11       Filed 01/11/22        Entered 01/11/22 09:20:43      Doc 312     Pg. 4 of
                                                     364




 1                                                      II.
 2                                      NARRATIVE SUMMARY

 3     A.     BACKGROUND

 4            On September 30, 2019, the Debtor filed for bankruptcy protection under Chapter 11.

 5     Debtor has agreed to pay Your Applicant for all legal services rendered on an hourly basis and

 6    to reimburse Your Applicant for all costs forwarded on his behalf. The source of the

 7     compensation to Your Applicant shall be from the Debtor's administered estate being liquidated

 8    by the liquidating trust by and through the approved plan of reorganization submitted by Your

 9    Applicant. As previously indicated the retainer received by Your Applicant was exhausted after

10    the first interim fee application was made.

11            During the pendency of these bankruptcy proceedings the following professionals

12    rendered services to the Debtor on behalf of Your Applicant:

13            John L. Smaha, Esq.:          At his normal billing rate of $550.

14            Kristen M. Fritz, Esq.        At her normal billing rate of $450.

15            Gustavo E. Bravo, Esq.        At his normal billing rate of $400.

16            John Paul Teague, Esq.        At his normal billing rate of $325.

17            The average hourly rate for the services performed in this case during the periods covered

18    by this final fee application has been $420.64.

19            This application is the undersigned's final fee application. Your Applicant is submitting

20    this application for allowance and payment of compensation and reimbursement of expenses

21    incurred over the course of the proceedings herein between April 1, 2020 and December 31,

22    2021, the Effective Date of the liquidating plan.

23    B.      CASE STATUS

24            Dana Aaron Linett is an individual currently 66 years old. For more than forty years,

25    Mr. Linett had been involved in the business of collecting numismatic materials and other

26    historical collectible items. Mr. Linett has spent a lifetime learning about the history and value

27    of historical memorabilia including numismatics, which is the study or collection of coins, paper

28    currency and medals.     Up to and through the bankruptcy, Mr. Linett operated two separate
                                                4
                            FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11          Filed 01/11/22   Entered 01/11/22 09:20:43         Doc 312     Pg. 5 of
                                                   364




 1    businesses. The first, Early American Numismatics is Mr. Linett's sole proprietorship that does

 2    business as Early American Numismatics ("EAN"). EAN has existed in one form or another
 3    since the 1980's. Using EAN, Mr. Linett built a personal and business collection of thousands

 4    of collectible items that he has curated for many years. With this inventory, Mr. Linett has

 5    operated EAN as a buyer and seller of these collectible items for a profit. The inventory that

 6 Mr. Linett built up in EAN has been transferred to the liquidating trust and is now controlled by
 7    the liquidating trustee.

 8            Concurrently, Mr. Linett owns Early American History Auctions, Inc. ("EAHA").

 9    EAHA is an auction company that runs online auctions from its own website,

10    WvVw.earlyamerican.com. EAHA runs various auctions throughout the year offering unique

11    historical items for sale. EAHA can and has run items owned by EAN, charging EAN a

12    commission from any sales generated by EAN's inventory offered on the website. In addition,

13    EAHA accepts consigned items from other sellers that are also put up for auction on the EAHA
14    website. EAHA earns additional commissions and service fees from those consignment items

15    that are sold though its auctions. The items and experience that Mr. Linett has acquired over a

16    lifetime of research, travel and networking with others within this industry, provides Mr. Linett

17    with a unique position in a limited and specialized marketplace. EAHA has been abandoned to

18    the Debtor and is his property outside of the liquidating trust.

19            Dana Linett and Barbara Linett were man·ied on September 22, 1991. During their

20    marriage, Mr. Linett continued to operate his business and continued to build his collection of

21    historical items. Mr. Linett did enter his marriage with the business already intact and operating.

22    He also entered into the marriage with a significant collection of personal items that Mr. Linett

23    had acquired prior to his marriage to Barbara Linett. During their marriage, Barbara Linett

24    became involved in Mr. Linett's business, taking control of the accounts and the bookkeeping
25    for the business a number of years after their marriage. Also, during their marriage, the Debtor

26    and Barbara Linett purchased a home in Rancho Santa Fe. The Debtor's home was built with

27    the Debtor's business in mind. A large home office was built into the residence, including

28    significant security features that help protect the Debtor's inventory along with consigned
                                                 5
                             FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11       Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312     Pg. 6 of
                                                  364




 1    materials from other clients of EAHA. This includes a secure vault, a high security alarm system

 2    and other features. The Debtor's home office is essentially viewed as being 65% of the value of

 3    the Residence with the IRS. The Debtor's home is now also a part of the liquidating trust.

 4           Unfortunately, Dana Linett and Barbara Linett were separated on or about September 18,

 5    2013. Shortly thereafter, Barbara Linett filed for divorce on September 30, 2013. The divorce

 6    proceedings were contentious and proceeded for over a year with both sides incurring significant

 7    legal fees. Ultimately, a Marriage Settlement Agreement ("MSA") was reached and signed on

 8    or about December 21, 2014. Although it may have been anticipated that the MSA was to resolve

 9    all disputes as between Dana Linett and Barbara Linett. That did not prove to be the case. The

10    disputes that arose between the parties in the divorce action resulted in further litigation and

11    further expenditure of time and fees.

12           Upon the filing of the bankruptcy, the Debtor, with Your Applicant's assistance, set about

13    meeting all requirements under the Bankruptcy Code and with the U.S. Trustee's Guidelines for

14    operating as a Debtor-In-Possession. The process was made difficult by the fact that the Debtor

15    has taken years to take over the bookkeeping from Barbara Linett. Further, the Debtor's mix of

16    personal and business costs in relation to the operation of the dba EAN and EAHA as separate

17    entities, along with the treatment of his home as a mix of business and personal use resulted in

18    further complications. Initially, the Debtor moved quickly to establish a claims bar date to

19    analyze the claims against him and to determine exactly what Barbara Linett claimed as her

20    secured and/or unsecured claims.

21           Once the claims bar date had passed in early January of 2020, the Debtor reached out to

22    Barbara Linett and other creditors in an effort to gauge the possibility of a consensual plan.

23    Efforts to do so were initially not successful and the Debtor shifted to an approach that would

24    increase litigation time and costs, but would seek to resolve important factors before proposing

25    a plan of reorganization that would seek to incorporate decisions that this and other courts may

26    make in relation to the claims of Barbara Linett. The Debtor proposed a plan of reorganization

27    that would pay creditors in full but included provisions that would allow the Debtor to surrender

28    portions of his inventory in kind to Barbara Linett. Barbara Linett also filed a proposed plan of
                                                     6
                           FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312     Pg. 7 of
                                                    364




 1    reorganization calling for a liquidation trust. The Debtor's proposed plan was rejected by the

 2    Court. Barbara Linett's plan was also rejected. The Debtor and Barbara Linett then coordinated

 3    in proposing a plan that could move forward with the ultimate determinations to be made by the

 4    state court in terms of Barbara Linett's claim. When the Debtor's appeal of an order entered by

 5    the California family court denying the Debtor's request to set aside the MSA was unsuccessful,

 6    the Debtor had no further basis upon which to challenge Barbara Linett' s claim and the Debtor

 7    then agreed to the filing of a joint plan that called for a heavily modified liquidating trust.

 8            The plan was confirmed on November 17, 2021. The joint liquidation plan became

 9    effective on December 1, 2021. After December 1, 2021, the Debtor and Your Applicant have

10    been coordinating with the liquidating trustee as the liquidating trustee has taken over possession

11    of the Debtor's non-exempted assets with the purpose of liquidating those assets. The Debtor

12    and Your Applicant have met and conferred with the liquidating trustee and have assisted in

13    analyzing the Debtor's assets, including litigation rights against various third parties.

14    C.      SUMMARY OF SERVICES PROVIDED FOR: Dana Aaron Linett (April 1, 2020
      through December 31, 2021)
15
      Type of                Attomey(s)
16    Service                Providing Service               Time            Legal Fees
      Asset Analysis &              JLS                      1.70            $935.00
17    Recovery                      GEB                      0.30            $120.00
                                    Total                    1.30            $670.00
18
      Asset Disposition              JLS                     0.80            $440.00
19                                   GEB                     1.00            $400.00
                                     Total                   1.80            $840.00
20
      Business Operations            JLS ($550)             13.30            $ 7,315.00
21                                   GEB ($400)             51.90            $20,760.00
                                     KMF($450)               0.70            $   315.00
22                                   Total:                 65.90            $28,390.00
23    Case Administration            JLS ($550)              1.60            $   880.00
                                     GEB ($400)             65.50            $26,200.00
24                                   JPT ($325)              0.20            $    65.00
                                     Total:                 67.30            $27,145.00
25
      Claims Administration and JLS ($550)                   0.40            $   220.00
26    Objections                GEB ($400)                   3.10            $ 1,240.00
                                     JPT ($325)              0.20            $    65.00
27                                   Total:                  3.70            $ 1,525.00
28    Fee and Employment             JLS ($550)              1.00            $    550.00
                                                       7
                            FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312     Pg. 8 of
                                                    364



      Applications                    GEB ($400)           39.80            $15,920.00
 1                                    Total:               40.80            $16,470.00
 2    Fee Objection                   JLS ($550)            0.70            $     385.00
                                      GEB ($400)            2.40            $     960.00
 3                                    Total:                3.10            $   1,345.00
 4    Litigation                      JLS ($550)           7.80            $ 4,290.00
                                      JLS ($550)           0.90            $    495.00*
 5                                    GEB ($400)         154.65            $ 61,860.00
                                      KMF ($450)          26.30            $ 11,835.00
 6                                    JPT ($325)           0.90            $    292.50
                                      Total:             189.65            $ 78,277.50
 7                                                                         $    495.00
 8    Plan and Disclosure             JLS ($550)         113.10            $ 62,205.00
      Statement                       GEB ($400)         596.20            $23 8.480.00
 9                                    JPT ($325)           0.50            $     162.50
                                      Total:             704.20            $300,847.50
10
      Relief From Stay                GEB ($400)            0.60           $     240.00
11                                    Total                 0.60           $     240.00
12    GRAND TOTAL:                                       1085.55           $456,630.00

13           Below please find a narrative summary of each project category, its necessity and benefit

14    to the Debtors' estates, and the status of the project, including all pending litigation, for which

15    compensation and reimbursement are requested. The following narrative covers tasks completed

16    from April 1, 2020 through December 31, 2021.

17    Asset Analysis and Recovery:

18           Your Applicant spent a very limited amount of time in reviewing potential claims held

19    by the Debtor, incorporating the same into adversarial status reports and in analyzing potential

20    remaining claims after appeal determination on Barbara Linett' s claims.

21    Asset Disposition:

22           Your Applicant spent a very limited amount of time relating to the status of the Debtor's

23    assets and dealing with questions related to disposition of those assets to and through a

24    liquidating trust, including considering potential changes to law that would have made changes

25    to the liquidating trust necessary.

26    Ill

27    Ill

28    Ill
                                                8
                            FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11        Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312     Pg. 9 of
                                                    364




 1    Business Operations of the Debtors:

 2           Your Applicant has spent a significant amount of time dealing with issues related to the

 3    Debtors' operations, assisting the Debtor with cash flow issues, cash collateral and other matters

 4    that related directly to the shutdown of businesses during the pandemic. Your Applicant assisted

 5    the Debtor in arranging for deferrals on secured claims, worked agreements with creditors on

 6    cash collateral issues and on ongoing payments and assisted Debtor in maintaining cash flow

 7    during an extremely difficult period of time. Thereafter, Your Applicant continued to work with

 8    the Debtor in maintaining assets, continuing operations and working towards the ultimate

 9 handover of the Debtor's business operations tl1rough EAN to the Trustee. Your Applicant also
10    worked with the Debtor in attempting to maintain clear records of his business operations,

11    maintaining a clear distinction between his operations in EAN and the separate entity of EAHA.

12    Your Applicant further dealt with numerous issues raised by the Debtor in terms of operating in

13    bankruptcy and in maintaining operations during the dual hardships of operating in bankruptcy

14    and during a worldwide pandemic.

15    Case Administration:

16            Your Applicant has spent a considerable amount of time providing case coordination,

17    reporting and compliance services to the Debtors. Your Applicant worked with the Debtor and

18    the Office of the United States Trustee to organize the Debtor's reporting methods for operating

19    reports and for sales of items on consignment to EAHA. Your Applicant attended various

20    hearings and status conferences in this case, filing status reports where appropriate and

21    maintaining compliance with all case administration requirements. Your Applicant worked

22    diligently with creditors and the Office of the United States Trustee on outstanding requests for

23    information. Your Applicant has worked with Debtors' bookkeeper in an effort to get the

24    Debtor's operating reports filed. There were issues with the Debtor's operating reports due to

25    an inability by the Debtor to get full access to his operating accounts that required operating with

26    cash cards and with a second general account opened with a separate bank. Debtor and Your

27    Applicant worked diligently to maintain operating reports current, answered questions by the

28    U.S. Trustee and creditors on said repots, revised reports where necessary and maintained
                                                9
                            FINAL FEE APPLICATION OF SMAHA LAW GROUP
 Case 19-05831-LA11           Filed 01/11/22     Entered 01/11/22 09:20:43       Doc 312      Pg. 10 of
                                                   364




 1   records on the status of various filings.

 2   Claims Administration and Objections:

 3           Throughout the case, Your Applicant organized, reviewed, and analyzed the claims of

 4   various creditors and reviewed and analyzed all proofs of claim filed in the Debtor's case. Your

 5   Applicant has continued to process claims, including payments, change of address, and problem-

 6   solving. Your Applicant has worked with the IRS on its priority claim and received the revisions

 7   thereto. Your Applicant has also worked with U.S. Bank on its various claims in an effort to

 8   determine the security for each and how each claim should be treated. Finally, Your Applicant

 9 worked on the objection to various claims and maintained those actions on a continuation basis
10   pending the confirmation of the joint plan of reorganization. Those objections to claim have

11   been delivered to the liquidating trustee to handle now that a liquidation process has been

12   established.

13   Fee and Employment Applications and Objections:

14           Your Applicant worked with the Debtor for Your Applicant's first interim fee

15   application. Your Applicant also resolved issues with payment on those fees in relation to

16   secured creditors cash collateral position. Your Applicant also worked on the employment of

17   the Debtor's CPA firm for its employment as an expert in plan confirmation proceedings.

18   Finally, Your Applicant handled the employment and payment of a retainer to special counsel

19   investigating potential malpractice claims against various former attorneys of the Debtor. Your

20   Applicant resolved limited objections to Your Applicant's first interim fee application and also

21   resolved objections to the employment of special litigation counsel and payment of a retainer to

22   same. The objections were resolved and special litigation counsel was retained, was paid a

23   retainer and has been in contact with the liquidating trustee re: its analysis of the claims and

24   potential future services.

25   Litigation:

26           Your Applicant has spent a significant amount of time dealing with litigation matters

27   with respect to the ongoing divorce action between the Debtor and Barbara Linett. Your

28   Applicant took on a full analysis and investigation into the appeal and determining its likelihood
                                               10
                           FINAL FEE APPLICATION OF SMAHA LAW GROUP
 Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312     Pg. 11 of
                                                  364




 1   of success. After discussions with Debtor, Your Applicant made the determination that it could

 2   not present an appeal brief on behalf of the Debtor. The Debtor chose to proceed in pro per.

 3   Significant discussions were held with the Debtor on the appeal and decisions made therein.

 4   Your Applicant further spent some time analyzing allegations made by Debtor in terms of his

 5   former counsel and worked with special litigation counsel after its retention in its analysis. In

 6 the meantime, Your Applicant spent additional time in responding to a counter-claim raised by

 7   Barbara Linett in the adversarial matter initially filed by the Debtor against Ms. Linett. Your

 8   Applicant reviewed materials from the Debtor regarding the MSA in relation to funds allegedly

 9   taken by Barbara Linett and with reference to the Ford Collection. Your Applicant analyzed and

10   researched issues related to the value of the Ford Collection and the Bankruptcy Code in relation

11   to surrender of security in order to satisfy secured claims. Your Applicant took part in a

12   conference of counsel with respect to the adversarial action and took part in initial discovery by

13   providing its initial disclosures to opposing counsel. In addition, Your Applicant reviewed initial

14   disclosures by both defendants and followed up with further discovery. There was significant

15   interaction between the parties on valuation issues, on hiring experts relating to valuation issues

16   in the litigation and other matters that were intended to determine claims and possibly resolve

17   disputes amongst the parties.     Eventually, as the parties worked towards a joint plan of

18   reorganization, the matter was put on hold. During those discussions, the Debtor and Your

19   Applicant took part in mediation and other efforts to reach a resolution of all claims. Although

20   a resolution on the claims was never reached, the joint plan provides for methods for the claims

21   objections and adversarial matters to proceed under the control of the liquidating trustee.

22   Eventually, Your Applicant reviewed the various filings in the appeal and monitored the same.

23   When the decision to deny the Debtor's appeal was issued by the appellate court, Your Applicant

24   reviewed the same and conferred .with Debtor as to remaining options and approaches to the

25   ongoing efforts to reorganize. There are entries in the meeting of creditors category that should

26   have been included in the litigation category. Those are provided as well.

27   Ill

28   Ill
                                               11
                           FINAL FEE APPLICATION OF SMAHA LAW GROUP
 Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312     Pg. 12 of
                                                   364




 1   Plan and Disclosure Statement:

 2           As provided above, Your Applicant prepared and submitted a plan of reorganization and

 3   a disclosure statement on the Debtor's behalf. The plan was objected to by Barbara Linett and

 4   the objections were considered by the Court in relation to the Barbara Linett claims. Eventually,

 5 the Court determined that the Debtor's Plan was not confirmable as it was presented. The Debtor
 6   and Your Applicant took the Court's ·determinations on the plan as proposed and considered

 7   options regarding alternative plan treatments. At the same time, Barbara Linett filed her own

 8   competing liquidating plan. Your Applicant opposed it as it had significant flaws including

 9   potentially unintended tax consequences that were detrimental to the Debtor and all other parties.

10   Eventually, Barbara Linett's plan was also rejected by the Court, albeit with leave to amend.

11   Rather than proceed with ongoing litigation and with additional plan disputes, the Debtor and

12   Your Applicant reached out to Barbara Linett through her counsel and worked diligently towards

13   a joint plan that would work. What followed was a significant effort to draft a trust agreement

14   for a liquidating trust, with significant negotiations on how to best proceed with a liquidating

15   trust. The Debtor and Your Applicant then prepared a joint plan of reorganization incorporating

16   the liquidating trust and a joint disclosure statement that included information and disclosures

17   proposed by both the Debtor and Barbara Linett. After several months of efforts to finalize a

18   plan, the Debtors and Barbara Linett were able to agree on a liquidating plan. The resolution of

19   the pending appeal in the Divorce Action resolved a number of pending items, however, Your

20   Applicant had proceeded with the plan with various outcomes considered. Eventually, the joint

21   plan of reorganization was approved and is now in effect. The Debtor and Your Applicant have

22   been working with the liquidating trustee to ensure a smooth transition.

23   Relief From Stay

24           Your Applicant spent a very limited amount of time in considering a request from U.S.

25   Bank regarding the need for a stipulation for relief from stay on a then pending state court matter.

26   In addition, Your Applicant spent a very limited amount of time considering a fee application

27   filed by Barbara Linett's counsel in state court and whether that request violated the automatic

28   stay. The matter was not resolved at the time of the plan and the liquidating trustee controls that
                                               12
                           FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43       Doc 312        Pg. 13 of
                                                     364




 1     potential claim.

 2     D. CERTIFICATION

 3             Your applicant hereby certifies that the Debtor has received and reviewed the application

 4     for compensation and reimbursement for expenses and that no objection is anticipated although

 5     the Debtor has reserved his right to object, if necessary. Your Applicant further represents that

 6     as the attorney of record in these proceedings, he has not shared nor agreed to share, other than

 7     with members of the firm of Smaha Law Group, APC, any of said compensation with any other

 8     person or entity.

 9                                                    III.
10                                             CONCLUSION

11            WHEREFORE, Your Applicant prays that upon hearing in this matter, the Court issue

12     an order:

13             1.      Approving attorneys' fees of Smaha Law Group from April 1, 2020 through

14     December 31, 2021, in the amount of $456,630 subject to the determination of actual fees;

15            2.       Authorizing payment of the same pursuant to the terms of the liquidating trust

16     and the confirmed plan of reorganization;
               ,.,
17            .) .    Approving reimbursement of costs advanced by Smaha Law Group from April 1,

18     2020 through December 31, 2021, in the amount of $2,137.81 subject to the determination of

19     actual costs;

20            4.       Authorizing payment of the same pursuant to the terms of the liquidating trust

21     and the confirmed plan of reorganization;

22             5.      Authorizing payment of previously approved and previously held back fees from

23    the first interim fee application in the amount of $73,530.24, $31,174.14 in unpaid, allowed fees

24     and $42,356.10 that were previously held back by the Court.
25            5.       For such other and further relief as the Court may deem just and proper.

26    Ill

27    Ill

28    Ill
                                                 13
                             FINAL FEE APPLICATION OF SMAHA LAW GROUP
     Case 19-05831-LA11     Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312    Pg. 14 of
                                               364




 1 Dated: January 7, 2022                      /s/ Gustavo E. Bravo
                                              John L. Smaha, Esq.
 2                                            Gustavo E. Bravo, Esq.
3                                             Attorneys for Debtor and Debtor-in-Possession,
                                              Dana Aaron Linett
 4
 5
 6
 7

 8
 9
10
11

12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                              14
                          FINAL FEE APPLICATION OF SMAHA LAW GROUP
Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg. 15 of
                                        364




        EXHIBIT A
          Case 19-05831-LA11              Filed 01/11/22        Entered 01/11/22 09:20:43            Doc 312    Pg. 16 of
CSD 1143 [04/28/96]
                                                                  364
                                                 UNITED STATES BANKRUPTCY COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
DEBTOR:         Dana Aaron Linett                                                   DATE PETITION FILED:=9/~3~0-/1=9~-----
CASE NO.:       19-05831-LAl l



                                                     FEE APPLICATION SUMMARY


APPLICANT: John     L Smaha. Smaha Law Group. Ap(                     REPRESENTING:Dana Aaron Ljnett

ORDER APPROVING EMPLOYMENT·l0/18/19
                                                                               SECOND        INTERIM PERIOD
                        CATAGORIES1                                      4/l/2Q                    lU~UZl
                                                                      HOURS                        AMOUNT REQUESTED

Asset Analysis & REcovery                                           2.00           $    1,055.00
Asset Disposition                                                  1.80            $      840.00
Business Operations                                               65.90            $ 28,390.00
Case Administration                                               67.30            $ 27,145.00
Claims Administration & Objections                                 3.70            $    1,525.00
Fee Employment Application                                        40.80            $ 16,470.00
Fee Employment Objections                                          3.10            $    1,345.00
Financing                                                          0.00            $        0.00
Litigation                                                       189.65            $ 78,277.50
Meeting of Creditors                                               0.90            $      495.00
Plan & Disclosure Statement                                      709.80            $300,847.50
Relief From Stay                                                   0.60            $      240.00




TOTALS:                                                         1085.55            $456,630.00


NOTE:     Attach all fee application summaries for prior interim hearings.


1
 See categories suggested in UNITED.STATES TRUSTEE GUIDELINES FOR REVIEWING APPLICATIONS FOR COMPENSATION AND
REIMBURSEMENT OF EXPENSES.
CSD 1143                                                         EXHIBIT "A"
 Case 19-05831-LA11          Filed 01/11/22          Entered 01/11/22 09:20:43              Doc 312       Pg. 17 of
                                                       364
                                               Dana Linett
                                            Attorney's Fees
                                      as of 4/1/2020 to 12/31/2021
                        JLS $550
PROJECT CATEGORY        PRINCIPAL                   GEB $400          JPT $325       KMF $450        TOTALS:
Asset Analysis &
Recovery                                 1.70              0.30                                                 2.00
Asset Disposition                        0.80              1.00                                                 1.80
Business Operations                     13.30             51.90                               0.70             65.90
Case Administration                      1.60             65.50              0.20                              67.30
Claims Admin &
Objections                               0.40              3.10              0.20                            3.70
Fee Employment Applic                    1.00             39.80                                             40.80
Fee Employment
Objections                               0.70              2.40                                              3.10
Financing                                                                                                    0.00
Litigation                               7.80            154.65              0.90            26.30         189.65
Meeting of Creditors                     0.90                                                                0.90
Plan & Disclosure
Statement                              113.10            596.20              0.50                          709.80
Relief from Stay                                           0.60                                              0.60
TOT AL HOURS BILLED:                   141.30            915.45              1.80            27.00        1085.55


                        JCS-$--S-50
PROJECT CATEGORY        PRINCIPAL               GEB $400          JPT $325           KMF $450        TOTALS:
Asset Analysis &
Recovery                 $          935.00      $       120.00    $              -   $          - $ 1,055.00
Asset Disposition        $          440.00      $       400.00    $              -   $          - $    840.00
Business Operations      $        7,315.00      $    20,760.00    $              -   $     315.00 $ 28,390.00
Case Administration      $          880.00      $    26,200.00    $       65.00      $        ·- $ 27,145.00
Claims Admin &
Objections               $            220.00    $     1,240.00    $       65.00      $          -    $ 1,525~00
Fee Employment Applic    $            550.00    $    15,920.00    $              -   $          -    $ 16,470.00
Fee Employment
Objections               $            385.00    $       960.00    $           -      $          -  $ 1,345.00
Financing                $                -     $           -    $            -      $          -  $         -
Litigation               $        4,290.00      $    61,860.00 I $       292.50      $   11,835.00 $ 78,277.50
Meeting of Creditors    I$          495.00      $           - $               -      $          - $     495.00
Plan & Disclosure
Statement                $       62,205.00      $ 238,480.00      $      162.50      $          -    $300,847.50
Relief from Stay         $                -     $     240.00      $           -      $          -  $     240.00
TOTAL FEES BILLED        $       77,715.00      $ 366,180.00      $      585.00      $   12,150.00 $ 456,630.00
HOURLY RATE/FEE          $          550.00      $      400.00     $      325.00      $      450.00
TOTAL FEES              $        77,715.00      $ 366, 180.00     $      585.00      $   12,150.00 $ 456,630.00
TOT AL FEES BILLED                                                                                 $ 456,630.00
TOT AL COSTS BILLED                                                                                $ 2,137.81
TOTAL FEES & COSTS:                                                                                $ 458,767.81


Total Blended Hourly
Rate                                                                                                 $    422.61




                                                                                                          1/6/2022
Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg. 18 of
                                        364




        EXHIBIT B
   Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43            Doc 312    Pg. 19 of
                                                    364

                               ASSET ANALYSIS RECOVERY



         JLS                 GEB                  JPT                 KMF
MONTH    HR                  HR                   HR                   HR                          TOTAL
INCURRED $550     JLS Fee    $400    GEBFee       $325      JPT Fee   $450    KMFFee    TOTAL FEES HOURS
Apr-20     0.00   $      -    0.00   $        -     0.001   $     -    0.00   $    -     $         -         0.00
May-20     0.00   $      -    0.00   $        -     0.00    $     -    0.00   $    -     $         -         0.00
Jun-20     0.00   $      -    0.00   $        -     0.00    $     -    0.00   $    -     $         -         0.00
Jul-20     0.00   $      -    0.30   $   120.00     0.00    $     -    0.00   $    -     $    120.00         0.30
Sep-21     0.20   $ 110.00    0.00   $        -     0.00    $     -    0.00   $    -     $    110.00         0.20
Oct-21     0.80   $ 440.00    0.00   $        -     0.00    $     -    0.00   $    -     $    440.00         0.80
Nov-21     0.00   $      -    0.00   $        -     0.00    $     -    0.00   $    -     $         -         0.00
Dec-21     0.70   $ 385.00    0.00   $        -     0.00    $     -    0.00   $    -     $     385.00        0.70
TOTALS:    1.70   $ 935.00    0.30   $   120.00     0.00    $     -    0.00   $    -     $   1,055.00        2.00




                                                                                                        Li nett
            Case 19-05831-LA11         Filed 01/11/22 Entered 01/11/22 09:20:43     Doc 312         Pg. 20 of
                                                        364
                                        Smaha Law Group
                                        2398 San Diego Avenue
                                        San Diego, CA 92110
                                        Federal Tax LD. XX-XXXXXXX
                                        (619) 688-1557
Invoice submitted to:

Mr. Dana Linett                                                             August10,2020


POBOX3507
Rancho Santa Fe, CA 92067
                                                                             Chapter 11


     In Reference To:          ASSET ANALYSIS & RECOVERY


             Professional Services

                                                                                    Hrs/Rate                Amount

07 /08/20     GEB Draft status report in adversarial matter.                            0.30
                                                                                      400.00/hr              120.00

             For professional services rendered                                         0.30               $120.00


             Balance due                                                                                   $120.00


Please make checks payable to: Smaha Law Group


Thank you for your business.


                                                    Attorney Summary
Name                                                                        Hours         Rate ------'A~m'-'-=-o=un"'""t
Gustavo Bravo                                                                0.30     400.00               $120.00
         Case 19-05831-LA11          Filed 01/11/22 Entered 01/11/22 09:20:43                 Doc 312       Pg. 21 of
                                                      364
                                      Smaha Law Group
                                      2398 San Diego Avenue
                                      San Diego, CA 92110
                                      Federal Tax I.D. XX-XXXXXXX
                                      (619) 688-1557
Invoice submitted to:

Mr. Dana Linett                                                                         October 06, 2021


PO BOX3507
Rancho Santa Fe, CA 92067
                                                                                        Chapter 11


     In Reference To:         ASSET ANALYSIS & RECOVERY


           Professional Services

                                                                                                Hrs/Rate        Amount

09/03/21     JLS   Telephone conference with Mr. Linett regarding facts relating to claims.        0.10
                                                                                                 550.00/hr        55.00

09/20/21     JLS   Provide Mr. Linett regarding law related to unconscionably.                     0.10
                                                                                                 550.00/hr        55.00

           For professional services rendered                                                       0.20        $110.00

           Previous balance                                                                                     $120.00


           Balance due                                                                                         $230.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                                   Hours         Rate       Amount
JOHN L. SMAHA                                                                            0.20     550.00       $110.00
            Case 19-05831-LA11         Filed 01/11/22 Entered 01/11/22 09:20:43                 Doc 312       Pg. 22 of
                                                        364
                                       Smaha Law Group
                                       2398 San Diego Avenue
                                       San Diego, CA 92110
                                       Federal Tax I.D. XX-XXXXXXX
                                       (619) 688-1557
Invoice submitted to:

Mr. Dana Linett                                                                        November 08, 2021

POBOX3507
Rancho Santa Fe, CA 92067
                                                                                        Chapter 11


     In Reference To:          ASSET ANALYSIS & RECOVERY


            Professional Services

                                                                                                Hrs/Rate         Amount

 10/13/21    JLS    Review of question from Mr. Linett, review of documents relative to same.       0.80
                                                                                                  550.00/hr       440.00

            For professional services rendered                                                      0.80         $440.00

            Previous balance                                                                                     $230.00


            Balance due                                                                                          $670.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                                  Hours         Rate         Amount
JOHN L. SMAHA                                                                           0.80      550.00         $440.00
       Case 19-05831-LA11             Filed 01/11/22       Entered 01/11/22 09:20:43               Doc 312      Pg. 23 of
                                                             364
                                        Smaha Law Group
                                        2398 San Diego Avenue
                                        San Diego, CA 92110
                                        Federal Tax I.D. XX-XXXXXXX
                                         (619) 688-1557
Invoice submitted to:

Mr. Dana Linett                                                                             January 6, 2022

PO BOX 3507
Rancho Santa Fe, CA 92067
                                                                                            Chapter 11


     In Reference To:          ASSET ANALYSIS & RECOVERY


            Professional Services

                                                                                                   Hrs/Rate        Amount

 12/14/21    Il.,S   Emails regarding adversary proceedings with Mr. Hebrank, Suzanne Yale.           0.10
                                                                                                    550.00/hr        55.00

             Il.,S   Conference call Mr. Barry regarding Hebrank transfers and litigation             0.60
                     matters and implementations.                                                   550.00/hr      330.00

            For professional services rendered                                                        0.70        $385.00

            Previous balance                                                                                      $670.00


            Balance due                                                                                          $1,055.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                                    Hours          Rate       Amount
JOHN L. SMAHA                                                                               0.70     550.00       $385.00
   Case 19-05831-LA11               Filed 01/11/22        Entered 01/11/22 09:20:43       Doc 312     Pg. 24 of
                                                            364


                                                ASSET DISPOSITION



         JLS                        GEB                    JPT               KMF
MONTH    HR                          HR                   HR                  HR                         TOTAL
INCURRED $550     JLS Fee           $400    GEBFee        $325      JPTFee   $450    KMFFee   TOTAL FEES HOURS
Aug-20     0.30   $ 165.00           0.00   $        -      0.00    $    -    0.00   $    - $     165.00         0.30
Sep-20     0.00   $     -            0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Oct-20     0.00   $     -            0.20   $     80.00     0.00    $    -    0.00   $    - $       80.00        0.20
Nov-20     0.00   $     -            0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Dec-20     0.00   $     -            0.00   $        -      0.001   $    -    0.00   $    - $          -         0.00
Jan-21     0.00   $     -            0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Feb-21     0.00   $     -            0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Mar-21     0.20   $ 110.00           0.00   $        -      0.00    $    -    0.00   $    - $     110.00         0.20
Apr-21     0.00   $     -       I    0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
May-21     0.00   $     -            0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Jun-21     0.00   $     -            0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Jul-21     0.00   $     -            0.10   $     40.00     0.00    $    -    0.00   $    - $       40.00        0.10
Aug-21     0.00   $         -        0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Sep-21     0.00   $         -        0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
Oct-21     0.30   $ 165.. 00         0.70   $    280.00     0.00    $    -    0.00   $    - $     445.00         1.00
Nov-21     0.00   $         -        0.00   $        -      0.00    $    -    0.00   $    - $          -         0.00
TOTALS:    0.801 $ 440.00            1.00   $    400.00     0.00    $    -    0.00   $    - I$    840.00         1.80




                                                                                                            Linett
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43   Doc 312         Pg. 25 of
                                                                                                           Page       2
                                                           364

     In Reference To:          ASSET DISOSITION


            Professional Services

                                                                                        Hrs/Rate            Amount

08/03/20     JLS    Review of plan changes.                                                0.30
                                                                                         550.00/hr            165.00

            For professional services rendered                                              0.30            $165.00


            Balance due                                                                                     $165.00


Please make checks payable to: Smaha Law Group


Thank you for your business.


                                                  Attorney Summary
Name                                                                           Hours        Rate ----'A-"m""'-=-ou=n""'t
JOHN L. SMAHA                                                                    0.30     550.00            $165.00
         Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43     Doc 312       Pg.Page
                                                                                                       26 of 2
                                                          364
     In Reference To:         ASSET DISOSITION


           Professional Services

                                                                                        Hrs/Rate            Amount

10/07/20    GEB Telephone conference with Mr. Smaha regarding meeting and mediation        0.20
                brief.                                                                   400.00/hr             80.00

           For professional services rendered                                               0.20             $80.00

           Previous balance                                                                                $165.00


           Balance due                                                                                     $245.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summru)'
Name                                                                           Hours        Rate ----'A-"m'-'-=o=un"""t
Gustavo Bravo                                                                    0.20     400.00             $80.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312        Pg.Page
                                                                                                               27 of 2
                                                             364
     In Reference To:          ASSET DISPOSITION


            Professional Services

                                                                                                Hrs/Rate       Amount

03/02/21     JLS    Response Mr. Linett regarding right ofrefusal questions on trust.              0.20
                                                                                                 550.00/hr      110.00

            For professional services rendered                                                      0.20      $110.00

            Previous balance                                                                                  $245.00


            Balance due                                                                                       $355.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                    Hours       Rate      Amount
JOHN L. SMAHA                                                                            0.20     550.00      $110.00
         Case 19-05831-LA11           Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg.Page
                                                                                                 28 of 2
                                                         364
     In Reference To:          ASSET DISPOSITION

                                                                                                 Amount

           Previous balance                                                                     $355.00


           Balance due                                                                          $355.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
             Case 19-05831-LA11         Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312       Pg.Page
                                                                                                         29 of 2
                                                           364
     In Reference To:           ASSET DISPOSITION


             Professional Services

                                                                                       Hrs/Rate         Amount

07 /07 /21    GEB Review email from Mr. Smaha.                                             0.10
                                                                                         400.00/hr        40.00

             For professional services rendered                                            0.10          $40.00

             Previous balance                                                                           $355.00


             Balance due                                                                                $395.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                           Hours       Rate -~A~m~o=un~t
Gustavo Bravo                                                                   0.10     400.00          $40.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43             Doc 312        Pg.Page
                                                                                                                   30 of 2
                                                            364
     In Reference To:          ASSET DISPOSITION


            Professional Services

                                                                                                Hrs/Rate              Amount

10/08/21     JLS    Confer with Mr. Bravo regarding ways and means bill and effect on               0.10
                    grantor trusts.                                                               550.00/hr               55.00

10/12/21     GEB Receive letter from U.S. Bank and follow up on same.                               0.20
                                                                                                  400.00/hr               80.00

             GEB Telephone call to U.S. Bank regarding agreement.                                   0.30
                                                                                                  400.00/hr             120.00

10/13/21     JLS    Confer with Mr. Bravo regarding plan questions.                                 0.20
                                                                                                  550.00/hr             110.00

 10/27/21    GEB Follow up telephone conference with Mr. Linett and Mr. Hebrank                     0.20
                 regarding review.                                                                400.00/hr               80.00

            For professional services rendered                                                      1.00              $445.00

            Previous balance                                                                                          $395.00


            Balance due                                                                                               $840.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                    Hours       Rate _ __.A-"m"'"'""""ou=n"'""t
JOHN L. SMAHA                                                                            0.30     550.00             $165.00
Gustavo Bravo                                                                            0.70     400.00             $280.00
   Case 19-05831-LA11       Filed 01/11/22        Entered 01/11/22 09:20:43        Doc 312    Pg. 31 of
                                                    364

                                  BUSINESS OPERATIONS


         JLS                GEB                   JPT                KMF
MONTH    HR                 HR                    HR                  HR                          TOTAL
INCURRED $550    JLS Fee    $400     GEBFee       $325     JPTFee    $450     KMFFee   TOTAL FEES HOURS
Apr-20    1.80 $ 990.00     21.90    $ 8,760.00     0.00   $ ·   -     0.00 $      -   $  9,750.00        23.70
May-20    0.80 $ 440.00       6.00   $ 2,400.00     0.00   $     -     0.00 $      -   $  2,840.00         6.80
Jun-20    0.20 $ 110.00       1.30   $   520.00     0.00   $     -     0.00 $      -   $    630.00         1.50
Jul-20    1.80 $ 990.00       5.50   $ 2,200.00     0.00   $     ~
                                                                       0.00 $      -   $  3,190.00         7.30
Aug-20    0.00 $        -     0.30   $   120.00     0.00   $     -     0.00 $      -   $    120.00         0.30
Sep-20    0.60 $ 330.00       0.30   $   120.00     0.00   $     -     0.00 $      -   $    450.00         0.90
Oct-20    2.301 $1,265.00     1.60   $   640.00     0.00   $     -     0.00 $      -   $  1,905.00         3.90
Nov-20    0.30 $ 165.oo I 3.10       $ 1,240.00     0.00   $     -     0.00 $      -   $  1,405.00         3.40
Dec-20    0.00 $        -     0.80   $   320.00     0.00   $     -     0.00 $      -   $    320.00         0.80
Jan-21    0.00 $        -    0.40    $   160.00     0.00   $     -     0.00 $      -   $    160.00         0.40
Feb-21  I 0.40 $ 220.00       1.60   $   640.00     0.00   $     -     0.00 $      -   $    860.00         2.00
Mar-21    0.40 $ 220.00      2.10    $   840.00     0.00   $     -     0.00 $      -   $  1,060.00         2.50
Apr-21    0.20 $ 110.00       1.20   $   480.00     0.00   $     -     0.00 $      -   $    590.00         1.40
May-21    1.00  $  550.00 I   0.10   $    40.00     0.00   $     -     0.70 $ 315.00   $    905.00         1.80
Jun-21    2.50 $1,375.00     0.30    $   120.00     0.00   $     -     0.00 $      -   $  1,495.00         2.80
Jul-21    0.70 $ 385.00       0.30   $   120.00     0.00   $     -     0.00 $      -   $    505.00         1.00
Aug-21    0.00 $       -      1.70   $   680.00     0.00   $     -     0.00 $      -   $    680.00         1.70
Sep-21    0.00 $        -    0.80    $   320.00     0.00   $     -     0.00 $      -   $    320.00         0.80
Oct-21    0.00 $        -    2.00    $   800.00     0.00   $     -    O.OO! $     ·-   $    800.00         2.00
Nov-21    0.30 $ 165.00      0.60    $   240.00     0.00   $     -    0.00 $      -    $    405.00         0.90
TOTALS: 13.30      7315.00 51.90     $20,760.00     0.00   $     -    0.70\ $ 315.00   $ 28,390.00        65.90




                                                                                                     Li nett
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312       Pg. Page
                                                                                                           32 of 2
                                                            364
    In Reference To:           BUSINESS OPERATIONS


            Professional Services

                                                                                          Hrs/Rate         Amount

04/01/20    GEB Review updates to Small Business Association loan documents.                 0.20
                                                                                           400.00/hr         80.00

             GEB Work on email to Mr. Linett regarding follow up items.                      0.70
                                                                                           400.00/hr        280.00

             GEB Continue research on issues related to support payments.                    0.50
                                                                                           400.00/hr       200.00

04/02/20     GEB Emails with Mr. Linett regarding documents, status and other items.         0.20
                                                                                           400.00/hr         80.00

             GEB Lengthy telephone call with Mr. Linett regarding status.                    0.30
                                                                                           400.00/hr        120.00

             JLS    Review of analysis on operations.                                        0.10
                                                                                           550.00/hr         55.00

             JLS    Telephone conference with Mr. Bravo regarding issues on payments         0.20
                    during pandemic.                                                       550.00/hr        110.00

04/03/20     GEB Emails with Mr. Linett regarding ongoing issues.                            0.40
                                                                                           400.00/hr        160.00

04/06/20     GEB Email from Mr. Gorrill regarding use of cash collateral and status of       0.10
                 support.                                                                  400.00/hr        40.00

             GEB Telephone conference with Mr. Smaha regarding status of case.               0.20
                                                                                           400.00/hr        80.00

             GEB Emails from Mr. Linett regarding issues on coverage.                        0.20
                                                                                           400.00/hr        80.00

             GEB Begin drafting response to Mr. Linett regarding CARES Act items.            1.50
                                                                                           400.00/hr       600.00

             JLS    Review of response regarding plan alternatives, compare chapters.        0.10
                                                                                           550.00/hr        55.00

04/07/20     GEB Email to Ms. Smith and Mr. Linett regarding documents.                      0.10
                                                                                           400.00/hr        40.00

             GEB Email from Ms. Smith regarding status of budget.                            0.10
                                                                                           400.00/hr        40.00

             GEB Emails with Mr. Linett regarding status of budget and other matters.        0.20
                                                                                           400.00/hr        80.00

             GEB Emails with Mr. Linett regarding status of support payments.                0.20
                                                                                           400.00/hr        80.00
            Case 19-05831-LA11        Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312       Pg. Page
                                                                                                            33 of    3
                                                            364

                                                                                           Hrs/Rate         Amount

04/07 /20    GEB Review budget and prepare notes regarding same.                              0.30
                                                                                            400.00/hr        120.00

             GEB Finalize review of emails and send to Mr. Linett for further response.       0.30
                                                                                            400.00/hr        120.00

04/08/20      JLS   Memorandum from Mr. Bravo regarding budget.                               0.10
                                                                                            550.00/hr         55.00

              JLS   Telephone conference with Mr. Bravo regarding issues on extensions.       0.10
                                                                                            550.00/hr         55.00

             GEB Review revised budget and make changes for presentation.                     0.40
                                                                                            400.00/hr        160.00

             GEB Emails with Mr. Duffy regarding status of phone call and other items.        0.20
                                                                                            400.00/hr         80.00

             GEB Emails with Mr. Linett and Ms. Smith regarding revisions to budget.          0.30
                                                                                            400.00/hr       120.00

             GEB Email to Mr. Smaha regarding status of defening payments and budget.         0.30
                                                                                            400.00/hr       120.00

             GEB Emails regarding ongoing budget changes.                                     0.20
                                                                                            400.00/hr        80.00

             GEB Confer with Mr. Smaha regarding status.                                      0.20
                                                                                            400.00/hr        80.00

             GEB Receive and review emails regarding budget.                                  0.20
                                                                                            400.00/hr        80.00

             GEB Emails regarding status of budget and defenals with Mr. Duffy.               0.20
                                                                                            400.00/hr        80.00

             GEB Emails with Mr. Duffy regarding budget and contact infonnation for           0.20
                 HELOC attorney.                                                            400.00/hr        80.00

             GEB Emails with Mr. Linett regarding loan abatement and budget.                  0.20
                                                                                            400.00/hr        80.00

04/09/20      JLS   Review of proposed budget.                                                0.20
                                                                                            550.00/hr       110.00

              JLS   Telephone conference with Mr. Bravo regarding budgets.                    0.20
                                                                                            550.00/hr       110.00

             GEB Review budget, revise same and prepare lengthy email to Mr. Linett and       0.70
                 Mr. Smaha regarding budget status and deferrals.                           400.00/hr       280.00

             GEB Emails with Mr. Duffy regarding status of various loans and deferrals.       0.20
                                                                                            400.00/hr        80.00
       Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312       Pg. Page
                                                                                                         34 of 4
                                                         364

                                                                                        Hrs/Rate         Amount

04/09/20   GEB Email to Mr. Linett and Mr. Smaha regarding comments requested.             0.10
                                                                                         400.00/hr         40.00

           GEB Follow up on status of budget with Mr. Smaha and Mr. Linett.                0.20
                                                                                         400.00/hr         80.00

           GEB Email from Mr. Linett regarding status of budget and other items.           0.20
                                                                                         400.00/hr         80.00

           GEB Telephone conference with Mr. Linett regarding status of ongoing            0.30
               discussions with counsel and others.                                      400.00/hr        120.00

           GEB Confer with Mr. Smaha regarding billings.                                   0.20
                                                                                         400.00/hr         80.00

           GEB Emails from Mr. Linett regarding additional questions.                      0.20
                                                                                         400.00/hr         80.00

           GEB Emails to Mr. G01Till and Mr. Duffy regarding budget and other items.       0.70
                                                                                         400.00/hr       280.00

           GEB Emails with Mr. Duffy regarding budget.                                     0.10
                                                                                         400.00/hr        40.00

           GEB Confer with Mr. Duffy regarding HELOC defemi.l.                             0.10
                                                                                         400.00/hr        40.00

04/10/20   GEB Telephone conference with Mr. Duffy regarding status of loans.              0.20
                                                                                         400.00/hr        80.00

           GEB Telephone conference with Mr. Duffy regarding EAHA payroll.                 0.20
                                                                                         400.00/hr        80.00

04/13/20   GEB Email from Mr. Linett regarding status of documents.                        0.10
                                                                                         400.00/hr        40.00

           GEB Email from Mr. Duffy regarding meeting.                                     0.10
                                                                                         400.00/hr        40.00

           GEB Email from Mr. Linett to Us Bank regarding applications.                    0.10
                                                                                         400.00/hr        40.00

           GEB Email to Mr. Duffy regarding status.                                        0.20
                                                                                         400.00/hr        80.00

           GEB Email to Mr. Gorrill regarding status of funds and complaint.               0.20
                                                                                         400.00/hr        80.00

           GEB Follow up emails with Mr. Duffy and Mr. Gorrill.                            0.20
                                                                                         400.00/hr        80.00

           GEB Emails with Mr. Gorrill regarding phone call.                               0.10
                                                                                         400.00/hr        40.00
        Case 19-05831-LA11           Filed 01/11/22      Entered 01/11/22 09:20:43             Doc 312       Pg. Page
                                                                                                                 35 of   5
                                                           364

                                                                                                Hrs/Rate         Amount

04/14/20    GEB Emails with Mr. Gorrill and Mr. Duffy regarding conference call.                   0.10
                                                                                                 400.00/hr         40.00

            GEB Lengthy telephone conference with Mr. Duffy and Mr. Gorrill regarding              0.70
                status.                                                                          400.00/hr        280.00

            GEB Emails regarding status of budgets with Mr. Duffy and Mr. Gorrill.                 0.20
                                                                                                 400.00/hr         80.00

04/15/20    GEB Review notes from phone call and follow up on status.                              0.10
                                                                                                 400.00/hr         40.00

            GEB Review materials for details needed on ongoing litigation and other                0.20
                matters.                                                                         400.00/hr         80.00

            GEB Work on email to Mr. Linett regarding details from phone call with                 0.50
                creditors.                                                                       400.00/hr        200.00

            GEB Finalize email to Mr. Linett regarding documents and items with creditors.         0.60
                                                                                                 400.00/hr        240.00

            GEB Email from Mr. Linett regarding status of documents.                               0.20
                                                                                                 400.00/hr         80.00

            GEB Follow up emails with Mr. Linett regarding assistance from Small                   0.30
                Business Association.                                                            400.00/hr        120.00

            GEB Emails with Mr. Li.nett regarding auctions and effo1is to generate funds.          0.30
                                                                                                 400.00/hr        120.00

            GEB Emails with Mr. Linett and Ms. Fritz regarding status.                             0.10
                                                                                                 400.00/hr         40.00

04/16/20    GEB Receive and review correspondence from US Bank regarding falling                   0.10
                behind on HELOC.                                                                 400.00/hr         40.00

            GEB Review notes and prepare items for response on documents.                          0.40
                                                                                                 400.00/hr        160.00

            GEB Work on email to Mr. Duffy regarding status.                                       0.10
                                                                                                 400.00/hr        40.00

04/17 /20   GEB Email to Mr. Duffy regarding status of sales and other items.                      0.40
                                                                                                 400.00/hr        160.00

            GEB Email to Mr. G01Till regarding status of sales and other items on deferrals.       0.20
                                                                                                 400.00/hr         80.00

            GEB Emails with Mr. Linett and forward message to Ms. Fritz.                           0.20
                                                                                                 400.00/hr         80.00

04/20/20    GEB Emails with Mr. Duffy regarding status of cash collateral and deferrals.           0.10
                                                                                                 400.00/hr        40.00
        Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312       Pg. Page
                                                                                                              36 of
                                                                                                                      6
                                                          364

                                                                                             Hrs/Rate         Amount

04/20/20    GEB Emails with Mr. Duffy and Mr. Gorrill regarding status of documents.            0.20
                                                                                              400.00/hr         80.00

            GEB Continue discussions with counsel for US Bank and Mrs. Linett regarding         0.20
                cash collateral.                                                              400.00/hr         80.00

04/21/20    GEB Follow up emails regarding status of discovery.                                 0.20
                                                                                              400.00/hr         80.00

04/22/20    JLS   Review of counterclaim information.                                           0.10
                                                                                              550.00/hr         55.00

04/23/20    GEB Emails with Mr. Linett regarding operations and ongoing issues with             0.30
                status.                                                                       400.00/hr        120.00

            GEB Emails with Mr. Duffy and Mr. Gorrill regarding cash collateral.                0.10
                                                                                              400.00/hr         40.00

            GEB Telephone conference with Mr. Duffy and Mr. Gorrill regarding ongoing           0.30
                efforts.                                                                      400.00/hr        120.00

            GEB Email to Mr. Linett regarding status.                                           0.30
                                                                                              400.00/hr        120.00

04/24/20    JLS   Review of memorandwn regarding payment issues.                                0.10
                                                                                              550.00/hr         55.00

            JLS   Confer with Mr. Bravo regarding cash collateral, auction items and case       0.10
                  progress issues.                                                            550.00/hr         55.00

            GEB Email from Mr. Linett regarding status of auction and other matters.            0.20
                                                                                              400.00/hr         80.00

            GEB Confer with Mr. Smaha regarding status.                                         0.10
                                                                                              400.00/hr         40.00

04/27 /20   JLS   Confer with Mr. Bravo regarding issues on plan.                                0.50
                                                                                              -550.00/hr      275.00

            GEB Email from Mr. Linett regarding sales and status.                               0.20
                                                                                              400.00/hr         80.00

            GEB Emails with Mr. Linett regarding meeting and various other matters,             0.20
                including assistance programs.                                                400.00/hr         80.00

04/29/20    GEB Email to Mr. Linett regarding payments.                                         0.30
                                                                                              400.00/hr        120.00

            GEB Telephone call from Mr. Linett regarding status.                                0.10
                                                                                              400.00/hr        40.00

            GEB Lengthy telephone conference with Mr. Linett regarding status of                0.70
                payments and operations.                                                      400.00/hr       280.00
           Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43       Doc 312        Pg.Page
                                                                                                           37 of 7
                                                          364

                                                                                            Hrs/Rate        Amount

04/29/20    GEB Follow up with Mr. Linett and Mr. Smaha regarding issues on cash.              0.20
                                                                                             400.00/hr        80.00

            GEB Emails with Mr. Duffy regarding status.                                        0.20
                                                                                             400.00/hr        80.00

            GEB Emails with Mr. Gorrill regarding status.                                      0.20
                                                                                             400.00/hr        80.00

04/30/20    GEB Emails with Mr. Duffy regarding ongoing questions on operations.               0.20
                                                                                             400.00/hr        80.00

            GEB Email to Mr. Linett regarding ongoing payments.                                0.30
                                                                                             400.00/hr       120.00

            GEB Emails with Mr. Go1Till regarding payments.                                    0.10
                                                                                             400.00/hr        40.00

            GEB Emails with Mr. Gon-ill and Mr. Linett regarding payments.                     0.20
                                                                                             400.00/hr        80.00

            For professional services rendered                                                23.70       $9,750.00

            Previous balance                                                                             $26,020.50


            Balance due                                                                                  $35,770.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                Hours       Rate -~A~m~o=un~t
JOHN L. SMAHA                                                                        1.80     550.00       $990.00
Gustavo Bravo                                                                       21.90     400.00     $8,760.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312       Pg. 38 of
                                                                                                              Page     2
                                                             364

    In Reference To:           BUSINESS OPERATIONS


            Professional Services

                                                                                              Hrs/Rate         Amount

05/01/20     JLS    Conference call Mr. Linett regarding stipulation on valuation.               0.20
                                                                                               550.00/hr        110.00

             GEB Lengthy telephone conference with Mr. Smaha regarding status.                   0.40
                                                                                               400.00/hr        160.00

             GEB Emails with Mr. Gorrill regarding status.                                       0.20
                                                                                               400.00/hr         80.00

             GEB Lengthy telephone conference with Mr. Duffy regarding concerns on               0.50
                 valuation and other matters.                                                  400.00/hr       200.00

             GEB Follow up telephone calls with Mr. Smaha and Mr. Linett regarding               0.20
                 ongoing issues.                                                               400.00/hr         80.00

             GEB Email to Mr. Smaha regarding discussions and status.                            0.40
                                                                                               400.00/hr        160.00

05/04/20     JLS    Emails Mr. Linett regarding operations and projections.                      0.10
                                                                                               550.00/hr         55.00

             JLS    Confer with Mr. Bravo regarding valu.ation needs.                            0.20
                                                                                               550.00/hr        110.00

             GEB Telephone conference with Mr. Smaha regarding status of various                 0.10
                 pending matters, including cash collateral and emails with counsel for US     400.00/hr        40.00
                 Banlc.

             GEB Email from Mr. Linett regarding programs.                                       0.10
                                                                                               400.00/hr        40.00

             GEB Emails from Ms. Fritz and Mr. Smaha regarding appeals status.                   0.20
                                                                                               400.00/hr        80.00

             GEB Emails with Mr. Gorrill regarding status.                                       0.20
                                                                                               400.00/hr        80.00

05/05/20     JLS    Review of valuation memorandum.                                              0.20
                                                                                               550.00/hr       110.00

             GEB Email with Mr. Linett regarding status of various issues.                       0.10
                                                                                               400.00/hr        40.00

             GEB Emails regarding payments and status of other matters with Mr. Linett.          0.10
                                                                                               400.00/hr        40.00

             GEB Emails with Mr. Gorrill regarding payments.                                     0.20
                                                                                               400.00/hr        80.00
       Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312       Pg. 39 of
                                                                                                        Page     3
                                                         364

                                                                                        Hrs/Rate         Amount

05/06/20   GEB Emails with Mr. Gorrill and Mr. Linett regarding payments.                  0.20
                                                                                         400.00/hr         80.00

           GEB Email from Mr. Linett regarding status of payment.                          0.10
                                                                                         400.00/hr         40.00

05/07/20   GEB Email to Mr. Gorrill regarding status of payments.                          0.10
                                                                                         400.00/hr         40.00

           GEB Email from Mr. Gorrill regarding proposal on payment.                       0.10
                                                                                         400.00/hr         40.00

           GEB Email from Mr. Gorrill and from Mr. Linett regarding payments, follow       0.20
               up.                                                                       400.00/hr         80.00

           GEB Final email to Mr. Linett regarding decision and other matters.             0.30
                                                                                         400.00/hr        120.00

           GEB Emails with Mr. Linett and Mr. Gorrill regarding payment and other          0.30
               matters.                                                                  400.00/hr        120.00

05/08/20   GEB Emails with Mr. Linett and Mr. Gorrill regarding delivery of payment.       0.10
                                                                                         400.00/hr         40.00

           GEB Confer with Mr. Linett regarding status.                                    0.10
                                                                                         400.00/hr         40.00

05/14/20   GEB Email from US Bank regarding HELOC forbearance and follow up                0.20
               regarding same.                                                           400.00/hr         80.00

05/15/20   GEB Email to Mr. Linett regarding status ofHELOC forbearance.                   0.10
                                                                                         400.00/hr         40.00

05/18/20   GEB Emails with Mr. Linett regarding status.                                    0.20
                                                                                         400.00/hr         80.00

05/20/20   GEB Emails with Ms. Smith regarding auction sales and status of report.         0.30
                                                                                         400.00/hr        120.00

           GEB Email to Mr. Duffy and Mr. Gorrill regarding sales and status.              0.30
                                                                                         400.00/hr        120.00

05/21/20   JLS   Review and revise status conference update.                               0.10
                                                                                         550.00/hr        55.00

05/22/20   GEB Email from Mr. Linett regarding status of various items, including          0.10
               additional forbearance and payments.                                      400.00/hr        40.00

           GEB Emails with Mr. Linett regarding remaining items.                           0.20
                                                                                         400.00/hr        80.00

05/26/20   GEB Email from Mr. Linett regarding status of various items, including          0.10
               additional forbearance and payments.                                      400.00/hr        40.00
         Case 19-05831-LA11             Filed 01/11/22   Entered 01/11/22 09:20:43        Doc 312       Pg. Page
                                                                                                            40 of 4
                                                           364

                                                                                             Hrs/Rate         Amount

 05/26/20    GEB Emails with Mr. Linett regarding remaining items.                              0.20
                                                                                              400.00/hr         80.00

 05/27/20    GEB Telephone call to bank regarding forbearance.                                  0.10
                                                                                              400.00/hr         40.00

            For professional services rendered                                                   6.80       $2,840.00

            Previous balance                                                                              $35,770.50

            Accounts receivable transactions

6/5/2020 Payment on account from funds held in trust according to 5/29/20 court approved application      ($26,020.50)
         for compensation. Thank You!

            Total payments and adjustments                                                                ($26,020.50)


            Balance due                                                                                   $12,590.00


Please make checks payable to: Smaha Law Group


Thank you for your business·.


                                                  Attorney Summary
Name                                                                                Hours        Rate -~A~m~ou=n=t
JOHN L. SMAHA                                                                         0.80     550.00        $440.00
Gustavo Bravo                                                                         6.00     400.00      $2,400.00
           Case 19-05831-LA11          Filed 01/11/22 Entered 01/11/22 09:20:43           Doc 312        Pg. 41 of
                                                        364
                                        Smaha Law Group
                                        2398 San Diego Avenue
                                        San Diego, CA 92110
                                        Federal Tax I.D. XX-XXXXXXX
                                        (619) 688-1557
Invoice submitted to:

Mr. Dana Linett                                                                      July 6, 2020

PO BOX 3507
Rancho Santa Fe, CA 92067
                                                                                     Chapter 11


     In Reference To:          BUSINESS OPERATIONS


            Professional Services

                                                                                           Hrs/Rate         Amount

06/02/20     GEB Emails with Mr. Linett regarding tax status on various claims.                0.20
                                                                                             400.00/hr        80.00

06/03/20    GEB Emails with Mr. Gorrill regarding payment on support.                          0.20
                                                                                             400.00/hr        80.00

            GEB Review materials on dment budget and forward looking budget, confer            0.30
                with Mr. Linett and reach out to bookkeeper.                                 400.00/hr       120.00

06/04/20     GEB Emails with Mr. Gorrill regarding resolution.                                 0.10
                                                                                             400.00/hr        40.00

06/08/20    GEB Receive US Bank letter regarding status.                                       0.10
                                                                                             400.00/hr        40.00

06/11/20    GEB Telephone conference with Union Bank representative regarding payment          0.20
                and status.                                                                  400.00/hr        80.00

06/24/20    GEB Email from Mr. Linett regarding Banco Popular bill and follow up.              0.10
                                                                                             400.00/hr        40.00

06/25/20     JLS    Review and revise status report.                                           0.10
                                                                                             550.00/hr        55.00

             JLS    Review of information request on projections.                              0.10
                                                                                             550.00/hr        55.00

06/29/20    GEB Email to Mr. Linett regarding status of auction and other details.             0.10
                                                                                             400.00/hr        40.00

           For professional services rendered                                                  1.50         $630.00

           Previous balance                                                                              $12,590.00


           Balance due                                                                                   $13,220.00
         Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43   Doc 312     Pg. 42 of
                                                                                                     Page      2
                                                          364

Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours     Rate -~A""'m"-'-"-'ou=n=t
JOHN L. SMAHA                                                                   0.20   550.00         $110.00
Gustavo Bravo                                                                   1.30   400.00         $520.00
            Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312       Pg. 43 of
                                                              364                                               Page      2


    In Reference To:           BUSINESS OPERATIONS


            Professional Services

                                                                                                Hrs/Rate         Amount

07/01/20     JLS    Email Mr. Linett regarding interest payment calculations, reply regarding       0.10
                    same.                                                                         550.00/hr        55.00

             JLS    Confer with Mr. Bravo regarding status of items for court hearing.             0.10
                                                                                                 550.00/hr         55.00

             GEB Email to Mr. Linett regarding requested updates.                                  0.20
                                                                                                 400.00/hr         80.00

             GEB Emails with Mr. Gorrill regarding status of payments and other matters.           0.20
                                                                                                 400.00/hr         80.00

07/02/20     JLS    Review of operational sales report.                                            0.10
                                                                                                 550.00/hr         55.00

             JLS    Email Mr. Linett regarding budget and projections.                             0.20
                                                                                                 550.00/hr        110.00

             GEB Emails with Mr. Linett, Mr. Smaha and Mr. Gorrill regarding status of             0.50
                 documents.                                                                      400.00/hr        200.00

07 /03/20    GEB Emails with Mr. Linett regarding various pending matters.                         0.20
                                                                                                 400.00/hr         80.00

             GEB Email to Mr. Gorrill regarding status.                                            0.20
                                                                                                 400.00/hr         80.00

07/08/20     JLS    Telephone conference with Linett regarding issues on PPP application.          0.30
                                                                                                 550.00/hr        165.00

             JLS    Review of case on PPP loan injunction for consideration.                       0.20
                                                                                                 550.00/hr        110.00

             JLS    Confer with Mr. Bravo regarding issues on PPP loan and AG.                     0.10
                                                                                                 550.00/hr         55.00

             GEB Confer with Mr. Smaha regarding issues on PPP loans.                              0.30
                                                                                                 400.00/hr        120.00

             GEB Locate and review PPP injunction.                                                 0.30
                                                                                                 400.00/hr        120.00

             GEB Email to Mr. Smaha regarding status of order on PPP and pending status.           0.10
                                                                                                 400.00/hr        40.00

             GEB Emails with Mr. Smaha regarding follow up on PPP loan.                            0.10
                                                                                                 400.00/hr        40.00

07/10/20     GEB Emails with Mr. G01Till regarding status of payments.                             0.20
                                                                                                 400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312        Pg. 44 of
                                                           364                                              Page     3


                                                                                           Hrs/Rate          Amount

07/10/20     GEB Telephone conference with Mr. Linett regarding payments.                     0.20
                                                                                            400.00/hr          80.00

             GEB Follow up email to Mr. Gorrill.                                              0.10
                                                                                            400.00/lu-         40.00

             GEB Receive documents regarding payment and other items.                         0.10
                                                                                            400.00/hr          40.00

             GEB Email from Mr. Gorrill regarding payment.                                    0.10
                                                                                            400.00/hr         40.00

07/14/20     GEB Emails with Mr. Linett, telephone call with Ms. Smith and email to Mr.       0.20
                 Evans regarding tax returns.                                               400.00/hr          80.00

             GEB Telephone call and emails with Ms. Cano regarding BIN.                       0.10
                                                                                            400.00/hr         40.00

07/15/20     GEB Telephone conference with US Bank regarding forbearance.                     0.10
                                                                                            400.00/hr         40.00

07 /17 /20   JLS   Review of emails regarding forbearance.                                    0.10
                                                                                            550.00/hr         55.00

             GEB Emails from Banco Popular and to Mr. Linett regarding forbearance an         0.20
                 email to Mr. Linett regarding same and other items.                        400.00/hr         80.00

07/21/20     GEB Email from Mr. Edwards regarding loan.                                       0.20
                                                                                            400.00/hr         80.00

             GEB Emails from Mr. Linett regarding plan items, loan items and discovery        0.20
                 items.                                                                     400.00/lu-        80.00

07 /22/20    GEB Emails with Mr. Linett regarding status.                                     0.10
                                                                                            400.00/hr         40.00

             GEB Review materials from Mr. Linett regarding request for forbearance.          0.20
                                                                                            400.00/hr         80.00

             GEB Email to Mr. Linett regarding status of requests.                            0.10
                                                                                            400.00/lu-        40.00

             GEB Begin drafting email to Mr. Edwards regarding forbearance request.           0.10
                                                                                            400.00/hr         40.00

             GEB Emails with Mr. Linett regarding forbearance.                                0.20
                                                                                            400.00/hr         80.00

07/23/20     GEB Emails with Mr. Dorgan regarding loan for PPP.                               0.40
                                                                                            400.00/hr        160.00

             GEB Emails and telephone call with Mr. Dorgan regarding status.                  0.20
                                                                                            400.00/hr         80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312       Pg. 45 of
                                                            364                                              Page      4


                                                                                             Hrs/Rate         Amount

07/23/20    GEB Follow up telephone call with Mr. Dorgan.                                        0.10
                                                                                               400.00/hr        40.00

            GEB Emails with Mr. Linett regarding loan.                                           0.10
                                                                                               400.00/hr        40.00

            GEB Emails regarding pending extensions with Banco Popular.                          0.20
                                                                                               400.00/hr        80.00

07/27/20    JLS   Review of memorandum email from Mr. Linett regarding alternative.              0.10
                                                                                               550.00/hr        55.00

            JLS   Reply to Mr. Linett regarding plan alternatives.                               0.30
                                                                                               550.00/hr       165.00

            JLS   Review of plan memorandum from Mr. Bravo.                                      0.10
                                                                                               550.00/hr        55.00

07/29/20    JLS   Follow ups Mr. Linett on potential plan.                                      0:10
                                                                                              550.00/hr         55.00

           For professional services rendered                                                    7.30       $3,190.00

           Previous balance                                                                                $13,220.00


           Balance due                                                                                     $16,410.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                              Hours          Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                         1.80     550.00         $990.00
Gustavo Bravo                                                                         5.50     400.00       $2,200.00
           Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43               Doc 312       Pg. 46 of
                                                                                                                 Page      3
                                                          364

     In Reference To:          BUSINESS OPERATIONS


           Professional Services

                                                                                                Hrs/Rate          Amount

08/14/20    GEB Receive and review notice of forbearance, telephone call to Mr. Linett              0.20
                regarding same.                                                                   400.00/hr          80.00

08/17/20    GEB Telephone call from US Bank regarding agreement.                                    0.10
                                                                                                  400.00/hr          40.00

           For professional services rendered                                                       0.30          $120.00

           Previous balance                                                                                    $16,410.00


           Balance due                                                                                         $16,530.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                Hours           Rate -~A""'m"""""'o=u=nt
Gustavo Bravo                                                                            0.30     400.00         $120.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312      Pg. 47 of
                                                                                                        Page      3
                                                             364

     In Reference To:          BUSINESS OPERATIONS


            Professional Services

                                                                                         Hrs/Rate        Amount

 09/01/20    JLS    Review ofbriefresponse on appeal.                                       0.60
                                                                                          550.00/hr       330.00

 09/24/20    GEB Email from Mr. Linett regarding status.                                    0.20
                                                                                          400.00/hr        80.00

 09/30/20    GEB Email to Mr. Linett regarding US Bank offer.                               0.10
                                                                                          400.00/hr        40.00

            For professional services rendered                                               0.90        $450.00

            Previous balance                                                                          $16,530.00


            Balance due                                                                               $16,980.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                             Hours       Rate        Amount
JOHN L. SMAHA                                                                     0.60     550.00        $330.00
Gustavo Bravo                                                                     0.30     400.00        $120.00
       Case 19-05831-LA11             Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312       Pg. 48 of
                                                                                                               Page     3
                                                            364

    In Reference To:          BUSINESS OPERATIONS


           Professional Services

                                                                                               Hrs/Rate         Amount

10/02/20    JLS    Review of memorandums from Mr. Linett regarding questions and tax              0.20
                   clawback issues.                                                             550.00/hr        110.00

            JLS    Confer with Mr. Bravo regarding items needed for response, tax analysis,       0.20
                   mediation preparation items.                                                 550.00/hr        110.00

10/05/20   GEB Emails with Ms. Smith regarding retainers and status.                              0.20
                                                                                                400.00/hr         80.00

           GEB Emails with Ms. Smith regarding operating report issues.                           0.10
                                                                                                400.00/hr         40.00

            GEB Emails with Ms. Smith regarding tax returns question.                             0.10
                                                                                                400.00/hr         40.00

10/06/20   GEB Emails with Mr. Gorrill regarding support payments.                                0.20
                                                                                                400.00/hr         80.00

10/07/20   GEB Emails from counsel and to Mr. Linett regarding forbearance agreement.             0.20
                                                                                                400.00/hr         80.00

           GEB Email from Mr. Linett regarding retirement item.                                   0.10
                                                                                                400.00/hr         40.00

           GEB Emails with Mr. Gorrill and Mr. Linett regarding amount to be paid.                0.20
                                                                                                400.00/hr         80.00

10/09/20    JLS    Telephone conference with Mr. Bravo regarding exemption issues,                0.30
                   valuations.                                                                  550.00/hr        165.00

10/12/20    JLS    Email Mr. Linett regarding response information request.                       0.10
                                                                                                550.00/hr         55.00

10/13/20    JLS    Review and revise mediation brief.                                             0.90
                                                                                                550.00/hr       495.00

10/16/20   GEB Emails with Ms. Chiang regarding tax returns and status of negotiations.           0.20
                                                                                                400.00/hr         80.00

10/19/20    JLS    Review of client letter regarding mediation.                                   0.20
                                                                                                550.00/hr       110.00

            JLS    Telephone conference with Mr. Bravo regarding mediation issues.                0.20
                                                                                                550.00/hr       110.00

10/20/20    JLS    Telephone conference with Mr. Bravo regarding mediation preparations.          0.20
                                                                                                550.001hr       110.00

10/23/20   GEB Emails with Mr. Linett and telephone call regarding status.                        0.20
                                                                                                400.00/hr        80.00
         Case 19-05831-LA11            Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312       Pg. 49 of
                                                                                                       Page     4
                                                          364

                                                                                       Hrs/Rate         Amount

 10/3 0/20   GEB Emails regarding request for forbearance.                                0.10
                                                                                        400.00/hr         40.00

             For professional services rendered                                            3.90      $1,905.00

             Previous balance                                                                       $16,980.00


             Balance due                                                                            $18,885.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                           Hours       Rate -~A~m"'-=-ou=n""t
JOHN L. SMAHA                                                                   2.30     550.00      $1,265.00
Gustavo Bravo                                                                   1.60     400.00        $640.00
            Case 19-05831-LA11          Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                               50 of   3
                                                               364
     In Reference To:           BUSINESS OPERATIONS


             Professional Services

                                                                                              Hrs/Rate         Amount

 11/02/20    GEB Email from Mr. Linett regarding CPA status.                                     0.10
                                                                                               400.00/hr        40.00

 11/04/20     GEB Telephone conference with Ms. Chiang regarding status.                         0.10
                                                                                               400.00/hr        40.00

 11/05/20     JLS    Email from Mr. Linett regarding social security.                            0.10
                                                                                               550.00/hr        55.00

              JLS    Review of case law related to social security.                              0.20
                                                                                               550.00/hr       110.00

              GEB Email from Mr. Linett regarding status of social security and discussion       0.20
                  on indubitable equivalent.                                                   400.00/hr        80.00

              GEB Research on social security benefit and status of sem.                         1.50
                                                                                               400.00/hr       600.00

              GEB Review research and prepare email responses to Mr. Smaha and Mr.               0.50
                  Linett regarding social security interests.                                  400.00/hr       200.00

              GEB Confer with Mr. Smaha regarding findings.                                      0.20
                                                                                               400.00/hr        80.00

              GEB Review operating report in other Chapter 11 case with social security          0.10
                  payments and confirm treatment.                                              400.00/hr        40.00

 11/09/20     GEB Receive and review email from Mr. Linett regarding operations and sales.       0.10
                                                                                               400.00/hr        40.00

 11/18/20     GEB Email from Mr. Linett regarding extension on forbearances.                     0.10
                                                                                               400.00/hr        40.00

 11/30/20     GEB Emails from counsel for bank on EES debt and forward to Mr. Linett             0.20
                  regarding same.                                                              400.00/hr        80.00

             For professional services rendered                                                  3.40       $1,405.00

             Previous balance                                                                              $18,885.00


             Balance due                                                                                   $20,290.00


Please make checks payable to: Smaha Law Group


Thank you for your busines.s.
       Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312      Pg.Page
                                                                                          51 of 4
                                               364




                                     Attorney Summary
Name                                                               Hours      Rate        Amount
JOHN L. SMAHA                                                       0.30   . 550.00       $165.00
Gustavo Bravo                                                       3.10     400.00     $1,240.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312       Pg. 52 of
                                                                                                                Page      3
                                                              364
     In Reference To:           BUSINESS OPERATIONS


             Professional Services

                                                                                               Hrs/Rate          Amount

 12/01/20     GEB Email from Mr. Linett regarding status of payments.                             0.10
                                                                                                400.00/hr           40.00

 12/02/20     GEB Email from creditor regarding status of payments and other items.               0.10
                                                                                                400.00/hr           40.00

 12/14/20     GEB Telephone call from US Bank regarding status.                                   0.10
                                                                                                400.00/hr           40.00

              GEB Receive letter from US Bank regarding forbearance.                              0.10
                                                                                                400.00/hr           40.00

 12/18/20     GEB Email with Mr. Linett regarding status.                                         0.10
                                                                                                400.00/hr           40.00

              GEB Confer with Mr. Smaha regarding status.                                         0.10
                                                                                                400.00/hr           40.00

 12/21/20    GEB Receive letter from US Bank and email to Mr. Linett regarding same.              0.10
                                                                                                400.00/hr           40.00

 12/22/20     GEB Receive and review email regarding extension on forbearance.                    0.10
                                                                                                400.00/hr           40.00

             For professional services rendered                                                   0.80           $320.00

             Previous balance                                                                                $20,290.00


             Balance due                                                                                     $20,610.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                  Hours        Rate -~A--"m-'-'=-ou=n=t
Gustavo Bravo                                                                          0.80      400.00         $320.00
            Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43              Doc 312         Pg.Page
                                                                                                                     53 of 3
                                                            364
     In Reference To:           BUSINESS OPERATIONS


             Professional Services

                                                                                                 Hrs/Rate               Amount

 01/20/21     GEB Email from Ms. Chiang regarding analysis.                                          0.10
                                                                                                   400.00/hr               40.00

 01/22/21     GEB Email from Mr. Li.nett regarding social security issues and payments,              0.30
                  review materials and emails with Mr. Smaha regarding same.                       400.00/hr             120.00

             For professional services rendered                                                        0.40            $160.00

             Previous balance                                                                                      $20,610.00


             Balance due                                                                                           $20,770.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                  Hou rs _ __,R~a=t=e _ ___.A~m"-'=ou=n..:..:et
Gustavo Bravo                                                                             0.40      400.00             $160.00
            Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312       Pg. 54 of
                                                                                                              Page     3
                                                              364

     In Reference To:           BUSINESS OPERATIONS


             Professional Services

                                                                                             Hrs/Rate         Amount

02/10/21     GEB Telephone conferences with Mr. Duffy and with Mr. Linett regarding              0.20
                 overdraft.                                                                    400.00/hr        80.00

             GEB Review emails regarding allegations of fraud and other items.                   0.20
                                                                                               400.00/hr        80.00

             GEB Email to Mr. Duffy regarding over draft.                                        0.10
                                                                                               400.00/hr        40.00

             GEB Email follow ups regarding overdraft.                                           0.10
                                                                                               400.00/hr        40.00

02/11/21      JLS    Review of operating repo1is, review of status notes for hearing             0.40
                     preparation.                                                              550.00/hr       220.00

             GEB Various discussions with Mr. Smaha and Mr. Linett regarding pending             0.30
                 sales and other items.                                                        400.00/hr       120.00

02/17 /21    GEB Emails with Mr. Linett regarding operating questions and status of social       0.20
                 security payments.                                                            400.00/hr        80.00

              GEB Email from Mr. Linett regarding payment.                                       0.10
                                                                                               400.00/hr        40.00

02/19/21      GEB Email from Mr. Linett regarding status.                                        0.10
                                                                                               400.00/hr        40.00

              GEB Receive breakdown and check from Mr. Linett, email to Mr. Gonill               0.20
                  regarding outstanding balance claimed.                                       400.00/hr        80.00

              GEB Emails with Mr. Gonill regarding ongoing issues.                               0.10
                                                                                               400.00/hr        40.00

             For professional services rendered                                                  2.00         $860.00

             Previous balance                                                                              $20,770.00


             Balance due                                                                                   $21,630.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
       Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312    Pg. 55 of
                                                                                       Page     4
                                               364


                                     Attorney Summary
Name                                                               Hours     Rate      Amount
JOHN L. SMAHA                                                       0.40   550.00      $220.00
Gustavo Bravo                                                       1.60   400.00      $640.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312       Pg. 56 of
                                                                                                            Page      3
                                                             364
    In Reference To:            BUSINESS OPERATIONS


             Professional Services

                                                                                            Hrs/Rate         Amount

03/01/21      GEB Emails from Mr. Gorrill regarding status.                                    0.10
                                                                                             400.00/hr         40.00

              GEB Further emails with Mr. Gorrill.                                             0.10
                                                                                             400.00/hr         40.00

03/02/21      GEB Email from Mr. Linett regarding auction results and ongoing analysis.        0.20
                                                                                             400.00/hr         80.00

              GEB Emails with Mr. Gorrill regarding support payments.                          0.10
                                                                                             400.00/hr         40.00

03/03/21      GEB Review pending matters, confer with Mr. Smaha and follow up on status.       0.20
                                                                                             400.00/hr         80.00

03/15/21      GEB Email from Mr. Covery regarding agreement.                                   0.10
                                                                                             400.00/hr         40.00

03/17 /21     JLS    Email Mr. Linett regarding auction.                                       0.10
                                                                                             550.00/hr        55.00

              GEB Email from Mr. Linett regarding operations.                                  0.10
                                                                                             400.00/hr        40.00

              GEB Email from lender on relief, with response.                                  0.20
                                                                                             400.00/hr        80.00

              GEB Emails from Mr. Linett regarding operations and sales.                       0.20
                                                                                             400.00/hr        80.00

              GEB Telephone conference with Mr. Linett regarding operations and possible       0.30
                  solutions on upcoming trust.                                               400.00/hr       120.00

03/22/21      GEB Email from Mr. Linett regarding spending and status of next auction.         0.10
                                                                                             400.00/hr        40.00

03/23/21      JLS    Email Mr. Linett regarding appeal and operations.                         0.10
                                                                                             550.00/hr        55.00

              GEB Email from Mr. Linett regarding position on sales.                           0.10
                                                                                             400.00/hr        40.00

             GEB Telephone conference with comt regarding status.                              0.10
                                                                                             400.00/hr        40.00

             GEB Telephone conference with U.S. Bank regarding forbearance.                    0.10
                                                                                             400.00/hr        40.00

             GEB Email to Owen counsel regarding remediation's.                                0.10
                                                                                             400.00/hr        40.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43            Doc 312       Pg.Page
                                                                                                                 57 of 4
                                                            364

                                                                                               Hrs/Rate          Amount

 03/25/21     JLS   Review and revise status report, confer with Mr. Bravo regarding same.         0.20
                                                                                                 550.00/hr        110.00

             For professional services rendered                                                    2.50        $1,060.00

             Previous balance                                                                                 $21,630.00


             Balance due                                                                                      $22,690.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                   Hours       Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                           0.40     550.00      $220.00
Gustavo Bravo                                                                           2.10     400.00      $840.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312       Pg. 58 of
                                                                                                           Page      3
                                                            364

     In Reference To:          BUSINESS OPERATIONS


           Professional Services

                                                                                           Hrs/Rate         Amount

04/01/21    GEB Telephone conference with Ms. Smith regarding structure of services and        0.30
                payments.                                                                    400.00/hr       120.00

04/05/21    GEB Telephone call from Ms. Smith, review emails and prepare lengthy email         0.50
                to attempt resolution.                                                       400.00/hr       200.00

            GEB Email from Ms. Smith and provide response.                                     0.10
                                                                                             400.00/hr        40.00

            GEB Follow up emails and telephone conferences with Ms. Smith regarding           0.20
                accounting concerns.                                                        400.00/hr         80.00

04/19/21    JLS    Emails Mr. Linett regarding possible new cause of action.                   0.10
                                                                                             550.00/hr        55.00

            JLS    Reply to Mr. Linett regarding possible new cause of action.                 0.10
                                                                                             550.00/hr        55.00

            GEB Email from Mr. Linett regarding auction date.                                 0.10
                                                                                            400.00/hr         40.00

           For professional services rendered                                                  1.40         $590.00

           Previous balance                                                                              $22,690.00


           Balance due                                                                                   $23,280.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                              Hours        Rate         Amount
JOHN L. SMAHA                                                                       0.20     550.00         $110.00
Gustavo Bravo                                                                       1.20     400.00         $480.00
            Case 19-05831-LA11            Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                                   59 of    3
                                                                 364
     In Reference To:            BUSINESS OPERATIONS


             Professional Services

                                                                                                 Hrs/Rate         Amount

05/05/21         JLS   Preliminary review of appeal in conjunction with Mr. Linett.                  0.20
                                                                                                   550.00/hr       110.00

             KMF Review notice from Court of Appeal, discuss same with Mr. Smaha and                 0.10
                 Mr. Bravo.                                                                        450.00/hr        45.00

             KMF Review prior notes and Court of Appeal opinion.                                     0.60
                                                                                                   450.00/hr       270.00

05/06/21         JLS   Confer with Mr. Bravo regarding research needed on appeal decisi011 and       0.20
                       recordation issues.                                                         550.00/hr       110.00

                 JLS   Email Mr. Linett regarding appeal and Garwood action.                         0.10
                                                                                                   550.00/hr        55.00

              GEB Emails with Mr. Gon-ill regarding support payments.                                0.10
                                                                                                   400.00/hr        40.00

05/07 /21        JLS   Emails Mr. Linett regarding appeal.                                           0.10
                                                                                                   550.00/hr        55.00

05/10/21         JLS   Email Mr. Linett with various questions.                                      0.20
                                                                                                   550.00/hr       110.00

                 JLS   Email Mr. Linett with set of additional questions.                            0.20
                                                                                                   550.00/hr       110.00

             For professional services rendered                                                      1.80         $905.00

             Previous balance                                                                                  $23,280.00

             i
             Balance due                                                                                       $24,185.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                        Attorney Summary
Name                                                                                     Hours       Rate         Amount
JOHN L. SMAHA                                                                             1.00     550.00         $550.00
Gustavo Bravo                                                                             0.10     400.00          $40.00
Kristen M. Fritz                                                                          0.70     450.00         $315.00
            Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43       Doc 312        Pg. 60 of
                                                             364                                            Page       3

    In Reference To.: ·        BUSINESS OPERATIONS


            Professional Services

                                                                                           Hrs/Rate          Amount

06/09/21     JLS    Review ofUCC language.                                                     0.20·
                                                                                                                           1
                                                                                             550.00/hr        110.00

06/10/21     JLS    Analyze insurance coverage.                                                0.20
                                                                                             550.00/hr        110.00

             JLS    Emails Mr. Linett regarding insurance items.                               0.20
                                                                                             550.00/hr        110.00

06/14/21     JLS    Review of appeal review request to California Supreme Court and            0.60
                    documents from Mr. Linett.                                               550.00/hr        330.00

06/16/21     JLS    Review of status report for changes.                                       0.20
                                                                                             550.00/hr        110.00

06/17 /21    JLS    Review status report in corporate comm~nts from Mr. GoITill.               0.20
                                                                                             550.00/hr        110.00

             JLS    Review of objection to counsel.                                            0.20
                                                                                             550.00/hr        110.00

             JLS    Revise status report for filing.                                           0.20
                                                                                             550.00/lu·       uo.oo
06/23/21     JLS    Emails Mr. Linett regarding reply to opposition on Yale application.      0.20
                                                                                            550.00/hr         110.00
                                                                                                              '
             GEB Emails regarding PPP loans and government assistance.                        0.20
                                                                                            400.00/hr             80.00

             GEB Emails regarding issues on insurance.                                        0.10
                                                                                            400.00/hr             40.00

06/24/21     JLS    Email Mr. Linett regarding insurance issues.                              0.10
                                                                                            550.00/hr             55.00

             JLS    Follow up items Mr. Linett on malpractice claim analysis.                 0.10
                                                                                            550.00/hr             55.00

06/25/21     JLS    Review of materials from Mr. Bravo on real property taxes.                0.10
                                                                                            550.00/hr             55.00

            For professional services rendered                                                 2.80        $1,495.00

            Previous balance                                                                              $24,185.00


            Balance due                                                                                   $25,680.00
         Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43   Doc 312      Pg. 61 of
                                                          364                                         Page      4


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Smmnary
Name                                                                          Hours     Rate -~A-"m"-'-=-ou=n"'""t
JOHN L. SMAHA                                                                   2.50   550.00       $1,375.00
Gustavo Bravo                                                                   0.30   400.00         $120.00
             Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43    Doc 312        Pg.Page
                                                                                                            62 of 3
                                                              364
     In Reference To:            BUSINESS OPERATIONS


              Professional Services

                                                                                           Hrs/Rate         Amount

07 /06/21      GEB Receive package from Mr. Linett and confer with Mr. Smaha regarding        0.10
                   same.                                                                    400.00/hr         40.00

07 /07 /21     JLS    Review of brief on opposition to Supreme Court filing.                  0.40
                                                                                            550.00/hr        220.00

               JLS    Emails regarding brief (2).                                             0.20
                                                                                            550.00/hr        110.00

               GEB Receive email regarding operating report and follow up.                    0.10
                                                                                            400.00/hr         40.00

07/08/21       JLS    Review of infonnation request from Mr. Linett.                          0.10
                                                                                            550.00/hr         55.00

07/15/21       GEB Receive coffespondence from U.S. Bank.                                     0.10
                                                                                            400.00/hr         40.00

              For professional services rendered                                               1.00        $505.00

              Previous balance                                                                           $25,680.00


              Balance due                                                                                $26,185.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                     Attorney Summary
Name                                                                               Hours       Rate        Amount
JOHN L. SMAHA                                                                       0.70     550.00        $385.00
Gustavo Bravo                                                                       0.30     400.00        $120.00
           Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43        Doc 312          Pg.Page
                                                                                                               63 of 3
                                                           364
     In Reference To:          BUSINESS OPERATIONS


            Professional Services

                                                                                          Hrs/Rate                   Amount

08/06/21     GEB Emails regarding payments of corporate tax preparations.                     0.10
                                                                                            400.00/hr                      40.00

08/11/21     GEB Review HELOC offer, review federal regulations on same and email to          0.30
                 Mr. Linett.                                                                400.00/hr                  120.00

             GEB Email from Mr. Linett regarding status of agr.eement.                        0.10
                                                                                            400.00/hr                      40.00

08/12/21     GEB Email from Mr. Linett regarding taxes and email forward to Mr. Smaha         0.10
                 regarding same.                                                            400.00/hr                      40.00

             GEB Follow up email to Mr. Linett regarding status of payments.                  0.10 . ,. . •. ,,,   ·-·u.


                                                                                            400.00/hr                      40.00

08/26/21     GEB Confer with Mr. Smaha regarding status of hearing.                           0.20
                                                                                            400.00/hr                      80.00

             GEB Telephone call to U.S. Bank regarding status.                                0.10
                                                                                            400.00/hr                      40.00

08/27/21     GEB Telephone conference with U.S. Bank, determine items needed for              0.50
                 agreement, review te1ms with bank and confer regarding amendment, pull     400.00/hr                 200.00
                 documents requested and follow up.

             GEB Work on email to bank regarding status.                                      0.20
                                                                                            400.00/hr                      80.00

            For professional services rendered                                                 1.70                $680.00

            Previous balance                                                                                 $26,185.00


            Balance due                                                                                      $26,865.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                              Hours         Rate               Amount
Gustavo Bravo                                                                      1.70     400.00                 $680.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312          Pg. 64 of
                                                                                                             Page                  3
                                                             364

     In Reference To:           BUSINESS OPERATIONS


             Professional Services

                                                                                             Hrs/Rate         Amount

09/07 /21     GEB Telephone conference with Baker Tilly regarding EAHA filings.                 0.20
                                                                                              400.00/hr           80.00

              GEB Email to Mr. Linett and others regarding tax returns and status.              0.20
                                                                                              400.00/hr          80.00

              GEB Email from Ms. Smith regarding returns.                                       0.10
                                                                                              400.00/hr          40.00

              GEB Email from Mr. Linett regarding follow up.                                    0.10
                                                                                              400.00/hr          40.00

09/29/21      GEB Emails regarding payment by corporation for tax returns.                      0.20           ,::-:.•:.-:- !'-!•.r.:...."i>i ..

                                                                                              400.00/hr          80.00

             For professional services rendered                                                 0.80         $320.00

             Previous balance                                                                              $26,865.00


             Balance due                                                                                   $27,185.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Smmnary
Name                                                                                 Hours       Rate        Amount
Gustavo Bravo                                                                         0.80     400.00        $320.00
             Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43            Doc 312            Pg.Page
                                                                                                                        65 of 3
                                                              364
     In Reference To:            BUSINESS OPERATIONS


              Professional Services

                                                                                                  Hrs/Rate             Amount

 10/05/21      GEB Emails regarding issues of taxes and payments.                                     0.20
                                                                                                    400.00/hr            80.00

 10/08/21      GEB Emails regarding taxes and status.                                                 0.20
                                                                                                    400.00/hr            80.00

               GEB Email follow up from Ms. Chiang regarding tax issues.                              0.10
                                                                                                    400.00/hr            40.00

 10/11/21      GEB Emails regarding payments.                                                         0.10
                                                                                                    400.00/hr            40.00

               GEB .Email from Ms. Chiang regarding status.                                      ··-··.... n.10
                                                                                                       4-00.00/hr        40.00

. 10/13/21     GEB Revise agreement with U.S. Bank.                                                   0.20
                                                                                                    400.00/hr            80.00

               GEB Email to Mr. Duffy regarding status.                                               0.10
                                                                                                    400.00/hr            40.00

 10/14/21      GEB Email to Mr. Duffy regarding tax payment issues.                                   0.10
                                                                                                    400.00/hr            40.00

               GEB Emails and telephone call follow ups with Mr. Duffy regarding payment              0.20
                   of taxes.                                                                        400.00/hr            80.00

 10/15/21      GEB Emails with Mr. Linett and others regarding taxes being paid.                      0.20
                                                                                                    400.00/hr            80.00

               GEB Receive and review final tax documents.                                            0.20
                                                                                                    400.00/hr            80.00

 10/2 7/21     GEB Finalize operating report items and prepare for filing (issues with scanner        0.30
                   not providing access).                                                           400.00/hr           120.00

              For professional services rendered                                                       2.00            $800.00

              Previous balance                                                                                      $27,185.00


              Balance due                                                                                           $27,985.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312    Pg.Page
                                                                                            66 of 4
                                                 364




                                        Attorney Summary
Name                                                                 Hours       Rate ____A~m~ou=n'""t
Gustavo Bravo                                                         2.00     400.00        $800.00
             Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312          Pg.Page
                                                                                                                  67 of 3
                                                              364
     In Reference To:            BUSINESS OPERATIONS


              Professional Services

                                                                                                 Hrs/Rate           Amount

11/01/21       GEB Finalize email and send to Mr. Smaha for follow up.                              0.30
                                                                                                  400.00/hr          120.00

 11/08/21      GEB Telephone conference with Mr. Linett regarding potential for deal for rent.      0.20
                                                                                                  400.00/hr            80.00

 11/09/21      JLS    Telephone conference with Mr. Linett regarding operating issues,              0.30
                      possible rental agreement.                                                  550.00/hr          165.00

 11/3 0/21     GEB Confer with Mr. Smaha and email to Mr. Hebrank regarding auction.                0.10
                                                                                                  400.00/hr           40.00

              For professional services rendered                                                     0.90          $405.00

              Previous balance                                                                                 $27,985.00


              Balance due                                                                                      $28,390.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                      Attorney Summary
Name                                                                                     Hours       Rate _ ____.A-"m~ou=n"""t
JOHN L. SMAHA                                                                             0.30     550.00          $165.00
Gustavo Bravo                                                                             0.60     400.00          $240.00
  Case 19-05831-LA11             Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312    Pg. 68 of
                                                        364


                                         CASE ADMINISTRATION


         JLS                     GEB                  JPT                 KMF
MONTH    HR                      HR                   HR                   HR                          TOTAL
INCURRED $550      JLS Fee       $400    GEBFee       $325      JPTFee    $450     KMFFee   TOTAL FEES HOURS
Apr-20     0.00    $         -    4.50   $ 1,800.00     0.00    $     -     0.00   $    -   $  1,800.00        4.50
May-20     0.00    $         -    5.50   $ 2,200.00     0.00    $     -     0.00   $    -   $  2,200.00        5.50
Jun-20     0.00    $         -    4.20   $ 1,680.00     0.00    $     -     0.00   $    -   $  1,680.00        4.20
Jul-20     0.00    $         -    2.10   $   840.00     0.00    $     -     0.00   $    -   $    840.00        2.10
Aug-20     0.00    $         -    4.50   $ 1,800.00     0.00    $     -     0.00   $    -   $  1,800.00        4.50
Sep-20     0.00    $         -    6.60   $ 2,640.00     0.00    $     -     0.00   $     -  $  2,640.00        6.60
Oct-20     0.00    $         -    0.20   $    80.00     0.001   $     -     0.00   $     -  $     80.00        0.20
Nov-20     0.00    $         -    1.30   $   520.00     0.00    $     -     0.00   $    -   $    520.00        1.30
Dec-20     0.00    $         -    3.30   $ 1,320.00     0.00    $     -     0.00   $    -   $  1,320.00        3.30
Jan-21     0.00    $         -    1.60   $   640.00     0.00    $     -     0.00   $    -   $    640.00        1.60
Feb-21     0.00    $         -    5.00   $ 2,000.00     0.00    $     -     0.00   $    -   $  2,000.00        5.00
Mar-21     0.00    $         -    3.70   $ 1,480.00     0.00    $     -    ,0.00   $    -   $  1,480.00        3.70
Apr-21     0.00    $         -    1.30   $   520.00     0.00    $     -     0.00   $    -   $    520.00        1.30
May-21     0.00    $         -    1.90   $   760.00     0.00    $     -     0.00   $    -   $    760.00        1.90
Jun-21     0.00    $         -    5.60   $ 2,240.00     0.00    $     -     0.00   $    -   $  2,240.00        5.60
Jul-21     0.50    $   275.00     3.40   $ 1,360.00     0.00    $     -     0.00   $    -   $  1,635.00        3.90
Aug-21     0.40    $   220.00     1.50   $   600.00     0.00    $     -     0.00   $    -   $    820.00        1.90
Sep-21     0.30    $   165.00     5.60   $ 2,240.00     0.00    $     -     0.00   $    -   $  2,405.00        5.90
Oct-21     0.20    $   110.00     1.50   $   600.00     0.00    $     -     0.00   $    -   $    710.00        1.70
Nov-21     0.00    $         -    0.60   $   240.00     0.20    $ 65.00     0.00   $    -   $    305.00        0.80
Dec-21     0.20    $ 110.00       1.60   $   640.00     0.00    $     -     0.00   $    -   $    750.00        1.80
TOTALS:    1.60[   $ 880.00      65.50   $26,200.00     0.20    $ 65.00     0.00       0.00 $ 27,145.00       67.30




                                                                                                          Li nett
       Case 19-05831-LA11              Filed 01/11/22   Entered 01/11/22 09:20:43           Doc 312       Pg. 69 of
                                                                                                             Page     8
                                                          364
    In Reference To:          CASE ADMINISTRATION


           Professional Services   ,

                                                                                             Hrs/Rate         Amount

04/01/20    GEB Review email from Ms. Dougherty regarding operating report issues and           0.20
                confer with Mr. Linett regarding same.                                        400.00/hr         80.00


04/02/20    GEB Receive minute order.                                                           0.10
                                                                                              400.00/hr         40.00

            GEB Review operating report issues and follow u~ on same.                           0.40
                                                                                              400.00/hr        160.00

           GEB Review materials for operating reports and other matters regarding status,       0.20
               confer with Mr. Smaha regarding same.                                          400.00/hr         80.00

04/03/20    GEB Telephone conference with Ms. Smith regarding operating report and new          0.20
                budget.                                                                       400.00/hr         80.00

           GEB Email to Ms. Potter regarding fees and operating report requirements.            0.10
                                                                                              400.00/hr         40.00

           GEB Email to Ms. Smith regarding operating report questions.                         0.20
                                                                                              400.00/hr         80.00

04/06/20   GEB Emails with Ms. Smith regarding budget and status.                               0.20
                                                                                              400.00/hr         80.00

04/07/20   GEB Emails to Ms. Smith regarding operating report.                                  0.10
                                                                                              400.00/hr         40.00

04/15/20   GEB Email to Ms. Smith regarding operating report issues.                            0.20
                                                                                              400.00/hr         80.00

04/16/20   GEB Follow up email regarding documents.                                             0.10
                                                                                              400.00/hr         40.00

04/20/20   GEB Emails regarding status of operating reports.                                    0.30
                                                                                              400.00/hr        120.00

           GEB Emails regarding operating report.                                               0.10
                                                                                              400.00/hr        40.00

04/21/20   GEB Review operating report and prepare notes regarding same.                        0.40
                                                                                              400.00/hr       160.00

           GEB Email to Ms. Smith regarding operating report items.                             0.30
                                                                                              400.00/hr       120.00

           GEB Email from Ms. Smith regarding updated report.                                   0.10
                                                                                              400.00/hr        40.00
            Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43            Doc 312       Pg.Page
                                                                                                                   70 of   9
                                                              364

                                                                                                  Hrs/Rate         Amount

 04/22/20     GEB Final review of operating report, review bills and invoices for legal fees         0.50
                  and update same, email to Mr. Linett regarding signature needed.                 400.00/hr        200.00

              GEB Email from Mr. Smaha regarding updates.                                            0.10
                                                                                                   400.00/hr         40.00

              GEB Emails with Mr. Linett regarding operating report.                                 0.20
                                                                                                   400.00/hr         80.00

             GEB Finalize report and arrange for filing.                                             0.10
                                                                                                   400.00/hr         40.00

04/23/20     GEB Review final draft of operating report and confirm filing of same.                  0.10
                                                                                                   400.00/hr         40.00

04/27/20     GEB Emails with Mr. Smaha and Mr. Linett regarding status of various                    0.20
                 pending matters, including appeal and plan.                                       400.00/hr         80.00

 04/30/20    GEB Email to Ms. Smith regarding operating report issues.                               0.10
                                                                                                   400.00/hr         40.00

             For professional services rendered                                                      4.50        $1,800.00

            Previous balance                                                                                    $44,872.00


            Balance due                                                                                         $46,672.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                                    Hours _ ____,R-"a=t=e -~A~m~ou~n~t
Gustavo Bravo                                                                             4.50      400.00      $1,800.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                              71 of 5
                                                           364
    In Reference To:          CASE ADMINISTRATION


           Professional Services

                                                                                            Hrs/Rate          Amount

05/04/20    GEB Review emails and follow up with Mr. Linett, Ms. Smith, Mr. Smaha and           0.30
                others regarding pending matters.                                             400.00/hr        120.00

05/12/20    GEB Telephone call to Mr. Linett regarding status of various pending matters.       0.10
                                                                                              400.00/hr         40.00

05/14/20    GEB Telephone conference with Mr. Linett regarding operating report and             0.20
                follow up email to Ms. Smith regarding status.                                400.00/hr         80.00

05/15/20    GEB Emails with Ms. Smith regarding operating reports.                              0.10
                                                                                              400.00/hr        40.00

05/18/20    GEB Review file regarding pending matters, follow up email Ms. Smith                0.20
                regarding operating reports, email Mr. Linett regarding expert use and        400.00/hr        80.00
                update request with opposing counsel for conference requirement in
                liquidation.

            GEB Follow up email regarding operating report with Ms. Smith and questions         0.10
                by U.S. Trustee.                                                              400.00/hr        40.00

05/19/20    GEB Emails with Mr. Smaha regarding valuations and other items.                     0.20
                                                                                              400.00/hr        80.00

            GEB Email from MS. Smith regarding operating report.                                0.10
                                                                                              400.00/hr        40.00

05/20/20    GEB Review operating report for April and email Ms. Smith regarding changes         0.50
                to make.                                                                      400.00/hr       200.00

            GEB Emails with Ms. Smith regarding operating report and new budget.                0.30
                                                                                              400.00/hr       120.00

            GEB     Receive and review updated operating report.                                0.10
                                                                                              400.00/hr        40.00

            GEB Receive final report and follow up on same.                                     0.10
                                                                                              400.00/hr        40.00

            GEB Final review of operating report and status.                                    0.40
                                                                                              400.00/hr       160.00

            GEB Various emails with Mr. Linett regarding status of various pending              0.30
                matters.                                                                      400.00/hr       120.00

05/21/20    GEB Review status report requirements, analyze operating report numbers for         0.60
                sales, review litigation status and begin working on status report.           400.00/hr       240.00

            GEB Work on status report.                                                          0.50
                                                                                              400.00/hr       200.00
            Case 19-05831-LA11            Filed 01/11/22   Entered 01/11/22 09:20:43          Doc 312     Pg.Page
                                                                                                              72 of   6
                                                             364

                                                                                               Hrs/Rate         Amount

 05/21/20     GEB Review status of file and docket for status report.                             0.10
                                                                                                400.00/hr         40.00

              GEB Finalize status report.                                                         0.60
                                                                                                400.00/hr        240.00

              GEB Email to Mr. Smaha regarding status report and follow up.                       0.10
                                                                                                400.00/hr         40.00

              GEB Finalize status rep01i with changes by Mr. Smaha and status.                    0.20
                                                                                                400.00/hr         80.00

05/28/20      GEB Receive and review minute order from court and calendar additional dates.       0.10
                                                                                                400.00/hr         40.00

 05/29/20     GEB Review materials for ongoing issues in litigation, plan development and         0.30
                  other matters and confer with Mr. Smaha regarding same.                       400.00/hr        120.00

             For professional services rendered                                                   5.50        $2,200.00

             Previous balance                                                                               $46,672.00

             Accounts receivable transactions

6/5/2020 Payment on account from funds held in trust according to 5/29/20 court approved application        ($41,400.26)
         for compensation. Thank You!

             Total payments and adjustments                                                                 ($41,400.26)


             Balance due                                                                                     $7,471.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                                 Hours         Rate -~A~m~ou=n~t
Gustavo Bravo                                                                          5.50      400.00      $2,200.00
           Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312       Pg. 73 of
                                                                                                            Page     3
                                                            364

    In Reference To:           CASE ADMINISTRATION


            Professional Services

                                                                                           Hrs/Rate          Amount

06/08/20     GEB Review materials for various pending matters and set up follow ups with       0.10
                 Mr. Linett and opposing counsel.                                            400.00/hr        40.00

06/15/20     GEB Review materials from status reports, confer with Mr. Smaha and               0.20
                 telephone call to Mr. Linett regarding status.                              400.00/hr        80.00

             GEB Email to Ms. Smith regarding various items needed.                            0.20
                                                                                             400.00/hr        80.00

             GEB Emails with Mr. Linett regarding status of reports and projections.           0.20
                                                                                             400.00/hr        80.00

06/19/20    GEB Emails with Mr. Linett regarding operating report.                             0.10
                                                                                             400.00/hr        40.00

06/22/20     GEB Emails to and from Ms. Smith regarding operating report.                      0.20
                                                                                             400.00/hr        80.00

            GEB Email from Mr. Linett regarding status.                                        0.20
                                                                                             400.00/hr        80.00

             GEB Telephone conference with Mr. Linett regarding various questions on           0.20
                 status of case.                                                             400.00/hr        80.00

             GEB Begin review of operating report.                                             0.20
                                                                                             400.00/hr        80.00

             GEB Complete review of operating report and email to Mr. Linett and Ms.           0.30
                 Smith.                                                                      400.00/hr       120.00

06/23/20     GEB Emails with Ms. Smith regarding operating report.                             0.20
                                                                                             400.00/hr        80.00

06/24/20     GEB Review status of pending matters and update with Mr. Linett regarding         0.10
                 remaining items.                                                            400.00/hr        40.00

             GEB Email from Mr. Smith regarding operating report.                              0.10
                                                                                             400.00/hr        40.00

             GEB Review operating report.                                                      0.30
                                                                                             400.00/hr       120.00

            GEB Email to Mr. Linett regarding status of operating report.                     0.10
                                                                                            400.00/hr         40.00

             GEB Emails with Mr. Linett regarding status_,of case.                             0.30
                                                                                             400.00/hr       120.00

06/25/20    GEB Draft status report.                                                           0.70
                                                                                             400.00/hr       280.00
         Case 19-05831-LA11           Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312         Pg. 74 of
                                                                                                                  Page        4
                                                           364

                                                                                              Hrs/Rate              Amount

 06/25/20    GEB Confer with Mr. Smaha, emails with Mr. Linett and arrange for filing of         0.20
                 status report.                                                                400.00/hr               80.00

 06/30/20    GEB Various emails with Mr. Linett regarding status of case and other items.        0.30
                                                                                               400.00/hr             120.00

            For professional services rendered                                                   4.20           $1,680.00

            Previous balance                                                                                    $7,471.74


            Balance due                                                                                         $9,151.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                  Hours       Rate _ __,A""'m-'-'-"-ou=na.:t
Gustavo Bravo                                                                          4.20     400.00          $1,680.00
             Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312        Pg. 75 of
                                                              364                                                     Page       5

     In Reference To:            CASE ADMINISTRATION


              Professional Services

                                                                                                 Hrs/Rate              Amount

 07/01/20      GEB Confer with Mr. Smaha regarding hearing and various pending matters.             0.20
                                                                                                  400.00/hr               80.00

               GEB Confer with staff regarding request for hearing.                                 0.10
                                                                                                  400.00/hr               40.00

 07 /03/20     GEB Email to Mr. Linett and Mr. Smaha regarding status.                              0.30
                                                                                                  400.00/hr             120.00

               GEB Review notes from hearing, receive minute order and update Mr. Smaha,            0.10
                   calendars and establish date concerns.                                         400.00/hr               40.00

 07/08/20      GEB Confer with staff regarding fees for operating report.                           0.40
                                                                                                  400.00/hr             160.00

 07/23/20      GEB Review operating report, finalize and emails to Ms. Smith regarding same.        0.60
                                                                                                  400.00/hr             240.00

               GEB Review and revise operating report, email to Mr. Linett regarding status         0.30
                   of same.                                                                       400.00/hr             120.00

07 /27 /20     GEB Final review of operating report and submit with signature.                      0.10
                                                                                                  400.00/hr               40.00

              For professional services rendered                                                    2.10              $840.00

              Previous balance                                                                                     $9,151.74


              Balance due                                                                                          $9,991.74


Please make checks payable to: Smaha Law Group


Thank you for yow- business.




                                                    Attorney Summary
Name                                                                                   Hours        Rate _ ___,A'-'-m'-'-=o=un"""t
Gustavo Bravo                                                                            2.10     400.00        $840.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312        Pg. 76 of
                                                                                                               Page     4
                                                             364

    In Reference To:            CASE ADMINISTRATION


             Professional Services

                                                                                              Hrs/Rate          Amount

08/03/20      GEB Email from Ms. Smith regarding operating repo1i and other issues               0.10
                  regarding exposure to Covid-19.                                              400.00/hr          40.00

              GEB Texts with Mr. Linett regarding status of payments.                            0.10
                                                                                               400.00/hr          40.00

08/07 /20     GEB Receive materials for items to do moving forward.                              0.10
                                                                                               400.00/hr          40.00

08/13/20      GEB Work on status report.                                                         0.30
                                                                                               400.00/hr         120.00

              GEB Finalize draft of status report.                                               0.30
                                                                                               400.00/hr         120.00

              GEB Confer with Mr. Smaha regarding status report, revise and file same.           0.20
                                                                                               400.00/hr          80.00

08/20/20      GEB Confer with Mr. Smaha regarding status, review plan and disclosure             0.50
                  statement materials, confer with staff regarding fees and filings and        400.00/hr        200.00
                  prepare for status conference.

              GEB Take part in status conference.                                                0.50
                                                                                               400.00/hr        200.00

              GEB Email to Mr. Linett and Mr. Smaha regarding mediation.                         0.30
                                                                                               400.00/hr         120.00

              GEB Email from Mr. Linett regarding plan status and status conference.           - 0.20
                                                                                                400.00/hr         80.00

08/24/20      GEB Review materials and status of pending hearings and other opposition and       0.20
                  response dates.                                                              400.00/hr         80.00

08/28/20      GEB Email from Mr. Linett regarding reports.                                       0.10
                                                                                               400.00/hr         40.00

              GEB Email to Mr. Ortiz regarding various matters.                                  0.20
                                                                                               400.00/hr         80.00

              GEB Review file regarding outstanding items and coordinate with Various            0.20
                  parties regarding outstanding items.                                         400.00/hr         80.00

08/31/20      GEB Follow up emails with Mr. Linett regarding status.                             0.30
                                                                                               400.00/hr        120.00

              GEB Review operating report and make revisions.                                    0.50
                                                                                               400.00/hr        200.00
           Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312       Pg. 77 of
                                                                                                      Page    5
                                                          364

                                                                                       Hrs/Rate        Amount

08/31/20    GEB Email to Ms. Smith regarding status.                                      0.20
                                                                                        400.00/hr        80.00

            GEB Emails with Ms. Smith regarding pending matters.                          0.20
                                                                                        400.00/hr        80.00

            For professional services rendered                                            4.50       $1,800.00

            Previous balance                                                                         $9,991.74


            Balance due                                                                             $11,791.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours        Rate       Amount
Gustavo Bravo                                                                   4.50     400.00      $1,800.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312       Pg. 78 of
                                                                                                             Page     4
                                                            364

    In Reference To:           CASE ADMINISTRATION


            Professional Services

                                                                                            Hrs/Rate         Amount

09/01/20     GEB Review ruling and telephone call to Mr. Gorrill regarding dates for            0.10
                 continuances.                                                                400.00/hr        40.00

09/02/20     GEB Review minute order and call to Mr. Linett regarding same.                     0.10
                                                                                              400.00/hr        40.00

             GEB Email to Ms. Smith regarding operating report status.                          0.20
                                                                                              400.00/hr        80.00

             GEB Draft order to continue disclosure statement.                                  0.40
                                                                                              400.00/hr       160.00

             GEB Email to Mr. Gorrill regarding status.                                         0.20
                                                                                              400.00/hr        80.00

             GEB Emails with Mr. G01Till regarding orders and mediation.                        0.20
                                                                                              400.00/hr        80.00

09/03/20     GEB Review file and update items to complete, follow up to Ms. Smith               0.20
                 regarding report, confer with Mr. Smaha regarding appeal and other items     400.00/hr        80.00
                 and email to Mr. Linett regarding items still needed for analysis.

09/08/20     GEB Review status of various matters and being follow ups.                         0.10
                                                                                              400.00/hr        40.00

             GEB Email to Ms. Smith regarding operating report.                                 0.10
                                                                                              400.00/hr        40.00

             GEB Email to Mr. Duffy and Mr. Gorrill regarding stipulation on adversarial.       0.10
                                                                                              400.00/hr        40.00

             GEB Email from Ms. Smith regarding operating report.                              0.10
                                                                                             400.00/hr         40.00

             GEB Email from Mr. Linett regarding status of sale.                               0.10
                                                                                             400.00/hr         40.00

09/09/20     GEB Review materials and follow up on status of Ameritrade account with Mr.       0.20
                 Linett.                                                                     400.00/hr         80.00

             GEB Telephone conference with Mr. Linett regarding claims on account.             0.10
                                                                                             400.00/hr         40.00

             GEB Review schedules again, operating reports and other items.                    0.10
                                                                                             400.00/hr         40.00

             GEB Email to Mr. Linett regarding account.                                        0.20
                                                                                             400.00/hr         80.00
           Case 19-05831-LA11        Filed 01/11/22     Entered 01/11/22 09:20:43     Doc 312        Pg. 79 of
                                                                                                        Page      5
                                                          364

                                                                                       Hrs/Rate          Amount

09/09/20    GEB Email from Mr. Smaha regarding account.                                   0.10
                                                                                        400.00/hr         40.00

09/10/20    GEB Review materials and follow up with Mr. Smaha regarding status of         0.20
                mediation and other items.                                              400.00/hr         80.00

            GEB Confer with Mr. Smaha regarding emails with Mr. Breslauer.                0.10
                                                                                        400.00/hr         40.00

            GEB Telephone call from Mr. Linett regarding Ameritrade account.              0.10
                                                                                        400.00/hr         40.00

            GEB Emails with Mr. Linett regarding new account.                             0.20
                                                                                        400.00/hr         80.00

09/16/20    GEB Emails from Mr. Linett in response to SEP account.                        0.20
                                                                                        400.00/hr         80.00

09/18/20    GEB Email to Ms. Smith regarding operating reports.                           0.20
                                                                                        400.00/hr         80.00

            GEB Follow up telephone call to Ms. Smith regarding operating reports.        0.10
                                                                                        400.00/hr         40.00

09/23/20    GEB Emails regarding pending fees.                                            0.20
                                                                                        400.00/hr         80.00

            GEB Email to Ms. Smith regarding operating reports.                           0.10
                                                                                        400.00/lu·        40.00

            GEB Emails from Ms. Smith regarding operating reports.                        0.10
                                                                                        400.00/hr         40.00

09/25/20    GEB Review and revise July operating report.                                  0.50
                                                                                        400.00/hr        200.00

            GEB Review and revise August operating report.                                0.50
                                                                                        400.00/hr        200.00

            GEB Analyze financials regarding status of operations and growing debt.       0.30
                                                                                        400.00/hr        120.00

            GEB Email from Mr. Linett regarding appeal extension.                         0.10
                                                                                        400.00/hr         40.00

09/28/20    GEB Email from Mr. Linett regarding operating reports.                        0.10
                                                                                        400.00/hr         40.00

            GEB Email to Mr. Linett regarding operating reports.                          0.20
                                                                                        400.00/hr         80.00

            GEB Email from Mr. Linett regarding operating reports.                        0.10
                                                                                        400.00/hr         40.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                              80 of
                                                                                                                      6
                                                            364

                                                                                               Hrs/Rate        Amount

 09/28/20    GEB Email from Mr. Linett regarding operating reports and follow up with             0.10
                 response regarding finalized items.                                            400.00/hr        40.00

             GEB Finalize operating reports and arrange for filing.                               0.10
                                                                                                400.00/hr        40.00

 09/29/20    GEB Confirm filing of operating report.                                              0.10
                                                                                                400.00/hr        40.00

 09/30/20    GEB Email from Mr. Linett regarding various items.                                   0.20
                                                                                                400.00/hr        80.00

             GEB Review file, materials and follow up with various pending matters, confer        0.20
                 with Mr. Smaha regarding same.                                                 400.00/hr        80.00

             For professional services rendered                                                   6.60       $2,640.00

             Previous balance                                                                               $11,791.74


             Balance due                                                                                    $14,431.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                 Hours         Rate -~A~m=o~u=nt
Gustavo Bravo                                                                           6.60     400.00     $2,640.00
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43         Doc 312           Pg. 81 of
                                                                                                                   Page         5
                                                          364

     In Reference To:          CASE ADMINISTRATION


            Professional Services

                                                                                              Hrs/Rate               Amount

 10/21/20    GEB Confer with Mr. Linett regarding operating report and other issues              0.10
                 regarding hospitalization.                                                    400.00/hr                40.00

 10/23/20    GEB Review status of various matters and conference dates.                          0.10
                                                                                               400.00/hr                40.00

            For professional services rendered                                                    0.20                $80.00

            Previous balance                                                                                   $14,431.74


            Balance due                                                                                        $14,511.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                  Hours       Rate _ __,A-"m'-'-'-=-o=un'"'""t
Gustavo Bravo                                                                          0.20     400.00                $80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                              82 of 5
                                                           364
     In Reference To:          CASE ADMINISTRATION


           Professional Services

                                                                                            Hrs/Rate         Amount

11/02/20    GEB Email follow up on status of operating reports.                                 0.10
                                                                                              400.00/hr        40.00

            GEB Telephone call to Mr. Linett regarding operating report status.                 0.10
                                                                                              400.00/hr        40.00

11/04/20    GEB Emails with Ms. Smith and staff regarding amounts owing.                        0.20
                                                                                              400.00/hr        80.00

11/05/20    GEB Confer with staff regarding fees for September and October.                     0.10
                                                                                              400.00/hr        40.00

11/06/20    GEB Telephone conference with Mr. Linett regarding various pending matters.         0.20
                                                                                              400.00/hr        80.00

            GEB Email to Ms. Smith regarding operating report.                                  0.10
                                                                                              400.00/hr        40.00

11/09/20    GEB Review file regarding status ofreports and follow up items.                     0.10
                                                                                              400.00/hr        40.00

11/30/20    GEB Email to Ms. Smith regarding operating report questions, gather necessary       0.20
                information.                                                                  400.00/hr        80.00

            GEB Telephone call to Ms. Smith regarding reports.                                  0.10
                                                                                              400.00/hr        40.00

            GEB Receive email from Ms. Smith regarding operating reports.                       0.10
                                                                                              400.00/hr        40.00

           For professional services rendered                                                   1.30         $520.00

           Previous. balance                                                                              $14,511.74


           Balance due                                                                                    $15,031.74


Please m~e checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                               Hours        Rate         Amount
Gustavo Bravo                                                                       1.30      400.00         $520.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                               83 of 4
                                                            364
    In Reference To:          CASE ADMINISTRATION


            Professional Services

                                                                                              Hrs/Rate         Amount

12/02/20     GEB Telephone call to Ms. Smith regarding operating reports.                        0.10
                                                                                               400.00/hr        40.00

             GEB Emails to Ms. Smith regarding operating reports.                                0.10
                                                                                               400.00/hr        40.00

12/07/20     GEB Email regarding status of operating reports.                                    0.10
                                                                                               400.00/hr        40.00

12/08/20     GEB Receive operating report for September, inquire about October and               0.20
                 November.                                                                     400.00/hr        80.00

             GEB Review operating report.                                                        0.20
                                                                                               400.00/hr        80.00

             GEB Continue review of operating report.                                            0.20
                                                                                               400.00/hr        80.00

             GEB Finalize review of operating report, email to Ms. Smith regarding status.       0.20
                                                                                               400.00/hr        80.00

12/10/20     GEB Email to Ms. Smith regarding operating reports.                                 0.10
                                                                                               400.00/hr        40.00

             GEB Emails with Ms. Smith regarding operating report information.                   0.20
                                                                                               400.00/hr        80.00

12/11/20     GEB Begin review of operating report for October 2020.                              0.50
                                                                                               400.00/hr       200.00

             GEB Receive revisions from Ms. Smith.                                               0.10
                                                                                               400.00/hr        40.00

             GEB Finalize reports for September and October and email to Mr. Linett              0.20
                 regarding confirmation.                                                       400.00/hr        80.00

             GEB Emails regarding questions from Mr. Linett regarding operating reports.         0.20
                                                                                               400.00/hr        80.00

12/14/20     GEB Emails regarding operating reports.                                             0.10
                                                                                               400.00/hr        40.00

12/16/20     GEB Check on status of various pending matters and confer with Mr. Smaha            0.10
                 regarding hearing.                                                            400.00/hr        40.00

12/18/20    GEB Email to Ms. Smith regarding operating reports.                                  0.10
                                                                                               400.00/hr        40.00

12/21/20    GEB Email to staff regarding fees and operating report.                              0.10
                                                                                               400.00/hr        40.00
            Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43        Doc 312        Pg.Page
                                                                                                             84 of   5
                                                           364

                                                                                              Hrs/Rate        Amount

 12/21/20     GEB Email to Ms. Smith regarding fees and operating report.                        0.10
                                                                                               400.00/hr        40.00

              GEB Email follow up with Ms. Smith regarding status.                               0.10
                                                                                               400.00/hr        40.00

 12/22/20     GEB Review documents for filing and update Mr. Linett regarding same.              0.10
                                                                                               400.00/hr        40.00

              GEB Email from Ms. Smith regarding operating report.                               0.10
                                                                                               400.00/hr        40.00

 12/28/20     GEB Email to Ms. Smith regarding operating report.                                 0.10
                                                                                               400.00/hr        40.00

             For professional services rendered                                                  3.30       $1,320.00

             Previous balance                                                                              $15,031.74


             Balance due                                                                                   $16,351.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                  Hours       Rate       Amount
Gustavo Bravo                                                                          3.30     400.00     $1,320.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312       Pg.Page
                                                                                                             85 of 4
                                                            364
     In Reference To:          CASE ADMINISTRATION


            Professional Services

                                                                                           Hrs/Rate         Amount

 01/04/21    GEB Email to Ms. Smith regarding operating report.                                0.10
                                                                                             400.00/hr        40.00

             GEB Emails with Ms. Smith regarding November fees.                                0.10
                                                                                             400.00/hr        40.00

 01/08/21    GEB Telephone call to Ms. Smith regarding operating report status.                0.10
                                                                                             400.00/hr        40.00

             GEB Email to Ms. Smith regarding operating report.                                0.10
                                                                                             400.00/hr        40.00

 01/11/21    GEB Email from Mr. Linett regarding inability to do operating report.             0.10
                                                                                             400.00/hr        40.00

01/21/21     GEB Email to Ms. Smith regarding operating reports.                              0.10
                                                                                            400.00/hr         40.00

01/25/21     GEB Check on status of operating reports.                                        0.10
                                                                                            400.00/hr         40.00

             GEB Review and revise operating report.                                          0.50
                                                                                            400.00/hr        200.00

             GEB Telephone call to Ms. Smith regarding operating report for December,         0.10
                 2020.                                                                      400.00/hr         40.00

01/27/21     GEB Check on status of operating report.                                         0.10
                                                                                            400.00/hr         40.00

01/28/21     GEB Email to Ms. Smith regarding report.                                         0.10
                                                                                            400.00/hr         40.00

01/29/21     GEB Receive and review minute order, confinn continuance and telephone call      0.10
                 to Mr. Gan-ill regarding further continuance.                              400.00/hr         40.00

            For professional services rendered                                                 1.60         $640.00

            Previous balance                                                                             $16,351.74


            Balance due                                                                                  $16,991.74


Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312    Pg.Page
                                                                                            86 of 5
                                                 364




                                       Attorney Summary
Name                                                                 Hours       Rate _ _A_m~o~un~t
Gustavo Bravo                                                         1.60     400.00      $640.00
           Case 19-05831-LA11           Filed 01/11/22     Entered 01/11/22 09:20:43     Doc 312        Pg. 87 of
                                                                                                           Page     5
                                                             364

    In Reference To:           CASE ADMINISTRATION


            Professional Services

                                                                                          Hrs/Rate          Amount

02/01/21    GEB Receive and review minute order on continuance and follow up on san1e.       0.10
                                                                                           400.00/hr         40.00

            GEB Email to Ms. Smith regarding operating reports.                              0.10
                                                                                           400.00/hr         40.00

02/03/21    GEB Email from Ms. Smith regarding operating report.                             0.10
                                                                                           400.00/hr         40.00

            GEB Email with Ms. Smith regarding December operating report.                    0.10
                                                                                           400.00/hr         40.00

             GEB Email from Ms. Smith regarding operating report.                            0.10
                                                                                           400.00/hr         40.00

02/08/21    GEB Receive tentative ruling from the court.                                     0.10
                                                                                           400.00/hr         40.00

            GEB Review and revise operating report for December and review November          0.40
                report as well.                                                            400.00/hr        160.00

             GEB Email to Mr. Linett regarding operating report.                             0.10
                                                                                           400.00/hr         40.00

02/09/21     GEB Review operating reports, prepare email regarding same and analyze          0.40
                 accounts receivable issues.                                               400.00/hr        160.00

             GEB Draft status report.                                                        0.40
                                                                                           400.00/hr        160.00

            GEB Follow up emails with Mr. Linett and Ms. Smith regarding operating           0.20
                reports.                                                                   400.00/hr         80.00

            GEB Deal with issues on reports.                                                 0.20
                                                                                           400.00/hr         80.00

             GEB Emails and telephone conference with Ms. Smith regarding reports and        0.30
                 send out.                                                                 400.00/hr        120.00

             GEB Email to Me. Linett regarding status.                                       0.10
                                                                                           400.00/hr         40.00

             GEB Email to Mr. Linett regarding operating reports.                            0.10
                                                                                           400.00/hr         40.00

            GEB Telephone conference with Mr. Linett regarding signatures.                   0.10
                                                                                           400.00/hr         40.00

            GEB Finalize documents and arrange for filing, follow ups with Mr. Smaha         0.10
                regarding status.                                                          400.00/h.r        40.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312       Pg. 88 of
                                                                                                              Page     6
                                                            364

                                                                                              Hrs/Rate         Amount

02/10/21     GEB Telephone call to court regarding hearing for tomon-ow.                         0.10
                                                                                               400.00/hr         40.00

             GEB Email regarding operating report.                                               0.10
                                                                                               400.00/hr         40.00

02/11/21     GEB Review packages and prepare for hearing, hand off to Mr. Smaha for              0.30
                 appearance.                                                                   400.00/hr        120.00

             GEB Receive notes from Mr. Smaha, review minute orders and confer with Mr.          0.30
                 Smaha regarding results.                                                      400.00/hr        120.00

02/16/21     GEB Email from Ms. Smith regarding operating report.                                0.10
                                                                                               400.00/hr         40.00

02/17 /21    GEB Email regarding operating report.                                               0.10
                                                                                               400.00/hr         40.00

             GEB Begin review of operating report.                                               0.10
                                                                                               400.00/hr         40.00

02/18/21     GEB Review operating report and finalize for filing.                                0.50
                                                                                               400.00/hr       200.00

             GEB Email to Mr. Linett regarding status.                                           0.10
                                                                                               400.00/hr         40.00

             GEB Emails with Mr. Linett regarding operating report.                              0.20
                                                                                               400.00/hr         80.00

             GEB Receive signature on operating report. and an-ange for filing.                  0.10
                                                                                               400.00/hr        40.00

             For professional services rendered                                                  5.00        $2,000.00

             Previous balance                                                                              $16,991.74


             Balance due                                                                                   $18,991.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                              Hours           Rate        Amount
Gustavo Bravo                                                                         5.00      400.00      $2,000.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312      Pg. 89 of
                                                                                                          Page      5
                                                           364
    In Reference To:          CASE ADMINISTRATION


           Professional Services

                                                                                           Hrs/Rate        Amount

03/09/21    GEB Multiple emails with Mr. Gorrill regarding continuance.                       0.50
                                                                                            400.00/hr       200.00

            GEB Review stipulation from Mr. Gorrill regarding continuance of various          0.20
                matters, approve.                                                           400.00/hr        80.00

            GEB Email from Mr. Duffy regarding interest and fees.                             0.10
                                                                                            400.00/hr        40.00

            GEB Follow up emails regarding stipulations and language of documents.            0.20
                                                                                            400.00/hr        80.00

03/10/21    GEB Review file regarding pending items, confirm orders being re-submitted.       0.10
                                                                                            400.00/hr        40.00

            GEB Email to Mr. Smaha regarding pending matters and agreement.                   0.10
                                                                                            400.00/hr        40.00

03/15/21    GEB Email from Ms. Smith regarding fees for operating report.                     0.10
                                                                                            400.00/hr        40.00

03/16/21    GEB Email regarding operating report.                                             0.10
                                                                                            400.00/hr        40.00

03/17/21    GEB Review and revise operating report, prepare cover and signature page for      0.70
                operating report and email to Mr. Linett regarding same.                    400.00/hr       280.00

            GEB Emails with Mr. Linett regarding operating report and business status.        0.20
                                                                                            400.00/hr        80.00

03/22/21    GEB Review status of hearings and status ofrequirements.                          0.10
                                                                                            400.00/hr        40.00

03/23/21    GEB Check on status of documents.                                                 0.10
                                                                                            400.00/hr        40.00

03/25/21    GEB Draft status report for court.                                                0.50
                                                                                            400.00/hr      200.00

            GEB Confer with Mr. Smaha regarding status report and other issues.               0.10
                                                                                            400.00/hr        40.00

            GEB Revise trust agreement.                                                       0.40
                                                                                            400.00/hr       160.00

03/30/21    GEB Receive and review tentative ruling.                                          0.10
                                                                                            400.00/hr       40.00

03/31/21    GEB Confer with bookkeeper regarding questions.                                   0.10
                                                                                            400.00/hr       40.00
          Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312      Pg. 90 of
                                                                                                       Page       6
                                                          364

                                                                                                        Amount
           For professional services rendered                                            3.70        $1,480.00

           Previous balance                                                                         $18,991.74


           Balance due                                                                              $20,471.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours      Rate ---'A'-'-m'-'-=o=un=t
Gustavo Bravo                                                                  3.70     400.00       $1,480.00
                                                                                                         \
            Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43            Doc 312       Pg.Page
                                                                                                                 91 of 4
                                                            364

     In Reference To:           CASE ADMINISTRATION


             Professional Services

                                                                                               Hrs/Rate         Amount

04/01/21      GEB Confirm all hearings off calendar, Telephone conference with court               0.10
                  regarding same.                                                                400.00/hr        40.00

              GEB Receive and review minute orders.                                                0.10
                                                                                                 400.00/hr        40.00

04/07 /21     GEB Email from bookkeeper regarding operating report.                                0.10
                                                                                                 400.00/hr        40.00

04/13/21      GEB Emails with book keeper regarding status.                                        0.10
                                                                                                 400.00/hr        40.00

04/19/21      GEB Email from Ms. Smith regarding operating report.                                 0.10
                                                                                                 400.00/hr        40.00

04/20/21      GEB Review and revise operating report and prepare for submission.                   0.40
                                                                                                 400.00/hr       160.00

              GEB Lengthy telephone conference with Mr. Linett regarding status of various         0.30
                  items.                                                                         400.00/hr       120.00

              GEB Receive signature and confirm status.                                            0.10
                                                                                                 400.00/hr        40.00

             For professional services rendered                                                    1.30        ,$520.00

             Previous balance                                                                                $20,471.74 .


             Balance due                                                                                     $20,991.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                   Hours       Rate         Amount
Gustavo Bravo                                                                           1.30     400.00         $520.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312      Pg.Page
                                                                                                           92 of 5
                                                             364
     In Reference To:         CASE ADMINISTRATION


           Professional Services

                                                                                          Hrs/Rate        Amount

05/12/21    GEB Receive notice of change oftime for hearing.                                 0.10
                                                                                           400.00/hr        40.00

05/19/21    GEB Email to bookkeeper regarding fees.                                          0.10
                                                                                           400.00/hr        40.00

05/20/21    GEB Emails with bookkeeper regarding adjustment to report.                       0.10
                                                                                           400.00/hr        40.00

            GEB Follow up emails regarding status.                                           0.10
                                                                                           400.00/hr        40.00

            GEB Receive updated operating report.                                            0.10
                                                                                           400.00/hr        40.00

05/21/21    GEB Receive operating report and begin review.                                   0.20
                                                                                           400.00/hr        80.00

            GEB Finalize review of operating report.                                         0.30
                                                                                           400.00/hr       120.00

            GEB Finalize review of report, prepare cover page and signature page and         0.20
                email to Mr. Linett regarding review.                                      400.00/hr        80.00

            GEB Em~ils with Mr. Smaha and Mr. Linett regarding operating report issues.      0.20
                                                                                           400.00/hr        80.00

05/24/21    GEB Confer with Mr. Smaha regarding operating report.                            0.10
                                                                                           400.00/hr        40.00

           · GEB Finalize report and arrange for filing.                                     0.20
                                                                                           400.00/hr        80.00

05/27/21    GEB Review status of various pending matters and prepare memorandum              0.10
                rygarding ongoing dates.                                                   400.00/hr        40.00

05/28/21    GEB Emails with Mr. Linett regarding cash sales.                                 0.10
                                                                                           400.00/hr        40.00

           For professional services rendered                                                1.90         $760.00

           Previous balance                                                                            $20,991.74


           Balance due                                                                                 $21,751.74


Please make checks payable to: Smaha Law Group
          Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312    Pg.Page
                                                                                             93 of 6
                                                  364


Thank you for your business.




                                         Attorney Summary
Name                                                                  Hours       Rate ---'A--"m~ou=n~t
Gustavo Bravo                                                          1.90     400.00        $760.00
           Case 19-05831-LA11        Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312        Pg. 94 of
                                                           364                                            Page       5


    In Reference To:          CASE ADMINISTRATION


           Professional Services

                                                                                         Hrs/Rate          Amount

06/01/21    GEB Review docket and file regarding upcoming deadlines, confinn extension       0.10
                and look to draft stipulation.                                             400.00/hr         40.00

            GEB Telephone conference with court regarding hearing date, receive              0.20
                stipulation signature, revise order and prepare for submission.            400.00/hr         80.00

06/03/21    GEB Receive notice from creditor regarding contact information.                  0.10
                                                                                           400.00/hr         40.00

            GEB Telephone call to court regarding status of orders.                          0.10
                                                                                           400.00/hl'        40.00

06/07/21    GEB Emails with counsel regarding status of operating reports.                   0.10
                                                                                           400.00/hr         40.00

06/14/21    GEB Check on status of various matters and work on updates.                     0.20
                                                                        /
                                                                                          400.00/hr          80.00

06/21/21    GEB Emails regarding outstanding items.                                         0.10
                                                                                          400.00/hr          40.00

            GEB Emails with Ms. Smith regarding account status.                             0.20
                                                                                          400.00/hr          80.00

            GEB Follow up emails with Ms. Smith and begin review of materials for           0.30
                operating repo1i.                                                         400.00/hr         120.00

06/22/21    GEB Work on operating rep01id1angeover.                                         0.30
                                                                                          400.00/hr         120.00

            GEB Review details on operating report and work on same.                        0.90
                                                                                          400.00/hr         360.00

            GEB Email to Ms. Smith regarding operating report and issues.                   0.20
                                                                                          400.00/hr          80.00

            GEB Email from Ms. Smith regarding issues on operating repmi.                   0.10
                                                                                          400.00/hr          40.00

06/23/21    GEB Receive and review order on continuance.                                    0.10
                                                                                          400.00/hr          40.00

06/24/21    GEB Emails with Mr. Linett regarding issues on insurance.                       0.10
                                                                                          400.00/hr          40.00

            GEB Confer with Mr. Smaha regarding hearing ..                                  0.10
                                                                                          400.00/hr          40.00

            GEB Look into status of various matters.                                        0.10
                                                                                          400.00/hr          40.00
           Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312        Pg. 95 of
                                                          364                                             Page        6


                                                                                      Hrs/Rate             Amount

06/24/21    GEB Review court calendar and confinn hearing on status.                     0.10
                                                                                       400.00/hr               40.00

            GEB Emails with Ms. Smith regarding operating report.                         0.20
                                                                                      / 400.00/hr              80.00

            GEB Emails with Mr. Linett regarding hearing.                                0.10
                                                                                       400.00/hr              40.00

            GEB Attend status conference.                                                1.30
                                                                                       400.00/hr             520.00

            GEB Confer with Mr. Smaha regarding status.                                  0.10
                                                                                       400.00/hr              40.00

06/25/21    GEB Review dperating report items and follow up with Mr. Smaha.              0.20
                                                                                       400.00/hr              80.00

            GEB Email to Mr. Linett regarding property tax issues.                       0.20
                                                                                       400.00/hr              80.00

06/28/21    GEB Email follow up regarding operating reports.                             0.10
                                                                                       400.00/hr              40.00

           For professional services rendered                                             5.60          $2,240.00

           Previous balance                                                                           $21,751.74


           Balance due                                                                                $23,991.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours       Rate ---=A'-"m"-'=o==un....,t
Gustavo Bravo                                                                  5.60     400.00         $2,240.00
           Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43    Doc 312       Pg. 96 of
                                                                                                       Page      4
                                                            364
    In Reference To:          CASE ADMINISTRATION


           Professional Services

                                                                                       Hrs/Rate         Amount

07/07/21    GEB Email from Mr. Linett regarding status.                                    0.10
                                                                                         400.00/hr        40.00

07/14/21    GEB Emails with Ms. Smith regarding operating report.                         0.10
                                                                                        400.00/hr         40.00

            GEB Finalize operating report for May.                                        0.20
                                                                                        400.00/hr         80.00

            GEB Emails with Ms. Smith regarding payments, operating report draft and      0.40
                email to Mr. Linett regarding same.                                     400.00/hr        160.00

            GEB Email to Mr. Linett regarding consent.                                    0.10
                                                                                        400.00/hr         40.00

            GEB Follow up on filings.                                                     0.10
                                                                                        400.00/hr         40.00

07/15/21    GEB Email follow up regarding operating agreements.                           0.10
                                                                                        400.00/hr         40.00

            GEB Emails with Mr. Linett regarding operating report and other issues.       0.20
                                                                                        400.00/hr         80.00

07/16/21    GEB Follow up on rep01ts.                                                     0.10
                                                                                        400.00/hr         40.00

            GEB Emails regarding status of operating report and plan formation.           0.20
                                                                                        400.00/hr         80.00

            GEB Receive operating report information.                                     0.10
                                                                                        400.00/hr         40.00

07/19/21    GEB Email regarding status from Mr. Linett.                                   0.10
                                                                                        400.00/hr         40.00

            GEB Receive and review updated documents and operating report status.         0.20
                                                                                        400.00/hr         80.00

            GEB Confer with Mr. Smaha regarding status.                                   0.20
                                                                                        400.00/hr         80.00

            GEB Confer with staff regarding filings.                                      0.10
                                                                                        400.00/hr        40.00

            GEB Confirm filings and follow up with Mr. Smaha.                              0.10
                                                                                       · 400.00/hr       40.00

07/26/21    GEB Emails with Ms. Smith regarding operating report.                         0.20
                                                                                        400.00/hr        80.00
                 Case 19-05831-LA11         Filed 01/11/22         Entered 01/11/22 09:20:43   Doc 312        Pg.Page
                                                                                                                  97 of       5
                                                                     364

                                                                                                 Hrs/Rate           Amount

    07/26/21      GEB Email to Mr. Gonill regarding sales.                                          0.10
                                                                                                  400.00/hr            40.00

                  GEB Emails with Ms. Smith and Mr. Linett regarding status.                        0.20
                                                                                                  400.00/hr            80.00

    07/27/21       JLS   Emails Mr. Linett regarding hearing issues.                                0.10
                                                                                                  550.00/hr            55.00

    07 /28/21      JLS   Preliminary emails regarding tentative.                                    0.30
                                                                                                  550.00/hr           165.00

                  GEB Review operating report, revise same and anange for filing.                   0.40
                                                                                                  400.00/hr           160.00

    07 /29/21     GEB Email regarding operating report and anange for filing.                       0.10
                                                                                                  400.00/hr            40.00

    07 /3 0/21     JLS   Review of court notices.                                                   0.10
                                                                                                  550.00/hr            55.00

                  For professional services rendered                                                3.90         $1,635.00

                  Previous balance                                                                              $23,991.74


                  Balance due                                                                                   $25,626.74
\


    Please make checks payable to: Smaha Law Group


    Thank you for your business.




                                                        Attorney Summary
    Name                                                                                 Hours       Rate _ _A'--"-'-m=o=un"""t
    JOHN L. SMAHA                                                                         0.50     550.00          $275.00
    Gustavo Bravo                                                                         3.40     400.00        $1,360.00
             Case 19-05831-LA11          Filed 01/11/22        Entered 01/11/22 09:20:43      Doc 312       Pg.Page
                                                                                                               98 of 5
                                                                 364
      In Reference To:           CASE ADMINISTRATION


              Professional Services

                                                                                               Hrs/Rate        Amount

 08/05/21      JLS    Emails Mr. Linett regarding insurance.                                      0.10
                                                                                                550.00/hr        55.00

 08/09/21      JLS    Confer with Mr. Bravo regarding bank claim.                                 0.10
                                                                                                550.00/hr        55.00

 08/10/21      JLS    Review of emails regarding bank offer on extension of credit.               0.10
                                                                                                550.00/hr        55.00

               JLS    Confer with Mr. Bravo regarding approvals needed.                           0.10
                                                                                                550.00/hr        55.00

 08/19/21      GEB Receive request from U.S. Trustee for special notice, detennine need.          0.10
                                                                                                400.00/hr        40.00

· 08/23/21    GEB Work on operating report.                                                       0.50
                                                                                                400.00/hr       200.00

 08/25/21     GEB Finalize review of operating report.                                            0.20
                                                                                                400.00/hr        80.00

              GEB Put together operating report package and email to Mr. Linett and               0.20
                  bookkeeper.                                                                   400.00/hr        80.00

               GEB Email from Mr. Linett regarding operating report and hearing.                  0.10
                                                                                                400.00/hr        40.00

               GEB Emails with Mr. Linett regarding hearing.                                      0.10
                                                                                                400.00/hr        40.00

 08/26/21     GEB Confer with staffregarding various filings.                                     0.10
                                                                                                400.00/hr        40.00

 08/27/21     GEB Receive defective order notification, telephone call with court regarding       0.20
                  reason for order and clarification.                                           400.00/hr        80.00

              For professional services rendered                                                  1.90         $820.00

              Previous balance                                                                              $25,626.74


              Balance due                                                                                   $26,446.74


Please make checks payable to: Smaha Law Group


Thank you for your business.
       Case 19-05831-LA11             Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312     Pg. Page
                                                                                                   99 of 6
                                                         364




                                                Attorney Summary
Name                                                                          Hours    Rate        Amount
JOHN L. SMAHA                                                                  0.40   550.00      $220.00
Gustavo Bravo                                                                  1.50   400.00      $600.00




           ·~- .. »:.. ··~·   1.·J~
           Case 19-05831-LA11         Filed 01/11/22        Entered 01/11/22 09:20:43      Doc 312      Pg. 100
                                                                                                          Page      4
                                                            of 364

    In Reference To:          CASE ADMINISTRATION


           Professional Services

                                                                                           Hrs/Rate        Amount

09/03/21    JLS    Telephone conference with Mr. Linett regarding operating issues.           0.10
                                                                                            550.00/hr       55.00

09/08/21    GEB Emails with Ms. Hong regarding report.                                        0.10
                                                                                            400.00/hr       40.00

            GEB Review issues on reports.                                                     0.10
                                                                                            400.00/hr       40.00

09/09/21    GEB Review status ofreports and analyze issues raised by U.S. Trustee.            0.50
                                                                                            400.00/hr      200.00

            GEB Work on revisions to order.                                                   0.20
                                                                                            400.00/hr       80.00

            GEB Update report for May 2021 and determine appropriate filing procedures.       0.30
                                                                                            400.00/hr      120.00

            GEB Confer with staff regarding changes.                                          0.10
                                                                                            400.00/hr       40.00

            GEB Finalize May amended report and receive authority to sign off.                0.20
                                                                                            400.00/hr       80.00

            GEB Finalize May changes to operating report and confer with staff regarding      0.20
                process.                                                                    400.00/hr       80.00

            GEB Finalize June changes to operating report and arrange for filing.             0.20
                                                                                            400.00/hr       80.00

            GEB Finalize changes to July report.                                              0.30
                                                                                            400.00/hr      120.00

            GEB Email to Ms. Hong regarding report.                                           0.10
                                                                                            400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding timing of appeals and other matters.          0.10
                                                                                            400.00/hr       40.00

09/10/21    JLS    Email Mr. Gorrill regarding homestead.                                     0.10
                                                                                            550.00/hr       55.00

09/20/21    GEB Email to Ms. Smith regarding operating report.                                0.10
                                                                                            400.00/hr       40.00

            GEB Email from Ms. Smith regarding operating report.                              0.10
                                                                                            400.00/hr       40.00

09/21/21    GEB Review operating report items, prepare various questions and finalize         0.50
                draft.                                                                      400.00/hr      200.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312       Pg. 101
                                                                                                          Page    5
                                                         of 364

                                                                                          Hrs/Rate         Amount

09/21/21    GEB Email to Ms. Smith regarding operating report issues.                         0.20
                                                                                            400.00/hr        80.00

            GEB Emails with Ms. Smith regarding petty cash issues.                            0.10
                                                                                            400.00/hr        40.00

            GEB Email to Mr. Smaha regarding operating report issues.                         0.10
                                                                                            400.00/hr        40.00

            GEB Follow up emails with Mr. Smaha and Ms. Smith regarding report.               0.20
                                                                                            400.00/hr        80.00

            GEB Emails from Mr. Linett regarding litigation matters, follow up with Mr.       0.20
                Smaha regarding concerns and report status.                                 400.00/hr        80.00

            GEB Follow up on status of operating reports.                                     0.10
                                                                                            400.00/hr        40.00

09/23/21    GEB Confer with Mr. Smaha regarding report and other issues.                     0.30
                                                                                           400.00/hr        120.00

            GEB Emails with Ms. Smith regarding agreement.                                   0.10
                                                                                           400.00/hr         40.00

09/24/21    GEB Receive update on operating report, review and note issues.                  0.30
                                                                                           400.00/hr        120.00

            GEB Email to Ms. Smith regarding ongoing concerns regarding operating            0.20
                reports.                                                                   400.00/hr         80.00

09/27/21    GEB Follow up email to Ms. Smith regarding operating report status.              0.10
                                                                                           400.00/hr         40.00

09/28/21    GEB Email to Ms. Smith regarding status.                                         0.10
                                                                                           400.00/hr         40.00

            GEB Receive email from Ms. Smith regarding operating report.                     0.10
                                                                                           400.00/hr         40.00

09/29/21    JLS   Emails Mr. Linett regarding operating issues.                              0.10
                                                                                           550.00/hr         55.00

09/30/21    GEB Review status of operating report and other items needed.                    0.20
                                                                                           400.00/hr         80.00

            GEB Finalize revisions to July operating report and final review of August       0.20
                report.                                                                    400.00/hr         80.00

           For professional services rendered                                                5.90        $2,405.00

           Previous balance                                                                             $26,446.74
         Case 19-05831-LA11        Filed 01/11/22     Entered 01/11/22 09:20:43   Doc 312     Pg.Page
                                                                                                  102   6
                                                      of 364

                                                                                                  Amount


           Balance due                                                                         $28,851.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                        Hours     Rate _ _A-m~ou~n~t
JOHN L. SMAHA                                                                 0.30   550.00       $165.00
Gustavo Bravo                                                                 5.60   400.00     $2,240.00
            Case 19-05831-LA11          Filed 01/11/22       Entered 01/11/22 09:20:43            Doc 312      Pg.Page
                                                                                                                   103 5
                                                             of 364
     In Reference To:          CASE ADMINISTRATION


            Professional Services

                                                                                                  Hrs/Rate        Amount

10/05/21     JLS    Emails Mr. Linett regarding administration.                                      0.20
                                                                                                   550.00/hr       110.00

10/08/21     GEB Review materials for plan, confer with Mr. Smaha and detennine                      0.20
                 remaining items, follow up on status of payments.                                 400.00/hr        80.00

10/26/21     GEB Emails regarding status of documents and reports to Jem1ifer Smith.                 0.20
                                                                                                   400.00/hr        80.00

             GEB Pull operating report.                                                              0.10
                                                                                                   400.00/hr        40.00

             GEB Review operating report, unable to determine what is provided and email             0.30
                 to Ms. Smith regarding request to re-do.                                          400.00/hr       120.00

             GEB Various emails with Ms. Smith regarding operating repo1i status.                    0.10
                                                                                                   400.00/hr        40.00

10/27/21     GEB Work on operating report issues.                                                    0.40
                                                                                                   400.00/hr       160.00

 10/28/21    GEB Finalize draft of report and confer with ·staff regarding filing and status.        0.20
                                                                                                   400.00/hr        80.00

             GEB Emails regarding operating report.                                                  0.10
                                                                                                   400.00/hr         N/C

            For professional services rendered                                                       1.80        $710.00

            Previous balance                                                                                   $28,851.74


            Balance due                                                                                        $29,561.74


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                     Attorney Summary
Name                                                                                      Hours       Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                              0.20    550.00        $110.00
Gustavo Bravo                                                                              1.50    400.00        $600.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312         Pg.Page
                                                                                                                 104 4
                                                          of 364
     In Reference To:           CASE ADMINISTRATION


            Professional Services

                                                                                             Hrs/Rate               Amount

 11/17/21    GEB Emails with Ms. Smith regarding agreement and report.                           0.10
                                                                                               400.00/hr                40.00

 11/29/21    GEB Review status ofreports and follow up with Mr. Smaha.                           0.10
                                                                                               400.00/hr                40.00

             GEB Work on response for changes to reports and reimbursements.                     0.20
                                                                                               400.00/hr                80.00

 11/30/21    JPT    Meeting with Mr. Linett regarding review of quitclaim deed and              0.20
                    execution and notarization of same.                                       325.00/hr                 65.00

             GEB Email to Ms. Smith regarding operating report.                                 0.10
                                                                                              400.00/hr                 40.00

             GEB Email from Ms. Smith regarding status.                                         0.10
                                                                                              400.00/hr                 40.00

            For professional services rendered                                                   0.80              $305.00

            Previous balance                                                                                  $29,561.74


            Balance due                                                                                       $29,866.74


Please make checks payable to: Smaha Law Group


'fhank you for your business.




                                                   Attorney Summary
Name                                                                                 Hours       Rate _ ___,A'""""m'-'-'-"-o=un~t
Gustavo Bravo                                                                         0.60     400.00              $240.00
John Paul Teague                                                                      0.20     325.00               $65.00
       Case 19-05831-LA11              Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312      Pg. 105
                                                         of 364                                     Page       4


     In Reference To:          CASE ADMINISTRATION


            Professional Services

                                                                                     Hrs/Rate        Amount

 12/02/21    GEB Emails with Mr. Smith regarding operating report.                      0.10
                                                                                      400.00/hr        40.00

             GEB Email to Mr. Hebrank regarding hearing.                                0.20
                                                                                      400.00/hr        80.00

 12/03/21    GEB Follow up telephone call to bookkeeper regarding report.               0.10
                                                                                      400.00/hr        40.00

             GEB Telephone call to Mr. Hebrank regarding status.                        0.10
                                                                                      400.00/hr        40.00

 12/06/21    GEB Telephone conference to Ms. Smith regarding status.                    0.10
                                                                                      400.00/hr        40.00

             GEB Emails regarding operating reports to Ms. Smith.                       0.10
                                                                                      400.00/hr        40.00

 12/15/21    GEB Emails regarding operating reports.                                    0.10
                                                                                      400.00/hr        40.00

             GEB Email to Ms. Smith regarding operating reports.                        0.10
                                                                                      400.00/hr        40.00

             GEB Emails with Ms. Smith regarding status of operating reports.           0.20
                                                                                      400.00/hr        80.00

 12/16/21    GEB Email to Ms. Smith regarding operating reports.                        0.10
                                                                                      400.00/hr        40.00

 12/23/21    GEB Receive email regarding operating report.                              0.10
                                                                                      400.00/hr        40.00

            GEB Email to Ms. Chiang regarding status.                                   0.10
                                                                                      400.00/hr        40.00

 12/27/21    JLS    Follow up transition matters.                                       0.20
                                                                                      550.00/hr       110.00

             GEB Work on operating report for October.                                  0.20
                                                                                      400.00/hr        80.00

            For professional services rendered                                          1.80        $750.00

            Previous balance                                                                      $29,866.74


            Balance due                                                                           $30,616.74


Please make checks payable to: Smaha Law Group
       Case 19-05831-LA11      Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312     Pg. 106
                                                of 364                                      Page     5




Thank you for your business.




                                         Attorney Summary
Name                                                                 Hours       Rate ____A"""m~ou=n~t
JOHN L. SMAHA                                                          0.20    550.00        $110.00
Gustavo Bravo                                                          1.60    400.00        $640.00
   Case 19-05831-LA11         Filed 01/11/22         Entered 01/11/22 09:20:43          Doc 312      Pg. 107
                                                     of 364

                           CLAIMS ADMINISTRATION OBJECTIONS


          JLS                 GEB                    JPT                  KMF
MONTH     HR                  HR                     HR                    HR                          TOTAL
INCURRED. $550    JLSFee      $400     GEBFee        $325     JPTFee      $450     KMFFee   TOTAL FEES HOURS
Jul-20     0.00   $      -      0.20   $    80.00      0.00   $      -      0.00   $    -   $     80.00        0.20
Aug-20     0.00   $      -      0.50   $   200.00      0.00   $      -      0.00   $    -   $    200.00        0.50
Sep-20     0.00   $      -     0.00    $        -      0.00   $     -       0.00   $    -   $         -        0.00
Oct-20     0.00   $      -     0.00    $        -      0.00   $      -      0.00   $    -   $         -        0.00
Nov-20     0.00   $      -     0.00    $        -      0.00   $     -       0.00   $    -   $         -        0.00
Dec-20     0.00   $      -     0.10    $    40.00      0.00   $     -       0.00   $    -   $     40.00    I   0.10
Jan-21     0.00   $      -     0.00    $        -      0.00   $     -       0.00   $    -   $         -        0.00
Feb-21     0.00   $      -     0.80    $   320.00      0.00   $     -       0.00   $    -   $    320.00        0.80
Mar-21     0.00   $    ' -     0.60    $   240.00      0.00   $     -       0.00   $    -   $    240.00        0.60
Jun-21     0.00   $      -     0.30    $   120.00      0.20   $, 65.00      0.00   $    -   $    185.00        0.50
Aug-21     0.00   $      -     0.00    $        -      0.00   $     -       0.00   $    -   $         -        0.00
Sep-21     0.40   $ 220.00     0.00    $        -      0.00   $     -       0.00   $    -   $    220.00        0.40
Oct-21     0.00   $     -      0.60    $   240.00      0.00   $     -       0.00   $    -   $    240.00        0.60
Nov-21     0.00   $      -     0.00    $        -      0.00   $     -      o.oo    $    -   $         -        0.00
TOTALS:    0.40      220.00    3.10        1240.00     0.20       65.00    0.00        0.00 $   1,525.00       3.70




                                                                                                           Linett
             Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43           Doc 312      Pg. 108
                                                                                                             Page    6
                                                          of 364

     In Reference To:           CLAIMS ADMINISTRATION & OBJECTIONS


             Professional Services

                                                                                              Hrs/Rate       Amount

07 /07 /20    GEB Emails and telephone call to Banco Popular regarding forbearance.              0.20
                                                                                               400.00/hr        80.00

             For professional services rendered                                                   0.20         $80.00

             Previous balance                                                                               $5,240.50


             Balance due                                                                                    $5,320.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                  Hours       Rate -~A~m~o=un"""'t
Gustavo Bravo                                                                          0.20     400.00        $80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312         Pg.Page
                                                                                                                 109 6
                                                         of 364
     In Reference To:          CLAIMS ADMINISTRATION & OBJECTIONS


           Professional Services

                                                                                             Hrs/Rate              Amount

08/18/20    GEB Receive and review amended claim from IRS and update claim items.               0.20
                                                                                              400.00/hr                80.00

            GEB Emails from Mr. Linett regarding IRS receipts and 2019 return.                  0.20
                                                                                              400.00/hr                80.00

            GEB Email from counsel for US Bank regarding stipulation to go after assets of      0.10
                Evolutionary Energy.                                                          400.00/hr                40.00

           For professional services rendered                                                    0.50              $200.00

           Previous balance                                                                                     $5,320.50


           Balance due                                                                                          $5,520.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                Hours        Rate _ ____,A'""m'"'-=o=un'""'t
Gustavo Bravo                                                                        0.50      400.00              $200.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312      Pg.Page
                                                                                                          110 6
                                                          of 364
     In Reference To:          CLAIMS ADMINISTRATION & OBJECTIONS


           Professional Services

                                                                                        Hrs/Rate        Amount

12/28/20    GEB Confer with staff regarding filing of objection to claim.                  0.10
                                                                                         400.00/hr       40.00

           For professional services rendered                                               0.10        $40.00

           Previous balance                                                                           $5,520.50


           Balance due                                                                                $5,560.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                            Hours       Rate        Amount
Gustavo Bravo                                                                    0.10     400.00        $40.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43              Doc 312      Pg. 111
                                                                                                               Page    8
                                                         of 364

     In Reference To:          CLAIMS ADMINISTRATION & OBJECTIONS


           Professional Services

                                                                                                Hrs/Rate        Amount

02/02/21    GEB Email to Mr. Koch regarding stipulation proposal.                                  0.20
                                                                                                 400.00/hr        80.00

02/05/21    GEB Work on stipulation and order to continue hearing.                                 0.30
                                                                                                 400.00/hr       120.00

02/08/21    GEB Draft stipulation to continue hearing and draft order regarding same.              0.30
                                                                                                 400.00/hr       120.00

           For professional services rendered                                                       0.80       $320.00

           Previous balance                                                                                   $5,560.50


           Balance due                                                                                        $5,880.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                    Hours       Rate       Amount
Gustavo Bravo                                                                            0.80     400.00       $320.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                            112     7
                                                         of 364
     In Reference To:          CLAIMS ADMINISTRATION & OBJECTIONS


           Professional Services

                                                                                           Hrs/Rate         Amount

03/10/21    GEB Draft stipulation.                                                            0.20
                                                                                            400.00/hr          80.00

            GEB Email to Mr. Koch regarding stipulation.                                      0.10
                                                                                            400.00/hr         40.00

            GEB Draft order.                                                                  0.10
                                                                                            400.00/hr         40.00

            GEB Email from Mr. Koch and arrange for submission of stipulation and order.      0.20
                                                                                            400.00/hr         80.00

           For professional services rendered                                                  0.60         $240.00

           Previous balance                                                                              $5,880.50


           Balance due                                                                                   $6,120.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                              Hours        Rate _ ___,A-"m~ou=n=t
Gustavo Bravo                                                                       0.60     400.00        $240.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43            Doc 312        Pg. 113
                                                           of 364                                                    Page         7

     In Reference To:          CLAIMS ADMINISTRATION & OBJECTIONS


            Professional Services

                                                                                                Hrs/Rate              Amount

06/17/21     JPT    Review objection to motion to pay retainer and look up reply deadline in        0.20
                    local rules and emails with Mr. Smaha regarding same.                         325.00/hr               65.00

 06/22/21    GEB Draft stipulation and order.                                                       0.20
                                                                                                  400.00/hr               80.00

             GEB Email to Mr. Koch regarding stipulation.                                           0.10
                                                                                                  400.00/hr               40.00

            For professional services rendered                                                      0.50              $185.00

            Previous balance                                                                                       $6,120.50


            Balance due                                                                                            $6,305.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                    Hours       Rate _ __,A~m-'--'""'-ou=n-'-=t
Gustavo Bravo                                                                            0.30     400.00             $120.00
John Paul Teague                                                                         0.20     325.00              $65.00 ,
           Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                             114   7
                                                        of 364
     In Reference To:          CLAIMS ADMINISTRATION & OBJECTIONS


           Professional Services

                                                                                           Hrs/Rate         Amount

09/22/21    JLS    Review of memorandum of costs on appeal, declarations and amounts           0.40
                   sought.                                                                   550.00/hr      220.00

           For professional services rendered                                                  0.40        $220.00

           Previous balance                                                                               $6,305.50


           Balance due                                                                                    $6,525.50


Please make checks payable to: Smaha Law Grot1p


Thank you for your business.




                                                  Attorney Summary
Name                                                                               Hours       Rate        Amount
JOHN L. SMAHA                                                                       0.40     550.00        $220.00
            Case 19-05831-LA11         Filed 01/11/22   Entered 01/11/22 09:20:43            Doc 312         Pg.Page
                                                                                                                 115 7
                                                        of 364
     In Reference To:          CLAIMS ADMINISTRATION & OBJECTIONS


            Professional Services

                                                                                             Hrs/Rate               Amount

10/13/21     GEB Confer with Mr. Smaha regarding various pending matters including              0.50
                 stipulation, plan changes and other items.                                   400.00/hr              200.00

 10/15/21    GEB Receive and review updated claims.                                             0.10
                                                                                              400.00/hr                40.00

            For professional services rendered                                                   0.60              $240.00

            Previous balance                                                                                    $6,525.50


            Balance due                                                                                         $6,765.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                 Hours       Rate _ ____,A-"m-'-'=-ou=n..,_.t
Gustavo Bravo                                                                         0.60     400.00              $240.00
   Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312    Pg. 116
                                                   of 364

                              FEE EMPLOYMENT APPLICATION

         JLS                  GEB                  JPT                 KMF
MONTH    HR                    HR                  HR                   HR                         TOTAL
INCURRED $550     JLS Fee     $400   GEBFee        $325     JPT Fee    $450   KMFFee   TOTAL FEES HOURS
Apr-20     0.00   $       -     8.50 $ 3,400.00      0.00    $     -    0.00  $    -   $ 3,400.00     8.50
May-20     0.00   $       -     1.40 $   560.00      0.00    $    -     0.00  $    -   $    560.00    1.40
Jun-20     0.00   $       -     0.20 $    80.00      0.00    $     -    0.00  $    -   $     80.00    0.20
Jul-20     0.00   $       -     3.00 $ 1,200.00      0.00    $     -    0.00  $    -   $  1,200.00    3.00
Aug-20     0.00   $      -      5.40 $ 2,160.00      0.00    $    -     0.00  $    -   $ 2,160.00     5.40
Sep-20     0.00   $       -     0.00 $        -      0.00    $    -     0.00  $    -   $         -    0.00
Oct-20     0.00   $       -     0.00 $        -      0.00    $    -     0.00  $    -   $         -    0.00
Nov-20     0.00   $       -     0.00 $        -      0.00    $    -     0.00  $    -   $         -    0.00
Dec-20     0.00   $       -     0.30 $   120.00      0.00    $    -     0.00  $    -   $    120.00    0.30
Jan-21     0.00   $       -     0.00 $        -      0.00    $    -     0.00  $    -   $         -    0.00
Feb-21     0.00   $       -     0.10 $    40.00      0.00   $     -     0.00  $    -   $     40.00    0.10
Mar-21     0.00   $       -     0.00 $        -      0.00    $    -     0.00  $    -   $         -    0.00
Apr-21     0.00   $       -     0.00 $        -      0.00    $    -     0.00  $    -   $         -    0.00
May-21     0.00   $       -     7.00 $ 2,800.00      0.00    $    -     0.00  $    -   $ 2,800.00     7.00
Jun-21     0.40   $ 220.00      1.30 $   520.00      0.00    $    -     0.00  $    -   $    740.00    1.70
Jul-21     0.20   $ 110.00      0.00 $        -      0.00   $     -     0.00  $    -   $    110.00    0.20
Aug-21     0.40   $ 220.00      2.90 $ 1,160.00      0.00   $     -     0.00  $    -   $  1,380.00    3.30
Sep-21     0.00   $       -     0.60 $   240.00      0.00   $     -     0.00  $    -   $    240.00    0.60
Oct-21     0.00   $       -     0.00 $        -      0.00   $     -     0.00  $    -   $         -    0.00
Nov-21     0.00   $       -     1.10 $   440.00      0.00   $     -     0.00  $    -   $    440.00    1.10
Dec-21     0.00   $       -     8.00 $ 3,200.00      0.00   $     -     0.00  $    -   $ 3,200.00     8.00
TOTALS:    1.00   $ 550.00     39.80 $ 15,920.00     0.00   $     -     0.00 $     -   $ 16,470.00   40.80




                                                                                                 Linett
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                             117 11
                                                           of 364
    In Reference To:           FEE/EMPLOYMENT APPLICATIONS


            Professional Services

                                                                                           Hrs/Rate         Amount

04/07 /20    GEB Email from staff regarding fee application items and information.             0.10
                                                                                             400.00/hr        40.00

04/15/20     GEB Confer with staff regarding fee application.                                  0.20
                                                                                             400.00/hr        80.00

04/16/20     GEB Review pre-bill items.                                                        0.10
                                                                                             400.00/hr        40.00

04/21/20     GEB Review materials for fee application and begin working on same.              0.20
                                                                                            400.00/hr         80.00

             GEB Work on notice of motion.                                                    0.20
                                                                                            400.00/hr         80.00

             GEB Draft notice of motion and exhibits to same.                                 0.30
                                                                                            400.00/hr        120.00

             GEB Draft exhibit A to fee application.                                          0.40
                                                                                            400.00/hr        160.00

             GEB Work on fee application.                                                     1.50
                                                                                            400.00/hr        600.00

04/22/20     GEB Work on fee application, review case status and prepare case summary,        2.50
                 gather necessary details regarding same (also usable for plan) and         400.00/hr      1,000.00
                 telephone call to comi regarding hearing.

             GEB Finalize fee application, put together exhibits and other matters.           2.40
                                                                                            400.00/hr        960.00

             GEB Telephone conference with comi regarding hearing dates.                      0.10
                                                                                            400.00/hr         40.00

             GEB Email to staff regarding filing of documents for hearing.                    0.10
                                                                                            400.00/hr         40.00

04/23/20     GEB Review final draft of motion for fees and email to Mr. Linett regarding      0.20
                 same.                                                                      400.00/hr         80.00

             GEB Emails with staff regarding filing of fee application.                       0.10
                                                                                            400.00/hr         40.00

04/24/20     GEB Confirm filing of fee application and notify Mr. Smaha regarding same.       0.10
                                                                                            400.00/hr        40.00

            For professional services rendered                                                 8.50       $3,400.00

            Previous balance                                                                              $5,617.00
         Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312         Pg.Page
                                                                                                          118 12
                                                        of 364

                                                                                                               Amount


           Balance due                                                                                     $9,017.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours       Rate _ __,A....:.:m..:..:.=ou=n-"'t
Gustavo Bravo                                                                  8.50     400.00             $3,400.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                               119 8
                                                          of 364
     In Reference To:          FEE/EMPLOYMENT APPLICATIONS


            Professional Services

                                                                                              Hrs/Rate         Amount

05/04/20     GEB Email to Mr. Duffy regarding fee application and other details.                 0.20
                                                                                               400.00/hr         80.00

05/22/20     GEB Receive and review tentative ruling and confer with Mr. Smaha regarding         0.20
                 same.                                                                         400.00/hr         80.00

05/26/20     GEB Receive and review tentative ruling and confer with Mr. Smaha regarding         0.20
                 same.                                                                         400.00/hr         80.00

05/27 /20    GEB Confer with Mr. Smaha regaTding status of order.                                0.10
                                                                                               400.00/hr ·       40.00

             GEB Telephone call to court regarding submission on tentative ruling.               0.10
                                                                                               400.00/hr         40.00

             GEB Prepare order on fees.                                                          0.30
                                                                                               400.00/hr        120.00

05/28/20     GEB Confer with staff regarding upload of order, review final order and confer      0.10
                 with Mr. Smaha regarding retainer application.                                400.00/hr         40.00

05/29/20     GEB Receive order for fees and email to Mr. Smaha regarding accessing               0.20
                 retainer.                                                                     400.00/hr         80.00

            For professional services rendered                                                    1.40        $560.00

            Previous balance                                                                                 $9,017.00


            Balance due                                                                                      $9,577.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                  Hours       Rate        Amount
Gustavo Bravo                                                                          1.40     400.00        $560.00
           Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                            120 6
                                                        of 364
     In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                          Hrs/Rate            Amount

06/25/20    GEB Emails with Mr. Linett regarding employment of CPA for the 2019 taxes.       0.20
                                                                                           400.00/hr             80.00

           For professional services rendered                                                 0.20             $80.00

           Previous balance                                                                                $9,577.00


           Balance due                                                                                     $9,657.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                             Hours        Rate ---=-A....:.:m~ou=,n=t
Gustavo Bravo                                                                      0.20     400.00             $80.00
           Case 19-05831-LA11        Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312       Pg. 121
                                                         of 364                                            Page      7


    In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                           Hrs/Rate         Amount

07/07/20    GEB Emails with Mr. Linett and SquarMilner regarding employment for tax           0.20
                returns.                                                                    400.00/hr        80.00

07/10/20    GEB Emails with CPA regarding employment for new tax returns.                     0.10
                                                                                            400.00/hr        40.00

07/13/20    GEB Various emails regarding employment of CPA.                                   0.10
                                                                                            400.00/hr        40.00

07/14/20    GEB Review agreement of employment and review status of previous                  0.40
                employment.                                                                 400.00/hr       160.00

            GEB Emails to Mr. Linett and CPA regarding changes to agreement.                  0.30
                                                                                            400.00/hr       120.00

            GEB Emails with Mr. Linett regarding employment.                                  0.10
                                                                                            400.00/hr        40.00

            GEB Emails regarding agreement to remove sections.                                0.10
                                                                                            400.00/hr        40.00
                                       __,,..
            GEB Emails with Mr. Linett, Mr. Evans and others regarding tax retum filing       0.20
                and extensions.                                                             400.00/hr        80.00

            GEB Review IRS rules on extensions and confer with M.r. Evans regarding           0.20
                same.                                                                       400.00/hr        80.00

            GEB Emails regarding employment.                                                  0.10
                                                                                            400.00/hr        40.00

            GEB Work on addendum.                                                             0.10
                                                                                            400.00/lu·       40.00

            GEB Prepare addendum and continue work on application to employ.                  0.30
                                                                                            400.00/hr       120.00

            GEB Email to Mr. Linett and Mr. Evans regarding addendum.                         0.10
                                                                                            400.00/hr        40.00

            GEB Receive email signature from Mr. Evans regarding approval.                    0.10
                                                                                            400.00/hr        40.00

            GEB Receive signature from Mr. Dana Linett and ask for additional documents.      0.10
                                                                                            400.00/hr        40.00

07/15/20    GEB Receive signatures and begin drafting application to employ.                  0.20
                                                                                            400.00/hr        80.00

07/22/20    GEB Email from court regarding no objection to application to employ.             0.10
                                                                                            400.00/hr        40.00
             Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312          Pg. 122
                                                            of 364                                           Page 8


                                                                                          Hrs/Rate              Amount

 07 /22/20    GEB Confer with staff and submit order.                                          0.10
                                                                                             400.00/hr             40.00

              GEB Emails regarding order entered.                                              0.10
                                                                                             400.00/hr             40.00

             For professional services rendered                                                 3.00         $1,200.00

             Previous balance                                                                                $9,657.00


             Balance due                                                                                   $10,857.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                             Hours _ ___,R"""a=t=e _ __,A--"m~ou=n-"=t
Gustavo Bravo                                                                      3.00       400.00         $1,200.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                              123 7
                                                          of 364
    In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                             Hrs/Rate       Amount

08/11/20    GEB Work on application to employ CPA for plan analysis.                            0.80
                                                                                              400.00/hr      320.00

            GEB Draft declaration of disinterest.                                               0.50
                                                                                              400.00/hr      200.00

            GEB Draft order.                                                                    0.20
                                                                                              400.00/hr       80.00

08/12/20    GEB Email from Ms. Chiang regarding agreement.                                      0.10
                                                                                              400.00/hr       40.00

            GEB Email from Ms. Chiang regarding update.                                         0.10
                                                                                              400.00/hr       40.00

            GEB Emails with Ms. Chiang regarding employment application.                        0.10
                                                                                              400.00/hr       40.00

            GEB Follow up with Ms. Chiang regarding application.                                0.10
                                                                                              400.00/hr       40.00

08/13/20    GEB Revise application to employ for Squar Milner's bankruptcy department.          1.70
                                                                                              400.00/hr      680.00

            GEB Emails with Ms. Chiang regarding declarations.                                  0.10
                                                                                              400.00/hr       40.00

            GEB Emails with Ms. Chiang regarding application and status report.                 0.20
                                                                                              400.00/hr       80.00

            GEB Emails with Ms. Chiang regarding application.                                   0.10
                                                                                              400.00/hr       40.00

            GEB Finalize application to employ Squai· Milner and finalize declarations and      0.50
                arrange for filing.                                                           400.00/hr      200.00

08/14/20    GEB Review, revise and finalize application and file.                               0.30
                                                                                              400.00/hr      120.00

            GEB Email to U.S. Trustee ai1d follow up telephone call to Mr. Ortiz.               0.20
                                                                                              400.00/hr       80.00

            GEB Telephone conference with Ms. Chiang regarding status of employment.            0.10
                                                                                              400.00/hr       40.00

            GEB Email from U.S. Trustee regarding position.                                     0.10
                                                                                              400.00/hr       40.00

08/20/20    GEB Receive statement of no opposition.                                             0.10
                                                                                              400.00/hr       40.00
            Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312      Pg.Page
                                                                                                        124   8
                                                         of 364

                                                                                       Hrs/Rate        Amount

 08/24/20    GEB Emails with Ms. Chiang regarding order.                                  0.10
                                                                                        400.001hr        40.00

            For professional services rendered                                             5.40      $2,160.00

            Previous balance                                                                        $10,857.00


            Balance due                                                                             $13,017.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                           Hours       Rate        Amount
Gustavo Bravo                                                                   5.40     400.00      $2,160.00
            Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312      Pg.Page
                                                                                                        125 7
                                                         of 364
     In Reference To:          FEE/EMPLOYMENT APPLICATIONS


            Professional Services

                                                                                       Hrs/Rate        Amount

 12/01/20    GEB Review declaration and arrange for filing.                               0.20
                                                                                        400.00/hr         80.00

             GEB Email from Ms. Chiang regarding declaration and status.                  0.10
                                                                                        400.00/hr         40.00

            For professional services rendered                                             0.30        $120.00

            Previous balance                                                                        $13,017.00


            Balance due                                                                             $13,137.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                           Hours       Rate -~A~m---=-ou=n~t
Gustavo Bravo                                                                   0.30     400.00        $120.00
           Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43    Doc 312         Pg. 126
                                                                                                         Page      9
                                                         of 364

     In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                      Hrs/Rate            Amount

02/25/21    GEB Email regarding application for 2020 taxes.                                0.10
                                                                                         400.00/hr           40.00

           For professional services rendered                                               0.10           $40.00

           Previous balance                                                                           $13,137.00


           Balance due                                                                                $13,177.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours _ __,R-"a=t=e -~A~m-'-'-=-ou=n~t
Gustavo Bravo                                                                  0.10      400.00            $40.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43   Doc 312          Pg.Page
                                                                                                          127     8
                                                         of 364
    In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                     Hrs/Rate            Amount

05/06/21    GEB Receive and review various minute orders.                                  0.10
                                                                                         400.00/lu·       40.00

05/27/21    GEB Emails with Mr. Yale, review agreement and begin working on                0.20
                application t9 employ.                                                   400.00/lu·       80.00

            GEB Work on changes to agreement and work on application to employ.            0.30
                                                                                         400.00/hr       120.00

            GEB Email to and telephone call with Mr. Yale regarding changes to             0.30
                agreement needed.                                                        400.00/hr       120.00

            GEB Confinn changes with Mr. Baumgaiien.                                       0.10
                                                                                         400.00/hr        40.00

            GEB Work on application to employ.                                             1.50
                                                                                         400.00/hr       600.00

            GEB Email from Ms. Yale and forwai·d to Mr. Linett for signature.              0.10
                                                                                         400.00/hr        40.00

            GEB Draft declaration of disinterest.                                          0.40
                                                                                         400.00/hr       160.00

            GEB Draft order.                                                               0.30
                                                                                         400.00/lu·      120.00

            GEB Draft notice of motion for approval of retainer.                           0.30
                                                                                         400.00/hr       120.00

            GEB Email to Yale regarding documents needed.                            I     0.10
                                                                                         400.00/hr        40.00

            GEB Wark on motion to pay retainer.                                            0.30                       '-.,

                                                                                         400.00/hr       120.00

05/28/21    GEB Revise application, declaration and order.                                 0.40
                                                                                         400.00/hr       160.00

            GEB Work on motion for retainer.                                               1.10
                                                                                         400.00/hr       440.00

            GEB Emails with Mr. Linett regai·ding agreement signature.                     0.10
                                                                                         400.00/hr        40.00

            GEB Emails with Mr. Linett regarding employment of Yale and payment.           0.10
                                                                                         400.00/hr        40.00

            GEB Work on application for retainer.                                          0.10
                                                                                         400.00/hr        40.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43      Doc 312      Pg.Page
                                                                                                            128
                                                                                                                  9
                                                            of 364

                                                                                           Hrs/Rate        Amount

 05/28/21    GEB Draft declaration of Mr. Linett.                                             0.20
                                                                                            400.00/hr        80.00

             GEB Finalize declaration of Mr. Linett and finalize all documents.               0.80
                                                                                            400.00/hr       320.00

             GEB Email to Mr. Linett and others regarding applications.                       0.10
                                                                                            400.00/hr        40.00

             GEB Emails with Mr. Linett regarding status.                                     0.10
                                                                                            400.00/hr        40.00

            For professional services rendered                                                7.00       $2,800.00

            Previous balance                                                                            $13,177.00


            Balance due                                                                                 $15,977.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                              Houffi       Ra~ ~~A_m~o=un_t
Gustavo Bravo                                                                      7.00      400.00      $2,800.00
           Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43     Doc 312      Pg. 129
                                                                                                       Page    8
                                                          of 364

     In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                        Hrs/Rate        Amount

06/01/21    GEB Follow up email to Mr. Yale, Ms. Yale and Mr. Baumgarten regarding         0.10
                items needed.                                                            400.00/hr        40.00

            GEB Receive signatures from Mr. Linett and update file status.                 0.10
                                                                                         400.00/hr        40.00

            GEB Receive signatures from Ms. Yale's firm, update package and finalize.      0.20
                                                                                         400.00/hr        80.00

            GEB Telephone call to court regarding hearing date.                            0.10
                                                                                         400.00/hr        40.00

06/03/21    GEB Email from Mr. Linett and Mr. Smaha regarding status of application.       0.20
                                                                                         400.00/hr        80.00

            GEB Receive and review short objection on ex parte.                            0.20
                                                                                         400.00/hr        80.00

            GEB Telephone call from Mr. Duffy regarding status of stipulation and          0.10
                application.                                                             400.00/hr        40.00

06/04/21    GEB Review response regarding employment.                                      0.20
                                                                                         400.00/hr        80.00

06/21/21    JLS    Review of opposition to employment of counsel.                          0.10
                                                                                         550.00/hr        55.00

06/22/21    JLS    Confer with Mr. Bravo regarding response to motion.                     0.30
                                                                                         550.00/hr       165.00 ·

            GEB Receive statement of non-opposition to employment.                         0.10
                                                                                         400.00/hr        40.00

           For professional services rendered                                              1.70        $740.00

           Previous balance                                                                          $15,977.00


           Balance due                                                                               $16,717.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
       Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312    Pg. 130
                                             of 364                                     Page 9



                                     Attorney Summary
Name                                                               Hours      Rate      Amount
JOHN L. SMAHA                                                       0.40     550.00     $220.00
Gustavo Bravo                                                       1.30     400.00     $520.00
             Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312           Pg.Page
                                                                                                                 131 7
                                                             of 364
     In Reference To:           FEE/EMPLOYMENT APPLICATIONS


             Professional Services

                                                                                           Hrs/Rate                  Amount

07 /27 /21    JLS    Emails Mr. Linett regarding Yale retention issues.                       0.20
                                                                                            550.00/hr                  110.00

             For professional services rendered                                                0.20                 $110.00

             Previous balance                                                                                 $16,717.00


             Balance due                                                                                      $16,827.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Swnmary
Name                                                                               Hours       Rate _ __,_A""""m..c.,. ;c_ou=n..,_,t
JOHN L. SMAHA                                                                       0.20     550.00                 $110.00




                                                                          \
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43   Doc 312      Pg.Page
                                                                                                        132 8
                                                           of 364
    In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                       Hrs/Rate       Amount

08/18/21    GEB Emails with Mr. Linett regarding payment of fees.                         0.10
                                                                                        400.00/hr       40.00

08/23/21    JLS    Review of tentative on Yale claim, follow up Mr. Linett.               0.20
                                                                                        550.00/hr      110.00

            GEB Email to Mr. Linett regarding tentative ruling.                           0.10
                                                                                        400.00/hr       40.00

            GEB Emails with Mr. Smaha and to Mr. Koch and Mr. Gorrill regarding           0.20
                tentative.                                                              400.00/hr       80.00

            GEB Telephone conference with Mr. Linett regarding approval.                  0.10
                                                                                        400.00/hr       40.00

08/25/21    GEB Work on order.                                                            0.10
                                                                                        400.00/hr       40.00

            GEB Draft order for retainer and update order for employment.                 0.30
                                                                                        400.00/hr      120.00

08/26/21    JLS    Preparation for hearing.                                               0.20
                                                                                        550.00/hr      110.00

            GEB Confer with Mr. Smaha regarding hearing and details.                      0.20
                                                                                        400.00/hr       80.00

            GEB Prepare notice of lodgment.                                               0.30
                                                                                        400.00/hr      120.00

            GEB Revise order.                                                             0.20
                                                                                        400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding results of hearing.                       0.10
                                                                                        400.00/hr       40.00

08/30/21    GEB Receive order language on employment.                                     0.10
                                                                                        400.00/hr       40.00

            GEB Review list of things to do and review emails from Mr. Linett.            0.10
                                                                                        400.00/hr       40.00

            GEB Review order and set up new procedure.                                    0.10
                                                                                        400.00/hr       40.00

            GEB Review order and email to Mr. Koch and Mr. G01Till.                       0.40
                                                                                        400.00/hr      160.00

            GEB Emails with Mr. Koch regarding status and other matters.                  0.10
                                                                                        400.00/hr      40.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43                               Doc 312               Pg.Page
                                                                                                                                            133            9
                                                          of 364

                                                                                                                      Hrs/Rate                 Amount

 08/30/21    GEB Email from Mr. Gorrill, finalize order and arrange for submission.                                      0.10
                                                                                                                       400.00/hr                   40.00

 08/31/21    GEB Submit order on employment of special counsel.                                                          0.20
                                                                                                                       400.00/hr                   80.00

             GEB Telephone call to court regarding order on employment.                                                  0.10
                                                                                                                       400.00/hr                  40.00

            For professional services rendered                                                                           3.30              $1,380.00

            Previous balance                                                                                                            $16,827.00


            Balance due                                                                                                                 $18,207.00
                                                                                      _ .. :. ___._.,. ......   ,k,



Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                         Hours                        Rate _ __,A....:.:m..:..:.o=u=n"""t
JOHN L. SMAHA                                                                                     0.40                  550.00              $220.00
Gustavo Bravo                                                                                     2.90                  400.00            $1,160.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312      Pg. 134
                                                         of 364                                           Page 8

     In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                           Hrs/Rate        Amount

09/01/21    GEB Receive and review order.                                                     0.10
                                                                                            400.00/hr        40.00

09/07/21    GEB Confer with Mr. Smaha regarding special counsel status and other orders,      0.10
                discuss fees.                                                               400.00/hr        40.00

            GEB Emails regarding pending fees for Bal(er Tilly.                               0.10
                                                                                            400.00/hr        40.00

            GEB Telephone call to Baker Tilly regarding status.                               0.10
                                                                                            400.00/hr        40.00

            GEB Emails regarding returns for individual and status.                           0.10
                                                                                            400.00/hr        40.00

09/08/21    GEB Receive order on payment of retainer.                                         0.10
                                                                                            400.00/hr        40.00

           For professional services rendered                                                 0.60        $240.00

           Previous balance                                                                             $18,207.00


           Balance due                                                                                  $18,447.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                               Hours       Rate       Amount
Gustavo Bravo                                                                       0.60     400.00       $240.00
          Case 19-05831-LA11          Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg.Page
                                                                                                 135 8
                                                       of 364
     In Reference To:          FEE/EMPLOYMENT APPLICATIONS

                                                                                                Amount

           Previous balance                                                                  $18,447.00


           Balance due                                                                       $18,447.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312      Pg. 136
                                                                                                              Page    6
                                                           of 364

     In Reference To:          FEE/EMPLOYMENT APPLICATIONS


            Professional Services

                                                                                               Hrs/Rate        Amount

 11/19/21    GEB Email from Mr. Linett regarding status.                                          0.10
                                                                                                400.00/hr        40.00

             GEB Review fee application in State Court.                                           0.20
                                                                                                400.00/hr        80.00
             /

             GEB Confer with Mr. Smaha regarding status.                                          0.10
                                                                                                400.00/hr        40.00

             GEB Review updated documents and follow up with Mr. Smaha.                           0.10
                                                                                                400.00/hr        40.00

             GEB Emails with Mr. Gorrill regarding status of signatures and fee application.      0.20
                                                                                                400.00/hr        80.00

 11/29/21    GEB Emails with Mr. Smaha and Mr. Linett regarding insider salary.                   0.10
                                                                                                400.00/hr        40.00

             GEB Review email regarding insider salary and begin drafting response.               0.20
                                                                                                400.00/hr        80.00

             GEB Confer with Mr. Smaha regarding insider salary issues.                           0.10
                                                                                                400.00/hr        40.00

            For professional services rendered                                                     1.10       $440.00

            Previous balance                                                                                $18,447.00


            Balance due                                                                                     $18,887.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                                  Hours        Rate -~A~m~ou~n~t
Gustavo Bravo                                                                           1.10     400.00       $440.00
      Case 19-05831-LA11            Filed 01/11/22       Entered 01/11/22 09:20:43          Doc 312      Pg. 137
                                                         of 364                                           Page      7


    In Reference To:          FEE/EMPLOYMENT APPLICATIONS


           Professional Services

                                                                                            Hrs/Rate       Amount

12/07/21    GEB Emails with Mr. Smaha regarding fee application.                               0.10
                                                                                             400.00/hr      40.00

            GEB Confer with Mr. Smaha regarding status of fee application by counsel           0.20
                Snider.                                                                      400.00/hr      80.00

            GEB Emails to Mr. Hebrank and Mr. Gorrill regarding fee application by             0.20
                Snider.                                                                      400.00/hr      80.00

            GEB Email to Ms. Potter regarding billings and worksheets.                         0.10
                                                                                             400.00/hr      40.00

12/08/21    GEB Emails with staff and others regarding fee application.                        0.10
                                                                                             400.00/hr      40.00

12/09/21   GEB Follow up with staff regarding documents.                                       0.10
                                                                                             400.00/hr      40.00

12/15/21   GEB Emails with Mr. Gorrill and Ms. Chiang regarding fee applications.              0.20
                                                                                             400.00/hr      80.00

           GEB Work on fee application.                                                        0.20
                                                                                             400.00/hr      80.00

           GEB Emails with Ms. Chiang regarding fee application.                               0.20
                                                                                             400.00/hr      80.00

           GEB Email follow ups on various pending matters for filing of fee application.      0.20
                                                                                             400.00/hr      80.00

12/16/21   GEB Work on fee application.                                                        0.50
                                                                                             400.00/hr     200.00

12/17/21   GEB Work on fee application.                                                        0.50
                                                                                             400.00/hr     200.00

           GEB Work on fee application.                                                        0.30
                                                                                             400.00/hr     120.00

12/27/21   GEB Email from Ms. Chiang regarding status.                                         0.10
                                                                                             400.00/hr      40.00

           GEB Email to Mr. Gorrill regarding status.                                          0.10
                                                                                             400.00/hr      40.00

12/28/21   GEB Email from Ms. Chiang regarding fee applications.                               0.10
                                                                                             400.00/hr      40.00

12/31/21   GEB Emails regarding outstanding fees and status.                                   0.20
                                                                                             400.00/hr      80.00
        Case 19-05831-LA11            Filed 01/11/22     Entered 01/11/22 09:20:43            Doc 312         Pg. 138
                                                         of 364                                                 Page       8


                                                                                              Hrs/Rate           Amount

 12/31/21   GEB work on fee application notice and emails to with all.                           0.30
                                                                                               400.00/hr           120.00

            GEB work on fee application for Smaha Law Group.                                     1.00
                                                                                               400.00/hr           400.00

            GEB Confer with Mr. Smaha regarding fee application, email to Ms. Potter             0.10
                regarding same.                                                                400.00/hr            40.00

            GEB Continue working on fee application.                                             2.80
                                                                                               400.00/hr        1,120.00

            GEB Finish fee application.                                                          0.20
                                                                                               400.00/hr            80.00

            GEB Review operating report and email to Ms. Smith regarding finalization of         0.20
                same.                                                                          400.00/hr            80.00

            For professional services rendered                                                   8.00         $3,200.00

            Previous balance                                                                                 $18,887.00


            Balance due                                                                                      $22,087.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                               Hours          Rate ---'A~m'-'-'-='o=un=t
Gustavo Bravo                                                                          8.00     400.00        $3,200.00
    Case 19-05831-LA11           Filed 01/11/22        Entered 01/11/22 09:20:43        Doc 312    Pg. 139
                                                       of 364
                               FEE EMPLOYMENT OBJECTIONS

         JLS    I              GEB                    JPT             KMF
MONTH    HR                    HR                     HR               HR                          TOTAL
INCURRED $550       JLS Fee    $400     GEB Fee       $325 JPT Fee    $450     KMFFee   TOTAL FEES HOURS
Apr-20     0.00     $      -     0.00   $         -     0.00 $    -     0.00   $    -    $         -        0.00
May-20     0.00     $      -     1.80   $   720.00      0.00 $   -      0.00   $    -    $    720.00        1.80
Jun-20     0.00     $      -     0.00   $         -     0.00 $    -     0.00   $    -    $         -        0.00
Jul-20     0.00     $      -     0.00   $         -     0.00 $    -     0.00   $    -    $         -        0.00
Aug-20     0.00     $      -     0.00   $         -     0.00 $   -      0.00   $    -    $         -        0.00
Sep-20     0.00     $      -     0.00   $         -     0.00 $    -     0.00   $    -    $         -        0.00
Oct-20     0.00     $      -     0.00   $         -     0.00 $   -      0.00   $    -    $         -        0.00
Nov-20     0.00     $      -     0.00   $         -     0.00 $   -      0.00   $    -    $         -        0.00
Dec-20     0.00     $     -     0.00    $         -     0.00 $   -      0.00   $    -    $         -        0.00
Jun-21     0.70     $ 385.00     0.30   $   120.00      0.00 $   -      0.00   $    -    $    505.00        1.00
Jul-21     0.00'    $      -     0.00   $         -     0.00 $   -      0.00   $    -    $         -        0.00
Aug-21     0.00     $     -     0.30    $   120.00      0.001 $  -      0.00   $    -    $    120.00        0.30
Sep-21     0.00     $      -     0.00   $         -     0.00 $   -      0.00   $    -    $         -        0.00
TOTALS:    0.70     $ 385.00    2.40    $   960.00      0.00 $   -      0.00   $    -    $   1,345.00       3.10




                                                                                                        Li nett
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312       Pg.Page
                                                                                                            140 9
                                                            of 364
     In Reference To:          FEE/EMPLOYMENT OBJECTIONS


            Professional Services

                                                                                          Hrs/Rate            Amount

 05/04/20    GEB Emails with Mr. Duffy regarding stipulation on fees.                         0.20
                                                                                            400.00/hr            80.00

             GEB Emails with Mr. Duffy regarding ongoing stipulation.                         0.10
                                                                                            400.00/hr            40.00

             GEB Work on stipulation for fee objections.                                      0.20
                                                                                            400.00/hr            80.00

             GEB Work on stipulation for fees objections.                                    0.20
                                                                                           400.00/hr             80.00

 05/06/20    GEB Check on status of fee application and other details.                       0.20
                                                                                           400.00/hr             80.00

 05/07/20    GEB Emails with Mr. Duffy regarding approval.                                   0.20
                                                                                           400.CfO/hr            80.00

             GEB Prepare order on stipulation for cash collateral and retainer.              0.30
                                                                                           400.00/hr           120.00

             GEB Review stipulation at Mr. Duffy's request.                                  0.20
                                                                                           400.00/hr             80.00

             GEB Emails with Mr. Duffy and status of documents.                              0.20
                                                                                           400.00/hr             80.00

            For professional services rendered                                                1.80           $720.00

            Previous balance                                                                               $1,102.50


            Balance due                                                                                   $1,822.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                              Hours       Rate _ __,A'--"m~o=un"""'t
Gustavo Bravo                                                                      1.80     400.00           $720.00
          Case 19-05831-LA11          Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg.Page
                                                                                                 141   9
                                                       of 364
     In Reference To:          FEE/EMPLOYMENT OBJECTIONS

                                                                                               Amount

           Previous balance                                                                   $1,822.50


           Balance due                                                                        $1,822.50


Please make checks payable to: Smaha Law Group


Thank you for your business.
           Case 19-05831-LA11           Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                                142 10
                                                           of 364
     In Reference To:          LITIGATION


            Professional Services

                                                                                               Hrs/Rate         Amount

03/09/21     GEB Draft stipulation.                                                               0.30
                                                                                                400.00/hr        120.00

             GEB Draft order on stipulation.                                                      0.20
                                                                                                400.00/hr         80.00

             GEB Email to Mr. Gorrill and Mr. Duffy regarding stipulation.                        0.10
                                                                                                400.00/hr         40.00

             GEB Emails with Mr. Koch regarding continuance.                                      0.10
                                                                                                400.00/hr         40.00

03/10/21     GEB Finalize stipulation and arrange for filing.                                     0.20
                                                                                                400.00/hr         80.00

             GEB Email regarding defective order, revise stipulation and order, email to Mr.      0.30
                 Gorrill and Mr. Duffy.                                                         400.00/hr        120.00

03/23/21     GEB Email from Mr. Linett and response regarding appeal and operations               0.20
                 status, email from Mr. Smaha regarding same.                                   400.00/hr         80.00

             GEB Prepare for meeting with Mr. Smaha.                                              0.10
                                                                                                400.00/hr         40.00

03/30/21     GEB Review adversarial matter, consider options and discuss with Mr. Smaha.          0.20
                                                                                                400.00/hr         80.00

             GEB Review appeals docket and follow up on same.                                     0.10
                                                                                                400.00/hr         40.00

           · For professional services rendered                                                   1.80         $720.00

            Previous balance                                                                                $119,746.00


            Balance due                                                                                     $120,466.00


Please make checks payable to: SmahaLaw Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                  Hours        Rate        Amount
Gustavo Bravo                                                                           1.80     400.00        $720.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg. 143
                                                                                                          Page 10
                                                           of 364

     In Reference To:          FEE/EMPLOYMENT OBJECTIONS


           Professional Services

                                                                                           Hrs/Rate        Amount

06/15/21    GEB Emails with bookkeeper, detem1ine items to vette and email to Mr. Duffy       0.30
                regarding same.                                                             400.00/hr       120.00

06/23/21    JLS    Review and revise reply to opposition on Yale firm retention.              0.40
                                                                                            550.00/hr      220.00

            JLS . Review and revise declaration.                                              0.30
                                                                                            550.00/hr       165.00

           For professional services rendered                                                  1.00       $505.00

           Previous balance                                                                              $1,822.50


           Balance due                                                                                   $2,327.50


Please make checks payable to: Smaha Law Group


Thank you for'your business.




                                                   Attorney Summary
Name                                                                               Hours       Rate -~A~m=o=un=t
JOHN L. SMAHA                                                                       0.70     550.00      $385.00
Gustavo Bravo                                                                       0.30     400.00      $120.00




                                                    ·,
          Case 19-05831-LA11          Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg.Page
                                                                                                 144 8
                                                       of 364
     In Reference To:          FEE/EMPLOYMENT OBJECTIONS

                                                                                                Amount

           Previous balance                                                                   $2,327.50


           Balance due                                                                        $2,327.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                                                                          )
           Case 19-05831-LA11                                      Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312      Pg.Page
                                                                                                                                   145 10
                                                                                    of 364
     In Reference To:          FEE/EMPLOYMENT OBJECTIONS


           Professional Services

                                                                                                                  Hrs/Rate         Amount

08/24/21    GEB Emails with Mr. Gorrill and Mr. Koch regarding ongoing objections.                                   0.20
                                                                                                                   400.00/hr          80.00

            GEB Confer with Mr. Smaha regarding objections and hearing.                                              0.10
                                                                                                                   400.00/hr          40.00

           For professional services rendered                                                                         0.30         $120.00

           Previous balance                                                                                                      $2,327.50


           Balance due                                                                                                           $2,447.50
                               - • ,.:. ,.i. •• :_ •• :~ •• ,.:~




Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                                            Attorney Summary
Name                                                                                                      Hours       Rate -~A~m--=--ou=n""'t
Gustavo Bravo                                                                                              0.30     400.00         $120.00
         Case 19-05831-LA11          Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg.Page
                                                                                                146 9
                                                      of 364
     In Reference To:          FEE/EMPLOYMENT OBJECTIONS

                                                                                               Amount

           Previous balance                                                                  $2,447.50


           Balance due                                                                       $2,447.50


Please make checks payable to: Smaha Law Group


Thank you for your business.
     Case 19-05831-LA11          Filed 01/11/22        Entered 01/11/22 09:20:43           Doc 312   Pg. 147
                                                       of 364

                                                LITIGATION



         JLS                  GEB                    JPT                  KMF
MONTH    HR                   HR                     HR                    HR                           TOTAL
INCURRED $550     JLS Fee     $400     GEBFee        $325      JPTFee     $450    KMFFee     TOTAL FEES HOURS
Apr-20     5.10   $2,805.00    29.10   $11,640.00      0.50    $ 162.50   24.40   $ 10,980.00 $ 25,587.50    59.10
May-20     1.60   $ 880.00     29.20   $ 11,680.00     0.00    $      -    1.60   $    720.00 $ 13,280.00    32.40
Jun-20     0.10   $ 55.00      20.80   $ 8,320.00      0.00    $      -    0.00   $        - $ 8,375.00      20.90
Jul-20     0.00   $       -    17.90   $ 7,160.00      0.00    $      -    0.00   $        - $ 7,160.00      17.90
Aug-20     0.00   $       -    12.60   $ 5,040.00      0.20    $ 65.00     0.00   $        - $ 5,105.00      12.80
Sep-20     0.00   $       -     3.80   $ 1,520.00      0.00    $      -    0.00   $        - $ 1,520.00       3.80
Oct-20     0.10   $ 55.00       2.80   $ 1,120.00      0.00    $      -    0.00   $        - $ 1,175.00       2.90
Nov-20     0.00   $       -     1.70   $    680.00     0.00    $      -    0.00   $        - $     680.00     1.70
Dec-20     0.00   $       -     8.80   $ 3,520.00      0.001   $      -    0.00   $        - $ 3,520.00       8.80
Jan-21     0.20   $ 110.00      3.25   $ 1,300.00      0.001   $      -    0.00   $        - $ 1,410.00       3.45
Feb-21     0.00   $       -     2.20   $    880.00     0.00    $     -     0.00   $        - $     880.00     2.20
Mar-21     0.00   $       -     1.80   $    720.00     0.00    $      -    0.00   $        - $     720.00     1.80
Apr-21     0.00   $       -     0.20   $     80.00     0.00    $     -     0.00   $        - $      80.00     0.20
May-21     0.50   $ 275.00      3.10   $ 1,240.00      0.20    $ 65.00     0.00   $        - $ 1,580.00       3.80
Jun-21     0.00   $      -      6.90   $ 2,760.00      0.00    $     -     0.00   $        - $ 2,760.00       6.90
Jul-21     0.00   $       -     0.10   $     40.00     0.00    $     -     0.00   $        - $      40.00     0.10
Aug-21     0.00   $      ·-     0.40   $    160.00     0.00    $     -     0.00   $        - $     160.00     0.40
Sep-21     0.20   $ 110.00      3.00   $ 1,200.00      0.00    $     -     0.30   $    135.00 $ 1,445.00      3.50
Oct-21     0.00   $       -     1.70   $    680.00     0.00    $     -     0.00   $        - $     680.00     1.70
Nov-21     0.00   $       -     2.40   $    960.00     0.00    $     -     0.00   $        - $     960.00     2.40
Dec-21     0.00   $       -     2.90   $ 1,160.00      0.00    $     -     0.00   $        -  $  1,160.00     2.90
TOTALS:    7.80   $4,290.00   154.65   $61,860.00      0.90    $ 292.50   26.30   $ 11,835.00 $ 78,277.50   189.65




                                                                                                        Li nett
           Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43        Doc 312       Pg.Page
                                                                                                            148 14
                                                         of 364
    In Reference To:          LITIGATION


           Professional Services

                                                                                          Hrs/Rate         Amount

04/01/20    KMF Begin legal research regarding appeal.                                        2.30
                                                                                            450.00/hr     1,035.00

            KMF Continue legal research regarding appeal, review clerk's transcript and       1.00
                   identify omitted exhibits.                                               450.00/hr       450.00

            KMF Instruct Ms. Dawson regarding contacting clerk of Superior Court              0.30
                regarding omitted exhibits.                                                 450.00/hr       135.00

            KMF Continue legal research regarding appeal and continue reviewing               0.60
                documents in clerk's transcript.                                            450.00/hr       270.00

04/02/20    GEB Confer with Mr. Smaha regarding status of appeal, review of transcript        0.30
                and status of ongoing payments for support.                                 400.00/hr       120.00

            GEB Review email from Mr. Linett regarding appeal issues and ongoing              0.20
                support payments.                                                           400.00/hr        80.00

            GEB Forward emails to Mr. Smaha and add comments regarding Mr. Linett's           0.20
                position on support payments.                                               400.00/hr        80.00

            GEB Review complaint changes by opposing counsel and responsive email.            0.40
                                                                                            400.00/hr       160.00

            GEB Follow up emails with Mr. Duffy regarding status.                             0.20
                                                                                            400.00/hr        80.00

            GEB Email to Mr. Gorrill regarding complaint amendment and status.               0.20
                                                                                           400.00/hr         80.00

            GEB Emails with Mr. Gorrill and to Mr. Duffy regarding stipulation.              0.20
                                                                                           400.00/hr         80.00

            GEB Emails with Mr. Duffy regarding status of complaint an1endment.              0.10
                                                                                           400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding appeal and ability to move forward.          0.10
                                                                                           400.00/hr        40.00

04/03/20    GEB Emails regarding status of complaint amendment and stipulation with Mr.      0.20
                Duffy.                                                                     400.00/hr         80.00

            GEB Email from Mr. Duffy regarding stipulation.                                  0.10
                                                                                           400.00/hr        40.00

            GEB Work on order for stipulation.                                               0.20
                                                                                           400.00/hr        80.00

            GEB Finalize draft of complaint.                                                 0.20
                                                                                           400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                              149 15
                                                           of 364

                                                                                             Hrs/Rate        Amount

04/03/20    GEB Continue working on order.                                                      0.30
                                                                                              400.00/hr       120.00

            GEB Finalize stipulation and order, review file regarding items to attach to        0.30
                documents.                                                                    400.00/hr       120.00

            GEB Email to Ms. Dawson regarding filings.                                          0.20
                                                                                              400.00/hr        80.00

            GEB Emails with Mr. Duffy regarding status.                                         0.40
                                                                                              400.00/hr       160.00

            GEB Emails with Mr. Duffy regarding complaint and status of payments.               0.30
                                                                                              400.00/hr       120.00

            GEB Emails with Mr. Gorrill regarding status of case.                               0.30
                                                                                              400.00/hr       120.00

04/06/20    GEB Receive order on stipulation, email to staff regarding filing of complaint      0.30
                and emails to attorneys regarding filing.                                     400.00/hr       120.00

            GEB Deal with filings in adversarial, email to staff.                               0.20
                                                                                              400.00/hr        80.00

            GEB Telephone conference with staff regarding filings of complaint and              0.20
                service on counsel and then service of summons.                               400.00/hr        80.00

            GEB Emails with Mr. Gorrill regarding extension.                                    0.30
                                                                                              400.00/hr       120.00

            GEB Emails to US Bank counsel regarding extension and follow up on                  0.20
                collateral use.                                                               400.00/hr        80.00

04/07/20    GEB Follow up emails regarding status oflitigation and answers.                     0.20
                                                                                              400.00/hr        80.00

04/08/20    GEB Confer with Mr. Smaha regarding fees and status of appeal.                      0.20
                                                                                              400.00/hr        80.00

04/09/20    GEB Message to Ms. Fritz regarding pending appeal.                                  0.10
                                                                                              400.00/hr       40.00

            GEB Message with Ms. Fritz and Mr. Smaha regarding pending appeal and               0.20
                timing of same.                                                               400.00/hr       80.00

04/10/20    JLS   Telephone conference with Ms. Fritz regarding analysis.                       0.10
                                                                                              550.00/hr       55.00

            GEB Receive and review answer.                                                      0.30
                                                                                              400.00/hr      120.00

04/13/20    KMF Continue research and review. Discuss exhibits with Mr. Bravo.                  3.70
                                                                                              450.00/hr     1,665.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312       Pg. 150
                                                                                                             Page 16
                                                         of 364

                                                                                             Hrs/Rate         Amount

04/13/20    GEB Receive reissued summons, confer with Ms. Fritz regarding documents              0.30
                needed and follow up with Mr. Linett.                                          400.00/hr       120.00

            GEB Review status of complaint and determine answers due.                            0.10
                                                                                               400.00/hr        40.00

            GEB Confer with Ms. Fritz regarding exhibits and documents.                          0.10 ·
                                                                                               400.00/hr        40.00

            GEB Review documents from appeal notices and other items, email to Mr.               0.30
                Linett regarding documents requested by Ms. Fritz.                             400.00/hr       120.00

            GEB Telephone call to Mr. Gorrill regarding status.                                  0.10
                                                                                               400.00/hr       40.00

            GEB Various emails with Mr. Linett and Ms. Fritz regarding documents,                0.30
                appeal and other items.                                                        400.00/hr       120.00

04/14/20    KMF Discuss appeal with Mr. Bravo and Mr. Smaha.                                    0.20
                                                                                              450.00/hr        90.00

            KMF Research and review.                                                            2.80
                                                                                              450.00/hr      1,260.00

            GEB Deal with issues on appeal documents, confer with Ms. Fritz and Mr.             0.30
                Smaha.                                                                        400.00/hr       120.00

            GEB Telephone conference with Mr. Smaha regarding appeal documents and              0.20
                continue efforts to coordinate items.                                         400.00/hr        80.00

            GEB Continue ongoing efforts to gather documents, get all to Ms. Fritz for her      2.00
                review and confer with Ms. Fritz regarding appeal.                            400.00/hr       800.00

            GEB Emails with Mr. Linett regarding documents.                                     0.20
                                                                                              400.00/hr        80.00

            JLS   Conference regarding appeal with Mr. Bravo, go over conceptual items.         0.30
                                                                                              550.00/hr       165.00

04/15/20    KMF Discuss exhibits with Mr. Bravo.                                                0.10
                                                                                              450.00/hr        45.00

            KMF Review additional documents provided by Mr. Linett.                             0.50
                                                                                              450.00/hr       225.00

            KMF Review admitted exhibits, identify exhibits excluded by the court.              1.60
                                                                                              450.00/hr       720.00

            GEB Confer with Ms. Fritz regarding documents from Mr. Linett.                      0.20
                                                                                              400.00/hr        80.00

            GEB Various emails and other materials regarding appeal documents and status.       0.30
                                                                                              400.00/hr       120.00
            Case 19-05831-LA11        Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                             151 17
                                                         of 364

                                                                                           Hrs/Rate         Amount

04/15/20     GEB Follow up emails regarding appeal documents.                                  0.30
                                                                                             400.00/hr       120.00

             GEB Email and texts follow ups on status.                                         0.20
                                                                                             400.00/hr        80.00

04/16/20     KMF Continue reviewing exhibits from set aside motion.                            3.30
                                                                                             450.00/hr      1,485.00

             GEB Emails with Mr. Linett regarding documents provided and status of             0.30
                 documents, follow up from Mr. Linett regarding same.                        400.00/hr       120.00

             GEB Emails with Mr. Linett regarding additional documents.                        0.20
                                                                                             400.00/hr        80.00

             GEB Review emails and documents on file regarding appeal documents and            0.30
                 follow up with Mr. Linett and Ms. Fritz.                                    400.00/hr       120.00

04/17 /20    KMF Continue reviewing exhibits.                                                  1.90
                                                                                             450.00/hr       855.00

             GEB Email to Mr. Gorrill regarding sales.                                         0.10
                                                                                             400.00/hr        40.00

             GEB Continue efforts to gather appeal documents.                                  0.30
                                                                                             400.00/hr       120.00

             GEB Emails regarding answer on complaint with Mr. Gorrill.                        0.20
                                                                                             400.00/hr        80.00

04/20/20     KMF Discuss with Mr. Bravo.                                                       0.10
                                                                                             450.00/hr        45.00

             GEB Receive answer and counterclaim, need to do distinct review and set           0.20
                 response dates.                                                             400.00/hr        80.00

             GEB Emails with Mr. Duffy regarding status of litigation and discussions on       0.20
                 use of funds.                                                               400.00/hr        80.00

             GEB Review answer quickly and contact Mr. Smaha regarding same.                   0.10
                                                                                             400.00/hr        40.00

             GEB Review complaint and determine dates needed.                                  0.20
                                                                                             400.00/hr        80.00

             GEB Emails to Mr. Linett and message to Ms. Fritz regarding appeal review.        0.30
                                                                                             400.00/hr       120.00

             GEB Follow up emails regarding documents for appeal review.                      0.30
                                                                                            400.00/hr        120.00

             GEB Ongoing discussions regarding status.                                        0.10
                                                                                            400.00/hr         40.00
           Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312       Pg. 152
                                                                                                            Page 18
                                                          of 364

                                                                                            Hrs/Rate         Amount

04/20/20    GEB Fallow up emails regarding appeal documents with Mr. Linett and Ms.             0.20
                Fritz.                                                                        400.00/hr        80.00

            GEB Review complaint by Mrs. Linett in detail and prepare notes for Mr.             0.50
                Smaha.                                                                        400.00/hr       200.00

04/21/20    GEB Emails with Mr. Linett regarding documents.                                     0.20
                                                                                              400.00/hr        80.00

            GEB Receive revised complaint.                                                      0.20
                                                                                              400.00/hr        80.00

            GEB Review revisions to counterclaim.                                               0.20
                                                                                              400.00/hr        80.00

            GEB Work on email to Mr. Smaha regarding complain~ answer and                       0.50
                counterclaim.                                                                 400.00/hr       200.00

04/22/20    GEB Review amended complaint and determine response date.                           0.10
                                                                                              400.00/hr        40.00

04/23/20    KMF Continue review of exhibits that were not admitted to determine if they         1.20
                  provide any grounds for appellate review.                                   450.00/hr       540.00

            KMF Continue research and review.                                                   1.30
                                                                                              450.00/hr       585.00

            GEB Various emails with Mr. Gorrill and Mr. Duffy regarding cash collateral         0.10
                and conference call.                                                          400.00/hr        40.00

04/24/20    JLS   Conference call regarding appeal, analysis and prognosis, alternatives.       1.00
                                                                                              550.00/hr      550.00

            KMF Continue research and review, finalize notes and send update to Mr.            1.30
                  Smaha and Mr. Bravo.                                                       450.00/hr       585.00

            KMF Call with Mr. Bravo and Mr. Smaha regarding analysis of appellate issues       0.90
                  and recommendations for next steps.                                        450.00/hr       405.00

            GEB Telephone conference with Mr. Smaha regarding counterclaim and                 0.20
                allegations of value.                                                        400.00/hr        80.00

            GEB Review email from Ms. Fritz regarding review on appeal and likelihood          0.20
                of ability to prevail.                                                       400.00/hr        80.00

            GEB Telephone conference with Mr. Smaha and Ms. Fritz regarding appeal             1.00
                litigation.                                                                  400.00/hr       400.00

            GEB Email to Mr. Linett regarding status.                                          0.10
                                                                                             400.00/hr        40.00

04/27/20    KMF Review appeals court order, message regarding same to Mr. Bravo and            0.20
                  Mr. Smaha.                                                                 450.00/hr        90.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                              153 19
                                                           of 364

                                                                                             Hrs/Rate        Amount

04/27/20    GEB Emails with Mr. Linett regarding status.                                        0.20
                                                                                              400.00/hr        80.00

            GEB Emails with Mr. Smaha regarding documents on appeal and status of               0.10
                same.                                                                         400.00/hr        40.00

            GEB Lengthy telephone conference with Mr. Smaha regarding pending appeal            0.50
                and other details on plan process.                                            400.00/hr       200.00

            GEB Email from Mr. Linett regarding order.                                          0.10
                                                                                              400.00/hr        40.00

            GEB Review status of appeal, confer with Ms. Fritz regarding letter and review      0.20
                docket for appeal for letter requirements.                                    400.00/hr        80.00

            GEB Draft letter to Court of Appeal and email to office regarding filing.           0.30
                                                                                              400.00/hr       120.00

            GEB Lengthy telephone conference with Mr. Smaha and Mr. Linett regarding            0.50
                pending dispute.                                                              400.00/hr      200.00

            GEB Emails regarding status of litigation and follow up discussions.                0.20
                                                                                              400.00/hr        80.00

04/28/20    JLS   Confer with Mr. Bravo regarding email analysis on appeal.                     0.10
                                                                                              550.00/hr        55.00

            JLS   Conference regarding appeal analysis and issues.                              0.80
                                                                                              550.00/hr       440.00

            JLS   Conference call Mr. Li.nett regarding appeal tax analysis, real practice      0.60
                  case analysis.                                                              550.00/hr       330.00

            KMF Review messages from Mr. Linett regarding prior appeal.                         0.10
                                                                                              450.00/hr        45.00

            KMF Discuss potential appeal issues with Mr. Smaha and Mr. Bravo.                   0.60
                                                                                              450.00/hr      270.00

            GEB Receive and review email from Mr. Linett, analyze and forward to Mr.            0.50
                Smaha and Ms. Fritz regarding comments.                                       400.00/hr      200.00

            GEB Review and analyze issues on IRC section 1041 and effects.                      1.70
                                                                                              400.00/hr      680.00

            GEB Conference call regarding status of litigation.                                 0.50
                                                                                              400.00/hr      200.00

            GEB Receive and review additional emails.                                           0.30
                                                                                              400.00/hr      120.00

            GEB Telephone conference with Mr. Linett regarding status of appeal.                0.70
                                                                                              400.00/hr      280.00
           Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43          Doc 312        Pg.Page
                                                                                                                154 20
                                                          of 364

                                                                                             Hrs/Rate          Amount

04/28/20    GEB Review file regarding items to complete.                                         0.20
                                                                                               400.00/hr         80.00

04/29/20    GEB Telephone conference with Mr. Linett regarding various issues.                   0.10
                                                                                               400.00/hr         40.00

            GEB Review email from Mr. Linett, review order again and email to Mr.                0.70
                Smaha regarding status.                                                        400.00/hr        280.00

            GEB Confer with Mr. Smaha regarding issue of fraud on the court and issues           0.30
                thereof.                                                                       400.00/hr        120.00

            GEB Review additional materials.                                                     0.30
                                                                                               400.00/hr        120.00

            GEB Telephone conference with Mr. Linett and Mr. Smaha regarding status.             0.30
                                                                                               400.00/hr        120.00

           , GEB Email to Mr. Smaha regarding appellate brief, review of same.                   0.30
                                                                                               400.00/hr        120.00

04/30/20    JPT   Telephone call from Mr. Smaha regarding Tesearch into ripeness of              0.50
                  original appeal, retrieve and review prior research and memorandum and       325.00/hr        162.50
                  forward same with detailed comments to Mr. Smaha, telephone call with
                  Mr. Smaha regarding recommendations on Tes judicata issue and interim
                  nature of findings and order after hearing.

            JLS   Review of materials and order for client counsel.                              0.30
                                                                                               550.00/lu-       165.00

            JLS   Document review, go over multiple emails, court record and other issues.       1.00
                                                                                               550.00/hr        550.00

            JLS   Telephone conference with Mr. Linett on plan issues and valuation.             0.90
                                                                                               550.00/hr        495.00

            KMF Review documents and messages from Mr. Linett.                                  0.20
                                                                                              450.00/hr          90.00

            KMF Discuss bankruptcy and appeal issues with Mr. Smaha.                            0.20
                                                                                              450.00/hr          90.00

            GEB Emails with Mr. Smaha regarding status of appeal and other matters.             0.10
                                                                                              400.00/lu-         40.00

            GEB Telephone conference with Mr. Smaha regarding status of facts and brief.        0.30
                                                                                              400.00/hr         120.00

            GEB Emails from Mr. Linett regarding status.                                        0.20
                                                                                              400.00/hr          80.00

            GEB Review emails, brief and other materials regarding phone call on appeal         0.30
                and follow up on issues.                                                      400.00/hr         120.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                              155 .21
                                                         of 364

                                                                                            Hrs/Rate         Amount

04/30/20    GEB Lengthy telephone conference with Mr. Linett and Mr. Smaha regarding           1.70
                appeal and other issues.                                                     400.00/hr        680.00

            GEB Review materials on appeal and status.                                         0.20
                                                                                             400.00/hr         80.00

            GEB Emails with Mr. Gon-ill regarding payments.                                     0.20
                                                                                              400.00/hr        80.00

            GEB Review discussions with Mr. Smaha and Ms. Fritz regarding appeal.              0.30
                                                                                             400.00/hr        120.00

           For professional services rendered                                                  59.10      $25,587.50

           Previous balance                                                                               $51,053.50


           Balance due                                                                                    $76,641.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                Hours -~R_a_t~e -~A~m~ou=n~t
JOHN L. SMAHA                                                                        5.10     550.00       $2,805.00
Gustavo Bravo                                                                       29.10     400.00      $11,640.00
John Paul Teague                                                                     0.50     325.00         $162.50
Kristen M. Fritz                                                                    24.40     450.00      $10,980.00
           Case 19-05831-LA11         Filed 01/11/22        Entered 01/11/22 09:20:43   Doc 312       Pg.Page
                                                                                                          156 10
                                                            of 364
    In Reference To:          LITIGATION


           Professional Services

                                                                                        Hrs/Rate         Amount

05/01/20    GEB Emails with Mr. Gorrill and Mr. Linett regarding payments to Barbara        0.30
                Linett.                                                                   400.00/hr       120.00

            GEB Emails with Mr. Linett regarding status of various matters including        0.20
                appeal and malpractice.                                                   400.00/hr        80.00

            GEB Telephone conference with Mr. Smaha regarding status.                       0.20
                                                                                          400.00/hr        80.00

05/04/20     JLS   Review of letter from Court of Appeal.                                   0.10
                                                                                          550.00/hr        55.00

            KMF Review correspondence from Court of Appeal.                                 0.10
                                                                                          450.00/hr        45.00

            KMF Discuss appeal and bankruptcy issues with Mr. Bravo.                        0.20
                                                                                          450.00/hr        90.00

            GEB Email to Mr. Linett regarding various issues pending, including             0.30
                valuations, sales, payment and appeal.                                    400.00/hr       120.00

            GEB Follow up email regarding status of appeal and follow up.                   0.20
                                                                                          400.00/hr        80.00

            GEB Emails with Mr. Smaha and Mr. Linett regarding status.                      0.20
                                                                                          400.00/hr        80.00

            GEB Email from Mr. Gorrill regarding possible payment made last Friday.         0.10
                                                                                          400.00/hr        40.00

            GEB Fallow up on payments for support.                                         0.20
                                                                                         400.00/hr         80.00

            GEB Lengthy telephone conference with Mr. Linett and Mr. Smaha regarding       0.70
                status of litigation and appeal.                                         400.00/hr        280.00

            GEB Telephone conference with Ms. Fritz regarding valuation issues.            0.20
                                                                                         400.00/hr         80.00

            GEB Telephone conference with Mr. Linett regarding status of Family Law        0.20
                case.                                                                    400.00/hr         80.00

            GEB Review marriage settlement agreement, review materials from trial and      0.40
                confer further with Ms. Fritz regarding same.                            400.00/hr        160.00

            GEB Email to Mr. Smaha regarding details of marriage settlement agreement      0.40
                and other items on limiting valuations.                                  400.00/hr        160.00

            GEB Finalize stipulation and email to Mr. Duffy regarding same.                0.30
                                                                                         400.00/hr        120.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312       Pg. 157
                                                                                                             Page 11
                                                          of 364

                                                                                             Hrs/Rate         Amount

05/05/20    JLS   Review of email from Mr. Linett regarding appeal.                              0.10
                                                                                               550.00/hr        55.00

            JLS   Confer with Mr. Bravo regarding appeal/MSA analysis.                           0.20
                                                                                               550.00/hr       110.00

            JLS   Review of memorandum on appeal.                                                0.10
                                                                                               550.00/hr        55.00

            KMF Discuss with Mr. Smaha and Mr. Bravo.                                            0.30
                                                                                               450.00/hr       135.00

            KMF Review notes in preparation for call with Mr. Linett.                            0.20
                                                                                               450.00/hr       90.00

            KMF Call with Mr. Bravo to discuss next steps.                                       0.20
                                                                                               450.00/hr       90.00

            GEB Email from Mr. Smaha regarding valuation in previous set aside action           0.10
                and relation to litigation now.                                               400.00/hr        40.00

            GEB Telephone conference with Mr. Smaha regarding appeal and status.                0.20
                                                                                              400.00/hr        80.00

            GEB Conference with Ms. Fritz and Mr. Smaha regarding further discussions           0.30
                with Mr. Linett on the appeal.                                                400.00/hr       120.00

            GEB Ongoing discussions with Ms. Fritz and Mr. Smaha regarding appeal               0.40
                status.                                                                       400.00/hr       160.00

            GEB Final email to Mr. Linett regarding appeal and effo1i to reach resolution.      1.20
                                                                                              400.00/hr       480.00

            GEB Emails with Ms. Fritz regarding status of appeal.                               0.10
                                                                                              400.00/hr        40.00

            GEB Emails and conference with Mr. Linett and Ms. Fritz regarding call today.       0.20
                                                                                              400.00/hr        80.00

            GEB Lengthy telephone conference with Mr. Linett regarding appeal and status.       0.80
                                                                                              400.00/hr       320.00

            GEB Email to Ms. Fritz and Mr. Smaha regarding appeal status.                       0.40
                                                                                              400.00/hr       160.00

05/06/20    KMF Review messages from Mr. Linett and response by Mr. Smaha.                      0.10
                                                                                              450.00/hr        45.00

            KMF Review and finalize substitution of attorney, discuss same with Mr.             0.20
                Smaha and Mr. Bravo.                                                          450.00/hr        90.00

            GEB Emails and further communications on appeal and status therefrom.               0.80
                                                                                              400.00/hr       320.00
            Case 19-05831-LA11        Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312       Pg. 158
                                                                                                             Page 12
                                                          of 364

                                                                                             Hrs/Rate         Amount

05/06/20     GEB Emails with Mr. Linett regarding appeals status and receive substitution.       0.20
                                                                                               400.00/hr        80.00

             GEB Email to Mr. Linett regarding appeal and substitution.                         0.10
                                                                                              400.00/hr         40.00

05/07 /20    KMF Discuss substitution of attorney with Mr. Bravo.                               0.10
                                                                                              450.00/hr         45.00

             GEB Telephone conference with Mr. Smaha regarding status.                          0.20
                                                                                              400.00/hr         80.00

             GEB Email from Mr. Linett and response to same, cc Mr. Smaha.                      0.20
                                                                                              400.00/hr         80.00

             GEB Get substitution and documents finished and telephone call to Mr. Linett       0.20
                 regarding status.                                                            400.00/hr         80.00

             GEB Telephone conference with Mr. Linett regarding additional items and            0.20
                 email from Mr. Smaha regarding substitution.                                 400.00/hr        80.00

05/08/20     GEB Begin working on response to counterclaim.                                     0.50
                                                                                              400.00/hr       200.00

             GEB Telephone conference with Mr. Linett regarding answer to complaint and         0.40
                 follow up on appeal, email from Mr. Linett regarding status of same.         400.00/hr       160.00

05/11/20     GEB Work on answer to complaint.                                                   0.30
                                                                                              400.00/hr       120.00

             GEB Work on answer to complaint.                                                   2.50
                                                                                              400.00/hr      1,000.00

             GEB Emails with Mr. Duffy regarding meet and confer requirements.                  0.20
                                                                                              400.00/hr        80.00

             GEB Finalize answer and email to staff regarding submission.                       0.20
                                                                                              400.00/hr        80.00

             GEB Finalize email to Mr. Linett and follow up.                                    0.30
                                                                                              400.00/hr       120.00

             GEB Receive and review proof of filing of answer.                                  0.10
                                                                                              400.00/hr        40.00

05/12/20     GEB Review requirements for production and confer with Mr. Smaha                   0.20
                 regarding same, follow up call with Mr. Linett.                              400.00/hr        80.00

             GEB Research requirements for meet and confer, come up with dates and look         0.50
                 to prepare conference of counsel questionnaire.                              400.00/hr       200.00

05/13/20     JLS   Review of proposed status conference report.                                 0.30
                                                                                              550.00/hr       165.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                              159 13
                                                          of 364

                                                                                            Hrs/Rate         Amount

05/13/20    JLS   Confer with Mr. Bravo regarding trial preparation items for litigation.       0.20
                                                                                              550.00/hr       110.00

            JLS   Follow up with Mr. Bravo regarding litigation plan.                           0.20
                                                                                              550.00/hr       110.00

            GEB Telephone conference with Mr. Smaha regarding status of litigation.            0.10
                                                                                             400.00/hr         40.00

            GEB Work on draft of certificate of compliance.                                    1.00
                                                                                             400.00/hr        400.00

            GEB Emails to and from Mr. Duffy and temporary protective order Mr. GoITill        0.20
                regarding early conference and report.                                       400.00/hr         80.00

            GEB Finalize certificate, email to Mr. Smaha and look for items to present         0.70
                regarding initial disclosures.                                               400.00/hr        280.00

            GEB Telephone conference with Mr. Smaha regarding status of litigation and         0.30
                items.                                                                       400.00/hr        120.00

            GEB Telephone conference with Dana Linett regarding status of litigation.          0.20
                                                                                             400.00/hr         80.00

            GEB Research indubitable equivalent and email to Mr. Linett regarding status.      0.50
                                                                                             400.00/hr        200.00

            GEB Email to Mr. Smaha regarding status of documents.                              0.30
                                                                                             400.00/hr        120.00

            GEB Follow up emails with Mr. Smaha, Mr. GoITill and Mr. Duffy regarding           0.30
                status of documents.                                                         400.00/hr        120.00

            GEB Follow up emails with Mr. Linett regarding status of documents.                0.30
                                                                                             400.00/hr        120.00

            GEB Telephone conference with Mr. Smaha regarding status of litigation and         0.20
                needs for discovery.                                                         400.00/hr         80.00

05/14/20    GEB Telephone conference with Mr. Linett regarding status of valuation and         0.30
                ongoing litigation.                                                          400.00/hr        120.00

            GEB Emails with Mr. Duffy and Mr. Gorrill regarding status of conference.          0.20
                                                                                             400.00/hr         80.00

            KMF Review notice from Court of Appeal regarding extension of time, discuss        0.20
                same with Mr. Bravo and Mr. Smaha.                                           450.00/hr        90.00

05/15/20    GEB Email to Mr. Gorrill and Mr. Duffy regarding status of certificate and         0.10
                conference.                                                                  400.00/hr        40.00

            GEB Emails with Mr. Duffy and Mr. Gorrill regarding expert items, discovery        0.20
                and other matters.                                                           400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312      Pg. 160
                                                                                                          Page 14
                                                         of 364

                                                                                           Hrs/Rate        Amount

05/15/20    GEB Emails with Mr. Duffy and Mr. Gorrill regarding certificate documents         0.10
                and confirm conference call.                                                400.00/hr       40.00

05/18/20    GEB Receive notice of pre-trial status conference.                                0.10
                                                                                            400.00/hr       40.00

            GEB Review notes for hearings and status conference, follow up with Mr.           0.20
                Linett and Mr. Smaha.                                                       400.00/hr       80.00

            GEB Prepare for meeting of counsel.                                               0.30
                                                                                            400.00/hr      120.00

            GEB Telephone conference with Mr. Duffy and Mr. Gorrill regarding litigation      0.60
                status and conference required by court.                                    400.00/hr      240.00

            GEB Revise status report.                                                         0.20
                                                                                            400.00/hr       80.00

            GEB Emails with Mr. Gon-ill and Mr. Duffy regarding expert usage.                 0.20
                                                                                            400.00/hr       80.00

05/19/20    JLS   Review of detailed memorandum regarding case.                               0.20
                                                                                            550.00/hr      110.00

            JLS   Reply to debtor regarding valuation.                                        0.10
                                                                                            550.00/hr       55.00

            GEB Review materials from phone call, begin working on email to Mr. Linett        1.60
                regarding status, research issues on litigation and discovery.              400.00/hr      640.00
                                                                 J


05/20/20    GEB Confer with counsel regarding appeal documents.                               0.10
                                                                                            400.00/hr       40.00

            GEB Telephone conference with Mr. Linett regarding expert usage and other         0.30
                items.                                                                      400.00/hr      120.00

05/21/20    GEB Telephone conference with Mr. Gorrill regarding status of conference          0.30
                documents.                                                                  400.00/hr      120.00

            GEB Follow up on status of various items with Mr. Duffy and Mr. Gorrill.          0.20
                                                                                            400.00/hr       80.00

            GEB Email to Mr. Duffy and Mr. Gorrill regarding changes to the documents.        0.30
                                                                                            400.00/hr      120.00

            GEB Email from Mr. Duffy regarding follow up.                                     0.10
                                                                                            400.00/hr       40.00

05/22/20    GEB Email from Mr. Smaha regarding valuation of assets.                           0.10
                                                                                            400.00/hr       40.00

            GEB Telephone conference with Mr. Smaha regarding status of dispute and           0.30
                plan.                                                                       400.00/hr      120.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg.Page
                                                                                                           161 15
                                                          of 364

                                                                                          Hrs/Rate        Amount

05/22/20    GEB Emails to Mr. Duffy and Mr. Gorrill regarding status of certificate and      0.20
                use of expert.                                                             400.00/hr        80.00

            GEB Email from Mr. Duffy regarding status.                                       0.10
                                                                                           400.00/hr        40.00

05/26/20    GEB Email from Mr. Smaha regarding valuation of assets.                          0.10
                                                                                           400.00/hr        40.00

            GEB Telephone conference with Mr. Smaha regarding status of dispute and          0.30
                plan.                                                                      400.00/hr       120.00

            GEB Emails to Mr. Duffy and Mr. Gorrill regarding status of certificate and      0.20
                use of expert.                                                             400.00/hr        80.00

            GEB Email from Mr. Duffy regarding status.                                       0.10
                                                                                           400.00/hr        40.00

05/27/20    GEB Telephone conference with Mr. Duffy regarding expert usage and status.       0.20
                                                                                           400.00/hr        80.00

            GEB Email from Mr. Gorrill regarding concerns on discovery and other items.      0.30
                                                                                           400.00/hr       120.00

            GEB Email to Mr. Smaha regarding comments and respond to Mr. Gorrill             0.10
                briefly.                                                                   400.00/hr        40.00

            GEB Email follow up with Mr. Linett regarding status.                            0.10
                                                                                           400.00/hr        40.00

05/28/20    JLS   Review of emails regarding case management conference and issues.          0.10
                                                                                           550.00/hr        55.00

            GEB Email from Mr. Smaha regarding status of litigation.                         0.10
                                                                                           400.00/hr        40.00

            GEB Review email from Mr. Gorrill, review documents regarding same and           0.30
                prepare for meetings with Mr. Smaha and Mr. Linett.                        400.00/hr       120.00

            GEB Meeting with Mr. Smaha regarding various pending matters.                    0.40
                                                                                           400.00/hr       160.00

            GEB Very lengthy telephone conference with Mr. Linett regarding various          0.80
                issues.                                                                    400.00/hr      320.00

05/29/20    GEB Emails from Mr. Linett and Mr. Smaha regarding status.                       0.20
                                                                                           400.00/hr        80.00

            GEB Draft email to Mr. Gonill and others regarding status of litigation.         0.70
                                                                                           400.00/hr      280.00

            GEB Finalize email and confer with Mr. Smaha regarding same.                     0.40
                                                                                           400.00/hr       160.00
          Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312    Pg. 162
                                                                                                   Page 16
                                                        of 364



           For professional services rendered                                            32.40   $13,280.00

           Previous balance                                                                      $76,641.00


           Balance due                                                                           $89,921.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours       Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                  1.60     550.00      $880.00
Gustavo Bravo                                                                 29.20     400.00   $11,680.00
Kristen M. Fritz                                                               1.60     450.00      $720.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312      Pg. 163
                                                                                                         Page    8
                                                           of 364

    In Reference To:          LITIGATION


           Professional Services

                                                                                          Hrs/Rate        Amount

06/01/20    GEB Telephone conference with Mr. Linett regarding status.                       0.20
                                                                                           400.00/hr       80.00

            GEB Draft email response to Mr. Linett email.                                    0.60
                                                                                           400.00/hr      240.00

            GEB Emails with Mr. Duffy and Mr. Gorrill regarding status of discovery.         0.10
                                                                                           400.00/hr       40.00

            GEB Receive and review various updated emails from Mr. Gorrill and Mr.           0.20
                Duffy regarding status.                                                    400.00/hr       80.00

06/02/20    JLS    Multiple emails regarding litigation and valuations.                      0.10
                                                                                           550.00/hr       55.00

            GEB Emails with Mr. Gorrill and Mr. Smaha regarding status of conference         0.10
                and attempting to reach conclusion.                                        400.00/hr       40.00

            GEB Emails with Mr. Linett regarding accrual of interest in calculating          0.20
                damages.                                                                   400.00/hr       80.00

            GEB Prepare for phone call with opposing counsel.                                0.20
                                                                                           400.00/hr       80.00

            GEB Telephone conference with Mr. Duffy and Mr. Gorrill regarding ongoing        0.40
                discussions on dates and other matters, including expert.                  400.00/hr      160.00

            GEB Additional emails with Mr. Linett regarding expert usage.                    0.20
                                                                                           400.00/hr       80.00

            GEB Emails with Mr. Linett regarding calculations of damages.                    0.10
                                                                                           400.00/hr       40.00

            GEB Email from Mr. Linett regarding use of expert.                               0.10
                                                                                           400.00/hr       40.00

            GEB Email from Mr. Linett regarding documents and various other issues.          0.20
                                                                                           400.00/hr       80.00

06/03/20    GEB Emails with Mr. Li.nett regarding documents and appeal.                      0.10
                                                                                           400.00/hr       40.00

            GEB Emails with Mr. Linett regarding documents to produce and timing.            0.30
                                                                                           400.00/hr      120.00

            GEB Work on response to email from Mr. Linett, review Linett email and           1.00
                review complaint to ensure amendment is not necessary.                     400.00/hr      400.00

            GEB Confer with staff regarding copies of appeal documents picked up by Mr.      0.10
                Linett.                                                                    400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43            Doc 312       Pg. 164
                                                                                                               Page      9
                                                          of 364

                                                                                               Hrs/Rate         Amount

06/03/20    GEB Email from Mr. Linett regarding additional points on litigation.                   0.10
                                                                                                 400.00/hr       40.00

06/04/20    GEB Email from Mr. Duffy regarding changes.                                            0.10
                                                                                                 400.00/hr       40.00

06/05/20    GEB Follow up on status of questionnaire.                                              0.10
                                                                                                 400.00/hr       40.00

            GEB Email to Mr. Linett regarding discovery and status of litigation.                  0.20
                                                                                                 400.00/hr       80.00

            GEB Email to Mr. Gorrill and Mr. Duffy regarding progress.                             0.10
                                                                                                 400.00/hr       40.00

06/08/20    GEB Check on status of litigation issues, telephone call to Mr. Linett and to         0.20
                Mr. Gorrill.                                                                    400.00/hr        80.00

06/09/20    GEB Telephone conference with Mr. Linett regarding status.                            0.20
                                                                                                400.00/hr        80.00

            GEB Review materials and follow up on same with opposing counsel for dates            0.10
                of disclosures and other items.                                                 400.00/hr        40.00

            GEB Review status of document and other issues.                                       0.10
                                                                                                400.00/hr        40.00

            GEB Email to Mr. Linett regarding status of litigation matters, including appeal      0.30
                and other items.                                                                400.00/hr       120.00

            GEB Revise certificate of counsel.                                                    0.20
                                                                                                400.00/hr        80.00

            GEB Email to Mr. Duffy and Mr. Gorrill regarding status.                              0.30
                                                                                                400.00/hr       120.00

            GEB Email to Mr. Linett regarding Chase Bank list.                                    0.10
                                                                                                400.00/hr        40.00

            GEB Email response from Mr. Duffy and respond back.                                   0.10
                                                                                                400.00/hr        40.00

            GEB Follow up emails with Mr. Linett regarding budget and other items.                0.20
                                                                                                400.00/hr        80.00

06/10/20    GEB Telephone call to Mr. Gorrill regarding status of litigation.                     0.10
                                                                                                400.00/hr        40.00

            GEB Email to Mr. Gorrill regarding status.                                            0.10
                                                                                                400.00/hr        40.00

06/11/20    GEB Telephone call to Mr. Gorrill regarding status.                                   0.10
                                                                                                400.00/hr        40.00
            Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312       Pg. 165
                                                           of 364                                            Page 10


                                                                                             Hrs/Rate         Amount

06/11/20     GEB Email to Mr. Go1Till regarding status of discovery.                             0.10
                                                                                               400.00/hr       40.00

06/12/20     GEB Emails with Mr. Gorrill regarding expense of expert.                           0.10
                                                                                              400.00/hr        40.00

             GEB Telephone call to Mr. Go1Till and email to Mr. Gorrill regarding reaching      0.20
                 out to Dr. Kagin.                                                            400.00/hr        80.00

             GEB Email to Mr. Gorrill regarding status.                                         0.10
                                                                                              400.00/hr        40.00

             GEB Telephone conference with Dr. Kagin regarding expert services and status.      0.30
                                                                                              400.00/hr       120.00

             GEB Email to Mr. Gorrill and Mr. Duffy regarding use ofKagin and additional        0.50
                 items.                                                                       400.001hr       200.00

06/15/20     GEB Emails with Mr. Duffy regarding status of items at Chase Ban1c                 0.30
                                                                                              400.00/hr       120.00

             GEB Work on email to opposing counsel.                                             0.20
                                                                                              400.00/hr        80.00

             GEB Finalize email to Mr. Gorrill and Mr. Duffy regarding discovery and            0.20
                 status.                                                                      400.00/hr        80.00

             GEB Email to Mr. Linett regarding expert usage and other details.                  0.30
                                                                                              400.001hr       120.00

             GEB Email from Mr. Duffy regarding status.                                         0.10
                                                                                              400.00/hr        40.00

             GEB Emails with Mr. Linett regarding status of appeal.                             0.10
                                                                                              400.001hr        40.00

             GEB Emails with Mr. Linett regarding various pending matters.                      0.20
                                                                                              400.00/hr        80.00

             GEB Confer with Ms. Fritz regarding appeal.                                        0.10
                                                                                              400.00/hr        40.00

             GEB Review draft ofbriefregarding appeal.                                          0.30
                                                                                              400.00/hr       120.00

06/16/20     GEB Email to Mr. Gon-ill regarding status of documents to Dr. Kagin.               0.10
                                                                                              400.00/hr        40.00

06/17 /20    GEB Telephone call to Mr. Gorrill regarding status.                                0.10
                                                                                              400.00/hr        40.00

             GEB Telephone conference with Mr. Duffy regarding agreement.                       0.10
                                                                                              400.00/hr        40.00
            Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312       Pg. 166
                                                           of 364                                        Page 11


                                                                                         Hrs/Rate         Amount

06/17 /20    GEB Email from Mr. Gorrill regarding agreement.                                 0.10
                                                                                           400.00/hr       40.00

             GEB Follow up on emails and telephone calls with various people.               0.20
                                                                                          400.00/hr        80.00

             GEB Email to Mr. Gorrill regarding request for information and follow up.      0.20
                                                                                          400.00/hr        80.00

             GEB Consider items to complete.                                                0.20
                                                                                          400.00/hr        80.00

             GEB Email to Dr. Kagin regarding estimate requested.                           0.60
                                                                                          400.00/hr       240.00

             GEB Email from Dr. Kagin regarding valuation.                                  0.10
                                                                                          400.00/hr        40.00

06/18/20     GEB Begin working on stipulation and order.                                    0.30
                                                                                          400.00/hr       120.00

             GEB Email from Mr. Linett regarding appeal brief filed.                        0.10
                                                                                          400.00/hr        40.00

             GEB Wark on stipulation for use of expert Kagin.                               1.50
                                                                                          400.00/hr       600.00

06/19/20     GEB Work on stipulation.                                                        1.00
                                                                                          -400.00/hr      400.00

             GEB Email to Mr. Linett and Mr. Smaha regarding status of expert               0.30
                 employment and stipulation.                                              400.00/hr       120.00

             GEB Email to opposing counsel regarding certificate.                           0.20
                                                                                          400.00/hr        80.00

             GEB Emails with Mr. Smaha regarding documents requested from Mr. Linett.       0.10
                                                                                          400.00/hr        40.00

             GEB Confer with Mr. Smaha regarding stipulation.                               0.20
                                                                                          400.00/hr        80.00

             GEB Email to Mr. Duffy and Mr. Gorrill regarding certificate.                  0.20
                                                                                          400.00/hr        80.00

             GEB Email from Mr. Linett and discuss appeal documents with Mr. Smaha.         0.10
                                                                                          400.00/hr        40.00

             GEB Emails with Mr. Duffy regarding status of documents.                       0.10
                                                                                          400.00/hr        40.00

06/22/20     GEB Follow up emails and other materials with Mr. Duffy and Mr. Gorrill        0.30
                 regarding certificate and trial dates.                                   400.00/hr       120.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43         Doc 312      Pg. 167
                                                                                                          Page 12
                                                         of 364

                                                                                           Hrs/Rate        Amount

06/23/20    GEB Emails with Mr. Gorrill regarding status of documents.                        0.20
                                                                                            400.00/hr       80.00

            GEB Follow regarding final version of certification.                              0.10
                                                                                            400.00/hr       40.00

            GEB Final draft of certification submitted to opposing counsel.                   0.10
                                                                                            400.001hr       40.00

            GEB Final emails regarding submission of documents.                               0.20
                                                                                            400.00/hr       80.00

            GEB Finalize documents and submit certification.                                  0.30
                                                                                            400.00/hr      120.00

            GEB Revise language on stipulation for use of Dr. Kagin.                          0.30
                                                                                            400.00/hr      120.00

            GEB Work on revisions to stipulation.                                             0.20
                                                                                            400.00/hr       80.00

            GEB Work on documents.                                                            0.10
                                                                                            400.00/hr       40.00

06/24/20    GEB Work on language of stipulation.                                              0.60
                                                                                            400.00/hr      240.00

            GEB Continue working on stipulation and protective language.                      1.00
                                                                                            400.00/hr      400.00

            GEB Finalize draft of stipulation.                                                0.30
                                                                                            400.00/hr      120.00

            GEB Finalize stipulation with additional changes and email to Mr. Linett          0.40
                regarding same.                                                             400.00/hr      160.00

06/25/20    GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr       40.00

            GEB Email with Mr. Linett regarding stipulation.                                  0.10
                                                                                            400.00/hr       40.00

            GEB Emails with Mr. Linett regarding expe1i designation and work to be done.      0.20
                                                                                            400.00/hr       80.00

06/26/20    GEB Emails with Mr. Duffy regarding litigation.                                   0.20
                                                                                            400.00/hr       80.00

06/29/20    GEB Email to Mr. Linett regarding stipulation to use Dr. Kagin.                   0.10
                                                                                            400.00/hr       40.00

            GEB Telephone conference with Mr. Linett regarding ongoing efforts to find        0.30
                accounts and litigation issues.                                             400.00/hr      120.00
          Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43     Doc 312          Pg. 168
                                                                                                            Page 13
                                                         of 364

                                                                                                              Amount
           For professional services rendered                                            20.90             $8,375.00

           Previous balance                                                                              $89,921.00


           Balance due                                                                                   $98,296.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                           Hours       Rate _ __,A"""""m"-'=ou=n..,_,t
JOHN L. SMAHA                                                                   0.10     550.00           $55.00
Gustavo Bravo                                                                  20.80     400.00    $8,320.00
             Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312       Pg. 169
                                                             of 364                                          Page 10


     In Reference To:           LITIGATION


             Professional Services

                                                                                             Hrs/Rate         Amount

07/01/20      GEB Emails with Mr. Linett regarding status of documents in adversarial            0.20
                  action.                                                                      400.00/hr        80.00

              GEB Telephone conference with Mr. Duffy regarding status of expert fees and       0.20
                  usage.                                                                      400.00/hr         80.00

              GEB Emails with Mr. Linett regarding various issues on litigation and tum         0.30
                  over.                                                                       400.00/hr        120.00

              GEB Various telephone calls and emails with Mr. Linett regarding ongoing          0.40
                  efforts.                                                                    400.00/hr        160.00

07 /03/20     GEB Pull stipulation for Dr. Kagin and review for rework.                         0.10
                                                                                              400.00/hr        40.00

07 /06/20     GEB Emails from Mr. Linett and telephone call regarding documents to be           0.20
                  produced.                                                                   400.00/hr         80.00

              GEB Telephone call from Mr. Linett regarding status.                              0.10
                                                                                              400.00/hr        40.00

              GEB Emails with Mr. Linett regarding documents.                                   0.20
                                                                                              400.00/hr        80.00

07 /07 /20    GEB Emails Mr. Duffy, review claim and complaint, confirm no changes              0.20
                  needed.                                                                     400.00/hr        80.00

              GEB Revise stipulation for expert.                                                0.30
                                                                                              400.00/hr       120.00

              GEB Finalize revision to stipulation for expert, prepare email to Mr. Linett      0.60
                  regarding status of discovery and production and follow up on               400.00/hr       240.00
                  outstanding issues.

              GEB Email from Mr. Duffy regarding status.                                        0.10
                                                                                              400.00/hr        40.00

07 /08/20     GEB Emails with opposing counsel regarding status.                                0.20
                                                                                              400.00/hr        80.00

              GEB Emails with Mr. Linett regarding status.                                      0.20
                                                                                              400.00/hr        80.00

              GEB Work on stipulation on confidential financial documents.                      0.20
                                                                                              400.00/hr        80.00

              GEB Draft stipulation and email to counsel for approval.                          1.00
                                                                                              400.00/hr       400.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43        Doc 312       Pg. 170
                                                           of 364                                           Page 11


                                                                                            Hrs/Rate         Amount

07/08/20    GEB Telephone conference with Mr. Linett regarding documents.                       0.30
                                                                                              400.00/hr       120.00

            GEB Confer with Mr. Linett regarding documents.                                    0.20
                                                                                             400.00/hr         80.00

07/09/20    GEB Work on initial disclosures.                                                   0.50
                                                                                             400.00/hr       200.00

            GEB Confer with Mr. Smaha regarding status of dispute.                             0.20
                                                                                             400.00/hr        80.00

            GEB Work on email to Mr. Linett and initial disclosures.                           0.30
                                                                                             400.00/hr       120.00

            GEB Finalize stipulation, emails with Mr. Duffy, prepare order and move            0.30
                forward.                                                                     400.00/hr       120.00

            GEB Continue working on initial disclosures.                                       0.20
                                                                                             400.00/hr        80.00

            GEB Draft order on stipulation.                                                    0.20
                                                                                             400.00/hr        80.00

            GEB Work on initi;'ll disclosures.                                                 1.30
                                                                                             400.00/hr       520.00

            GEB Telephone conference with Mr. Linett regarding status of dispute.              0.10
                                                                                             400.00/hr        40.00

            GEB Finalize initial disclosures, review materials from Mr. Linett and follow      0.40
                with Mr. Linett regarding same.                                              400.00/hr       160.00

            GEB Emails with Mr. Linett regarding documents and status.                         0.20
                                                                                             400.00/hr        80.00

            GEB Emails with Mr. Linett regarding witnesses.                                    0.20
                                                                                             400.00/hr        80.00

            GEB Emails with Ms. Smith regarding potential witness.                             0.10
                                                                                             400.00/hr        40.00

            GEB Email to counsel in adversary regarding initial disclosures.                   0.20
                                                                                             400.00/hr        80.00

07/10/20    GEB Confer with Mr. Linett regarding documents and status of investigations.       0.20
                                                                                             400.00/hr        80.00

07/13/20    GEB Receive initial disclosures.                                                   0.10
                                                                                             400.00/hr        40.00

            GEB Review file and determine items to complete and update.                        0.10
                                                                                             400.00/hr        40.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43      Doc 312       Pg. 171
                                                            of 364                                         Page 12


                                                                                           Hrs/Rate         Amount

07/14/20     GEB Email to Mr. Linett regarding documents.                                      0.10
                                                                                             400.00/hr        40.00

             GEB Email to Mr. Linett regarding documents and status of production dates.       0.20
                                                                                             400.00/hr        80.00

             GEB Email from Mr. Linett regarding additional details and reporting.             0.30
                                                                                             400.00/hr       120.00

07/15/20     GEB Email from Mr. Linett regarding documents and follow up on same.              0.10
                                                                                             400.00/hr       40.00

07 /16/20    GEB Emails with Mr. Duffy regarding status.                                      0.20
                                                                                            400.00/hr        80.00

             GEB Emails with Mr. Duffy regarding stipulations.                                0.20
                                                                                            400.00/hr        80.00

07/17/20     GEB Email to Mr. Mauss and Mr. Duffy regarding documents and signatures.         0.10
                                                                                            400.00/hr        40.00

             GEB Follow up emails with opposing counsel regarding stipulation and             0.10
                 production.                                                                400.00/hr        40.00

             GEB Emails with Mr. Duffy, get stipulation signed and arrange for filing.        0.10
                                                                                            400.00/hr        40.00

             GEB Follow up email Mr. Linett regarding status.                                 0.10
                                                                                            400.00/hr        40.00

             GEB Various email with Mr. Linett regarding status, expert and values and        0.50
                 confer with Mr. Smaha regarding issues.                                    400.00/hr       200.00

07/23/20     GEB Email from Mr. Duffy regarding status ofreport.                              0.10
                                                                                            400.00/hr        40.00

             GEB Begin working on email to Mr. Linett.                                        0.20
                                                                                            400.00/hr        80.00

             GEB Follow up emails regarding status.                                           0.10
                                                                                            400.00/hr        40.00

07/27/20     GEB Email from Mr. Linett regarding documents.                                   0.10
                                                                                            400.00/hr        40.00

             GEB Review documents for initial disclosure.                                     0.50
                                                                                            400.00/hr       200.00

             GEB Finalize review of documents provided.                                       0.70
                                                                                            400.00/hr       280.00

             GEB Emails with Mr. Smaha regarding status of litigation and issues              0.20
                 developing.                                                                400.00/hr        80.00
            Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43       Doc 312       Pg. 172
                                                           of 364                                          Page 13


                                                                                           Hrs/Rate         Amount

07/27/20     GEB Email from Mr. Linett regarding issues.                                      0.20
                                                                                            400.00/hr         80.00

07/28/20     GEB Review email from Mr. Linett and detect problems throughout.                 0.20
                                                                                            400.00/hr         80.00

            GEB Confer with Mr. Smaha regarding status.                                       0.20
                                                                                            400.00/hr         80.00

            GEB Email from Mr. Smaha regarding discussions on appeal.                         0.10
                                                                                            400.00/hr         40.00

07/30/20    GEB Confer with Mr. Linett regarding various items.                               0.20
                                                                                            400.00/hr         80.00

            GEB Review materials for initial disclosure.                                      0.10
                                                                                            400.00/hr         40.00

            GEB Review disclosw-es, gather docwnents, consider additional materials and       1.40
                put final package together.                                                 400.00/hr        560.00

            GEB Review history for Mr. Glazer and email from Mr. Li.nett regarding same.      0.30
                                                                                            400.00/hr        120.00

            GEB Draft email to opposing cotmsel regarding use of new expert.                  0.30
                                                                                            400.00/hr        120.00

            GEB Work on new plan items.                                                       0.70
                                                                                            400.00/lrr       280.00

07 /31/20   GEB Revise email to opposing attorneys in adversarial regarding expert,           0.30
                discuss options.                                                            400.00/hr        120.00

            GEB Email to Mr. Linett regarding status.                                         0.10
                                                                                            400.00/hr         40.00

            GEB Emails regarding initial disclosures.                                         0.10
                                                                                            400.00/hr         40.00

            GEB Emails regarding expert designation.                                          0.20
                                                                                            400.00/hr         80.00

            For professional services rendered                                               17.90        $7,160.00

            Previous balance                                                                             $98,296.00


            Balance due                                                                                 $105,456.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43       Doc 312              Pg. 173
                                               of 364                                                    Page 14




                                       Attorney Summary
Name                                                                 Hours ---'R--'-a=t=e ----'A"""""m'-'-'=-ou=n..:.at
Gustavo Bravo                                                        17.90      400.00            $7,160.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312      Pg. 174
                                                                                                         Page 10
                                                         of 364

    In Reference To:          LITIGATION


           Professional Services

                                                                                          Hrs/Rate        Amount

08/03/20    GEB Various emails with Mr. GoITill, Mr. Linett and others regarding expert      1.00
                designation and status.                                                    400.00/hr      400.00

08/04/20    GEB Review materials, revise emails, confer with Mr. Smaha and send out          0.30
                emails to Mr. Gorrill and Mr. Duffy.                                       400.00/hr       120.00

08/05/20    JPT Meeting with Mr. Smaha and Mr. Bravo regarding status of litigation          0.20
                pending on appeal and potential impact on bankruptcy case.                 325.00/hr       65.00

            GEB Email to Mr. Linett regarding initial disclosures.                           0.10
                                                                                           400.00/hr       40.00

08/10/20    GEB Review file regarding pending matters in litigation.                         0.10
                                                                                           400.00/hr       40.00

            GEB Review file regarding items to complete, review emails regarding status      0.20
                of experts.                                                                400.00/hr       80.00

            GEB Review status of complaint.                                                  0.10
                                                                                           400.00/hr       40.00

08/11/20    GEB Work on email to opposing counsel regarding expert.                          0.20
                                                                                           400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status.                                      0.10
                                                                                           400.00/hr       40.00

            GEB Email to Mr. Duffy and Mr. Gorrill regarding expert and valuations.          0.30
                                                                                           400.00/hr      120.00

            GEB Confer with Mr. Smaha regarding issues on same.                              0.20
                                                                                           400.00/hr       80.00

            GEB Email from Mr. Gorrill regarding discussions on expert.                      0.10
                                                                                           400.00/hr       40.00

08/17/20    GEB Emails with Mr. Linett regarding expert status and reports,                  0.30
                                                                                           400.00/hr      120.00

            GEB Email to Mr. Duffy regarding status.                                         0.20
                                                                                           400.00/hr       80.00

            GEB Email to Mr. Gorrill regarding use of Mr. Glazer.                            0.10
                                                                                           400.00/hr       40.00

            GEB Review materials, review deadlines and prepare expert designation for        0.30
                Mr. Glazer.                                                                400.00/hr      120.00

            GEB Further emails with Mr. Linett regarding expert status and reports.          0.20
                                                                                           400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312      Pg. 175
                                                                                                           Page 11
                                                         of 364

                                                                                            Hrs/Rate        Amount

08/17/20    GEB Lengthy telephone conference with Mr. Linett regarding expert status and       0.50
                disclosure statement issues.                                                 400.00/hr      200.00

            GEB Email from Mr. Duffy regarding phone call.                                     0.10
                                                                                             400.00/hr       40.00

            GEB Telephone conference with Mr. Linett regarding expert usage.                   0.20
                                                                                             400.00/hr       80.00

            GEB Telephone conference with Mr. Glazer regarding inability to perform            0.20
                until May of 2021.                                                           400.00/hr       80.00

            GEB Telephone conference with Mr. Linett regarding ongoing issues.                 0.20
                                                                                             400.00/hr       80.00

            GEB Email to Mr. Linett and Mr. Smaha regarding status.                            0.20
                                                                                             400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status of experts and status of                0.20
                documents.                                                                   400.00/hr       80.00

            GEB Telephone call to Mr. Duffy regarding status.                                  0.10
                                                                                             400.00/hr       40.00

            GEB Telephone conference with Mr. Duffy regarding status.                          0.40
                                                                                             400.00/hr      160.00

08/18/20    GEB Receive and review requests for production and other discovery from US         0.20
                Bank.                                                                        400.00/hr       80.00

            GEB Email from Mr. Linett regarding status of various matters and regarding        0.30
                expert status.                                                               400.00/hr      120.00

            GEB Email from Mr. Linett regarding discovery from US Bank and stipulation         0.40
                regarding agreement, review files regarding loan documents.                  400.00/hr      160.00

            GEB Emails with Mr. Linett regarding expert designation and US Bank issues.        0.50
                                                                                             400.00/hr      200.00

            GEB Email to Mr. Duffy regarding litigation issues.                                0.20
                                                                                             400.00/hr       80.00

            GEB Receive discovery requests from Mr. Duffy and US Bank.                         0.10
                                                                                             400.00/hr       40.00

            GEB Email from Mr. Linett regarding valuation issues.                              0.10
                                                                                             400.00/hr       40.00

            GEB Email to Mr. Linett regarding plan, disclosure statement, budget and case      0.20
                status.                                                                      400.00/hr       80.00

            GEB Work on discovery requests.                                                    1.10
                                                                                             400.00/hr      440.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312      Pg. 176
                                                                                                               Page 12
                                                           of 364

                                                                                               Hrs/Rate         Amount

 08/19/20    GEB Motion to suspend litigation filed by Ms. Linett.                                0.30
                                                                                                400.00/hr        120.00

             GEB Review motion by Ms. Linett and look to confer with Mr. Smaha and Mr.            0.20
                 Linett, message to both.                                                       400.00/hr         80.00

             GEB Work on discovery requests.                                                      0.50
                                                                                                400.00/hr        200.00

             GEB Finalize discovery requests special interrogatories and request for              0.60
                 production of documents.                                                       400.00/hr        240.00

08/20/20     GEB Draft request for admissions to Barbara Linett.                                  1.00
                                                                                                400.00/hr        400.00

             GEB Finalize discovery requests and arrange to send out.                             0.30
                                                                                                400.00/hr        120.00

08/24/20     GEB Email from Mr. Linett regarding status of motion to postpone.                    0.10
                                                                                                400.00/hr         40.00

             GEB Confer with Mr. Smaha regarding email and efforts to mediate.                    0.10
                                                                                                400.00/hr         40.00

08/25/20     GEB Email from Mr. Linett regarding opposition to stay proceedings.                  0.20
                                                                                                400.00/hr         80.00

             GEB Prepare response to Mr. Linett on various emails.                                0.30
                                                                                                400.00/hr        120.00

            For professional services rendered                                                   12.80        $5,105.00

            Previous balance                                                                                $105,456.00


            Balance due                                                                                     $110,561.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                   Hours       Rate _ _A_m~ou=n~t
Gustavo Bravo                                                                          12.60     400.00       $5,040.00
John Paul Teague                                                                        0.20     325.00          $65.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312       Pg. 177
                                                                                                          Page 10
                                                           of 364

    In Reference To:           LITIGATION


            Professional Services

                                                                                          Hrs/Rate         Amount

09/01/20     GEB Review brief and seek Mr. Smaha for comment.                                0.30
                                                                                           400.00/hr        120.00

09/02/20     GEB Confer with Mr. Smaha regarding additional notes on appeal and status.      0.20
                                                                                           400.00/hr         80.00

             GEB Work on stipulation to replace deadline and stay litigation.                0.30
                                                                                           400.00/hr        120.00

             GEB Emails with Mr. Gorrill and Mr. Duffy regarding stipulation.                0.20
                                                                                           400.00/hr         80.00

             GEB Ongoing discussions with Mr. G01Till and Mr. Duffy regarding mediation      0.20
                 and other items.                                                          400.00/hr         80.00

09/03/20     GEB Email from Mr. Duffy regarding stipulation.                                 0.10
                                                                                           400.00/hr         40.00

09/04/20     GEB Work on stipulation and ex parte to continue all matters.                   1.20
                                                                                           400.00/hr        480.00

             GEB Finalize stipulation and email to opposing counsel.                         0.20
                                                                                           400.00/hr         80.00

09/08/20     GEB Emails with Dr. Kagin regarding valuation.                                  0.20
                                                                                           400.00/hr         80.00

             GEB Email to Mr. Gorrill regarding status of valuations.                        0.10
                                                                                           400.00/hr         40.00

09/10/20     GEB Emails with Mr. Duffy and to Mr. Gorrill regarding stipulation.             0.30
                                                                                           400.00/hr        120.00

             GEB Prepare order for stipulation and ex parte.                                 0.20
                                                                                           400.00/hr         80.00

09/11/20     GEB Email from Mr. Linett regarding various pending issues.                     0.20
                                                                                           400.00/hr         80.00

09/17 /20    GEB Receive and review minute order.                                            0.10
                                                                                           400.00/hr         40.00

            For professional services rendered                                               3.80        $1,520.00

            Previous balance                                                                           $110,561.00


            Balance due                                                                                $112,081.00
          Case 19-05831-LA11       Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312    Pg. 178
                                                                                                   Page 11
                                                        of 364

Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours       Rate -~A~m~ou=n~t
Gustavo Bravo                                                                  3.80     400.00    $1,520.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312      Pg. 179
                                                                                                            Page   9
                                                          of 364

    In Reference To:          LITIGATION


           Professional Services

                                                                                            Hrs/Rate         Amount

10/20/20    GEB Emails with Mr. Linett regarding appeal status.                                0.30
                                                                                             400.00/hr        120.00

10/23/20    GEB Email from Mr. Smaha regarding appeal status.                                  0.10
                                                                                             400.00/hr         40.00

10/27/20    GEB Review litigation matters and work on dates.                                   0.30
                                                                                             400.00/hr        120.00

            GEB Email from court regarding Breslauer report of no settlement.                  0.10
                                                                                             400.00/hr         40.00

            GEB Telephone call to Mr. Gorrill regarding follow up.                             0.10
                                                                                             400.00/hr         40.00

            GEB Continue discussions with Mr. Smaha and follow up on litigation.               0.20
                                                                                             400.00/hr         80.00

            GEB Emails with Mr. Gorrill regarding dates and adversarial deadlines, follow      0.40
                up emails with Mr. Duffy.                                                    400.00/hr        160.00

            GEB Email from Mr. Smaha regarding previous legal advise.                          0.10
                                                                                             400.00/hr         40.00

10/28/20    GEB Email to Mr. Smaha with Mr. Linett's position and forward to same.             0.20
                                                                                             400.00/hr         80.00

            GEB Email to opposing counsel regarding follow up.                                 0.20
                                                                                             400.00/hr         80.00

            GEB Telephone conference with opposing counsel regarding dates and issues.         0.30
                                                                                             400.00/hr        120.00

            GEB Confirm filing of report, confer with Mr. Linett regarding status of           0.10
                operating report.                                                            400.00/hr         40.00

            GEB Email from Mr. Linett regarding appeal and items from Squar Milner's           0.20
                application.                                                                 400.00/hr         80.00

            JLS    Email memorandum Mr. Bravo regarding plan.                                  0.10
                                                                                             550.00/hr         55.00

10/29/20    GEB Emails with Mr. GoITill and Mr. Duffy regarding dates.                         0.20
                                                                                             400.00/hr         80.00

           For professional services rendered                                                  2.90        $1,175.00

           Previous balance                                                                              $112,081.00
          Case 19-05831-LA11       Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312     Pg. 180
                                                                                                      Page 10
                                                        of 364

                                                                                                       Amount


           Balance due                                                                            $113,256.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours       Rate -----'A-"m~ou=n-=t
JOHN L. SMAHA                                                                  0.10     550.00          $55.00
Gustavo Bravo                                                                  2.80     400.00       $1,120.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312         Pg.Page
                                                                                                                  181 10
                                                          of 364
     In Reference To:          LITIGATION


            Professional Services

                                                                                              Hrs/Rate               Amount

 11/02/20    GEB Review minute order and review email from Mr. Gorrill regarding offer.          0.10
                                                                                               400.00/hr                40.00

             GEB Telephone call to Mr. Gorrill regarding status.                                 0.10
                                                                                               400.00/hr                40.00

             GEB Follow up emails with Mr. Linett and Mr. Gorrill regarding status.              0.20
                                                                                               400.00/hr                80.00

             GEB Confer with Mr. Linett regarding status of ongoing sales.                       0.10
                                                                                               400.00/hr                40.00

 11/10/20    GEB Receive email from Mr. Linett regarding appeal brief.                           0.10
                                                                                               400.00/hr                40.00

             GEB Review appellate brief reply.                                                   0.40
                                                                                               400.00/hr              160.00

             GEB Review other materials regarding pending appeal.                                0.20
                                                                                               400.00/hr                80.00

             GEB Email to Mr. Smaha regarding appeal reply brief.                                0.30
                                                                                               400.00/hr              120.00

             GEB Research case law for email to Mr. Smaha.                                       0.20
                                                                                               400.00/hr                80.00

            For professional services rendered                                                   1.70               $680.00

            Previous balance                                                                                 $113,256.00


            Balance due                                                                                      $113,936.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                  Hours       Rate -----'A-"m..a.=..ou=n-'-'t
Gustavo Bravo                                                                          1.70     400.00              $680.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                              182 9
                                                         of 364
    In Reference To:          LITIGATION


           Professional Services

                                                                                             Hrs/Rate        Amount

12/02/20    GEB Review docket on appeal, confer with Mr. Linett and status of request.          0.20
                                                                                              400.00/hr        80.00

12/10/20    GEB Email to Mr. Linett regarding Garwood claim and objections.                     0.10
                                                                                              400.00/hr        40.00

            GEB Emails with Mr. Linett regarding complaint.                                     0.10
                                                                                              400.00/hr        40.00

            GEB Receive and review complaint.                                                   0.10
                                                                                              400.00/hr       40.00

            GEB Email from Ms. Smith regarding operating report for October.                    0.10
                                                                                              400.00/hr       40.00

            GEB Review complaint and begin working on objection to claim.                       0.40
                                                                                              400.00/hr      160.00

            GEB Review complaint and follow up questions with Mr. Linett.                       0.20
                                                                                              400.00/hr        80.00

12/11/20    GEB Continue to review lawsuit and work on directions.                              0.20
                                                                                              400.00/hr       80.00

12/14/20    GEB Review materials for pending discovery.                                         0:10
                                                                                              400.00/hr       40.00

            GEB Confer with Mr. Linett regarding Garwood issues, continue review of             0.80
                complaint, confer with Mr. Smaha and work on objection to claim.              400.00/hr      320.00

12/15/20    GEB Work on objection to claim.                                                     1.80
                                                                                              400.00/hr      720.00

12/16/20    GEB Work on objection to claim.                                                     2.50
                                                                                              400.00/hr     1,000.00

            GEB Check on status of appeal for Mr. Smaha.                                        0.10
                                                                                              400.00/hr       40.00

12/17/20    GEB Review status of litigation matters, follow up with Mr. Linett and updates      0.20
                regarding same.                                                               400.00/hr       80.00

12/21/20    GEB Email to Mr. Linett regarding pending items.                                    0.20
                                                                                              400.00/hr       80.00

            GEB Emails with Mr. Linett regarding items in objection to claim.                   0.30
                                                                                              400.00/hr      120.00

            GEB Review objection and follow up regarding same.                                  0.20
                                                                                              400.00/hr       80.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43      Doc 312      Pg. 183
                                                                                                           Page 10
                                                            of 364

                                                                                           Hrs/Rate         Amount

 12/22/20    GEB Email from Mr. Linett regarding transfers and pending items.                 0.20
                                                                                            400.00/hr         80.00

             GEB Review objection to claim and review comments from Mr. Linett, revise        0.30
                 same.                                                                      400.00/hr        120.00
                                                 ,
             GEB Work on revisions to objection to claim.                                     0.30
                                                                                            400.00/hr        120.00

             GEB Finalize objection and prepare for filing.                                   0.30
                                                                                            400.00/hr        120.00

             GEB Email from Mr. Linett regarding signature and procedure.                     0.10
                                                                                            400.00/hr         40.00

            For professional services rendered                                                 8.80       $3,520.00

            Previous balance                                                                            $113,936.00


            Balance due                                                                                 $117,456.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                     Attorney Summary
Name                                                                              Hours        Rate _ _A_m~ou~n~t
Gustavo Bravo                                                                       8.80     400.00       $3,520.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg. 184
                                                                                                            Page      9
                                                          of 364
    In Reference To:          LITIGATION


           Professional Services

                                                                                             Hrs/Rate        Amount

01/04/21    GEB Email from Mr. Linett regarding appeal request.                                 0.10
                                                                                              400.00/hr       40.00

            GEB Begin preparing response.                                                       0.70
                                                                                              400.00/hr      280.00

01/11/21    GEB Email from Mr. Linett regarding waiver and request for expedited hearing.       0.10
                                                                                              400.00/hr       40.00

            GEB Email from Mr. Linett regarding status.                                         0.10
                                                                                              400.00/hr       40.00

01/12/21    GEB Receive and review application for extension.                                   0.10
                                                                                              400.00/hr       40.00

            GEB Telephone conference with Mr. Cook regarding status.                            0.20
                                                                                              400.00/hr       80.00

            GEB Confer with Mr. Linett and research issue of statute of limitations.            0.20
                                                                                              400.00/hr       80.00

01/14/21    GEB Email from Mr. Linett regarding expedited hearing request.                      0.10
                                                                                              400.00/hr       40.00

01/26/21    GEB- Check on status of mediation.                                                  0.10
                                                                                              400.00/hr       40.00

01/27/21    GEB Receive and review notice of hearing and reply.                                 0.20
                                                                                              400.00/hr       80.00

            GEB Email from Mr. Smaha and review objection.                                      0.20
                                                                                              400.00/hr       80.00

            GEB Pull declaration from Ms. Garwood and review same.                              0.35
                                                                                              400.00/hr      140.00

01/28/21    JLS    Confer with Mr. Bravo regarding Barbara Linett response to objection to      0.20
                   claim.                                                                     550.00/hr      110.00

            GEB Follow up on status of objections and determine response date.                  0.10
                                                                                              400.00/hr       40.00

            GEB Review objection and review language provided as evidence, confer with          0.40
                Mr. Smaha regarding same.                                                     400.00/hr      160.00

            GEB Telephone conference with Mr. Smaha regarding options on pending                0.20
                objections and other items.                                                   400.00/hr       80.00

01/29/21    GEB Email from Mr. Linett regarding assistance in legal disputes.                   0.10
                                                                                              400.00/hr       40.00
          Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312    Pg.Page
                                                                                                      185 10
                                                         of 364

                                                                                                      Amount
           For professional services rendered                                             3.45      $1,410.00

           Previous balance                                                                       $117,456.00


           Balance due                                                                            $118,866.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Smmnary
Name                                                                          Hours       Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                   0.20     550.00       $110.00
Gustavo Bravo                                                                   3.25     400.00     $1,300.00
           Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312      Pg. 186
                                                          of 364                                           Page 11


     In Reference To:          LITIGATION


           Professional Services

                                                                                           Hrs/Rate         Amount

02/01/21    GEB Emails with Mr. Linett regarding objections and pending matters.              0.20
                                                                                            400.00/hr         80.00

            GEB Emails with Mr. Linett regarding legal/general assistant options for pro      0.10
                per litigation.                                                             400.00/hr         40.00

02/02/21    GEB Email from Mr. Koch regarding stipulation approval.                           0.10
                                                                                            400.00/hr         40.00

02/03/21    GEB Tel,ephone call to Mr. Koch regarding stipulation.                            0.10
                                                                                            400.00/hr         40.00

02/05/21    GEB Receive and review email regarding new arguments.                             0.30
                                                                                            400.00/hr        120.00

            GEB Review transcript and arguments by Mr. Linett to understand.                  0.50
                                                                                            400.00/hr        200.00

02/10/21    GEB Confim1 hearing includes status conference for adversarial and email to       0.20
                Mr. Duffy regarding same.                                                   400.00/hr         80.00

            GEB Confer with Mr. Smaha regarding hearing.                                      0.10
                                                                                            400.00/hr         40.00

02/12/21    GEB Email from Mr. Linett regarding status.                                       0.20
                                                                                            400.00/hr         80.00

02/19/21    GEB Emails with Mr. Linett regarding status and ongoing litigation efforts.       0.20
                                                                                            400.00/hr         80.00

02/23/21    GEB Email from Mr. Linett, review materials and response on tolling ..            0.20
                                                                                            400.00/hr         80.00

           For professional services rendered                                                 2.20         $880.00

           Previous balance                                                                             $118,866.00


           Balance due                                                                                  $119,746.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312      Pg. 187
                                               of 364                                         Page 12



                                       Attorney Summary
Name                                                                 Hours       Rate, _ _A'-"-'-m=o=u=nt
Gustavo Bravo                                                         2.20     400.00          $880.00
           Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43      Doc 312       Pg. 188
                                                                                                          Page   8
                                                          of 364

     In Reference To:          LITIGATION


           Professional Services

                                                                                         Hrs/Rate          Amount

04/19/21    GEB Email from Mr. Linett regarding status of litigation matters.                0.10
                                                                                          '400.00/hr         40.00

04/20/21    GEB Confer with Mr. Smaha regarding status of plan and litigation.              0.10
                                                                                          400.00/hr          40.00

           For professional services rendered                                                0.20           $80.00

           Previous balance                                                                            $120,466.00


           Balance due                                                                                 $120,546.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                             Hours       Rate -~A~m~ou=n~t
Gustavo Bravo                                                                     0.20     400.00          $80.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                               189 11
                                                           of 364
    In Reference To:           LITIGATION


            Professional Services

                                                                                              Hrs/Rate        Amount

05/04/21     GEB Receive and review minute order.                                                0.10
                                                                                               400.00/hr        40.00
                           (

05/05/21     JPT    Receive and review ruling on appeal and confer with Mr. Bravo regarding      0.20
                    same.                                                                      325.00/hr        65.00

             GEB Email from Mr. Linett regarding status.                                         0.20                     '
                                                                                                                        __)

                                                                                               400.00/hr        80.00

             GEB Email from Mr. Linett and begin review of decision.                             0.20
                                                                                               400.00/hr        80.00

             GEB Confer with Mr. Smaha and review documents.                                     0.20
                                                                                               400.00/hr        80.00

             GEB Receive decision, note most important items and prepare to confer with          0.50
                 Mr. Smaha.                                                                    400.00/hr       200.00

             GEB Confer with Mr. Smaha regarding status.                                         0.10
                                                                                               400.00/hr        40.00

             GEB Receive particular details and confer with Mr. Smaha regarding given            0.20
                 language and ability to fmther appeal.                                        400.00/hr        80.00

             GEB Confer with Mr. Smaha regarding appeal results and malpractice                  0.10
                 litigation.                                                                   400.00/hr        40.00

             GEB Confer with Mr. Smaha regarding pending issues.                                 0.20
                                                                                               400.00/hr        80.00

05/13/21     GEB Emails regarding status of litigation and follow up on employment of            0.20
                 counsel.                                                                      400.00/hr        80.00

05/18/21     GEB Emails with Ms. Yale and Mr. Smaha regarding meeting.                           0.20
                                                                                               400.00/hr        80.00

             GEB Emails with Ms. Yale regarding time.                                            0.10
                                                                                               400.00/hr       40.00

05/19/;21    GEB Emails regarding meeting with counsel for litigation matters.                   0.20
                                                                                               400.00/hr        80.00

             GEB Telephone conference with Ms. Yale regarding ongoing efforts to                 0.10
                 detennine employment options.                                                 400.00/hr       40.00

05/20/21     GEB Emails with Ms. Yale regarding documents.                                       0.10
                                                                                               400.00/hr       40.00

             GEB Emails with Ms. Yale regarding questions on litigation.                         0.10
                                                                                               400.00/hr       40.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312      Pg.Page
                                                                                                           190 12
                                                           of 364

                                                                                          Hrs/Rate         Amount

05/21/21    JLS    Confer with Mr. Yale regarding potential litigation claim.                0.40
                                                                                           550.00/hr        220.00

            JLS    Follow up items Mr. Yale regarding representation.                        0.10
                                                                                           550.00/hr         55.00

            GEB Zoom call with Mr. Yale, Ms. Yale and Mr. Smaha regarding litigation         0.30
                status.                                                                    400.00/hr        120.00

           For professional services rendered                                                3.80       . $1,580.00

           Previous balance                                                                            $120,546.00


           Balance due                                                                                 $122,126.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                             Hours        Rate ----'A~m~ou=n~t
JOHN L. SMAHA                                                                      0.50     550.00         $275.00
Gustavo Bravo                                                                      3.10     400.00       $1,240.00
John Paul Teague                                                                   0.20     325.00          $65.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg. 191
                                                           of 364                                             Page 11

    In Reference To:          LITIGATION


           Professional Services

                                                                                              Hrs/Rate         Amount

06/02/21    GEB Telephone conference with opposing counsel regarding objection to claim.         0.20
                                                                                               400.00/hr         80.00

06/03/21    GEB Telephone call from Mr. Duffy regarding status of order and status of            0.10
                motion.                                                                        400.00/hr         40.00

06/15/21    GEB Emails with Mr. Koch regarding extension.                                        0.20
                                                                                               400.00/hr         80.00

            GEB Emails with Mr. Koch regarding follow up.                                        0.10
                                                                                               400.00/hr         40.00

            GEB Email regarding status of discussions.                                           0.10
                                                                                               400.00/hr         40.00

06/21/21    GEB Emails with Mr. Smaha regarding objection to fee for analysis.                   0.20
                                                                                               400.00/hr -       80.00

            GEB Reriew oppositions to retainer and follow up with Mr. Smaha.                     0.20
                                                                                               400.00/hr         80.00

06/22/21    GEB Emails and conferences with Mr. Smaha and Mr. Linett regarding status.           0.20
                                                                                               400.00/hr         80.00

            GEB Emails regarding objection to claims, stipulation and other items.               0.20
                                                                                               400.00/hr         80.00

            GEB Email to Mr. Duffy regarding cash and AIR holdings.                              0.10
                                                                                               400.00/hr         40.00

            GEB Work on reply.                                                                   0.10
                                                                                               400.00/hr         40.00

06/23/21    GEB Emails regarding ongoing dispute, trust and status of litigation.                0.20
                                                                                               400.00/hr         80.00

            GEB Work on joint reply, finalize draft, prepare declaration of Mt. Smaha,           4.50
                resolve all issues and finalize all.                                           400.001hr      1,800.00

            GEB Finalize revisions to declaration of Mr. Smaha, finalize revisions to reply      0.20
                brief.                                                                         400.00/hr         80.00

            GEB Email to Mr. Linett regarding reply brief.                                       0.10
                                                                                               400.00/hr         40.00

            GEB Emails with Mr. Linett regarding follow up items.                                0.20
                                                                                               400.00/hr         80.00

           For professional services rendered                                                    6.90        $2,760.00
              Case 19-05831-LA11    Filed 01/11/22       Entered 01/11/22 09:20:43    Doc 312    Pg. 192
                                                         of 364                                    Page 12


                                                                                                    Amount

              Previous balance                                                                  $122,126.00


              Balance due                                                                       $124,886.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                          Hours      Rate _ _A~m~ou~n~t
Gustavo Bravo                                                                  6.90    400.00     $2,760.00




          !
           Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312      Pg.Page
                                                                                                        193 9
                                                         of 364
     In Reference To:          LITIGATION


           Professional Services

                                                                                       Hrs/Rate         Amount

07/07/21    GEB Telephone conference with Mr. Yale regarding status.                      0.10
                                                                                        400.00/hr         40.00

           For professional services rendered                                              0.10          $40.00

           Previous balance                                                                         $124,886.00


           Balance due                                                                              $124,926.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Suimnary
Name                                                                           Hours       Rate -~A~m~ou=n~t
Gustavo Bravo                                                                   0.10     400.00         $40.00
           Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43      Doc 312       Pg.Page
                                                                                                          194 11
                                                         of 364
     In Reference To:          LITIGATION


           Professional Services

                                                                                        Hrs/Rate          Amount

08/12/21    GEB Review case law from Mr. Linett, review email from Mr. Smaha, review       0.30
                bankruptcy code and submit email to Mr. Linett.                          400.00/lu·        120.00

08/27/21    GEB Emails regarding status of litigation.                                     0.10
                                                                                         400.00/hr          40.00

           For professional services rendered                                               0.40         $160.00

           Previous balance                                                                           $124,926.00


           Balance due                                                                                $125,086.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                            Hours       Rate -~A~m~o=un=t
Gustavo Bravo                                                                    0.40     400.00         $160.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                            195 10
                                                          of 364
    In Reference To:          LITIGATION


           Professional Services

                                                                                           Hrs/Rate        Amount

09/01/21    KMF Messages from and to Ms. Yale regarding documents needed, identify and        0.30
                upload same to secure link and send to Ms. Yale.                            450.00/hr       135.00

            GEB Emails from Ms. Yale and others regarding documents for appeal and            0.20
                other items.                                                                400.00/hr        80.00

            GEB Emails with Ms. Yale and Ms. Fritz regarding documents.                       0.10
                                                                                            400.00/hr       40.00

09/08/21    GEB Emails with Mr. Duffy and outline new change to disclosure statement.         0.20
                                                                                            400.00/hr        80.00

09/09/21    GEB Email from Ms. Yale regarding documents.                                      0.10                   ,.., . '··:_·-~   ~.   --
                                                                                            400.00/hr       40.00

            GEB Emails with Ms. Yale, confer with Mr. Smaha and send emails to Ms.            0.20
                Yale and Mr. Linett as follow up.                                           400.00/hr        80.00

            GEB Emails with Mr. Linett regarding documents.                                   0.20
                                                                                            400.00/hr       80.00

            GEB Follow up emails regarding delivery of documents.                             0.20
                                                                                            400.00/hr       80.00

09/10/21    GEB Receive minute order and confer with Mr. Gonill regarding status of           0.20
                disclosure statement.                                                       400.00/hr       80.00

09/16/21    GEB Various emails from Mr. Linett and with Mr. Smaha regarding status of         0.20
                disputes.                                                                   400.00/hr       80.00

09/17/21    GEB Telephone conference with Mr. Linett regarding litigation.                    0.10
                                                                                            400.00/hr       40.00

09/20/21    GEB Email from Mr. Linett regarding litigation status and insurance.              0.20
                                                                                            400.00/hr       80.00

09/21/21    GEB Various emails regarding status of appeal and litigation.                     0.10
                                                                                            400.00/hr       40.00

09/22/21    GEB Various emails regarding status of emails and other items.                    0.20
                                                                                            400.00/hr       80.00

            GEB Emails and conference with Mr. Smaha regarding status of appeal and           0.10
                other items.                                                                400.00/hr       40.00

            GEB Receive and review various follow up emails and confer with Mr. Smaha         0.20
                regarding same.                                                             400.00/hr       80.00

09/24/21    JLS    Review of email from Mr. Linett regarding State Court representation.      0.10
                                                                                            550.00/hr       55.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43            Doc 312       Pg.Page
                                                                                                                 196 11
                                                          of 364

                                                                                               Hrs/Rate           Amount

09/24/21    JLS    Email Mr. Bravo regarding stay on claim issues.                                 0.10
                                                                                                 550.00/hr           55.00

            GEB Email from Mr. Linett and Mr. Smaha regarding status of appeals and               0.20
                family law case.                                                                400.00/hr            80.00

            GEB Confer with Mr. Smaha regarding approach to dispute.                              0.30
                                                                                                400.00/hr          120.00

           For professional services rendered                                                      3.50        $1,445.00

           Previous balance                                                                                  $125,086.00


           Balance due                                                                                       $126,531.00
                                                                     -······.-,·.-..

Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                   Hours       Rate ----'A"""m~ou=n.,_,t
JOHN L. SMAHA                                                                           0.20     550.00          $110.00
Gustavo Bravo                                                                           3.00     400.00       $1,200.00
Kristen M. Fritz                                                                        0.30     450.00          $135.00
             Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312          Pg.Page
                                                                                                                  197 10
                                                            of 364
     In Reference To:           LITIGATION


             Professional Services

                                                                                              Hrs/Rate           Amount

 10/05/21     GEB Email from Mr. Gorrill regarding order.                                         0.20
                                                                                                400.00/hr          80.00

 10/06/21     GEB Emails regarding status of dispute.                                             0.20
                                                                                                400.00/hr          80.00

              GEB Email from Mr. Linett regarding litigation stance and request for               0.20
                  involvement.                                                                  400.00/hr          80.00

              GEB Confer with Mr. Smaha regarding status of various pending litigation            0.20
                  matters and review emails.                                                    400.00/hr          80.00

 10/08/:21    (JJ}§ Email from Mr. Linett regarding bar on litigation.                      c-!cc-'c-: 0.10
                                                                                            - -- 400.00/hr        40.00

              GEB Telephone conference with Mr. Duffy regarding tax payment.                      0.10
                                                                                                400.00/hr         40.00

              GEB Emails with Mr. Smaha regarding follow up on status.                            0.10
                                                                                                400.00/hr         40.00

              GEB Email to Mr. Smaha regarding disputes in Family Comi.                           0.10
                                                                                                400.00/hr         40.00

              GEB Confer with Mr. Smaha regarding pending issues and release under trust.         0.20
                                                                                                400.00/hr         80.00

 10/26/21     GEB Emails regarding ongoing review of documents and litigation status.             0.20
                                                                                                400.00/hr         80.00

 10/2 7/21    GEB Email from Mr. Linett regarding complaint against new parties.                  0.10
                                                                                                400.00/hr         40.00

             For professional services rendered                                                    1.70         $680.00

             Previous balance                                                                               $126,531.00


             Balance due                                                                                    $127,211.00


Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312          Pg.Page
                                                                                                  198 11
                                               of 364


                                        Attorney Summary
Name                                                                 Hours      Rate ----'A__,,m..:..:..:..ou=n"'"'t
Gustavo Bravo                                                         1.70     400.00               $680.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                              199 8
                                                         of 364
    In Reference To:          LITIGATION


           Professional Services

                                                                                             Hrs/Rate        Amount

11/02/21    GEB Emails with Ms. Fearce regarding litigation matter.                             0.10
                                                                                              400.00/hr       40.00

11/03/21    GEB Emails with court regarding hearing on adversarial matters.                     0.10
                                                                                              400.00/hr       40.00

11/04/21    GEB Confirm hearing time and telephonic appearance allowed, confer with Mr.         0.10
                Smaha and Mr. Linett regarding continuance.                                   400.00/hr       40.00

            GEB Take part in hearing.                                                           0.40
                                                                                              400.00/hr      160.00

11/09/21    GEB Telephone call from Ms. Yale regarding status.                                  0.10
                                                                                              400.00/hr       40.00

11/12/21    GEB Emails regarding status of litigation.                                          0.10
                                                                                              400.00/hr       40.00

            GEB Email from Mr. Linett regarding litigation status.                              0.10
                                                                                              400.00/hr       40.00

            GEB Email from Mr. Smaha regarding grounds for claims.                              0.10
                                                                                              400.00/hr       40.00

            GEB Email from Mr. Linett regarding litigation status.                              0.10
                                                                                              400.00/hr       40.00

11/15/21    GEB Receive minute order for continuance, confirm dates.                            0.10
                                                                                              400.00/hr       40.00

11/29/21    GEB Receive and review status report from opposing counsel on objection to          0.10
                Garwood.                                                                      400.00/hr       40.00

            GEB Follow up emails with Mr. Linett regarding reports, objection, signatures,      0.10
                etc.                                                                          400.00/hr       40.00

            GEB Receive and review tentative rulings.                                           0.10
                                                                                              400.00/hr       40.00

11/30/21    GEB Emails with Mr. Smaha regarding tentative ruling.                               0.10
                                                                                              400.00/hr       40.00

            GEB Emails with Mr. Gorrill regarding fee application.                              0.20
                                                                                              400.00/hr       80.00

            GEB Review complaint and other materials for fees, pending call with court          0.30
                and Mr. Gorrill.                                                              400.00/hr      120.00

            GEB Research case law on stay violation.                                            0.20
                                                                                              400.00/hr       80.00
          Case 19-05831-LA11          Filed 01/11/22   Entered 01/11/22 09:20:43      Doc 312            Pg. 200
                                                                                                              Page        9
                                                       of 364

                                                                                                               Amount
           For professional services rendered                                                 2.40             $960.00

           Previous balance                                                                              $127,211.00


           Balance due                                                                                  $128,171.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                         Hours _ ___,R__,_a=t=e ----'A"""m"-'=ou=n"'""t
Gustavo Bravo                                                                  2.40        400.00              $960.00
       Case 19-05831-LA11            Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312      Pg. 201
                                                          of 364                                         Page 10


    In Reference To:          LITIGATION


           Professional Services

                                                                                            Hrs/Rate      Amount

12/10/21   GEB Emails with Mr. Linett regarding litigation status.                             0.10
                                                                                             400.00/hr     40.00

           GEB Telephone call to Mr. Gorrill regarding status of fee application in State      0.10
               Court.                                                                        400.00/hr     40.00

           GEB Email from Mr. Gorrill regarding legal issues on fee.                           0.10
                                                                                             400.00/hr     40.00

12/13/21   GEB Emails regarding meeting with Mr. Hebrank and others.                           0.10
                                                                                             400.00/hr     40.00

           GEB Confirm hearing and status.                                                     0.10
                                                                                             400.00/hr     40.00

           GEB Receive recording.                                                              0.10
                                                                                             400.00/hr     40.00

           GEB Receive and review status report by counsel.                                    0.10
                                                                                             400.00/hr     40.00

           GEB Receive and review report and tentative ruling.                                 0.10
                                                                                             400.00/hr     40.00

12/14/21   GEB Review materials and prepare for meeting later today.                           0.20
                                                                                             400.00/hr     80.00

           GEB Confer with Mr. Smaha regarding meeting and status.                             0.10
                                                                                             400.00/hr     40.00

           GEB Lengthy telephone conference with trustee and counsel regarding                 0.60
               litigation matters and other details.                                         400.00/hr    240.00

12/15/21   GEB Emails regarding status of litigation and answer.                               0.10
                                                                                             400.00/hr     40.00

           GEB Review various items and work to produce documents.                             0.20
                                                                                             400.00/hr     80.00

           GEB Continue looking for documents to produce.                                      0.20
                                                                                             400.00/hr     80.00

           GEB Email to staff regarding documents produced and status.                         0.10
                                                                                             400.00/hr     40.00

           GEB Emails from staff regarding documents to produce.                               0.10
                                                                                             400.00/hr     40.00

12/16/21   GEB Review minute order, confirm no further appearances.                            0.10
                                                                                             400.00/hr     40.00
       Case 19-05831-LA11             Filed 01/11/22    Entered 01/11/22 09:20:43          Doc 312           Pg. 202
                                                        of 364                                                  Page 11


                                                                                           Hrs/Rate              Amount

 12/21/21   GEB Telephone conference with Mr. Linett regarding concerns on damages.           0.20
                                                                                            400.00/hr                80.00

 12/27/21   GEB Emails regarding status of discharge, confer with Mr. Smaha regarding         0.20
                same.                                                                       400.00/hr                80.00

            For professional services rendered                                                2.90            $1,160.00

            Previous balance                                                                              $128,171.00


            Balance due                                                                                   $129,331.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Suimnary
Name                                                                              Hours        Rate ----'A"""m"'"'"""o=un"'"'t
Gustavo Bravo                                                                       2.90     400.00           $1,160.00
    Case 19-05831-LA11        Filed 01/11/22        Entered 01/11/22 09:20:43         Doc 312   Pg. 203
                                                    of 364


                                    MEETING OF CREDITORS


         JLS                 GEB                   JPT               KMF
MONTH    HR                  HR                    HR                 HR                          TOTAL
INCURRED $550     JLS Fee    $400    GEB Fee       $325     JPTFee   $450    KMFFee    TOTAL FEES HOURS
Aug-21     0.20   $ 110.00    0.00   $         -     0.00   $    -    0.00   $    -    $   110.00         0.20
Sep-21     0.30   $ 165.00    0.00   $         -     0.00   $    -    0.00   $    -    $   165.00         0.30
Oct-21     0.10   $ 55.00     0.00   $         -     0.00   $    -    0.00   $    -    $    55.00         0.10
Nov-21     0.30   $ 165.00    0.00   $         -     0.00   $    -    0.00   $    -    $   165.00         0.30
TOTALS:    0.90   $ 495.00    0.00   $         -     0.00   $    -    0.00   $    -    $   495.00         0.90




                                                                                                    Li nett
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                                204 12
                                                           of 364
     In Reference To:          MEETINGS OF CREDITORS


           Professional Services

                                                                                              Hrs/Rate         Amount

08/24/21    JLS    Emails Ms. Yale regarding statute of limitations.                             0.10
                                                                                               550.00/hr         55.00

            JLS    Follow up Ms. Yale regarding filing deadlines and review timing.              0.10
                                                                                               550.00/ln·        55.00

           For professional services rendered                                                     0.20         $110.00


           Balance due                                                                                         $110.00


Pfease make checks payable to: Smaha Law Group


Thank you for your business.


                                                  Attorney Summary
Name                                                                                  Hours       Rate         Amount
JOHN L. SMAHA                                                                          0.20     550.00         $110.00
            Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                                205 12
                                                            of 364
     In Reference To:           MEETINGS OF CREDITORS


             Professional Services

                                                                                              Hrs/Rate         Amount

09/01/21      JLS    Email Ms. Yale regarding information needed. Emails regarding same.          0.10
                                                                                                550.00/hr        55.00

09/03/21      JLS    Review of court notices.                                                     0.10
                                                                                                550.00/hr        55.00

 09/19/21     JLS    Emails Mr. Linett regarding litigation claims. Reply.                        0.10
                                                                                                550.00/hr        55.00

             For professional services rendered                                                   0.30         $165.00

             Previous balance                                                                                  $110.00


             Balance due                                                                                       $275.00


Please make checks payable to: Smaha Law Group


Thank you for your business.


                                                      Attorney Summary
Name                                                                                  Hours       Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                          0.30     550.00         $165.00
             Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                                 206 12
                                                            of 364
     In Reference To:           MEETINGS OF CREDITORS


             Professional Services

                                                                                                Hrs/Rate           Amount

 l 0/25/21    JLS    Review of status conference from Garwood action, email from Mr. Li.nett,      0.10
                     respond.                                                                    550.00/hr            55.00

             For professional services rendered                                                     0.10            $55.00

             Previous balance                                                                                     $275.00


             Balance due                                                                                          $330.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                     Attorney Summary
Name                                                                                   Hours        Rate -~A'""'m-'-=o=un"""t
JOHN L. SMAHA                                                                            0.10     550.00            $55.00
            Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43     Doc 312      Pg. 207
                                                           of 364                                       Page 10

     In Reference To:          MEETINGS OF CREDITORS


            Professional Services

                                                                                         Hrs/Rate           Amount

 11/30/21    JLS    Review of tentative, email response.                                    0.10
                                                                                          550.00/hr            55.00

             JLS    Email Mr. Yale regarding plan implementation.                           0.20
                                                                                          550.00/hr          110.00

            For professional services rendered                                               0.30          $165.00

            Previous balance                                                                               $330.00


            Balance due                                                                                    $495.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                     Attorney Summary
Name                                                                             Hours       Rate -~A""""m'"""""o=un=t
JOHN L. SMAHA                                                                     0.30     550.00          $165.00
     Case 19-05831-LA11         Filed 01/11/22          Entered 01/11/22 09:20:43       Doc 312    Pg. 208
                                                        of 364

                                PLAN DISCLOSURE STATEMENT


                                GEB                      JPT                KMF
MONTH    JLSHR                   HR                      HR                 HR                        TOTAL
INCURRED $550  JLS Fee          $400     GEBFee          $325     JPTFee    $450    KMFFee TOTAL FEES HOURS
Apr-20      0.00   $        -     0.00   $         -       0.00   $     -    0.00   $   -    $         -       0.00
May-20      2.20   $ 1,210.00     9.10   $   3,640.00      0.00   $     -    0.00   $   -    $ 4,850.00       11.30
Jun-20      0.00   $        -     0.80   $     320.00      0.00   $     -    0.00   $   -    $    320.00       0.80
Jul-20      3.40   $ 1,870.00    12.40   $   4,960.00      0.00   $     -    0.00   $   -    $ 6,830.00       15.80
Aug-20      4.60   $ 2,530.00    77.00   $  30,800.00      0.30   $ 97.50    0.00   $   -    $ 33,427.50      81.90
Sep-20      1.50   $   825.00    22.60   $   9,040.00      0.00   $     -    0.00   $   -    $ 9,865.00       24.10
Oct-20      8.60   $ 4,730.00    56.30   $  22,520.00      0.00   $     -    0.00   $   -    $ 27,250.00      64.90
Nov-20      1.50   $   825.00    48.00   $  19,200.00      0.00   $     -    0.00   $   -    $ 20,025.00      49.50
Dec-20      4.90   $ 2,695.00    33.20   $  13,280.00      0.00   $     -    0.00   $   -    $ 15,975.00      38.10
Jan-21      5.90   $ 3,245.00    42.80   $  17,120.00      0.20   $ 65.00    0.00   $   -    $ 20,430.00      48.90
Feb-21     11.20   $ 6,160.00    37.70   $  15,080.00      0.00   $     -    0.00   $   -    $ 21,240.00      48.90
Mar-21      5.60   $ 3,080.00    23.20   $   9,280.00      0.00   $     -    0.00   $   -    $ 12,360.00    . 28.80
Apr-21      2.10   $ 1,155.00    17.70   $   7,080.00      0.00   $     -    0.00   $   -    $ 8,235.00       19.80
May-21     12.40   $ 6,820.00    36.60   $  14,640.00      0.00   $     -    0.00   $   -    $ 21,460.00      49.00
Jun-21     13.00   $ 7,150.00    23.60   $   9,440.00      0.00   $     -    0.00   $    -   $ 16,590.00      36.60
Jul-21      9.90   $ 5,445.00    23.40   $   9,360.00      0.00   $     -    0.00   $   -    $ 14,805.00      33.30
Aug-21     11.70   $ 6,435.00    50.00   $  20,000.00      0.00   $     -    0.00   $   -    $ 26,435.00      61.70
Sep-21      6.10   $ 3,355.00    32.20   $  12,880.00      0.00   $     -    0.00   $   -    $ 16,235.00      38.30
Oct-21      4.60   $ 2,530.00    21.70   $   8,680.00      0.00   $     -    0.00   $   -    $ 11,210.00      26.30
Nov-21      3.60   $ 1,980.00    22.60   $   9,040.00      0.00   $     -    0.00   $   -    $ 11,020.00      26.20
Dec-21      0.30   $   165.00     5.30   $   2,120.00      0.00   $     -    0.00   $   -    $ 2,285.00        5.60
TOTALS:   113.10   $62,205.00   596.20   $ 238,480.00      0.50   $162.50    0.00   $   -    $300,847.50    709.80




                                                                                                       Li nett
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                             209 17
                                                           of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                           Hrs/Rate         Amount

05/01/20    JLS    Review of materials for Mr. Linett regarding plan projections.              0.10
                                                                                             550.00/hr        55.00

            JLS    Confer with Mr. Bravo regarding plan valuations.                            0.20
                                                                                             550.00/hr       110.00

05/04/20    JLS    Confer with Mr. Linett regarding plan issues, valuations.                   0.50
                                                                                             550.00/hr       275.00

            JLS    Confer with Mr. Bravo regarding valuation issues.                          0.10
                                                                                            550.00/hr         55.00

05/06/20    JLS    Confer Mr. Bravo regarding plan requirements.                               0.20
                                                                                             550.00/hr       110.00

            JLS    Review of plan provision law detail.                                        0.20
                                                                                             550.001hr       110.00

            GEB Telephone conference with Mr. Smaha regarding plan options.                   0.20
                                                                                            400.00/hr         80.00

            GEB Research on plan provisions for individual Chapter 11 debtor and analyze      1.50
                APR requirements.                                                           400.00/hr        600.00

            GEB Email to Mr. Smaha regarding plan options.                                    0.50
                                                                                            400.00/hr        200.00

05/08/20    GEB Emails with Mr. Linett regarding reorganization method and relation to        2.20
                appeal.                                                                     400.00/hr        880.00

            GEB Continue working on email to Mr. Linett.                                      0.20
                                                                                            400.00/hr         80.00

05/11/20    GEB Emails with Mr. Linett regarding status of plan.                              0.20
                                                                                            400.00/hr         80.00

            GEB Emails with Mr. Smaha regarding status.                                       0.20
                                                                                            400.00/hr         80.00

            JLS    Review of possible plan analysis from Mr. Bravo.                           0.20
                                                                                            550.00/hr        110.00

05/13/20    GEB Telephone conference with Mr. Smaha regarding plan status and                 0.10
                additional items to discuss.                                                400.00/hr        40.00

05/22/20    JLS    Confer with Mr. Bravo regarding plan and definitional issues.              0.30
                                                                                            550.00/hr       165.00

            GEB Review claims and follow up on potential plan with surrender in mind and      0.20
                work with Mr. Linett regarding same.                                        400.00/hr        80.00
           Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                               210 18
                                                          of 364

                                                                                             Hrs/Rate        Amount

05/22/20    GEB Email to Mr. Linett regarding budget.                                           0.80
                                                                                              400.00/hr       320.00

05/26/20    GEB Review claims and follow up on potential plan with smTender in mind and         0.20
                work with Mr. Linett regarding same.                                          400.00/hr        80.00

            GEB Email to Mr. Linett regarding budget.                                           0.80
                                                                                              400.00/hr       320.00

05/28/20    JLS   Confer with Mr. Bravo regarding plan and valuation issues, response to        0.40
                  Mr. Gon-ill.                                                                550.00/hr       220.00

05/29/20    GEB Email to Mr. Linett regarding various pending issues.                           1.00
                                                                                              400.00/hr       400.00

            GEB Continue working on email, finalize same and send out.                          1.00
                                                                                              400.00/hr       400.00

           For professional services rendered                                                   11.30      $4,850.00

           Previous balance                                                                                $7,045.00


           Balance due                                                                                    $11,895.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                 Hours       Rate        Amount
JOHN L. SMAHA                                                                         2.20     550.00      $1,210.00
Gustavo Bravo                                                                         9.10     400.00      $3,640.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312      Pg. 211
                                                                                                         Page 14
                                                         of 364
     In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                          Hrs/Rate        Amount

06/09/20    GEB Work with Mr. Linett and Ms. Smith regarding budget for plan.                0.40
                                                                                           400.00/hr       160.00

            GEB Email from Mr. Linett regarding plan status.                                 0.20
                                                                                           400.00/hr        80.00

06/10/20    GEB Receive email from Mr. Linett regarding budget requirements and              0.20
                projections with reply.                                                    400.00/hr        80.00

           For professional services rendered                                                 0.80        $320.00

           Previous balance                                                                            $11,895.00


           Balance due                                                                                 $12,215'.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                              Hours       Rate        Amount
Gustavo Bravo                                                                      0.80     400.00       $320.00
            Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg. 212
                                                            of 364                                          Page 15

    In Reference To:           PLAN & DISCLOSURE STATEMENT


            Professional Services

                                                                                             Hrs/Rate       Amount

07/23/20     GEB Lengthy email to Mr, Linett regarding status of various matters.               0.40
                                                                                              400.00/hr      160.00

07/27/20     GEB Email from Mr. Linett regarding plan and issues regarding divorce.             0.10
                                                                                              400.00/hr       40.00

             GEB Review email from Mr. Smaha, review items and prepare email to Mr.             1.00
                 Linett regarding status, finish review of documents.                         400.00/hr      400.00

             GEB Emails with Ms. Smith regarding budget for plan.                               0.40
                                                                                              400.00/hr      160.00

             GEB Further emails with Ms. Smith regarding budget for plan.                       0.20
                                                                                              400.00/hr       80.00

07 /28/20    JLS    Review of responsive memorandum regarding plan from debtor.                 0.20
                                                                                              550.00/hr      110.00

             JLS    Respond to plan memorandum, 1123 and plan.                                  0.40
                                                                                              550.00/hr      220.00

             JLS    Confer with Mr. Bravo regarding Linett plan ideas and responses.            0.20
                                                                                              550.00/hr      110.00

             JLS    Review of conceptual plan for Mr. Linett and authorities.                   0.40
                                                                                              550.00/hr      220.00

             JLS    Confer with Mr. Bravo regarding indubitable equivalency, plan concept.      0.20
                                                                                              550.00/hr      110.00

             GEB Emails from Mr. Smaha regarding Linett's plan.                                 0.20
                                                                                              400.00/hr       80.00

             GEB Confer with Mr. Smaha regarding status of plan and other issues.               0.20
                                                                                              400.00/hr       80.00

             GEB Review materials from Mr. Linett, of no wmih.                                  0.30
                                                                                              400.00/hr      120.00

             GEB Additional emails regarding status of appellate review.                        0.30
                                                                                              400.00/hr      120.00

             GEB Confer with Mr. Smaha regarding status.                                        0.10
                                                                                              400.00/hr       40.00

             GEB Review various matters and research issue on substitute collateral.            0.60
                                                                                              400.00/hr      240.00

07/29/20     JLS    Confer with Mr. Linett regarding plan formation.                            1.80
                                                                                              550.00/hr     990.00
            Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312      Pg. 213
                                                          of 364                                             Page 16


                                                                                              Hrs/Rate        Amount

07 /29/20    GEB Emails regarding meeting and outstanding issues.                                0.30
                                                                                               400.00/hr       120.00

             GEB Telephone conference with Ms. Smith regarding budget.                           0.20
                                                                                               400.00/hr        80.00

             GEB Lengthy email to Mr. Linett and others regarding plan and adversarial for       1.50
                 discussion.                                                                   400.00/hr       600.00

             GEB Prepare for meeting.                                                            0.30
                                                                                               400.00/hr       120.00

             GEB Take part in meeting with Mr. Linett regarding plan and disclosure              3.10
                 statement.                                                                    400.00/hr     1,240.00

07/30/20     JLS   Confer with Mr. Bravo regarding outline for plan.                             0.20
                                                                                               550.00/hr       110.00

             GEB Confer with Mr. Smaha regarding plan outline.                                   0.20
                                                                                               400.00/hr        80.00

07 /31/20    GEB Review documents to be produced and finalize amended initial disclosure         0.30
                 package, finalize all and arrange for service.                                400.00/hr       120.00

             GEB Work on plan provisions.                                                        1.50
                                                                                               400.00/hr       600.00

             GEB Finalize strategy for plan.                                                     1.00
                                                                                               400.00/hr      400.00

             GEB Continue working on plan status.                                                0.20
                                                                                               400.00/hr        80.00

            For professional services rendered                                                  15.80       $6,830.00

            Previous balance                                                                               $12,215.00


            Balance due                                                                                    $19,045.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                  Hours       Rate -~A~m~o~u=nt
JOHN L. SMAHA                                                                          3.40     550.00      $1,870.00
Gustavo Bravo                                                                         12.40     400.00      $4,960.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg. 214
                                                                                                          Page 13
                                                           of 364

    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                           Hrs/Rate        Amount

08/03/20    GEB Work on plan documents and memorandum regarding same.                         2.50
                                                                                            400.00/hr     1,000.00

            GEB Emails with Mr. Linett and Mr. Smaha regarding plan status                    0.50
                memorandum and outline.                                                     400.00/hr       200.00

            GEB Telephone conference with Mr. Smaha regarding plan outline and' other         0.20
                details.                                                                    400.00/hr        80.00

            GEB Work on plan.                                                                 2.00
                                                                                            400.00/hr       800.00

            GEB Continue working on plan, various emails regarding status of litigation       1.50
                and plan with Mr. Smaha and Mr. Linett.                                     400.00/hr      600.00

            JLS    Review of items for plan outline,.go over same with Mr. Bravo.             0.50
                                                                                            550.00/hr      275.00

08/04/20    GEB Work on plan.                                                                 0.50
                                                                                            400.00/hr      200.00

            GEB Emails with Mr. Smaha and confer with Mr. Smaha regarding Linett's            0.10
                ideas on plan and adversarial.                                              400.00/hr       40.00

            GEB Emails with Mr. Linett regarding status.                                      0.20
                                                                                            400.00/hr        80.00

            GEB Work on plan, emails with Mr. Linett regarding effort to undo plan again      1.60
                and argue with Mr. Linett.                                                  400.00/hr      640.00

            GEB Emails with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr       40.00

            GEB Continue working on plan.                                                     2.80
                                                                                            400.00/hr     1,120.00

            GEB Lengthy telephone conference with Mr. Linett regarding discussion on          1.00
                plan and details of appeal.                                                 400.00/hr      400.00

            GEB Work on liquidation analysis.                                                 1.00
                                                                                            400.00/hr      400.00

            GEB Finalize plan draft.                                                          1.50
                                                                                            400.00/hr      600.00

            JLS    Review of memorandum on plan with consideration of Mr. Linett's            0.20
                   comments.                                                                550.00/hr      110.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43            Doc 312      Pg.Page
                                                                                                                 215 14
                                                           of 364

                                                                                                Hrs/Rate        Amount

08/05/20    JPT   Meeting with Mr. Smaha and Mr. Bravo regarding competing liquidating             0.30
                  plan and disclosure status filed by creditor Barbara Linett and general        325.00/hr        97.50
                  status of client's own plan, valuation issues and impact of initial filer's
                  efforts to strip debtor of rights.

            GEB Review disclosure statement, confer with Mr. Smaha, gather documents               1.00
                and email to Mr. Linett regarding same.                                          400.00/hr       400.00

            GEB Work on disclosure statement.                                                      1.00
                                                                                                 400.00/hr       400.00

            GEB Work on disclosure statement, telephone conference with Mr. Linett to              2.00
                discuss various issues, confer with Mr. Smaha and follow up email with           400.00/hr       800.00
                Mr. Linett regarding plan and status.

            GEB Work on disclosure statement.                                                      2.30
                                                                                                 400.00/hr       920.00

            GEB Confer with Mr. Smaha regarding status of various matters.                         0.20
                                                                                                 400.00/hr        80.00

            GEB Work on projections with Ms. Smith.                                                1.00
                                                                                                 400.00/hr      400.00

            GEB Review emails from Mr. Linett and provide concise responses.                       0.30
                                                                                                 400.00/hr       120.00

            GEB Continue work on disclosure statement.                                             1.30
                                                                                                 400.00/hr       520.00

            JLS   Review of Barbara Linett plan and liquidation analysis.                          0.70
                                                                                                 550.00/hr      385.00

            JLS   Review of Dana Linett liquidation analysis.                                      0.40
                                                                                                 550.00/hr      220.00

            JLS   Confer with Mr. Bravo regarding plan analysis.                                   0.20
                                                                                                 550.00/hr       110.00

08/06/20 · GEB Work on disclosure statement.                                                       1.20
                                                                                                 400.00/hr      480.00

            GEB Emails with Ms. Smith and update information regarding same.                       0.20
                                                                                                 400.00/hr       80.00

            GEB Continue working on disclosure statement.                                          4.00
                                                                                                 400.00/hr     1,600.00

            GEB Respond to various emails.                                                         0.30
                                                                                                 400.00/hr      120.00

            GEB Work on budget.                                                                    0.40
                                                                                                 400.00/hr      160.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43      Doc 312       Pg.Page
                                                                                                            216 15
                                                           of 364

                                                                                          Hrs/Rate         Amount

08/06/20    GEB Finalize draft of disclosure statement, ongoing emails with Mr. Linett,       3.00
                confer with Mr. Smaha and finalize budget.                                  400.00/hr     1,200.00

            JLS   Go over written issues for plan.                                            0.20
                                                                                            550.00/hr       110.00

            JLS   Emails regarding prevailing interest rates.                                 0.10
                                                                                            550.00/hr        55.00

08/07/20    GEB Review and revise plan, review email from Mr. Linett and confer with         1.00
                Mr. Smaha regarding various issues.                                        400.00/hr        400.00

            GEB Work on revisions to plan and disclosure statement.                          2.00
                                                                                           400.00/hr        800.00

            GEB Work on revisions to plan and disclosure statement, lengthy telephone        2.20
                call with Mr. Linett regarding status.                                     400.00/hr        880.00

            GEB Work on finalized drafts of disclosure statement, plan and exhibits and      1.00
                arrange for filing.                                                        400.00/hr        400.00

            GEB Finalize plan and disclosure statement documents and anange for filing.      0.30
                                                                                           400.00/hr        120.00

            GEB Email to Mr. Linett regarding disclosure statement.                          0.10
                                                                                           400.00/hr         40.00

            JLS   Confer with Mr. Bravo regarding final provisions on plan.                  0.30
                                                                                           550.00/hr        165.00

08/10/20    JLS   Confer with Mr. Bravo regarding expert needed on tax analysis.             0.10
                                                                                           550.00/hr         55.00

            GEB Review status of filings and update dates.                                   0.20
                                                                                           400.00/hr         80.00

            GEB Confer with Mr. Smaha regarding status.                                      0.20
                                                                                           400.00/hr         80.00

            GEB Email from Mr. Linett, review same and email to Mr. Linett in response.      0.30
                                                                                           400.00/hr        120.00

            GEB Telephone call to Squar Milner regarding expert work.                        0.20
                                                                                           400.00/hr         80.00

            GEB Telephone conference with Ms. Chiang regarding documents, emails from        0.30
                Ms. Chiang regarding same.                                                 400.00/hr       120.00

            GEB Lengthy telephone conference with regarding plan budget and other            0.50
                issues.                                                                    400.00/hr       200.00

            GEB Emails regarding status and follow up items.                                 0.20
                                                                                           400.00/hr        80.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312      Pg.Page
                                                                                                           217 16
                                                           of 364

                                                                                          Hrs/Rate        Amount

08/11/20     JLS   Review of plan memorandum from Mr. Linett with response.                  0.10
                                                                                           550.00/hr        55.00

             JLS   Additional disclosure statement budget revision issue.                    0.20
                                                                                           550.00/hr       110.00

             GEB Confer with Mr. Smaha regarding status                                      0.20
                                                                                           400.00/hr        80.00

             GEB Emails with Mr. Linett regarding plan status and other issues.              0.30
                                                                                           400.00/hr       120.00

             GEB Work on email to Mr. Linett regarding various pending issues.               0.30
                                                                                           400.00/hr       120.00

             GEB Review comments from Mr. Linett and follow up on same.                      0.20
                                                                                           400.00/hr        80.00

             GEB Continue working on email to Mr. Linett.                                    0.20
                                                                                           400.00/hr        80.00

             GEB Finalize email and begin work on further emails and other items.            0.60
                                                                                           400.00/hr       240.00

             GEB Review opposing plan.                                                       0.50
                                                                                           400.00/hr       200.00

08/12/20     GEB Follow up with Ms. Chiang and with Mr. Linett regarding status of plan      0.20
                 and analysis.                                                             400.00/hr        80.00

             GEB Emails and other materials regarding plan budget.                           0.20
                                                                                           400.00/hr        80.00

             GEB Additional emails regarding conference call.                                0.20
                                                                                           400.00/hr        80.00

             GEB Work on revisions to disclosure statement per request of Mr. Linett.        2.50
                                                                                           400.00/hr     1,000.00

08/13/20     GEB Telephone calls, emails and discussions with Mr. Linett and Ms. Smith       1.30
                 regarding budget and other items.                                         400.00/hr      520.00

             GEB Prepare redline for Linett review.                                          0.10
                                                                                           400.00/hr        40.00

             GEB Draft email response to Mr. Linett's various questions by email.            1.00
                                                                                           400.00/hr      400.00

08/14/20     GEB Begin review of plan and disclosure statement by opposing counsel and       0.30
                 begin notes on opposition.                                                400.00/hr       120.00

08/17 /20    JLS   Review of items related to disclosure statement and valuation.            0.20
                                                                                           550.00/hr      110.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                              218 17
                                                         of 364

                                                                                            Hrs/Rate         Amount

08/17/20    GEB Email from Mr. Linett regarding disclosure statement.                           0.20
                                                                                              400.00/hr        80.00

            GEB Email to Mr. Linett regarding safety concerns.                                  0.30
                                                                                              400.00/hr       120.00

            GEB Email to Mr. Linett regarding safety concerns and changes to disclosure         0.30
                statement.                                                                    400.00/hr       120.00

            GEB Review disclosure statement by Barbara Linett.                                  0.30
                                                                                              400.00/hr       120.00

            GEB Email to Mr. Linett regarding plan treatment and litigation status              0.50
                discussions with US Bank.                                                     400.00/hr       200.00

            GEB Confer with Mr. Smaha regarding status of plan and issues.                      0.20
                                                                                              400.00/hr        80.00

            GEB Confer with Mr. Linett regarding status of plan and disclosure statement.       0.20
                                                                                              400.00/hr        80.00

08/18/20    JLS   Review of issues on secured debt from plan, US Bank.                          0.20
                                                                                              550.00/hr       110.00

            GEB Emails with Ms. Chiang regarding plan review and employment status.            0.20
                                                                                             400.00/hr         80.00

            GEB Follow up emails with Ms. Chiang regarding status.                             0.10
                                                                                             400.00/hr         40.00

            GEB Emails with Ms. Ballenger regarding claim of US Bank.                          0.30
                                                                                             400.00/hr        120.00

            GEB Confirm with Ms. Chiang regarding documents ready for review on tax            0.10
                status.                                                                      400.00/hr         40.00

            GEB Email to Mr. Duffy regarding plan treatment issues.                            0.30
                                                                                             400.00/hr        120.00

            GEB Emails with Mr. Linett regarding questions on plan and disclosure              0.90
                statement, other details.                                                    400.001hr       360.00

08/19/20    GEB Email from Mr. Duffy regarding discovery and status.                           0.10
                                                                                             400.00/hr         40.00

            GEB Work on email to Mr. Linett and Mr. Smaha regarding status of various          0.40
                pending matters.                                                             400.00/hr        160.00

            GEB Email to Mr. Linett and Mr. Smaha regarding current status of dispute          1.30
                and ongoing matters in plans.                                                400.00/hr       520.00

            GEB Emails with Mr. Linett regarding Subchapter V plan.                            0.30
                                                                                             400.00/hr       120.00
           Case 19-05831-LA11        Filed 01/11/22        Entered 01/11/22 09:20:43          Doc 312      Pg. 219
                                                                                                             Page 18
                                                           of 364

                                                                                              Hrs/Rate        Amount

08/19/20    GEB Email follow ups on my email regarding status conference and other               0.20
                matters, confer with Mr. Smaha regarding same.                                 400.00/hr       80.00

            GEB Lengthy telephone conference with Mr. Linett and others regarding plan           1.10
                and disclosure statement changes.                                              400.00/hr      440.00

            GEB Revise plan and confer with Mr. Smaha regarding decisions made.                  1.00
                                                                                               400.00/hr      400.00

            GEB Finalize revisions to disclosure statement.                                      0.50
                                                                                               400.00/hr      200.00

            GEB Email from Mr. Linett regarding arguments to raise at hearing.                   0.20
                                                                                               400.00/hr       80.00

08/20/20    JLS   Multiple emails regarding amendments to plan and disclosure with replies.      0.20
                                                                                               550.00/hr      110.00

            GEB Various emails with Mr. Smaha and Mr. Linett regarding plan and                  0.30
                disclosure statement status.                                                   400.00/hr      120.00

            GEB Follow up emails with Mr. Linett regarding hearing and plan status.              0.20
                                                                                               400.00/hr       80.00

            GEB Emails with counsel for US Bank and Energy secured claim.                        0.10
                                                                                               400.00/hr       40.00

            GEB Draft changes to plan and disclosure statement, review and update                1.80
                exhibits.                                                                      400.00/hr      720.00

            GEB Emails and telephone calls with Mr. Linett regarding updated disclosure          0.20
                statement and various items.                                                   400.00/hr       80.00

            GEB Telephone conference with Mr. Duffy regarding status.                            0.20
                                                                                               400.00/hr       80.00

            GEB Telephone call from Mr. Cook regarding Garwood claim and status.                 0.10
                                                                                               400.00/hr       40.00

            GEB Telephone call with Mr. Cook and to Mr. Gon-ill regarding status.                0.20
                                                                                               400.00/hr       80.00

08/21/20    JLS   Review of notes from meeting and mediator.                                     0.10
                                                                                               550.00/hr       55.00

            JLS   Emails Mr. Linett regarding mediation.                                         0.10
                                                                                               550.00/hr       55.00

            GEB Emails regarding potential mediation and options.                                0.30
                                                                                               400.00/hr      120.00

            GEB Confer with Mr. Smaha regarding status.                                          0.10
                                                                                               400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                             220 19
                                                         of 364

                                                                                            Hrs/Rate        Amount

08/21/20    GEB Email from Mr. Linett regarding valuation and mediation.                       0.20
                                                                                             400.00/hr        80.00

            GEB Emails with Mr. Gorrill regarding mediation and conference calls.              0.20
                                                                                             400.00/hr        80.00

            GEB Telephone conference with Mr. Chiang regarding completing plans.               0.30
                                                                                             400.00/hr       120.00

08/24/20    JLS   Review ofregarding from Mr. Linett regarding motions.                        0.10
                                                                                             550.00/hr        55.00

            GEB Email to Mr. Gorrill regarding phone call.                                     0.10
                                                                                             400.00/hr        40.00

            GEB Telephone call to Mr. Gorrill regarding status.                                0.10
                                                                                             400.00/hr        40.00

            GEB Email to Mr. Gorrill regarding follow up.                                      0.10
                                                                                             400.00/hr        40.00

            GEB Emails with Mr. Gorrill regarding mediation conference.                        0.10
                                                                                             400.00/hr        40.00

08/25/20    JLS   Confer with Mr. Bravo regarding plan issues.                                 0.20
                                                                                             550.00/hr       110.00

            JLS   Confer with Mr. Bravo regarding tax implications from liquidating plan.      0.20
                                                                                             550.00/hr       110.00

            GEB Confer with Mr. Smaha regarding status of dispute and other items.             0.20
                                                                                             400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding analysis on disclosure statement and           0.20
                telephone call to Ms. Chiang regarding tax issues on liquidating trust.      400.00/hr        80.00

            GEB Emails from Mr. Li.nett regarding ongoing status of disputes.                  0.20
                                                                                             400.00/hr       80.00

            GEB Prepare notes for phone call with Mr. Gorrill regarding status.                0.20
                                                                                             400.00/hr       80.00

            GEB Lengthy telephone conference with Ms. Chiang regarding tax                     0.40
                consequences of plan.                                                        400.00/hr      160.00

            GEB Confer with Mr. Smaha regarding discussions with Ms. Chiang and                0.20
                discuss matter.                                                              400.00/hr       80.00

            GEB Lengthy telephone conference with Mr. Gorrill regarding status.                0.80
                                                                                             400.00/hr      320.00

            GEB Review notes from conference call and determine items to continue work         0.30
                on and status of same.                                                       400.00/hr      120.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                           221 20
                                                         of 364

                                                                                          Hrs/Rate        Amount

08/25/20    GEB Email to Mr. Linett and Mr. Smaha regarding status of mediation              0.80
                discussions.                                                               400.00/hr       320.00

            GEB Telephone conference with Ms. Chiang, confer with Mr. Smaha and              1.10
                follow up emails regarding status of tax consequences.                     400.00/hr       440.00

            GEB Confer with Mr. Smaha regarding status of pending plan items.                0.20
                                                                                           400.00/hr        80.00

            GEB Finalize email to Ms. Chiang and send out.                                   0.10
                                                                                           400.00/hr        40.00

08/26/20    JLS   Emails regarding tax analysis.                                             0.20
                                                                                           550.00/hr       110.00

            JLS   Emails Ms. Chang regarding analysis.                                       0.10
                                                                                           550.00/hr        55.00

            GEB Email from Mr. Gorrill and confer with Mr. Smaha regarding same.             0.20
                                                                                           400.00/hr        80.00

            GEB Emails with Ms. Chiang regarding infonnation on cost basis.                  0.20
                                                                                           400.00/hr        80.00

            GEB Email to Ms. Chiang regarding details on home analysis.                      0.30
                                                                                           400.00/hr       120.00

            GEB Email follow ups from Ms. Chiang regarding analysis on residence and         0.20
                inventories.                                                               400.00/hr        80.00

            GEB Email to Mr. Duffy regarding status of mediation and other matters.          0.20
                                                                                           400.00/hr        80.00

            GEB Email to Mr. Koch regarding status of mediation.                             0.20
                                                                                           400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding status of mediation.                         0.10
                                                                                           400.00/hr       40.00

            GEB Email from Mr. Linett regarding mediation and other issues.                  0.10
                                                                                           400.00/hr       40.00

            GEB Emails with Ms. Chiang regarding analysis and other items for call.          0.20
                                                                                           400.00/hr        80.00

            GEB Telephone conference with Mr. Linett regarding status of litigation and      0.20
                mediation.                                                                 400.00/hr        80.00

            GEB Emails with Ms. Chiang regarding ongoing efforts to complete analysis.       0.20
                                                                                           400.00/hr       80.00

            GEB Email to Mr. Gorrill regarding status.                                       0.10
                                                                                           400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312       Pg.Page
                                                                                                               222 21
                                                         of 364

                                                                                             Hrs/Rate         Amount

08/26/20    GEB Emails with Ms. Chiang and to Mr. Linett regarding meeting.                      0.10
                                                                                               400.00/hr        40.00

08/27/20    GEB Emails with Mr. Gorrill regarding mediation and forward to Mr. Smaha.            0.20
                                                                                               400.00/hr        80.00

            GEB Emails with Mr. Gorrill and Mr. Smaha regarding Breslauer as mediator.           0.20
                                                                                               400.00/hr        80.00

            GEB Email to Mr. Gorrill regarding status.                                          0.10
                                                                                              400.00/hr         40.00

            GEB Review files, notes and other items for competing plans, continue               0.40
                working on disclosure statement, opposition and stop work due to              400.00/hr        160.00
                mediation discussions coming through.

            GEB Emails with Ms. Chiang regarding status.                                        0.10
                                                                                              400.00/hr         40.00

            GEB Email to Mr. Linett regarding mediation and conference call on Zoom.            0.20
                                                                                              400.00/hr         80.00

            GEB Emails with Mr. Gorrill regarding ongoing efforts and submission to court.      0.20
                                                                                              400.00/hr         80.00

            GEB Lengthy Zoom conference with Mr. Linett and Ms. Chiang regarding plan           1.20
                comparisons and status.                                                       400.00/hr        480.00

            GEB Review additional materials and status conclusion.                              0.10
                                                                                              400.00/hr         40.00

            GEB Telephone call and email to Mr. Gorrill regarding status.                       0.20
                                                                                              400.00/hr         80.00

            GEB Draft status report for review by opposing counsel, emails to Mr. Gorrill       1.00
                regarding status of mediation, telephone call to Mr. Gorrill and follow up    400.00/hr        400.00
                email with attached draft.

            GEB Emails with Mr. Gorrill regarding follow up items on stipulation and            0.20
                telephone call with Mr. Gorrill regarding same.                               400.00/hr         80.00

            GEB Telephone conference with Mr. Linett regarding details.                         0.20
                                                                                              400.00/hr         80.00

            GEB Review letter from Mr. Linett regarding costs of home.                          0.20
                                                                                              400.00/hr         80.00

08/28/20    GEB Email from Ms. Chiang regarding documents needed.                               0.10
                                                                                              400.00/hr        40.00

            GEB Confer with staff regarding service of report.                                  0.10
                                                                                              400.00/hr        40.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312         Pg.Page
                                                                                                                   223 22
                                                           of 364

                                                                                               Hrs/Rate              Amount

08/31/20    GEB Emails from Ms. Chiang and from Mr. Linett regarding status.                      0.30
                                                                                                400.00/hr              120.00

            GEB Email from Ms. Chiang regarding analysis on taxes and follow up with              0.20
                Mr. Linett.                                                                     400.00/hr                80.00

            GEB Continue review of documents and analysis.                                        0.20
                                                                                                400.00/hr                80.00

            GEB Email to Mr. Linett regarding various pending questions.                          0.30
                                                                                                400.00/hr              120.00

            GEB Email to Mr. Gon-ill regarding expert and other items.                            0.20
                                                                                                400.00/hr                80.00

            GEB Email to Mr. Duffy regarding status of plan and litigation in relation to         0.20
                mediation agreement.                                                            400.00/hr                80.00

           For professional services rendered                                                    81.90          $33,427.50

           Previous balance                                                                                     $19,045.00


           Balance due                                                                                          $52,472.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                   Hours       Rate _ _..aA-"m-'-'-=-ou=n.,..t
JOHN L. SMAHA                                                                           4.60     550.00          $2,530.00
Gustavo Bravo                                                                          77.00     400.00         $30,800.00
John Paul Teague                                                                        0.30     325.00             $97.50
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43   Doc 312      Pg. 224
                                                                                                    Page 12
                                                         of 364

    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                     Hrs/Rate        Amount

09/01/20    GEB Email from Mr. Linett, review same.                                     0.20
                                                                                      400.00/hr       80.00

            GEB Follow up email from Mr. Linett regarding additional items.             0.20
                                                                                      400.00/hr       80.00

            GEB Receive and review tentative ruling.                                    0.10
                                                                                      400.00/hr       40.00

09/02/20    GEB Continue efforts to set up mediation.                                   0.20
                                                                                      400.00/hr       80.00

09/03/20    GEB Email from comi clerk regarding status of order.                        0.10
                                                                                      400.00/hr       40.00

            GEB Email to Ms. Pearce regarding order.                                    0.10
                                                                                      400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding order and status of mediation.          0.10
                                                                                      400.00/hr       40.00

            GEB Email to Mr. Gon-ill regarding status of order.                         0.10
                                                                                      400.00/hr       40.00

            GEB Emails regarding mediation.                                             0.10
                                                                                      400.00/hr       40.00

            GEB Emails from Mr. G01Till and Ms. Pearce regarding order.                 0.10
                                                                                      400.00/hr       40.00

            GEB Additional emails and awaiting order.                                   0.20
                                                                                      400.00/hr       80.00

            GEB Submit order for filing.                                                0.10
                                                                                      400.00/hr       40.00

            GEB Emails with Ms. Pearce regarding mediation.                             0.10
                                                                                      400.00/hr       40.00

            GEB Emails with Mr. Linett regarding mediation and items still needed.      0.20
                                                                                      400.00/hr       80.00

            GEB Email from Mr. Linett regarding problems.                               0.20
                                                                                      400.00/hr       80.00

            GEB Emails with Mr. Linett and opposing counsel regarding status.           0.20
                                                                                      400.00/hr       80.00

            GEB Emails with Mr. Gorrill regarding valuations.                           0.20
                                                                                      400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43       Doc 312       Pg. 225
                                                                                                         Page 13
                                                         of 364

                                                                                         Hrs/Rate         Amount

09/03/20    GEB Receive minute order.                                                        0.10
                                                                                           400.00/hr       40.00

09/04/20    GEB Receive and review order regarding continuance and order appointing          0.20
                mediator.                                                                  400.00/hr       80.00

            GEB Email to court regarding revisions to mediation order.                       0.20
                                                                                           400.00/hr        80.00

            GEB Email from court regarding Breslauer appointment.                            0.10
                                                                                           400.00/hr       40.00

            GEB Email from comi regarding mediation.                                        0.10
                                                                                          400.00/hr        40.00

            GEB Receive and review order indicating new mediation.                          0.10
                                                                                          400.00/hr        40.00

09/08/20    GEB Email to Mr. Linett regarding status of various pending matters.            0.20
                                                                                          400.00/hr        80.00

            GEB Email to Mr. Breslauer regarding mediation.                                 0.20
                                                                                          400.00/hr        80.00

            GEB Emails with Mr. Breslauer regarding mediation status.                       0.10
                                                                                          400.00/hr        40.00

09/09/20    GEB Emails from creditor regarding solar company stipulation.                   0.10
                                                                                          400.00/hr        40.00

            GEB Telephone conference with Mr. Breslauer regarding potential mediation.      0.20
                                                                                          400.00/hr        80.00

            GEB Telephone conference with Mr. Linett regarding items outstanding.           0.20
                                                                                          400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding status of dispute and ongoing issues.       0.20
                                                                                          400.00/hr        80.00

            GEB Telephone call to Mr. Breslauer regarding status.                           0.10
                                                                                          400.00/hr        40.00

            GEB Follow up on various pending matters, experts, mediation, status, etc.      0.50
                                                                                          400.00/hr       200.00

            GEB Email from Ms. Chiang regarding items requested.                            0.10
                                                                                          400.00/hr        40.00

09/10/20    JLS   Review of memorandum on mediation, make additions.                        0.20
                                                                                          550.00/hr       110.00

            GEB Receive and review mediation order, confer with Mr. Smaha ands review       0.20
                materials.                                                                400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43   Doc 312      Pg.Page
                                                                                                        226 14
                                                           of 364

                                                                                       Hrs/Rate        Amount

09/10/20    GEB Draft email to Mr. Breslauer regarding mediation and status.              0.30
                                                                                        400.00/hr       120.00

            GEB Email to Mr. Smaha regarding Breslauer contact and status.                0.10
                                                                                        400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding communications with mediator and          0.20
                setting up the san1e.                                                   400.00/hr        80.00

            GEB Update email to Mr. Breslauer and send out, discuss with Mr. Smaha.       0.20
                                                                                        400.00/hr        80.00

            GEB Email from Mr. Duffy regarding stipulation.                               0.10
                                                                                        400.00/hr        40.00

            GEB Emails with Mr. Gorrill regarding pending valuations.                     0.20
                                                                                        400.00/hr        80.00

09/11/20    GEB Email from Mr. Linett regarding appellate brief.                          0.20
                                                                                        400.00/hr        80.00

            GEB Telephone call to Mr. Breslauer regarding status.                         0.10
                                                                                        400.00/hr        40.00

            GEB Email to Mr. Breslauer regarding status.                                  .0.10
                                                                                        400.00/hr       40.00

09/14/20    GEB Telephone conference with Mr. Smaha and confirm phone conference          0.20
                with Mr. Breslauer.                                                     400.00/hr        80.00

            GEB Email from Mr. Linett regarding status of case.                           0.20
                                                                                        400.00/hr       80.00

            GEB Work on response to Linett email.                                         0.20
                                                                                        400.00/hr       80.00

            GEB Work on emails to Mr. Linett regarding various pending matters.           1.20
                                                                                        400.00/hr      480.00

            GEB Emails from Mr. Linett regarding status.                                  0.20
                                                                                        400.00/hr       80.00

09/15/20    JLS   Conference call with mediator Breslauer regarding plan mediation.       0.70
                                                                                        550.00/hr      385.00

            GEB Set up telephone conference with Mr. Breslauer.                           0.10
                                                                                        400.00/hr       40.00

            GEB Effort to reschedule call.                                                0.20
                                                                                        400.00/hr       80.00

            GEB Receive order continuing hearing and receive tentative ruling.            0.20
                                                                                        400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43      Doc 312      Pg.Page
                                                                                                           227 15
                                                           of 364

                                                                                          Hrs/Rate        Amount

09/15/20   GEB Telephone conference with Mr. Smaha regarding conference call.                0.20
                                                                                           400.00/hr        80.00

           GEB Lengthy telephone call with Mr. Smaha and Mr. Breslauer regarding             0.80
               potential mediation.                                                        400.00/hr       320.00

           GEB Email from Mr. Linett regarding various pending issues.                       0.20
                                                                                           400.00/hr        80.00

09/16/20    GEB Review email from Mr. Linett, research various issues and prepare            0.80
                detailed response.                                                         400.00/hr      320.00

           GEB Confer with Mr. Smaha regarding status of email and analysis on tax           0.10
               effects.                                                                    400.00/hr        40.00

            GEB Review file and update various pending matters, follow up on both            0.20
                valuation and operating report issues.                                     400.00/hr        80.00

            GEB Emails with Mr. Linett regarding outstanding items.                          0.30
                                                                                           400.00/hr       120.00

            GEB Follow up emails and status of various pending matters.                      0.20
                                                                                           400.00/hr        80.00

09/18/20    GEB Email to Mr. Linett regarding expert.                                        0.10
                                                                                           400.00/hr        40.00

            GEB Emails with Mr. Linett regarding use of Winslow.                             0.20
                                                                                           400.00/hr        80.00

            GEB Email to Mr. Gorrill regarding status.                                       0.30
                                                                                           400.00/hr       120.00

            GEB Email from Mr. GoITill regarding no response.                                0.20
                                                                                           400.00/hr        80.00

            GEB Follow up with Mr. G01Till regarding follow up items.                        0.20
                                                                                           400.00/hr        80.00

            GEB Emails from Mr. Breslauer and Mr. GoITill regarding mediation status.        0.10
                                                                                           400.00/hr       40.00

            GEB Additional emails from Mr. Linett, from Ms. Chiang and others regarding      0.20
                valuations and other items.                                                400.00/hr       80.00

            GEB Additional emails from Ms. Chiang and Mr. Linett regarding gathering         0.20
                infonnation efforts.                                                       400.00/hr       80.00

09/21/20    GEB Email from Mr. Gorrill regarding status.                                     0.10
                                                                                           400.00/hr       40.00

            GEB Draft email to Mr. Linett regarding mediation status and other items.        0.30
                                                                                           400.00/hr      120.00
           Case 19-05831-LA11        Filed 01/11/22        Entered 01/11/22 09:20:43      Doc 312      Pg.Page
                                                                                                           228 16
                                                           of 364

                                                                                          Hrs/Rate        Amount

09/21/20    GEB Email from Mr. Duffy regarding mediation.                                    0.10
                                                                                           400.00/hr        40.00

            GEB Email from Mr. Duffy regarding follow up.                                    0.10
                                                                                           400.00/hr        40.00

09/22/20    GEB Email to Mr. Gorrill regarding mediation status.                             0.20
                                                                                           400.00/hr        80.00

            GEB Telephone call to Mr. Winslow regarding valuations.                          0.10
                                                                                           400.00/hr        40.00

            GEB Telephone conference with Mr. Winslow regarding expert designation.          0.30
                                                                                           400.00/hr       120.00

            GEB Telephone calls to Mr. Gorrill and Mr. Duffy regarding mediation.            0.20
                                                                                           400.00/hr        80.00

            GEB Email from Mr. Linett regarding details.                                     0.20
                                                                                           400.00/hr        80.00

09/23/20    GEB Emails with Mr. Gorrill regarding mediation.                                 0.20
                                                                                           400.00/hr        80.00

            GEB Telephone conference with mediator and status.                               0.30
                                                                                           400.00/hr       120.00

            GEB Emails from Mr. Linett regarding status.                                     0.20
                                                                                           400.00/hr        80.00

            GEB Email from court regarding hearing dates.                                    0.10
                                                                                           400.00/hr       40.00

09/24/20    JLS   Confer with Mr. Bravo regarding issues on mediation and alternatives.      0.20
                                                                                           550.00/hr      110.00

            GEB Confer with Mr. Smaha regarding status of mediation.                         0.20
                                                                                           400.00/hr       80.00

            GEB Emails with Ms. Fearce regarding status conference.                          0.10
                                                                                           400.00/hr       40.00

            GEB Telephone conference with Mr. Duffy regarding status.                        0.20
                                                                                           400.00/hr       80.00

            GEB Emails with court regarding ongoing status.                                  0.10
                                                                                           400.00/hr       40.00

            GEB Receive order from court.                                                    0.10
                                                                                           400.00/hr       40.00

            GEB Email from Mr. Linett regarding status.                                      0.10
                                                                                           400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg. 229
                                                                                                          Page 17
                                                          of 364

                                                                                           Hrs/Rate        Amount

09/24/20    GEB Work on email to Mr. Linett and Mr. Smaha regarding mediation status.         0.20
                                                                                            400.00/hr       80.00

            GEB Finalize email to Mr. Linett and Mr. Smaha regarding mediation status.        0.40
                                                                                            400.00/hr      160.00

            GEB Email from Mr. Linett regarding value.                                        0.10
                                                                                            400.00/hr       40.00

            GEB Email to Mr. Gonill regarding mediation.                                      0.10
                                                                                            400.00/hr       40.00

            GEB Follow up emails regarding mediation.                                         0.10
                                                                                            400.00/hr       40.00

09/25/20    JLS   Review of memorandum regarding mediation points, possible scenarios.        0.20
                                                                                            550.00/hr      110.00

            GEB Email from Mr. Smaha regarding potential settlement.                          0.10
                                                                                            400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr       40.00

            GEB Email from Mr. Linett regarding various issues and fraud upon the court.      0.30
                                                                                            400.00/hr      120.00

            GEB Receive conespondence from US Bank regarding loans.                           0.20
                                                                                            400.00/hr       80.00

            GEB Various emails from Mr. Linett, review from earlier in the week, prepare      0.50
                various responses.                                                          400.00/hr      200.00

            GEB Email to Mr. Gonill regarding mediation.                                      0.10
                                                                                            400.00/hr       40.00

            GEB Email from Mr. Breslauer regarding mediation status.                          0.10
                                                                                            400.00/hr       40.00

            GEB Email from Mr. Linett regarding personal background.                          0.20
                                                                                            400.00/hr       80.00

            GEB Email to Mr. Linett regarding reports, status of mediation and options        0.70
                moving forward.                                                             400.00/hr      280.00

09/28/20    JLS   Review of responses from Mr. Linett regarding mediation pa.ran1eters.       0.20
                                                                                            550.00/hr      110.00

            GEB Review various emails between Mr. Smaha, Mr. Linett and myself                0.40
                regarding status of mediation and other options.                            400.00/hr      160.00

            GEB Email to Mr. Smaha regarding various responses over weekend.                  0.20
                                                                                            400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                             230 18
                                                          of 364

                                                                                            Hrs/Rate         Amount

09/28/20    GEB Email from Mr. Breslauer's office regarding mediation.                         0.10
                                                                                             400.00/hr          40.00

            GEB Telephone conference with Mr. Smaha regarding Linett status.                   0.10
                                                                                             400.00/hr          40.00

            GEB Consider additional documents and continue review of same.                     0.30
                                                                                             400.00/hr        120.00

            GEB Telephone conference with Mr. Smaha regarding plans going forward.             0.30
                                                                                             400.00/hr        120.00

09/29/20    GEB Email from Mr. Linett regarding status.                                        0.20
                                                                                             400.00/hr          80.00

            GEB Confer with Mr. Smaha regarding power.                                         0.20
                                                                                             400.00/hr          80.00

09/30/20    GEB Email from Mr. Smaha regarding status.                                         0.10
                                                                                             400.00/hr         40.00

            GEB Emails with Ms. Chiang regarding analysis.                                     0.20
                                                                                             400.00/hr         80.00

            GEB Prepare response to Mr. Linett regarding various pending matters.              0.20
                                                                                             400.00/hr         80.00

            GEB Follow up emails on forbearance items.                                         0.20
                                                                                             400.00/hr         80.00

           For professional services rendered                                                 24.10       $9,865.00

           Previous balance                                                                              $52,472.50


           Balance due                                                                                   $62,337.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                Hours       Rate -~A'""'m~ou=n-"'t
JOHN L. SMAHA                                                                        1.50     550.00        $825.00
Gustavo Bravo                                                                       22.60     400.00      $9,040.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312       Pg. 231
                                                                                                          Page 11
                                                           of 364

    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                          Hrs/Rate         Amount

10/01/20    GEB Email from Mr. Linett, review same and attempt a response, seek to            0.50
                confer with Mr. Smaha.                                                      400.00/hr       200.00

            GEB Email notice of request for special notice.                                   0.10
                                                                                            400.00/hr        40.00

            GEB Emails with Mr. Linett and counsel for bank regarding extension on           0.30
                forbearance.                                                               400.00/hr        120.00

            'GEB Follow up emails with counsel for bank on forbearance.                      0.20
                                                                                           400.00/hr         80.00

            GEB Emails with Mr. Smaha regarding status.                                      0.20
                                                                                           400.00/hr         80.00

            GEB Emails with Mr. Smaha regarding status of disputes and mediation.            0.20
                                                                                           400.00/hr        80.00

10/02/20    GEB Emails with Mr. Smaha regarding ongoing disputes.                            0.10
                                                                                           400.00/hr        40.00

            GEB Emails with Mr. Smaha regarding mediation status.                            0.10
                                                                                           400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding response to Mr. Linett.                      0.20
                                                                                           400.00/hr        80.00

            GEB Telephone conference with Mr. Smaha regarding status of tax analysis.        0.20
                                                                                           400.00/hr        80.00

            GEB Multiple emails to Mr. Linett regarding ongoing disputes, appeal and         0.60
                mediation.                                                                 400.00/hr       240.00

10/05/20    GEB Emails from Mr. Linett and Mr. Smaha regarding status of listings and        0.20
                stipulation.                                                               400.00/hr        80.00

10/06/20    GEB Email to Mr. Gorrill regarding deadlines.                                    0.20
                                                                                           400.00/hr        80.00

            GEB Work on email to Mr. Linett and other materials, finalize email, review      1.40
                previous emails and check status.                                          400.00/hr       560.00

            GEB Emails with Mr. Linett regarding ongoing disputes.                           0.20
                                                                                           400.00/hr        80.00

10/07/20    JLS    Review of items in preparation of mediation brief.                        0.40
                                                                                           550.00/hr       220.00

            JLS    Telephone conference with Mr. Bravo regarding mediation.                  0.20
                                                                                           550.00/hr       110.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                             232 12
                                                         of 364

                                                                                            Hrs/Rate        Amount

10/07/20    GEB Emails with Mr. Duffy regarding status of mediation.                           0.20
                                                                                             400.00/hr        80.00

            GEB Emails with Mr. Linett regarding ongoing discussions on maniage                0.30
                settlement agreement and other items.                                        400.00/hr       120.00

            GEB Follow up email to Mr. Smaha regarding status.                                 0.10
                                                                                             400.00/hr        40.00

            GEB Email to Mr. Linett regarding meeting and mediation.                           0.20
                                                                                             400.00/hr        80.00

            GEB Additional emails with Mr. Linett and Mr. Smaha regarding conference           0.30
                call and questions.                                                          400.00/hr       120.00

            GEB Follow up emails regarding discovery status.                                   0.20
                                                                                             400.00/hr        80.00

            GEB Email from Mr. Smaha regarding tax status.                                     0.10
                                                                                             400.00/hr        40.00

            GEB ?mails regarding conference call and issues to discuss.                        0.10
                                                                                             400.00/hr        40.00

10/08/20    JLS   Telephone conference with Mr. Linett regardin~ mediation outlines.           0.70
                                                                                             550.00/hr      385.00

            JLS   Review of item regarding possible consignee.                                 0.10
                                                                                             550.00/hr        55.00

            JLS   Telephone conference with Mr. Bravo regarding tax analysis, implication      0.30
                  for new homestead rules.                                                   550.00/hr       165.00

            GEB Telephone conference with Mr. Linett, Mr. fugle and Mr. Smaha                  0.70
                regarding status.                                                            400.00/hr      280.00

            GEB Email to Ms. Chiang regarding status of analysis.                              0.10
                                                                                             400.00/hr       40.00

            GEB Email to Mr. Gorrill regarding deadline and status of mediation.               0.10
                                                                                             400.00/hr       40.00

            GEB Emails with Mr. Linett regarding revised homestead amounts.                    0.20
                                                                                             400.00/hr       80.00

            GEB Email from Ms. Chiang regarding status of analysis.                            0.10
                                                                                             400.00/hr       40.00

            GEB Work on brief.                                                                 0.50
                                                                                             400.00/hr      200.00

            GEB Telephone conference with Mr. Smaha regarding approach to mediation.           0.30
                                                                                             400.00/hr      120.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                               233 13
                                                           of 364

                                                                                             Hrs/Rate         Amount

10/08/20    GEB Emails regarding estimates and tax analysis.                                     0.20
                                                                                               400.00/hr        80.00

            GEB Research on status of homestead exemption and ongoing efforts to double         0.50
                up.                                                                           400.00/hr        200.00

10/09/20    JLS   Email Mr. Linett regarding additional facts for mediation, calculations,      0.20
                  reply.                                                                      550.00/hr        110.00

            JLS   Follow up Mr. Linett regarding statistics.                                    0.50
                                                                                              550.00/hr        275.00

            JLS   Telephone conference with Mr. Bravo regarding follow up on mediation          0.20
                  brief.                                                                      550.00/hr        110.00

            GEB Additional research on homestead availability and analysis on numbers.          0.50
                                                                                              400.00/hr        200.00

            GEB Telephone conference with Mr. Smaha regarding strategy on mediation             0.30
                and status.                                                                   400.00/hr        120.00

            GEB Lengthy telephone conference with Mr. Linett, Mr. Smaha and others              0.50
                regarding mediation and numbers.                                              400.00/hr        200.00

            GEB Work on rough numbers for mediation based on 10 year history.                   0.20
                                                                                              400.00/hr         80.00

            GEB Email to Ms. Chiang regarding tax analysis and other matters.                   0.20
                                                                                              400.00/hr         80.00

            GEB Work on numbers for potential settlement discussions.                           0.30
                                                                                              400.00/hr        120.00

            GEB Follow up telephone conference with Mr. Smaha regarding results of              0.20
                discussions and ongoing analysis.                                             400.00/hr         80.00

            GEB Work on mediation brief.                                                        0.20
                                                                                              400.00/hr        80.00

            GEB Receive various emails from Mr. Linett and Mr. Smaha regarding analysis         0.30
                and consider options.                                                         400.00/hr       120.00

            GEB Emails with Mr. Linett regarding concerns over publications.                    0.20
                                                                                              400.00/hr        80.00

            GEB Telephone call to Ms. Chiang regarding numbers.                                 0.10
                                                                                              400.00/hr        40.00

            GEB Follow up email to Ms. Chiang regarding status.                                 0.10
                                                                                              400.00/hr        40.00

            GEB Emails with Ms. Chiang regarding analysis.                                      0.20
                                                                                              400.00/hr        80.00
           Case 19-05831-LA11        Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                           234 14
                                                         of 364

                                                                                          Hrs/Rate        Amount

10/09/20    GEB Emails with Mr. Linett regarding security concerns following up.             0.20
                                                                                           400.00/hr        80.00

            GEB Research issues on homestead and finalize agreement.                         0.30
                                                                                           400.00/hr       120.00

            GEB Email and telephone call to Ms. Chiang regarding tax infonnation.            0.10
                                                                                           400.00/hr        40.00

            GEB Telephone conference with Ms. Chiang and continue effo1is to complete        1.40
                analysis.                                                                  400.00/hr       560.00

            GEB Work on materials for brief and arguments regarding same.                    0.40
                                                                                           400.00/hr       160.00

10/12/20    JLS   Confer with Mr. Bravo regarding tax analysis.                              0.40
                                                                                           550.00/hr       220.00

            GEB Work on mediation brief.                                                     2.50
                                                                                           400.00/hr     1,000.00

            GEB Confer with Mr. Smaha regarding status of brief and other matters.           0.10
                                                                                           400.00/hr        40.00

            GEB Telephone conference with Ms. Chiang regarding projection and status,        1.30
                numbers and other items.                                                   400.00/hr       520.00

            GEB Review numbers from Ms. Chiang, prepare for meeting with Mr. Smaha,          0.50
                email to Mr. Breslauer regarding items and consider how to present to      400.00/hr       200.00
                Mr. Linett.

            GEB Emails with Mr. Linett regarding Subchapter V options, confer with Mr.       0.50
                Smaha, review previous emails and follow up.                               400.00/hr      200.00

            GEB Telephone conference and emails with Mr. Breslauer, Mr. Gorrill and Mr.      0.40
                Linett regarding mediation date.                                           400.00/hr       160.00

            GEB Work on mediation brief.                                                     2.40
                                                                                           400.00/hr      960.00

            GEB Emails with Ms. Chiang regarding upgraded analysis.                          0.20
                                                                                           400.00/hr        80.00

            GEB Continue working on mediation brief.                                         2.60
                                                                                           400.00/hr     1,040.00

            GEB Finalize brief, review materials and email to Mr. Linett and Mr. Smaha       0.50
                regarding brief.                                                           400.00/hr      200.00

10/13/20    GEB Confer with Mr. Smaha regarding mediation brief and positions.               0.10
                                                                                           400.00/hr       40.00

            GEB Follow up with Mr. Smaha regarding mediation brief.                          0.10
                                                                                           400.00/hr       40.00
           Case 19-05831-LA11          Filed 01/11/22     Entered 01/11/22 09:20:43      Doc 312       Pg.Page
                                                                                                           235 15
                                                          of 364

                                                                                         Hrs/Rate         Amount

10/13/20    GEB Review changes to brief, confer with Mr. Smaha and get done.                 0.10
                                                                                           400.00/hr        40.00

            GEB Telephone conference with Mr. Linett regarding ongoing issues.               0.60
                                                                                           400.00/hr       240.00

            GEB Follow up email and other items with Mr. Linett.                             0.20
                                                                                           400.00/hr        80.00

            GEB Finalize mediation brief and email to Mr. Linett for final review.           0.30
                                                                                           400.00/hr       120.00

            GEB Email to Mr. Gorrill regarding status.                                      0.10
                                                                                          400.00/hr         40.00

            GEB Email to Mr. Breslauer regarding mediation confirmation.                    0.10
                                                                                          400.00/hr         40.00

            GEB Gather documents for mediation brief.                                       0.20
                                                                                          400.00/hr         80.00

            GEB Email from Mr. Linett regarding status.                                     0.10
                                                                                          400.00/hr         40.00

            GEB Emails with Mr. Gorrill regarding status of hearing and disclosure          0.20
                statement.                                                                400.00/hr         80.00
                         \
            GEB Draft status report.                                                        0.20
                                                                                          400.00/hr         80.00

            GEB Emails with Mr. Linett regarding mediation brief and status of ongoing      0.20
                auctions.                                                                 400.00/hr         80.00

            GEB Confer with Mr. Smaha and send out mediation brief.                         0.30
                                                                                          400.00/hr        120.00

            GEB Continue working on status report.                                          0.40
                                                                                          400.00/hr        160.00

            GEB Emails with Ms. Chiang regarding reports and mediation.                     0.20
                                                                                          400.00/hr         80.00

            GEB Email to Mr. Gorrill regarding status.                                      0.10
                                                                                          400.00/hr        40.00

            GEB Telephone conference with Mr. Gorrill regarding status ofreport and         0.10
                other items.                                                              400.00/hr        40.00

            GEB Email to Mr. Breslauer regarding mediation.                                 0.10
                                                                                          400.00/hr        40.00

10/14/20    GEB Emails with Mr. Duffy and other creditors, finalize status report and       0.30
                arrange for filing.                                                       400.00/hr       120.00
           Case 19-05831-LA11        Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312       Pg. 236
                                                                                                            Page 16
                                                        of 364

                                                                                            Hrs/Rate         Amount

10/14/20    GEB Telephone conference with Mr. Linett regarding retirement account.              0.20
                                                                                              400.00/hr        80.00

            GEB Emails with counsel for Banco Popular regarding forbearance and other           0.20
                agreements.                                                                   400.00/hr        80.00

            GEB Telephone call to Mr. Breslauer and others regarding status of mediation.       0.20
                                                                                              400.00/hr        80.00

            GEB Email from counsel for Banco Popular regarding payment structure.               0.10
                                                                                              400.00/hr        40.00

            GEB Follow up items with counsel for banks.                                         0.20
                                                                                              400.00/hr        80.00

            GEB Emails with Mr. Linett regarding tax payments.                                  0.10
                                                                                              400.00/hr        40.00

10/15/20    GEB Emails with Mr. Linett regarding mediation and other items.                     0.20
                                                                                              400.00/hr        80.00

10/16/20    GEB Follow up on status of mediation and other items.                               0.20
                                                                                              400.00/hr        80.00

            GEB Telephone call to Mr. Linett regarding mediation.                               0.10
                                                                                              400.00/hr        40.00

10/19/20    GEB Email from Mr. Breslauer regarding appearance for mediation, confer             0.20
                with Mr. Smaha regarding same.                                                400.00/hr        80.00

            GEB Email to Mr. Linett regarding status of meeting.                                0.20
                                                                                              400.00/hr        80.00

            GEB Emails with Mr. Breslauer regarding mediation and various addresses for         0.20
                phone call tomorrow.                                                          400.00/hr        80.00

            GEB Emails with Mr. Linett regarding various pending matters and mediation         0.30
                outlook.                                                                     400.00/hr        120.00

            GEB Ongoing confirmation emails for mediation.                                     0.10
                                                                                             400.00/hr        40.00

            GEB Receive notice of additional forbearance.                                      0.10
                                                                                             400.00/hr        40.00

            GEB Emails with Mr. Breslauer regarding status.                                    0.10
                                                                                             400.00/hr        40.00

            GEB Telephone call to Mr. Linett regarding status.                                 0.10
                                                                                             400.00/hr        40.00

            GEB Review letter from Mr. Linett and work on changes.                             1.80
                                                                                             400.00/hr       720.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                            237 17
                                                          of 364

                                                                                          Hrs/Rate         Amount

10/19/20    GEB Finalize email to Mr. Linett with changes to his letter.                      0.30
                                                                                            400.00/hr       120.00

            GEB Confer with Mr. Smaha regarding letter and status, email top Mr. Linett       0.30
                regarding position change.                                                  400.00/hr       120.00

            GEB Finalize email and letter, emails to Mr. Smaha and Mr. Linett regarding       0.30
                additional points.                                                          400.00/hr       120.00

            GEB Telephone conference with Mr. Smaha regarding mediation preparations.         0.20
                                                                                            400.00/hr        80.00

            GEB Telephone conference with Mr. Linett regarding mediation.                     0.20
                                                                                            400.00/hr        80.00

            GEB Finalize call with Mr. Linett, receive revised letter and email to Mr.        0.20
                Breslauer regarding same.                                                   400.00/hr        80.00

            GEB Emails with Mr. Breslauer regarding mediation questions.                      0.20
                                                                                            400.00/hr        80.00

            GEB Telephone conference with Mr. Breslauer and follow up emails.                0.30
                                                                                           400.00/hr        120.00

            GEB Email from Mr. Linett regarding follow up.                                   0.10
                                                                                           400.00/hr         40.00

10/20/20    GEB Email from Mr. Linett regarding status of mediation.                         0.20
                                                                                           400.00/hr         80.00

            GEB Telephone conference with Mr. Smaha regarding mediation and status.          0.10
                                                                                           400.00/hr         40.00

            GEB Prepare for and attend Zoom mediation.                                       4.60
                                                                                           400.00/hr      1,840.00

            GEB Email from Mr. Linett and review options.                                    0.20
                                                                                           400.00/hr         80.00

            GEB Telephone conference with Mr. Smaha regarding procedure.                     0.20
                                                                                           400.00/hr         80.00

            GEB Telephone conference with Mr. Breslauer regarding potential agreement.       0.20
                                                                                           400.00/hr         80.00

            JLS   Attend mediation.                                                          4.30
                                                                                           550.00/hr      2,365.00

10/21/20    GEB Email from Mr. Linett regarding additional concems,and research issues.      0.30
                                                                                           400.00/hr        120.00

            GEB Review materials from marriage settlement agreement and conclude             0.20
                nothing to be done to previous ruling.                                     400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                            238 18
                                                          of 364

                                                                                           Hrs/Rate        Amount

10/21/20    GEB Review plan and disclosure statement, consider options and review option      0.50
                for conversation.                                                           400.00/hr       200.00

            GEB Telephone conference with Mr. Smaha regarding status of case and              0.20
                potential for defense.                                                      400.00/hr        80.00

            GEB Telephone conference with counsel for US Bank regarding status.               0.10
                                                                                            400.00/hr        40.00

            GEB Email from Mr. Linett regarding status.                                       0.10
                                                                                            400.00/hr        40.00

            JLS   Review items from Mr. Linett regarding values.                              0.20
                                                                                            550.00/hr       110.00

            JLS   Telephone conference with Mr. Bravo regarding plan and fund collection      0.20
                  items.                                                                    550.00/hr       110.00

10/22/20    GEB Various emails from Mr. Linett for review of pending matters and              0.20
                continue efforts to consider reorganization.                                400.00/hr        80.00

            GEB Email from Mr. Linett regarding status and forward to Mr. Smaha               0.20
                regarding appeal and issues on conversion.                                  400.00/hr        80.00

            GEB Receive letter from US Bank regarding forbearance.                            0.10
                                                                                            400.00/hr       40.00

            GEB Telephone conference with Mr. Smaha regarding appeal status and other         0.20
                issues.                                                                     400.00/hr       80.00

            GEB Email from Mr. Smaha regarding status.                                        0.10
                                                                                            400.00/hr       40.00

            JLS   Telephone conference with Mr. Bravo regarding plan hearing and items        0.10
                  needed to complete.                                                       550.00/hr       55.00

            JLS   Email Mr. Linett regarding plan and disclosure statement items.             0.10
                                                                                            550.00/hr       55.00

10/23/20    GEB Lengthy telephone conference with Mr. Linett regarding ongoing efforts        0.30
                to find way to reorganize.                                                  400.00/hr      120.00

            GEB Telephone conference with Mr. Smaha regarding status.                         0.10
                                                                                            400.00/hr       40.00

10/26/20    GEB Review status of case and other items, work on potential settlement           0.20
                options or conversion.                                                      400.00/hr       80.00

            GEB Review tentative ruling.                                                      0.10
                                                                                            400.00/hr       40.00

            GEB Telephone conference with opposing counsel from bank regarding                0.20
                tentative and status of documents.                                          400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                            239 19
                                                          of 364

                                                                                           Hrs/Rate        Amount

10/26/20    GEB Draft email to Mr. Smaha regarding status.                                    0.20
                                                                                            400.00/hr        80.00

            GEB Email from Mr. Smaha regarding status.                                        0.10
                                                                                            400.00/hr        40.00

10/27/20    GEB Conference with Mr. Smaha regarding pending hearing and obligations,          0.30
                available dates and other items.                                            400.00/hr       120.00

            GEB Work on email and status report regarding dates.                              0.20
                                                                                            400.00/hr        80.00

            GEB Follow up with Mr. Linett regarding status, email from Mr. Linett             0.30
                regarding same.                                                             400.00/hr       120.00

            GEB Analyze case, notes and other materials, prepare lengthy response to Mr.      2.00
                Linett and simultaneously work on emails to Mr. Gorrill and Mr. Duffy.      400.00/hr       800.00

            GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr        40.00

            GEB Emails with Mr. Gonill regarding proposed dates and reach out to court.       0.30
                                                                                            400.00/hr       120.00

            GEB Telephone call to Mr. Linett regarding status.                                0.10
                                                                                            400.00/hr        40.00

            GEB Email from Mr. Linett regarding status.                                       0.20
                                                                                            400.00/hr        80.00

            JLS   Confer with Mr. Bravo regarding issues on disclosure opposition issues      0.20
                  and release.                                                              550.00/hr       110.00

10/28/20    GEB Telephone conference with Mr. Smaha regarding response to Mr. Linett          0.10
                and status of overall case.                                                 400.00/hr       40.00

            GEB Email to Mr. Linett in response to lengthy email.                             0.30
                                                                                            400.00/hr      120.00

            GEB Work on status report to court with proposed dates.                           0.80
                                                                                            400.00/hr      320.00

            GEB Revise report and update, arrange for filing.                                 0.50
                                                                                            400.00/hr      200.00

            GEB Email to Mr. Linett regarding call-in and other items.                        0.10
                                                                                            400.00/hr       40.00

            JLS   Emails Mr. Linett regarding law interpretation.                             0.10
                                                                                            550.00/hr       55.00

            JLS   Review of materials regarding issues for plan from Mr. Li.nett.             0.20
                                                                                            550.00/hr      110.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                              240 20
                                                            of 364

                                                                                            Hrs/Rate         Amount

10/29/20     GEB Review emails from Mr. Linett and research issues on questions raised.         0.40
                                                                                              400.00/hr       160.00

             GEB Review docket and prepare for hearing this afternoon at 2:00 PM.               0.30
                                                                                              400.00/hr       120.00

             GEB Work on detailed email to Mr. Linett regarding ongoing issues.                 1.40
                                                                                              400.00/hr       560.00

             GEB Prepare for and attend hearing.                                                1.00
                                                                                              400.00/hr       400.00

             GEB Confer with Mr. Smaha regarding results of hearing.                            0.10
                                                                                              400.00/hr        40.00

             GEB Review materials on status and attempt to follow up with all interested        0.30
                 parties.                                                                     400.00/hr       120.00

             GEB Emails with Mr. Linett regarding status.                                       0.20
                                                                                              400.00/hr        80.00

             GEB Confer with Mr. Smaha regarding results of hearing and arguments to be        0.20
                 presented.                                                                  400.00/hr         80.00

             GEB Ongoing emails with Mr. Linett regarding status.                              0.30
                                                                                             400.00/hr        120.00

10/3 0/20    GEB Email from Mr. Smaha regarding analysis of court's orders.                    0.10
                                                                                             400.00/hr         40.00

             GEB Review file and update materials for status.                                  0.20
                                                                                             400.00/hr         80.00

             GEB Email from Mr. Linett regarding status.                                       0.10
                                                                                             400.00/hr         40.00

             GEB Review notes, review status of various matters, confer with Mr. Smaha         0.20
                 and prepare for phone call.                                                 400.00/hr         80.00

             GEB Receive and review minute order, calendar dates and begin investigation       0.20
                 into response.                                                              400.00/hr         80.00

             GEB Receive and review minute order and confer with Mr. Smaha regarding           0.10
                 status.                                                                     400.00/hr         40.00

             GEB Telephone conference with Mr. Linett regarding work on things.                0.70
                                                                                             400.00/hr        280.00

             JLS   Emails regarding disclosure statement with Mr. Linett and issues to be      0.20
                   decided by the court.                                                     550.00/hr        110.00

            For professional services rendered                                                64.90       $27,250.00

            Previous balance                                                                              $62,337.50
          Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312    Pg.Page
                                                                                                      241 21
                                                         of 364

                                                                                                     Amount


           Balance due                                                                            $89,587.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                           Hours      Rate -~A~m~o=un~t
JOHN L. SMAHA                                                                   8.60     550.00    $4,730.00
Gustavo Bravo                                                                  56.30     400.00   $22,520.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                              242 11
                                                           of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                             Hrs/Rate        Amount

11/02/20    GEB Review file regarding calendaring items, work on brief structure with Mr.       0.20
                Smaha and move forward with dates.                                            400.00/hr        80.00

11/03/20    GEB Email from Ms. Chiang regarding status.                                         0.10
                                                                                              400.00/hr        40.00

            GEB Research issues on indubitable equivalent claims ..                             0.20
                                                                                              400.00/hr        80.00

11/04/20    GEB Telephone calls to Mr. Linett and book keeper regarding status.                 0.20
                                                                                              400.00/hr        80.00

11/05/20    JLS    Confer with Mr. Bravo regarding client for debt analysis.                    0.20
                                                                                              550.00/hr       110.00

            GEB Confer with Mr. Smaha regarding social security earnings and research           0.30
                regarding same.                                                               400.00/hr       120.00

            GEB Confer with Mr. Smaha regarding plan treatment of Barbara Linetts'              0.20
                secured claim.                                                                400.00/hr        80.00

            GEB Work on responsive brief and follow up with Mr. Smaha regarding                 0.20
                position.                                                                     400.00/hr        80.00

11/06/20 . GEB Work on email to Mr. Linett regarding social security results on plan and        0.70
               discussion about legal issues.                                                 400.00/hr      280.00

            GEB Finalize email and send to Mr. Linett regarding ongoing research on in          0.70
                kind transfer.                                                                400.00/hr      280.00

            GEB Email from Mr. Linett regarding valuations.                                     0.20
                                                                                              400.00/hr       80.00

11/10/20    GEB Review plan and begin working on opposition.                                    0.20
                                                                                              400.00/hr       80.00
                                                                                                 I


            GEB Telephone conference with Mr. Smaha regarding status.                           0.10
                                                                                              400.00/hr       40.00

            GEB Work on opposition to disclosure statement.                                     1.00
                                                                                              400.00/hr      400.00

11/12/20    GEB Confirm receipt of payment, confinn with client and ask about IRS details.      2.00
                                                                                              400.00/hr      800.00

            GEB Emails with Ms. Chiang regarding status.                                        0.50
                                                                                              400.00/hr      200.00

            GEB Continue working on briefresponse and analysis on indubitable                   0.50
                equivalent.                                                                   400.00/hr      200.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                            243 12
                                                          of 364

                                                                                           Hrs/Rate        Amount

11/12/20    GEB Telephone conference with Mr. Linett regarding status of various pending      0.30
                matters.                                                                    400.00/hr       120.00

            GEB Continue research on indubitable equivalent dispute.                          2.10
                                                                                            400.00/hr       840.00

11/13/20    GEB Confer with Mr. Smaha regarding status.                                       0.20
                                                                                            400.00/hr        80.00

            GEB Continue work on research and approach to opposition.                         2.00
                                                                                            400.00/hr       800.00

            GEB Email to Mr. Linett regarding laws, questions and approach.                   1.40
                                                                                            400.00/hr       560.00

            GEB Review disclosure statement and begin working on opposition.                  1.40
                                                                                            400.00/hr       560.00

11/17/20    GEB Continue work on opposition.                                                  0.20
                                                                                            400.00/hr        80.00

            GEB Work on opposition.                                                           2.60
                                                                                            400.00/hr     1,040.00

11/18/20    GEB Work on opposition.                                                           4.00
                                                                                            400.00/hr     1,600.00

            GEB Emails with Mr. Linett regarding status of loans.                             0.20
                                                                                            400.00/hr        80.00

            GEB Work on opposition.                                                           0.60
                                                                                            400.00/hr      240.00

11/19/20    GEB Work on opposition.                                                           7.20
                                                                                            400.00/hr     2,880.00

11/20/20    GEB Work on opposition.                                                           3.70
                                                                                            400.00/hr     1,480.00

            GEB Finalize draft of opposition.                                                 1.60
                                                                                            400.00/hr      640.00

            GEB Emails to Mr. Smaha, Ms. Linett and Ms. Chiang regarding draft of             0.30
                objection and other details.                                                400.00/hr      120.00

11/23/20    JLS   Review and revise opposition to disclosure statement for filing.            1.10
                                                                                            550.00/hr      605.00

            JLS   Confer with Mr. Bravo regarding items in opposition.                        0.20
                                                                                            550.00/hr      110.00

            GEB Emails from and to Ms. Chiang regarding opposition and declaration and        0.30
                status.                                                                     400.00/hr      120.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                             244 13
                                                          of 364

                                                                                            Hrs/Rate        Amount

11/23/20    GEB Confer with Mr. Smaha regarding status. ·                                      0.20
                                                                                             400.00/hr        80.00

            GEB Work on revisions to plan.                                                     2.00
                                                                                             400.00/hr       800.00

            GEB Fmiher email from Ms. Chiang regarding opposition and declaration.             0.10
                                                                                             400.00/hr        40.00

            GEB Email from Ms. Chiang regarding conflicts email and declaration.               0.10
                                                                                             400.00/hr        40.00

            GEB Research on merger doctrine and secured claim on home where title is           0.30
                held.                                                                        400.00/hr       120.00

            GEB Finalize draft of opposition. work on declaration for Ms. Chiang and           1.30
                review updated numbers for analysis.                                         400.00/hr       520.00

            GEB Email to Ms. Chiang regarding declarations and status, responses and           0.20
                answer questions.                                                            400.00/hr        80.00

            GEB Telephone conference with Mr. Duffy regarding stipulation.                     0.10
                                                                                             400.00/hr       40.00

            GEB Finalize opposition with table of contents and other materials, follow up      0.10
                with Mr. Smaha regarding final draft.                                        400.00/hr       40.00

            GEB Email to Mr. Linett regarding opposition and status.                           0.10
                                                                                             400.00/hr       40.00

11/24/20    GEB Emails with Ms. Chiang regarding phone call.                                   0.10
                                                                                             400.00/hr       40.00

            GEB Telephone call from Mr. Duffy regarding potential stipulation.                 0.10
                                          1
                                                                                             400.00/hr       40.00

            GEB Telephone conference with Ms. Chiang regarding purpose of declaration          0.40
                and details to be provided.                                                  400.00/hr      160.00

            GEB Email from Mr. Duffy regarding san1e.                                          0.10
                                                                                             400.00/hr       40.00

            GEB Review changes to disclosure statement opposition.                             0.10
                                                                                             400.00/hr       40.00

            GEB Emails with Mr. Linett regarding factors.                                      0.30
                                                                                             400.00/hr      120.00

            GEB Telephone conference with Mr. Duffy regarding stipulation on claim             0.20
                treatment.                                                                   400.00/hr       80.00

            GEB Telephone conference with Ms. Chiang and emails from Ms. Chiang                0.20
                regarding assumptions and argmnents.                                         400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                              245 14
                                                         of 364

                                                                                             Hrs/Rate        Amount

11/24/20    GEB Follow up emails with Mr. Linett.                                               0.10
                                                                                              400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding various issues, research limited issue          0.30
                on exemption and follow up regarding same.                                    400.00/hr       120.00

            GEB Draft stipulation for treatment of USB claim and status thereof.                0.50
                                                                                              400.00/hr       200.00

            GEB Emails with Mr. Duffy regarding stipulation and proposed treatment.             0.20
                                                                                              400.00/hr        80.00

            GEB Follow up telephone calls and emails to Mr. Linett and Ms. Chiang               0.20
                regarding final drafts.                                                       400.00/hr        80.00

            GEB Receive and review comments from Mr. Linett regarding change, review            0.50
                same and begin considering.                                                   400.00/hr       200.00

11/25/20    GEB Review and revise declru;ation draft for Ms. Chiang, finalize and email to      0.30
                Ms. Chiang regarding same.                                                    400.00/hr       120.00

            GEB Begin final review of brief in opposition and incorporate Mr. Linett's          0.30
                suggested changes.                                                            400.00/hr       120.00

            GEB Email from Ms. Chiang regarding final draft.                                    0.10
                                                                                              400.00/hr        40.00

            GEB Continue work on final review.                                                  1.00
                                                                                              400.00/hr      400.00

            GEB Telephone conference with Mr. Duffy and revise same.                            0.10
                                                                                              400.00/hr       40.00

            GEB Finalize declaration with Ms. Chiang, finalize stipulation with USB and         1.50
                continue working on changes to brief.                                         400.00/hr      600.00

            GEB Email from Mr. Linett regarding lengthy indications on appeal in brief.         0.20
                                                                                              400.00/hr       80.00

            GEB Receive stipulation filed by USB.                                               0.10
                                                                                              400.00/hr       40.00

            GEB Review file regarding pending various matters.                                  0.10
                                                                                              400.00/hr       40.00

            GEB Receive objection by Ms. Garwood.                                               0.10
                                                                                              400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status of litigation.                           0.10
                                                                                              400.00/hr       40.00

11/30/20    GEB Receive objection from Ms. Linett.                                              0.10
                                                                                              400.00/hr       40.00
            Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43          Doc 312        Pg.Page
                                                                                                                246 15
                                                          of 364

                                                                                             Hrs/Rate               Amount

 11/30/20     GEB Review opposition/objection by Ms. Linett regarding issues on taxation.        0.20
                                                                                               400.00/hr               80.00

              GEB Telephone call to Mr. G01Till regarding objection.                             0.10
                                                                                               400.00/hr               40.00

              GEB Review arguments in objection and begin preparing thoughts on response.        0.30
                                                                                               400.00/hr             120.00

              GEB Confer with Mr. Smaha regarding status of plan.                                0.10
                                                                                               400.00/hr               40.00

              GEB Email from Mr. Linett regarding agreement.                                     0.10
                                                                                               400.00/hr               40.00

             For professional services rendered                                                 49.50         $20,025.00

            Previous balance                                                                                  $89,587.50


             Balance due                                                                                    $109,612.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                 Hours       Rate _ __,A'"""m'-'-'-=o=un""'t
JOHN L. SMAHA                                                                         1.50     550.00           $825.00
Gustavo Bravo                                                                        48.00     400.00        $19,200.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg. 247
                                                                                                          Page 11
                                                          of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                           Hrs/Rate        Amount

12/01/20    JLS    Review of outline of memorandum to from Mr. Linett regarding desires       0.30
                   on changes to plan.                                                      550.00/hr       165.00

            GEB Emails with Mr. Smaha regarding communication from Mr. Linett.                0.10
                                                                                            400.00/hr       40.00

            GEB Review materials and consider options for conference with Mr. Smaha           0.20
                and Mr. Linett regarding response to disclosure statement objections.       400.00/hr        80.00

12/02/20    GEB Review materials and email to Ms. Smith regarding reports and approach        0.20
                to opposition.                                                              400.00/hr       80.00

            GEB Email to Mr. Linett regarding ongoing status.                                 0.40
                                                                                            400.00/hr      160.00

12/03/20    JLS    Review of analysis on plan from Mr. Bravo, reply.                          0.30
                                                                                            550.00/hr      165.00

            JLS    Telephone conference with Mr. Bravo regarding claims.                      0.30
                                                                                            550.00/hr      165.00

            GEB Email from Mr. Smaha regarding status.                                        0.20
                                                                                            400.00/hr       80.00

            GEB Telephone conference with Mr. Smaha regarding reply and arguments to          0.20
                be made.                                                                    400.00/hr       80.00

            GEB Review objection by Garwood and prepare response and consider                 0.50
                objection to claim.                                                         400.00/hr      200.00

            GEB Review opposition by Barbara Linett and work on response.                     1.00
                                                                                            400.00/hr      400.00

12/04/20    GEB Telephone conference with Mr. Linett regarding status of various pending      0.60
                matters.                                                                    400.00/hr      240.00

            GEB Review materials and continue to work on oppositions.                         0.20
                                                                                            400.00/hr       80.00

            GEB Email to Mr. Linett regarding items requested.                                0.20
                                                                                            400.00/hr       80.00

            GEB Continue working on response.                                                 1.00
                                                                                            400.00/hr      400.00

            GEB Work on reply brief.                                                          1.00
                                                                                            400.00/hr      400.00

12/07/20    GEB Work on opposition replies.                                                   5.60
                                                                                            400.00/hr    2,240.00
           Case 19-05831-LA11         Filed 01/11/22        Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                              248 12
                                                            of 364

                                                                                            Hrs/Rate         Amount

12/07/20    GEB Emails with Mr. Linett regarding issues and filings.                            0.20
                                                                                              400.00/hr        80.00

12/08/20    JLS   Review and revise replies to objection.                                       0.90
                                                                                              550.00/hr       495.00

            GEB Confer with Mr. Smaha regarding status.                                        0.20
                                                                                             400.00/hr         80.00

            GEB Email to Mr. Smaha regarding status.                                           0.10
                                                                                             400.00/hr         40.00

            GEB Confer with Mr. Smaha regarding reply and email to Mr. Linett regarding        0.30
                same.                                                                        400.00/hr        120.00

            GEB Receive notice from US Bank on forbearance.                                    0.20
                                                                                             400.00/hr         80.00

            GEB Confer with Mr. Smaha regarding response.                                      0.10
                                                                                             400.00/hr         40.00

            GEB Email from Mr. Linett regarding tolling and status.                            0.20
                                                                                             400.00/hr         80.00

            GEB Meeting with Mr. Smaha and review changes to reply brief.                      0.30
                                                                                             400.00/hr        120.00

            GEB Follow up telephone call with Mr. Smaha, review law and make                   1.00
                determinations thereon.                                                      400.00/hr        400.00

            GEB Email to Mr. Linett in response to follow up emails and work on various        0.30
                matters.                                                                     400.00/hr        120.00

            GEB Work on revisions to reply brief.                                              0.90
                                                                                             400.00/hr       360.00

12/09/20    JLS   Confer with Mr. Bravo regarding response on limitations on transfers of      0.20
                  property.                                                                  550.00/hr        110.00

            GEB Revise reply brief and continue to work on same.                               0.50
                                                                                             400.00/hr       200.00

            GEB Review materials from estimates in preparation of potential oral argument      0.20
                issues.                                                                      400.00/hr         80.00

            GEB Final review of documents and work on reply brief changes.                     0.30
                                                                                             400.00/hr       120.00

            GEB Final revisions to reply brief.                                                0.60
                                                                                             400.00/hr       240.00

            GEB Emails with Mr. Linett regarding legal research requested.                     0.60
                                                                                             400.00/hr       240.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                               249 13
                                                          of 364

                                                                                              Hrs/Rate        Amount

12/09/20    GEB Finalize changes to reply brief, confer with Mr. Smaha and send final            2.30
                draft to Mr. Linett.                                                           400.00/hr       920.00

            GEB Review items to do and receive email from Mr. Linett.                            0.20
                                                                                               400.00/hr        80.00

            GEB Review materials regarding claims.                                               0.30
                                                                                               400.00/hr       120.00

            GEB Emails with Mr. Linett, finalize change and discuss filing with Mr. Linett.      0.10
                                                                                               400.00/hr        40.00

            GEB Check on status of reports.                                                      0.10
                                                                                               400.00/hr        40.00

12/10/20    GEB Receive and review reply brief.                                                  0.20
                                                                                               400.00/hr        80.00

            GEB Email from Mr. Linett regarding status.                                          0.10
                                                                                               400.00/hr        40.00

12/11/20    GEB Finalize review of reports, emails with Ms. Smith regarding final changes        0.30
                and items.                                                                     400.00/hr       120.00

            GEB Review reply brief.                                                              0.50
                                                                                               400.00/hr      200.00

            GEB Email to Ms. Chiang regarding status.                                            0.10
                                                                                               400.00/hr        40.00

            GEB Research issues on exemptions.                                                   0.10
                                                                                               400.00/hr        40.00

            GEB Emails with Ms. Chiang regarding plan and disclosure statement.                  0.20
                                                                                               400.00/hr        80.00

12/14/20    JLS   Review of materials from Mr. Linett regarding saleable's.                      0.20
                                                                                               550.00/hr       110.00

            JLS   Confer with Mr. Bravo regarding issues on salable's.                           0.10
                                                                                               550.00/hr        55.00

            GEB Email from Ms. Chiang regarding status of case and arguments on trust.           0.20
                                                                                               400.00/hr        80.00

            GEB Confirm hearing on 17th and confer with Ms. Chiang regarding status of           0.10
                arguments.                                                                     400.00/hr       40.00

            GEB Review oppositions and replies, prepare for hearing.                             0.20
                                                                                               400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding hearing status.                                  0.10
                                                                                               400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22        Entered 01/11/22 09:20:43   Doc 312      Pg.Page
                                                                                                         250 14
                                                            of 364

                                                                                        Hrs/Rate        Amount

12/14/20    GEB Review rules for appearances.                                              0.10
                                                                                         400.00/hr        40.00

            GEB Telephone conference with Ms. Chiang regarding decision and status.        0.30
                                                                                         400.00/hr       120.00

            GEB Review materials on hearing, confer with Mr. Smaha and review docket.      0.20
                                                                                         400.00/hr        80.00

            GEB Telephone call to court regarding status.                                  0.10
                                                                                         400.00/hr        40.00

12/15/20    JLS   Confer with Mr. Bravo regarding tentative ruling and alternatives.       0.40
                                                                                         550.00/hr       220.00

            GEB Telephone conference with Ms. Chiang regarding ongoing research.           0.20
                                                                                         400.00/hr        80.00

            GEB Review tentative ruling, confer with Mr. Smaha regarding status.           0.50
                                                                                         400.00/hr      200.00

            GEB Email to Mr. Linett regarding tentative ruling.                            0.10
                                                                                         400.00/hr       40.00

            GEB Email to Mr. Smaha regarding status.                                       0.20
                                                                                         400.00/hr        80.00

12/16/20    JLS   Follow up on analysis for court.                                         0.20
                                                                                         550.00/hr      110.00

            JLS   Confer with Mr. Bravo regarding issues on disclosure statement.          0.30
                                                                                         550.00/hr      165.00

            GEB Meeting with Mr. Smaha regarding status.                                   0.30
                                                                                         400.00/hr      120.00

            GEB Review proof of claim and secured status claims.                           0.20
                                                                                         400.00/hr       80.00

            GEB Emails from Mr. Smaha and Ms. Chiang regarding plan provisions.            0.20
                                                                                         400.00/hr       80.00

            GEB Email from Mr. Linett regarding tentative.                                 0.10
                                                                                         400.00/hr       40.00

            GEB Email from Ms. Chiang and review notes.                                    0.20
                                                                                         400.00/hr       80.00

            GEB Work on objection to claim, finalize same.                                 0.80
                                                                                         400.00/hr      320.00

            GEB Review notes for hearing from Ms. Chiang and present to Mr. Smaha.         0.20
                                                                                         400.00/hr       80.00
           Case 19-05831-LA11        Filed 01/11/22        Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                             251 15
                                                           of 364

                                                                                           Hrs/Rate         Amount

12/16/20    GEB Email to Mr. Linett regarding conference call status, discussion points        0.20
                and objection to claim, Garwood.                                             400.00/hr        80.00

            GEB Email from Mr. Linett regarding objection and status.                         0.20
                                                                                            400.00/hr         80.00

            GEB Email from Mr. Linett and review same regarding tentative ruling, review      0.30
                tentative ruling.                                                           400.00/hr        120.00

            GEB Telephone conference and emails with Mr. Linett regarding status.             0.10
                                                                                            400.00/hr         40.00

            GEB Meeting with Mr. Smaha regarding options on litigation and status.            0.40
                                                                                            400.00/hr        160.00

            GEB Receive and review updated tentative ruling, no changes noticed.              0.10
                                                                                            400.00/hr         40.00

            GEB Telephone conference with Mr. Linett regarding status.                        0.40
                                                                                            400.00/hr        160.00

12/17/20    JLS   Conference call regarding disclosure and plan.                              0.80
                                                                                            550.00/hr       440.00

            JLS   Conference follow up on call into disclosure statement.                     0.70
                                                                                            550.00/hr       385.00

            GEB Continue efforts to prepare for hearing.                                      0.30
                                                                                            400.00/hr        120.00

            GEB Telephone conference with Mr. Smaha and Mr. Linett regarding status of        0.70
                plan, options going forward and other issues to discuss.                    400.00/hr       280.00

            GEB Research Hebrank infomiation and email to Mr. Linett regarding same.          0.20
                                                                                            400.00/hr        80.00

            GEB Email with Mr. Linett regarding telephonic hearing.                           0.10
                                                                                            400.00/hr        40.00

            GEB Email with Mr. Gon-ill regarding hearing.                                     0.10
                                                                                            400.00/hr        40.00

            GEB Attend hearing on disclosure statement.                                       1.70
                                                                                            400.00/hr       680.00

            GEB Telephone conference with Mr. Linett regarding status.                        0.20
                                                                                            400.00/hr        80.00

            GEB Telephone conference with Mr. Smaha regarding results of hearing.             0.20
                                                                                            400.00/hr        80.00

            GEB Emails with Ms. Chiang regarding status.                                      0.10
                                                                                            400.00/hr        40.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43        Doc 312          Pg.Page
                                                                                                                  252 16
                                                            of 364

                                                                                             Hrs/Rate                Amount

 12/17/20    GEB Email to Mr. Linett regarding Hebrank and options.                             0.10
                                                                                              400.00/hr                  40.00

 12/18/20    GEB Telephone conference with Mr. Duffy regarding results of hearing.              0.20
                                                                                              400.00/hr                  80.00

             GEB Confer with Mr. Smaha regarding future plan and telephone conference           0.20
                 with Mr. Linett regarding same.                                              400.00/hr                  80.00

             GEB Emails with Ms. Chiang regarding tax issues.                                   0.10
                                                                                              400.00/hr                 40.00

             GEB Lengthy telephone conference with Ms. Chiang regarding structure of            0.50
                 potential plans.                                                             400.00/hr               200.00

             GEB Receive and review minute orders.                                              0.10
                                                                                              400.00/hr                 40.00

 12/22/20    GEB Receive and review lodged order.                                               0.20
                                                                                              400.00/hr                  80.00

             GEB Email to Mr. Linett regarding objection.                                       0.20
                                                                                              400.00/hr                  80.00

             GEB Telephone call to Mr. Gorrill regarding status of plan.                        0.10
                                                                                              400.00/hr                 40.00

 12/24/20    JLS   Emails Mr. Linett regarding year end matters and timing.                     0.20
                                                                                              550.00/hr               110.00

            For professional services rendered                                                 38.10           $15,975.00

            Previous balance                                                                                $109,612.50


            Balance due                                                                                     $125,587.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                 Hours       Rate _ ____,A--"m'-'-=o=un..:. :t
JOHN L. SMAHA                                                                         4.90     550.00          $2,695.00
Gustavo Bravo                                                                        33.20     400.00         $13,280.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg. 253
                                                                                                          Page 11
                                                          of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                           Hrs/Rate       Amount

01/04/21    GEB Telephone conference with Mr. Go1Ti11 regarding status of bankruptcy          0.10
                plans.                                                                      400.00/hr       40.00

            GEB Receive and review order, confer with Mr. Smaha and telephone call to         0.20
                Mr. Linett regarding same.                                                  400.00/hr       80.00

            GEB Receive new Chapter 11 plan filed by creditors.                               0.10
                                                                                            400.00/hr       40.00

01/05/21    JLS    Confer with Mr. Bravo regarding plan as an1ended with items to review      0.30
                   and complete.                                                            550.00/hr      165.00

            GEB Receive and review disclosure statement and exhibits.                         0.20
                                                                                            400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status of plan.                               0.10
                                                                                            400.00/hr       40.00

            GEB Telephone conference with Mr. Duffy regarding status of plan.                 0.20
                                                                                            400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding plan status and ongoing strategy.             0.20
                                                                                            400.00/hr       80.00

            GEB Receive and review notice of deficiencies.                                    0.10
                                                                                            400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding ongoing status.                               0.10
                                                                                            400.00/hr       40.00

01/06/21    GEB Email from Mr. Linett regarding status of various pending matters.            0.20
                                                                                            400.00/hr       80.00

            GEB Begin review of plan and disclosure statement, review minute order            0.50
                regarding deadlines and follow up on pending matters.                       400.00/hr      200.00

            GEB Continue review of materials and begin response to email.                     0.30
                                                                                            400.00/hr      120.00

            GEB Determine opposition dates, review materials and continue review of           0.30
                disclosure statement.                                                       400.00/hr      120.00

           GEB Respond to email from Mr. Linett, review materials and follow up on            0.50
               budget.                                                                      400.00/hr      200.00

           GEB Continue review of disclosure statement.                                       0.20
                                                                                            400.00/hr       80.00

           GEB Complete full review of disclosure statement and plan changes by Barbara       0.60
               Linett.                                                                      400.00/hr     240.00
           Case 19-05831-LA11          Filed 01/11/22       Entered 01/11/22 09:20:43          Doc 312      Pg. 254 12
                                                                                                              Page
                                                            of 364

                                                                                               Hrs/Rate        Amount

01/06/21   GEB Review and research items on disclosure statement and plan and compare             0.50
               with financial analysis.                                                         400.00/hr      200.00

           GEB Email to Mr. Smaha regarding disclosure statement.                                 0.10
                                                                                                400.00/hr       40.00

01/07/21    JPT   Conference with Mr. Bravo regarding strategy for modifying trnst                0.20
                  structure as intentionally defective for tax purposes and reserving rights    325.00/hr       65.00
                  of the debtor and related issues to avoid conversion.

            JLS   Review of creditors first amended liquidating plan and liquidating trust.       1.20
                                                                                                550.00/hr      660.00

           GEB Emails with Mr. Smaha regarding disclosure statement and plan.                     0.20
                                                                                                400.00/hr       80.00

           GEB Meeting with Mr. Smaha regarding issues with plan and alternatives.                0.90
                                                                                                400.00/hr      360.00

           GEB Continue to review language, consider opposition routes.                           0.50
                                                                                                400.00/hr      200.00

           GEB Telephone call to Mr. Gorrill regarding issues, leave message.                     0.10
                                                                                                400.00/hr       40.00

           GEB Work on email to Ms. Chiang.                                                       2.20
                                                                                                400.00/hr      880.00

           GEB Confer with Mr. Smaha regarding status.                                            0.20
                                                                                                400.00/hr       80.00

           GEB Emails with Mr. Linett regarding status.                                           0.30
                                                                                                400.00/hr      120.00

           GEB Telephone conference with Ms. Chiang regarding status of plan and                  0.30
               comments on emails.                                                              400.00/hr      120.00

01/08/21   GEB Review materials regarding status on locations.                                    0.10
                                                                                                400.00/hr       40.00

           GEB Work on opposition to disclosure statement.                                        0.50
                                                                                                400.00/hr      200.00

01/11/21   GEB Consider timeline for opposition and establish dates.                              0.10
                                                                                                400.00/hr       40.00

           GEB Email from Mr. Smaha regarding suggestion on plan to Mr. Linett.                   0.10
                                                                                                400.00/hr       40.00

           GEB Telephone call to Mr. Linett regarding status.                                     0.10
                                                                                                400.00/hr       40.00

           GEB Email to Mr. Linett regarding plan objection and other details.                    0.10
                                                                                                400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43      Doc 312      Pg. 255
                                                                                                      Page 13
                                                         of 364

                                                                                        Hrs/Rate       Amount

01/11/21   GEB Confer with Mr. Smaha regarding details to be explained.                    0.20
                                                                                         400.00/hr      80.00

           GEB Work on opposition to disclosure statement, confer with Mr. Smaha and       0.60
               prepare notes for telephone conference with Mr. Linett.                   400.00/hr     240.00

           GEB Email to Mr. Linett regarding items for tomorrow.                           0.10
                                                                                         400.00/hr      40.00

           GEB Email to Ms. Chiang regarding additional thoughts on oppositions.           0.20
                                                                                         400.00/hr      80.00

01/12/21   JLS   Email Mr. Linett regarding plan.                                          0.10
                                                                                         550.00/hr      55.00

           GEB Emails from Mr. Linett regarding plan and status.                           0.20
                                                                                         400.00/hr      80.00

           GEB Review materials for disclosure statement and plan, review additional       0.20
               emails and set up call with Mr. Linett.                                   400.00/hr      80.00

           GEB Lengthy telephone conference with Mr. Linett regarding plan and issues      0.70
               regarding same.                                                           400.00/hr     280.00

           GEB Continue working on items regarding status.                                 0.20
                                                                                         400.00/hr      80.00

           GEB Work on objection to disclosure statement, research on exemption and        2.10
               application.                                                              400.00/hr     840.00

01/13/21   GEB Emails with Ms. Chiang regarding status of plan and tax consequences.       0.20
                                                                                         400.00/hr      80.00

           GEB Work on opposition to disclosure statement.                                 0.20
                                                                                         400.00/hr      80.00

           GEB Conference with Ms. Chiang regarding response.                              1.50
                                                                                         400.00/hr     600.00

           GEB Continue working on opposition.                                             1.50
                                                                                         400.00/hr     600.00

           GEB Email from Mr. Linett regarding status of documents.                        0.20
                                                                                         400.00/hr      80.00

           GEB Work on opposition to disclosure statement.                                 1.80
                                                                                         400.00/hr     720.00

01/14/21   JLS   Review of court ruling and email on appeal.                               0.10
                                                                                         550.00/hr      55.00

           GEB Various emails from Mr. Linett regarding opposition.                        0.30
                                                                                         400.00/hr     120.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg. 256
                                                                                                           Page 14
                                                          of 364

                                                                                             Hrs/Rate       Amount

01/14/21   GEB Work on opposition.                                                              3.00
                                                                                              400.00/hr    1,200.00

           GEB Telephone conference with Mr. Linett regarding opposition.                       0.20
                                                                                              400.00/hr      80.00

           GEB Telephone conference with Ms. Chiang regarding status of declaration.            0.20
                                                                                              400.00/hr      80.00

           GEB Continue working on opposition.                                                  3.10
                                                                                              400.00/hr    1,240.00

           GEB Finalize draft of opposition, confer with Ms. Chiang regarding                   2.00
               declaration, review same and finalize drafts.                                  400.00/hr     800.00

01/15/21    JLS   Review and revise opposition.                                                 0.90
                                                                                              550.00/hr     495.00

           GEB Emails with Mr. Smaha regarding status.                                          0.10
                                                                                              400.00/hr      40.00

           GEB Telephone conference with Mr. Smaha regarding plan status, revise                0.50
               opposition, confer with Mr. Smaha, email to Mr. Linett and Mr. Smaha,          400.00/hr     200.00
               emails with Ms. Chiang and conclude status.

           GEB Emails with Mr. Linett and Mr. Smaha regarding plan status.                      0.20
                                                                                              400.00/hr      80.00

           GEB Telephone conference with Mr. Duffy regarding plan status.                       0.30
                                                                                              400.00/hr     120.00

           GEB Work on changes to documents.                                                    0.70
                                                                                              400.00/hr     280.00

           GEB Finalize draft.                                                                  0.60
                                                                                              400.00/hr     240.00

01/19/21    JLS   Prepare language for declaration on IDITs.                                    0.20
                                                                                              550.00/hr     110.00

            JLS   Conference call with Mr. Linett regarding opposition to plan and              0.60
                  considerations.                                                             550.00/hr     330.00

            JLS   Review ofrevised Chiang declaration as revised, reply.                        0.10
                                                                                              550.00/hr      55.00

            JLS   Review of revised response in contemplation of meeting with Mr. Li.nett.      0.30
                                                                                              550.00/hr     165.00

            JLS   Zoom meeting with Mr. Bravo regarding changes to reply on plan.               0.30
                                                                                              550.00/hr     165.00

            JLS   Conference call with accountants regarding use of IDITs.                      0.40
                                                                                              550.00/hr     220.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg.Page
                                                                                                             257 15
                                                           of 364

                                                                                           Hrs/Rate        Amount

01/19/21    GEB Email with Mr. Linett regarding status of opposition and final comments.      0.20
                                                                                            400.00/hr        80.00

            GEB Emails with Mr. Smaha regarding disclosure statement status.                  0.10
                                                                                            400.00/hr        40.00

            GEB Conference with Mr. Smaha and update changes to brief.                        0.30
                                                                                            400.00/hr       120.00

            GEB Finalize revisions to documents.                                              0.20
                                                                                            400.00/hr        80.00

            GEB Telephone conference with Mr. Smaha, Ms. Chiang and Mr. Evans,                0.50
                confer with Mr. Smaha and prepare changed language to declaration.          400.00/hr       200.00

            GEB Follow up emails.                                                             0.20
                                                                                            400.00/hr        80.00

            GEB Emails with Mr. Smaha and Ms. Chiang regarding adequate language.             0.20
                                                                                            400.00/hr        80.00

            GEB Emails with Mr. Linett regarding follow up on judgment and status of          0.10
                disclosure statement.                                                       400.00/hr        40.00

            GEB Emails regarding status of language to be used with Mr. Chiang and Mr.        0.30
                Smaha.                                                                      400.00/hr       120.00

            GEB Email from Mr. Linett regarding ongoing issues.                               0.10
                                                                                            400.00/hr        40.00

            GEB Emails with Ms. Chiang regarding final draft of declaration.                  0.10
                                                                                            400.00/hr        40.00

            GEB Telephone conference with Mr. Smaha, Mr. Linett and others regarding          0.50
                status of disclosure statement and ongoing efforts.                         400.00/hr       200.00

            GEB Final revision to opposition.                                                 0.10
                                                                                            400.00/hr        40.00

            GEB Final draft of declaration, final documents and arrange for filing.           0.20
                                                                                            400.00/hr        80.00

            GEB Finalize all documents, email from Ms. Chiang, review all and submit.         0.30
                                                                                            400.00/hr       120.00

            GEB Email to staff regarding filing.                                              0.10
                                                                                            400.00/hr        40.00

01/20/21    GEB Check on status of filings.                                                   0.10
                                                                                            400.00/hr        40.00

            GEB Emails with Ms. Chiang regarding status and emails with Mr. Linett            0.20
                regarding same.                                                             400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                               258 16
                                                          of 364

                                                                                             Hrs/Rate        Amount

01/20/21   GEB Telephone conference with Mr. Gorrill regarding status.                          0.10
                                                                                              400.00/hr        40.00

           GEB Telephone conference with Mr. Gorrill regarding status.                          0.20
                                                                                              400.00/hr        80.00

           GEB Email to Mr. Smaha and Mr. Linett regarding status.                              0.20
                                                                                              400.00/hr        80.00

01/21/21    JLS   Emails regarding continuance of hearing and related items.                    0.10
                                                                                              550.00/hr        55.00

           GEB Emails with Mr. Smaha and Mr. Linett regarding status of opposition and          0.30
               continuance, email to Mr. Gorrill regarding same.                              400.00/hr       120.00

           GEB Follow up on status of mediation and liquidating plan with Mr. Smaha             0.20
               and Mr. Gorrill.                                                               400.00/hr        80.00

           GEB Lengthy telephone conference with Mr. Linett regarding various                   0.30
               operations questions.                                                          400.00/hr       120.00

           GEB Telephone call to Mr. GoITill regarding stipulation.                             0.10
                                                                                              400.00/hr        40.00

           GEB Emails with Mr. Gorrill, review stipulation and sign off on order.               0.20
                                                                                              400.00/hr        80.00

01/22/21    JLS   Emails Mr. Linett regarding earnings.                                         0.20
                                                                                              550.00/hr       110.00

           GEB Telephone conference with court regarding hearing and submitted                  0.10
               stipulation.                                                                   400.00/hr        40.00

           GEB Email from Mr. Linett regarding challenge of plan.                               0.20
                                                                                              400.00/hr        80.00

           GEB Follow up on various pending matters.                                            0.20
                                                                                              400.00/hr        80.00

01/25/21   GEB Telephone call to court regarding hearing later this week.                       0.10
                                                                                              400.00/hr        40.00

           GEB Receive and review order on hearing.                                             0.10
                                                                                              400.00/hr        40.00

           GEB Receive and review tentative ruling and plan mediation offer.                    0.20
                                                                                              400.00/hr        80.00

01/26/21    JLS   Review of tentative ruling.                                                   0.10
                                                                                              550.00/hr       55.00

            JLS   Review of materials for Mr. Linett regarding probable mediation outline.      0.20
                                                                                              550.00/hr      110.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43       Doc 312       Pg. 25917
                                                                                                        Page
                                                         of 364

                                                                                         Hrs/Rate        Amount

01/26/21    JLS   Confer with Mr. Bravo regarding possible mediation scenario.              0.20
                                                                                          550.00/hr       110.00

            JLS   Review of outline for mediation.                                          0.10
                                                                                          550.00/hr        55.00

            JLS   Telephone conference with Mr. Linett regarding possible mediation         0.30
                  stipulation and related issues.                                         550.00/hr       165.00

           GEB Emails with Mr. Linett regarding status of litigation, plan hearing and      0.20
               status.                                                                    400.00/hr        80.00

           GEB Follow up emails regarding hearings.                                         0.10
                                                                                          400.00/hr        40.00

           GEB Email from Mr. Linett regarding position on mediation and status.            0.20
                                                                                          400.00/hr        80.00

           GEB Emails with Mr. Gorrill regarding mediation options.                         0.20
                                                                                          400.00/hr        80.00

           GEB Emails with Mr. Gorrill, Mr. Linett and Mr. Smaha regarding mediation        0.60
               options.                                                                   400.00/lu·      240.00

           GEB Telephone call and email to Ms. Smith regarding operating report.            0.10
                                                                                          400.00/hr        40.00

           GEB Confer with Mr. Smaha regarding status of potential actions.                 0.20
                                                                                          400.00/hr        80.00

           GEB Draft email to Mr. Linett regarding status of potential mediation.           0.20
                                                                                          400.00/lu·       80.00

           GEB Telephone calls to Mr. Linett regarding mediation.                           0.10
                                                                                          400.00/hr        40.00

           GEB Lengthy Telephone conference with Mr. Linett regarding mediation.            0.40
                                                                                          400.00/hr       160.00

           GEB Telephone conference with Mr. Gorrill regarding mediation.                   0.30
                                                                                          400.00/hr       120.00

           GEB Emails with Ms. Chiang regarding status.                                     0.20
                                                                                          400.00/hr        80.00

01/27/21    JLS   Emails regarding plan outline.                                            0.10
                                                                                          550.00/hr        55.00

           GEB Telephone call follow up with Mr. Gorrill regarding status.                  0.10
                                                                                          400.00/lu·      40.00

           GEB Emails with Mr. Linett regarding mediation efforts.                          0.10
                                                                                          400.00/hr       40.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43        Doc 312       Pg.Page
                                                                                                               260 18
                                                            of 364

                                                                                             Hrs/Rate         Amount

 01/27/21    GEB Continue working on potential responses with Mr. Linett.                       0.20
                                                                                              400.00/hr         80.00

             GEB Emails with Mr. Gonill regarding status.                                       0.20
                                                                                              400.00/hr         80.00

 01/28/21    JLS   Review of stipulation on plan discussions, confer with Mr. Bravo             0.10
                   regarding same.                                                            550.00/hr         55.00

             GEB Telephone call to court regarding hearing dates.                               0.10
                                                                                              400.00/hr         40.00

             GEB Telephone call to Mr. Gonill regarding status of options.                      0.10
                                                                                              400.00/hr         40.00

             GEB Confer with Mr. Smaha regarding status of documents.                           0.20
                                                                                              400.00/hr         80.00

             GEB Email from Mr. GoITill regarding continuance, confer with Mr. Linett and       0.30
                 confer with Mr. Smaha regarding same and approve.                            400.00/hr        120.00

             GEB Email to Mr. GoITill regarding stipulation okay and further details on         0.20
                 mediation.                                                                   400.00/hr         80.00

             GEB Telephone call to Mr. Koch regarding status of hearings.                       0.10
                                                                                              400.00/hr         40.00

             GEB Receive and review stipulation and telephone conference with Mr. Gorrill       0.10
                 regarding order.                                                             400.00/hr         40.00

             GEB Lengthy telephone conference with Mr. Linett regarding status.                 0.30
                                                                                              400.00/hr        120.00

             GEB Email from Mr. Linett regarding additional issues with Barbara Linett and      0.20
                 ongoing problems with mediating a solution.                                  400.00/hr         80.00

 01/29/21    GEB Emails with US Bank regarding plan status.                                     0.10
                                                                                              400.00/hr         40.00

             GEB Email from Mr. GoITill regarding status.                                       0.10
                                                                                              400.00/hr         40.00

            For professional services rendered                                                 48.90       $20,430.00

            Previous balance                                                                              $125,587.50


            Balance due                                                                                   $146,017.50


Please make checks payable to: Smaha Law Group


Thank you for your business.
          Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43    Doc 312   Pg. 26119
                                                                                        Page
                                                of 364




                                       Attorney Summary
Name                                                                 Hours      Rate      Amount
JOHN L. SMAHA                                                         5.90    550.00    $3,245.00
Gustavo Bravo                                                        42.80    400.00   $17,120.00
John Paul Teague                                                      0.20    325.00       $65.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312      Pg. 262
                                                                                                         Page 13
                                                           of 364

    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                          Hrs/Rate       Amount

02/01/21    JLS    Emails Mr. Linett regarding items needed.                                 0.20
                                                                                           550.00/hr      110.00

            JLS    Confer with Mr. Bravo regarding pool trust.                               0.30
                                                                                           550.00/hr      165.00

            JLS    Review of comi order.                                                     0.10
                                                                                           550.00/hr       55.00

            GEB Telephone conference with Mr. Smaha, review emails and get up to speed       0.30
                on potential plan/trust issues for use ofN01ion Trust.                     400.00/hr      120.00

            GEB Review email and consider responses with Mr. Smaha on trust and on           0.10
                litigation assistance.                                                     400.00/hr       40.00

            GEB Review N 01ion matters, confer with Mr. Smaha and begin pulling              0.20
                information.                                                               400.00/hr       80.00

02/02/21    JLS    Emails Mr. Linett regarding trust fom1 for plan.                          0.10
                                                                                           550.00/hr       55.00

            GEB Review Norton Trust and begin over-broad review of same.                     0.20
                                                                                           400.00/hr       80.00

            GEB Email to Mr. Gorrill regarding status.                                       0.10
                                                                                           400.00/hr       40.00

            GEB Emails with Mr. Linett regarding plan status and ongoing efforts to          0.20
                resolve disputes.                                                          400.00/hr       80.00

            GEB Review Norton Trust regarding use as form for new plan.                      0.20
                                                                                           400.00/hr       80.00

            GEB Review various emails with Mr. Linett, confer with Mr. Smaha and             0.30
                follow up.                                                                 400.00/hr      120.00

            GEB Lengthy telephone conference with Mr. Linett regarding trust status and      0.30
                other items.                                                               400.00/hr      120.00

            GEB Review notes and items regarding status.                                     0.10
                                                                                           400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status.                                      0.20
                                                                                           400.00/hr       80.00

02/03/21    JLS    Review of memorandum on trust.                                            0.20
                                                                                           550.00/hr      110.00

            GEB Confer with Mr. Smaha regarding response to Mr. Linett and follow up on      0.20
                various matters.                                                           400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312      Pg. 263
                                                                                                        Page 14
                                                          of 364

                                                                                         Hrs/Rate        Amount

02/03/21    GEB Work on email to Mr. Linett regarding status and discussions.               1.30
                                                                                          400.00/hr      520.00

            GEB Continue working on email to Mr. Linett.                                    0.70
                                                                                          400.00/hr      280.00

            GEB Finalize email to Mr. Linett regarding options moving forward.              0.50
                                                                                          400.00/hr      200.00

            GEB Email from Mr. Smaha regarding analysis and status.                         0.10
                                                                                          400.00/hr       40.00

02/04/21    JLS   Follow up Mr. Linett regarding trust provisions.                          0.10
                                                                                          550.00/hr       55.00

            GEB Confer with Mr. Smaha regarding status of decision and timeline.            0.20
                                                                                          400.00/hr       80.00

            GEB Email to Mr. Linett regarding decisions to make.                            0.10
                                                                                          400.00/hr       40.00

            GEB Emails with Mr. Gonill regarding status.                                    0.20
                                                                                          400.00/hr       80.00

            GEB Email from Mr. Linett regarding plan and status.                            0.20
                                                                                          400.00/hr       80.00

02/05/21    JLS   Confer with Mr. Bravo regarding plan responses.                           0.10
                                                                                          550.00/hr       55.00

            JLS   Email Mr. Linett regarding plan.                                          0.10
                                                                                          550.00/hr       55.00

            GEB Confer with Mr. Smaha regarding emails from Mr. Linett and approach to      0.20
                efforts to resolve.                                                       400.00/hr       80.00

            GEB Telephone call to Mr. Linett regarding status.                              0.10
                                                                                          400.00/hr       40.00

            GEB Draft response to Mr. Linett regarding various emails.                      1.70
                                                                                          400.00/hr      680.00

            GEB Email from Mr. Linett regarding liquidations.                               0.10
                                                                                          400.00/hr       40.00

02/08/21    JLS   Review of materials from Mr. Linett.                                      0.20
                                                                                          550.00/hr      110.00

            JLS   Confer with Mr. Bravo regarding liquidating trust concepts.               0.20
                                                                                          550.00/hr      110.00

            GEB Email from Mr. Linett regarding status of negotiations and other items      0.20
                                                                                          400.00/hr       80.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg. 264
                                                           of 364                                         Page 15


                                                                                           Hrs/Rate       Amount

02/08/21    GEB Review materials and analyze Mr. Linett's position.                           0.30
                                                                                            400.00/hr      120.00

            GEB Confer with Mr. Smaha regarding status.                                       0.20
                                                                                            400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status of hearing and other matters.          0.20
                                                                                            400.00/hr       80.00

02/09/21    JLS   Review of tentative ruling.                                                 0.10
                                                                                            550.00/hr       55.00

            JLS   Review of email from Mr. Linett regarding negotiation.                      0.20
                                                                                            550.00/hr      110.00

            JLS   Confer with Mr. Bravo regarding trust provisions for debtor discussion      0.40
                  and comparison.                                                           550.00/hr      220.00

            JLS   Telephone conference with Mr. Linett regarding plan.                        0.50
                                                                                            550.00/hr      275.00

            GEB Emails with Mr. Duffy and Mr. Go1Till regarding trust.                        0.20
                                                                                            400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding issues on settlement.                         0.10
                                                                                            400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding conversion options.                           0.20
                                                                                            400.00/hr       80.00

            GEB Emails with Mr. Linett and Mr. Smaha regarding plan provisions as             0.20
                options.                                                                    400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding various other details.                        0.20
                                                                                            400.00/hr       80.00

            GEB Lengthy telephone conference with Mr. Linett and Mr. Smaha regarding          0.50
                plan moving forward.                                                        400.00/hr      200.00

            GEB Finalize status repo1i and send out.                                          0.20
                                                                                            400.00/hr       80.00

            GEB Work on trust agreement.                                                      0.50
                                                                                            400.00/hr      200.00

02/10/21    JLS   Email Mr. Linett regarding factual items for consideration in trust.        0.10
                                                                                            550.00/hr       55.00

            GEB Work on liquidating trust agreement.                                          2.30
                                                                                            400.00/hr      920.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312       Pg. 265
                                                          of 364                                           Page 16


                                                                                           Hrs/Rate         Amount

02/10/21    GEB Telephone conference with Mr. Duffy regarding pending hearings.               0.20
                                                                                            400.00/hr         80.00

02/11/21    JLS   Confer with Mr. Bravo regarding hearing.                                    0.10
                                                                                            550.00/hr         55.00

            JLS   Attend hearing on plan status.                                              0.70
                                                                                            550.00/hr        385.00

            GEB Confer with Mr. Smaha regarding hearing and overall status of plan.            0.20
                                                                                            ,400.00/hr        80.00

            GEB Email to Mr. Gonill regarding status of liquidating trust.                    0.20
                                                                                            400.00/hr         80.00

            GEB Follow up telephone call to Mr. Gorrill regarding status.                     0.10
                                                                                            400.00/hr         40.00

            GEB Follow up with Mr. Smaha, Mr. Duffy and Mr. Gorrill on status.                0.20
                                                                                            400.00/hr         80.00

            GEB Work on liquidating trust.                                                    0.30
                                                                                            400.00/hr       120.00

            GEB Work on trust and confer with Mr. Smaha regarding same.                       0.20
                                                                                            400.00/hr         80.00

02/12/21    GEB Telephone conference with Mr. Gon-ill regarding various pending matters.      0.20
                                                                                            400.00/hr         80.QO

            GEB Confer with Mr. Smaha regarding status of plan.                               0.10
                                                                                            400.00/hr        40.00

            GEB Work on trust.                                                                0.20
                                                                                            400.00/hr        80.00

            GEB Email to Mr. Linett regarding status of various pending matters.              0.20
                                                                                            400.00/hr        80.00

            GEB Work on trust.                                                                2.60
                                                                                            400.00/hr      1,040.00

02/16/21    GEB Work on liquidating trust.                                                    1.00
                                                                                            400.00/hr       400.00

02/18/21    GEB Work on trust.                                                                0.20
                                                                                            400.00/hr        80.00

            GEB Work on trust.                                                                3.30
                                                                                            400.00/hr     1,320.00

            GEB Finalize language of trust and attachment samples.                            0.30
                                                                                            400.00/hr       120.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43   Doc 312       Pg. 266
                                                                                                      Page 17
                                                          of 364

                                                                                      Hrs/Rate         Amount

02/19/21    JLS   Work on Debtors Pool Trust, redrafts of provisions and powers.          3.00
                                                                                        550.00/hr     1,650.00

            JLS   Email response regarding trust to Mr. Linett.                           0.10
                                                                                        550.00/hr        55.00

            GEB Confer with Mr. Smaha regarding status of trust.                         0.20
                                                                                       400.00/hr         80.00

            GEB Review procedures and begin changes to trust.                            0.20
                                                                                       400.00/hr         80.00

            GEB Emails with Mr. GoITill regarding agreement.                             0.20
                                                                                       400.00/hr         80.00

            GEB Work on changes to trust.                                                0.30
                                                                                       400.00/hr        120.00

            GEB Email from Mr. Smaha regarding status of plan and trust.                 0.10
                                                                                       400.00/hr         40.00

            GEB Work on changes to trust.                                                0.50
                                                                                       400.00/hr       200.00

            GEB Emails with Mr. G01Till regarding ongoing efforts to settle.             0.10
                                                                                       400.00/hr        40.00

            GEB Work on changes to trust.                                                0.30
                                                                                       400.00/hr       120.00

02/22/21    JLS   Emails Mr. Linett regarding status.                                    0.20
                                                                                       550.00/hr       110.00

            GEB Work on revisions to trust.                                              0.50
                                                                                       400.00/hr       200.00

            GEB Telephone conference with Mr. Duffy regarding plan structure.            0.10
                                                                                       400.00/hr        40.00

            GEB Continue working on trust changes.                                       4.30
                                                                                       400.00/hr      1,720.00

            GEB Confer with Mr. Smaha regarding status.                                  0.10
                                                                                       400.00/hr        40.00

02/23/21    JLS   Further revision of Pool Trust.                                        2.00
                                                                                       550.00/hr      1,100.00

            JLS   Confer with Mr. Bravo regarding trust and plan coordination.           0.50
                                                                                       550.00/hr       275.00

            GEB Confer with Mr. Smaha regarding status of trust.                         0.10
                                                                                       400.00/hr        40.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43        Doc 312      Pg. 267
                                                           of 364                                          Page 18


                                                                                            Hrs/Rate        Amount

02/23/21   GEB Receive changes and begin process.                                              0.10
                                                                                             400.00/hr        40.00

           GEB Email from Mr. Linett regarding status of tomng.                                0.20
                                                                                             400.00/hr        80.00

           GEB Telephone conference with Mr. Smaha regarding plan related to                   0.20
               liquidating trust.                                                            400.00/hr        80.00

           GEB Emails with Mr. Linett regarding tolling issue.                                 0.20
                                                                                             400.00/hr        80.00

           GEB Confer with Mr. Smaha regarding changes to trust and other items.               0.30
                                                                                             400.00/hr      120.00

           GEB Work on revisions to trust.                                                     2.00
                                                                                             400.00/hr      800.00

02/24/21    JLS   Continued preparation of trust with comments.                                0.90
                                                                                             550.00/hr      495.00

            JLS   Confer with Mr. Bravo regarding plan and trust coordination.                 0.20
                                                                                             550.00/hr      110.00

            JLS   Telephone conference with Mr. Gorrill regarding trust.                       0.20
                                                                                             550.00/hr      110.00

           GEB Finalize revisions to trust, confer with Mr. Smaha and prepare to email to      2.60
               Mr. Linett and Mr. Gorrill.                                                   400.00/hr     1,040.00

           GEB Email from Mr. Smaha regarding review of status.                                0.20
                                                                                             400.00/hr       80.00

           GEB Email from Mr. Linett regarding status.                                         0.30
                                                                                             400.00/hr      120.00

02/25/21    JLS   Review of response from Mr. Linett regarding trust draft.                    0.20
                                                                                             550.00/hr      110.00

            JLS   Confer with Mr. Bravo regarding additional items to include in trust.        0.20
                                                                                             550.00/hr      110.00

           GEB Email to Mr. Smaha regarding Mr. Linett's response.                             0.20
                                                                                             400.00/hr       80.00

           GEB Confer with Mr. Smaha regarding response to Mr. Linett and other ideas.         0.20
                                                                                             400.00/hr       80.00

02/26/21   GEB Confer with Mr. Smaha regarding status.                                         0.20
                                                                                             400.00/hr       80.00

           GEB Work on revisions to trust.                                                     0.20
                                                                                             400.00/hr       80.00
            Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43     Doc 312      Pg. 268
                                                                                                       Page 19
                                                         of 364

                                                                                       Hrs/Rate         Amount

 02/26/21    GEB Email from Mr. Gan-ill regarding trust draft.                            0.10
                                                                                        400.00/hr         40.00

             GEB Draft email to Mr. Linett regarding benefit.                             0.70
                                                                                        400.00/hr        280.00

             GEB Email from Mr. Smaha regarding Gan-ill response.                         0.10
                                                                                        400.00/hr         40.00

             GEB Follow up emails with Mr. Smaha regarding discharge.                     0.20
                                                                                        400.00/hr         80.00

            For professional services rendered                                           48.90       $21,240.00

            Previous balance                                                                        $146,017.50


            Balance due                                                                             $167,257.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                           Hours       Rate -~A~m~ou~n~t
JOHN L. SMAHA                                                                  11.20     550.00      $6,160.00
Gustavo Bravo                                                                  37.70     400.00     $15,080.00
           Case 19-05831-LA11           Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg. 269
                                                                                                              Page 12
                                                            of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                               Hrs/Rate       Amount

03/01/21    JLS    Review of benefits list.                                                       0.10
                                                                                                550.00/hr       55.00

            GEB Emails regarding status of plan and trust.                                        0.10
                                                                                                400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status.                                           0.20
                                                                                                400.00/hr       80.00

            GEB Review materials from discussions with Mr. Smaha and update trust.                0.10
                                                                                                400.00/hr       40.00

            GEB Work on revisions to trust and adding details for attachments.                    2.70
                                                                                                400.00/hr     1,080.00

            GEB Email to Mr. Linett and from Mr. Linett regarding positions.                      0.30
                                                                                                400.00/hr      120.00

            GEB Emails with Mr. Duffy and Mr. Gorrill regarding status.                           0.20
                                                                                                400.00/hr       80.00

03/02/21    JLS    Telephone conference with Mr. Linett regarding plan items for trust.           0.30
                                                                                                550.00/hr      165.00

            GEB Emails regarding pending trust changes.                                           0.20
                                                                                                400.00/hr       80.00

            GEB Prepare redline at Mr. Linett's request and submit new draft by email.            0.30
                                                                                                400.00/hr      120.00

            GEB Receive email from Mr. Linett regarding comments on trust and issues.             0.10
                                                                                                400.00/hr       40.00

            GEB Review comments and other items from Dana Linett to trust, email to Mr.           0.30
                Smaha regarding same.                                                           400.00/hr      120.00

            GEB Work on response to Mr. Linett, take part in call with Mr. Smaha and              0.50
                notes updated.                                                                  400.00/hr      200.00

            GEB Revise trust.                                                                     0.30
                                                                                                400.00/hr      120.00

            GEB Finalize email to Mr. Linett regarding changes to trust.                          1.00
                                                                                                400.00/hr      400.00

03/03/21    JLS    Review of emails from Mr. Linett regarding questions on the trust, reply.      0.20
                                                                                                550.00/hr      110.00

            JLS    Further emails from Mr. Linett regarding items to add to trust.                0.20
                                                                                                550.00/hr      110.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312      Pg. 270
                                                                                                           Page 13
                                                          of 364

                                                                                            Hrs/Rate       Amount

03/03/21    JLS   Emails Mr. Bravo regarding questions to be answered for Linett.              0.20
                                                                                             550.00/hr      110.00

            JLS   Email Mr. Linett regarding commission schedule.                              0.10
                                                                                             550.00/hr       55.00

            GEB Various emails regarding status of documents.                                  0.40
                                                                                             400.00/hr      160.00

            GEB Confer with Mr. Smaha and update email to Mr. Linett and Mr. Smaha             0.20
                regarding moving forward.                                                    400.00/hr       80.00

            GEB Follow up emails and confer with Mr. Smaha regarding same.                     0.30
                                                                                             400.00/hr      120.00

            GEB Emails with Mr. Smaha and Mr. Linett regarding status.                         0.20
                                                                                             400.00/hr       80.00

            GEB Revise language and email to Mr. Smaha and Mr. Linett regarding                0.30
                language.                                                                    400.00/hr      120.00

03/04/21    JLS   Confer with Mr. Bravo regarding house sale provisions.                       0.20
                                                                                             550.00/hr      110.00

            JLS   Follow up on language for real proper):Y buy-out.                            0.20
                                                                                             550.00/hr      110.00

            JLS   Review of emails Mr. Gorrill regarding trust.                                0.10
                                                                                             550.00/hr       55.00

            GEB Email from Mr. Linett and prepare response.                                    0.40
                                                                                             400.00/hr      160.00

            GEB Confer with Mr. Smaha, revise trust and prepare new email to Mr. Linett        0.60
                regarding concerns.                                                          400.00/hr      240.00

            GEB Revise materials again on trust, confer with Mr. Smaha and finalize email      0.20
                to Mr. Linett.                                                               400.00/hr       80.00

            GEB Lengthy telephone conference with Mr. Linett regarding trust.                  0.80
                                                                                             400.00/hr      320.00

            GEB Finalize changes to trust.                                                     0.20
                                                                                             400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status.                                        0.10
                                                                                             400.00/hr       40.00

            GEB Finalize draft of trust to send to opposing counsel.                           0.50
                                                                                             400.00/hr      200.00

            GEB Email to Mr. Linett regarding trust and other details.                         0.10
                                                                                             400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg. 271
                                                                                                         Page 14
                                                          of 364

                                                                                          Hrs/Rate        Amount

03/04/21    GEB Email to Mr. Gon-ill regarding trust and status.                             0.10
                                                                                           400.00/hr       40.00

            GEB Email from Mr. Smaha regarding Mr. Gon-ill regarding status of trust.        0.10
                                                                                           400.00/hr       40.00

            GEB Email to Mr. Duffy regarding trust.                                          0.10
                                                                                           400.00/hr       40.00

03/05/21    GEB Emails from Mr. Gon-ill and Mr. Smaha regarding status of trust and          0.20
                extensions.                                                                400.00/hr       80.00

            GEB Telephone call to court regarding hearing dates.                             0.10
                                                                                           400.00/hr       40.00

03/08/21    GEB Confer with Mr. Smaha regarding status of documents and agreement.           0.10
                                                                                           400.00/hr       40.00

            GEB Telephone call to Mr. Gon-ill regarding comments.                            0.10
                                                                                           400.00/hr       40.00

03/09/21    GEB Email to Mr. Gon-ill regarding continuances.                                 0.10
                                                                                           400.00/hr       40.00

            GEB Follow up emails with Mr. Goffill.                                           0.20
                                                                                           400.00/hr       80.00

03/10/21    JLS   Emails Mr. Gon-ill regarding trust provision.                              0.20
                                                                                           550.00/hr      110.00

            JLS   Review of questions and responses from Mr. Linett on properties.           0.30
                                                                                           550.00/hr      165.00

            JLS   Confer with Mr. Bravo regarding answer responses.                          0.10
                                                                                           550.00/hr       55.00

            GEB Emails with Mr. Gon-ill and Mr. Smaha regarding intentionally defective      0.20
                features.                                                                  400.00/hr       80.00

            GEB Review email from Mr. Linett and begin response.                             1.20
                                                                                           400.00/hr      480.00

            GEB Telephone conference with Mr. Smaha regarding clarifications.                0.20
                                                                                           400.00/hr       80.00

            GEB Follow up email to Mr. Linett with clarifications.                           0.20
                                                                                           400.00/hr       80.00

            GEB Re-submit stipulation.                                                       0.10
                                                                                           400.00/hr       40.00

            GEB Emails from Mr. Duffy and Mr. Gon-ill regarding agreement.                   0.10
                                                                                           400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312      Pg. 272
                                                                                                        Page 15
                                                          of 364

                                                                                         Hrs/Rate        Amount

03/15/21    GEB Received order and confirm hearings continued.                              0.10
                                                                                          400.00/hr       40.00

            GEB Emails with Mr. Smaha and Mr. Linett regarding use of liquidating           0.20
                trustee.                                                                  400.00/hr       80.00

            GEB Emails with Mr. Linett and Mr. Smaha regarding hearings and                 0.20
                consignments.                                                             400.00/hr       80.00

            GEB Email to Mr. Gorrill regarding next steps.                                  0.20
                                                                                          400.00/hr       80.00

            GEB Emails regarding status of trust with Mr. Gorrill and Mr. Smaha.            0.20
                                                                                          400.00/hr       80.00

            JLS   Emails Mr. Linett regarding plan and trustee selection.                   0.10
                                                                                          550.00/hr       55.00

            JLS   Follow up items on plan with Mr. Linett.                                  0.20
                                                                                          550.00/hr      110.00

03/16/21    GEB Telephone conference with Mr. Smaha regarding status of litigation and      0.10
                other matters.                                                            400.00/hr       40.00

            GEB Email from Mr. Linett regarding position on follow up.                      0.10
                                                                                          400.00/hr       40.00

            GEB Email from Mr. Smaha regarding status of negotiations.                      0.10
                                                                                          400.00/hr       40.00

            GEB Confer with Mr. Smaha and follow up with Mr. Linett regarding status.       0.10
                                                                                          400.00/hr       40.00

            JLS   Emails regarding plan negotiation.                                        0.20
                                                                                          550.00/hr      110.00

            JLS   Confer with Mr. Bravo regarding issues on negotiation and timing.         0.20
                                                                                          550.00/hr      110.00

            JLS   Review of items from Mr. Linett, go over same in response.                0.30
                                                                                          550.00/hr      165.00

            JLS   Confer with Mr. Bravo regarding plan negotiation.                         0.20
                                                                                          550.00/hr      110.00

03/17/21    GEB Telephone call to Mr. Gorrill regarding status.                             0.10
                                                                                          400.00/hr       40.00

03/22/21    GEB Email to Mr. Smaha and Mr. Gonill regarding discussions and follow up       0.20
                status matters.                                                           400.00/hr       80.00

            GEB Receive response from Mr. Smaha, follow up telephone call to Mr.            0.10
                Gorrill.                                                                  400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                             273 16
                                                          of 364

                                                                                            Hrs/Rate        Amount

03/22/21    GEB Email from Mr. Gorrill and discussions regarding further extension and         0.20
                review letter regarding same.                                                400.00/hr        80.00

03/23/21    JLS   Review of letter from Mr. Gorrill regarding response to trust.               0.30
                                                                                             550.00/hr       165.00

            JLS   Confer with Mr. Bravo regarding plan items.                                  0.10
                                                                                             550.00/hr        55.00

            GEB Email from Mr. Smaha regarding Gorrill communications.                         0.10
                                                                                             400.00/hr        40.00

            GEB Emails with Mr. Duffy regarding provisions.                                    0.20
                                                                                             400.00/hr        80.00

            GEB Review letter from Mr. Gorrill in detail and prepare notes.                    1.00
                                                                                             400.00/hr       400.00

            GEB Confer with Mr. Smaha regarding letter and email to Mr. Linett regarding       0.10
                same.                                                                        400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding status.                                        0.20
                                                                                             400.00/hr        80.00

            GEB Review requirements for documents.                                             0.10
                                                                                             400.00/hr        40.00

03/24/21    JLS   Review of Mr. Linett's comments on plan.                                     0.30
                                                                                             550.00/hr       165.00

            JLS   Confer with Mr. Bravo regarding trust changes based on Gorrill letter.       0.90
                                                                                             550.00/hr      495.00

            JLS   Telephone conference with Mr. Gorrill regarding trust rewrites.              0.20
                                                                                             550.00/hr       110.00

            GEB Review emails from Mr. Linett.                                                 0.30
                                                                                             400.00/hr      120.00

            GEB Meeting with Mr. Smaha regarding changes to trust agreement.                   0.90
                                                                                             400.00/hr      360.00

            GEB Review status of hearings, confer with Mr. Smaha regarding status report,      0.30
                telephone call to Mr. Go1Till and begin work on changes to trust.            400.00/hr      120.00

            GEB Work on revisions to trust.                                                    2.50
                                                                                             400.00/hr     1,000.00

            GEB Finalize draft and email to Mr. Smaha for redline.                             0.10
                                                                                             400.00/hr       40.00

03/26/21    GEB Email to Mr. Gorrill with trust.                                               0.20
                                                                                             400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43              Doc 312      Pg.Page
                                                                                                                  274 17
                                                          of 364

                                                                                                 Hrs/Rate         Amount

03/26/21    GEB Email from Mr. Smaha and from Mr. Linett regarding status.                          0.10
                                                                                                  400.00/hr         40.00

            GEB Emails with Mr. Duffy regarding trust status.                                       0.20
                                                                                                  400.00/hr         80.00

03/29/21    GEB Confer with Mr. Smaha and email to Mr. Linett regarding meeting.                    0.20
                                                                                                  400.00/hr         80.00

            GEB Emails with Mr. Linett regarding meeting.                                           0.10
                                                                                                  400.00/hr         40.00

            GEB Email to Mr. Smaha and Mr. Linett regarding status of negotiations and              0.10
                meeting.                                                                          400.00/hr         40.00

03/30/21    JLS   Zoom call Mr. Linett regarding status of changes to trust agreement.              0.40
                                                                                                  550.00/hr        220.00

            GEB Emails with Mr. Smaha, review tentative and confinn various items.                  0.20
                                                                                                  400.00/hr         80.00

            GEB Telephone conference with Mr. Linett and Mr. Smaha regarding status                 0.60
                and plans going forward.                                                          400.00/hr        240.00

            GEB Telephone call to Mr. G01Till regarding status of documents.                        0.10
                                                                                                  400.00/hr         40.00

           For professional services rendered                                                      28.80       $12,360.00

           Previous balance                                                                                   $167,257.50


           Balance due                                                                                        $179,617.50


Please make checks payable to: Smaha Law Group


Thank you for your business.   .




                                                 Attorney Summary
Name                                                                                     Hours       Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                             5.60     550.00       $3,080.00
Gustavo Bravo                                                                            23.20     400.00       $9,280.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312       Pg. 275
                                                                                                        Page     9
                                                           of 364

    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                         Hrs/Rate        Amount

04/05/21    GEB Lengthy Telephone conference with Mr. Linett regarding various issues.      0.40
                                                                                          400.00/hr       160.00

            GEB Email to Mr. Duffy regarding status.                                        0.10
                                                                                          400.00/hr        40.00

04/06/21    GEB Emails with Mr. Duffy regarding status of plan.                             0.10
                                                                                          400.00/hr        40.00

            GEB Emails and telephone calls with Mr. Duffy regarding plan status.            0.20
                                                                                          400.00/hr        80.00

            GEB Lengthy telephone conference with Mr. Duffy regarding changes to trust      0.40
                agreement suggested by US Bank.                                           400.00/hr       160.00

04/08/21    JLS    Review ofresponse from Mr. Gorrill to trust changes.                     0.10
                                                                                          550.00/hr        55.00

            GEB Email from Mr. Gorrill regarding status and follow up with Mr. Smaha.       0.20
                                                                                          400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding status.                                     0.10
                                                                                          400.00/hr        40.00

04/09/21    JLS    Confer with Mr. Bravo regarding Gorrill response and reply.              0.20
                                                                                          550.00/hr       110.00

            GEB Review notes from Duffy meeting, review letter from Mr. Gorrill and         0.10
                check on status of hearing.                                               400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding status.                                     0.10
                                                                                          400.00/hr        40.00

            GEB Telephone conference with Mr. Smaha regarding response to Mr. Gorrill       0.30
                and review materials for same.                                            400.00/hr       120.00

            GEB Email to Mr. Gon-ill regarding status of trust.                             0.30
                                                                                          400.00/hr       120.00

            GEB Email from Mr. Smaha regarding response.                                    0.10
                                                                                          400.00/hr       40.00

04/12/21    GEB Email from Mr. Linett and follow up with response.                          0.20
                                                                                          400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status.                                     0.10
                                                                                          400.00/hr       40.00

04/13/21    JLS    Review of email regarding plan from Mr. Linett.                          0.20
                                                                                          550.00/b.r     110.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43   Doc 312      Pg. 276
                                                                                                      Page 10
                                                           of 364

                                                                                       Hrs/Rate       Amount

04/13/21    JLS   Reply to Mr. Linett regarding plan.                                     0.20
                                                                                        550.00/hr      110.00

            JLS   Review of additional items for Mr. Linett's consideration.              0.10
                                                                                        550.00/hr       55.00

            GEB Telephone conference with Mr. Linett regarding status.                    0.10
                                                                                        400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status of dispute and plan process.       0.20
                                                                                        400.00/hr       80.00

            GEB Review email from Mr. Smaha and prepare additional thoughts.              0.40
                                                                                        400.00/hr      160.00

            GEB Email response and confer with Mr. Smaha regarding same.                  0.20
                                                                                        400.00/hr       80.00

            GEB Telephone call to Mr. Gorrill regarding issues.                           0.10
                                                                                        400.00/hr       40.00

            GEB Telephone call to Mr. Gorrill and confer with Mr. Smaha.                  0.10
                                                                                        400.00/hr       40.00

04/14/21    GEB Email from Mr. Gorrill regarding status.                                  0.10
                                                                                        400.00/hr       40.00

04/16/21    JLS   Review of notice from Mr. Linett and Appellate Comi.                    .0.10
                                                                                        550.00/hr       55.00

            GEB Emails regarding pending appeal decision.                                 0.20
                                                                                        400.00/hr       80.00

04/19/21    GEB Telephone call and email to Mr. Gorrill regarding follow up on plan       0.20
                status.                                                                 400.00/hr       80.00

04/20/21    GEB Email from Mr. Duffy regarding status of plan.                            0.10
                                                                                        400.00/hr       40.00

            GEB Email to Mr. Gorrill regarding follow up.                                 0.10
                                                                                        400.00/hr       40.00

            GEB Email from Mr. Gorrill and review changes to trust initial review.        0.20
                                                                                        400.00/hr       80.00

04/21/21    GEB Confer with Mr. Smaha regarding response and review.                      0.20
                                                                                        400.00/hr       80.00

            GEB Review revisions by Mr. Gorrill.                                          1.00
                                                                                        400.00/hr     400.00

04/22/21    JLS   Emails regarding response from Mr. Gorrill.                             0.10
                                                                                        550.00/hr      55.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312      Pg. 277
                                                                                                              Page 11
                                                           of 364

                                                                                               Hrs/Rate       Amount

04/22/21   GEB Finalize review of trust changes, emails with Mr. Linett and review status.        0.30
                                                                                                400.00/hr      120.00

           GEB Email to Mr. Linett regarding response.                                            0.20
                                                                                                400.00/hr       80.00

           GEB Check on status of service of report requirements.                                 0.10
                                                                                                400.00/hr       40.00

           GEB Email to Me Linett regarding status.                                               0.10
                                                                                                400.00/hr       40.00

           GEB Receive email from Mr. Gorrill regarding IDIT issues.                              0.10
                                                                                                400.00/hr       40.00

           GEB Follow up on status of various matters.                                            0.10
                                                                                                400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status.                                           0.10
                                                                                                400.00/hr       40.00

04/23/21    GEB Check with Mr. Smaha regarding status of trust changes.                           0.10
                                                                                                400.00/hr       40.00

           GEB Confer with Mr. Smaha regarding status of changes.                                 0.10
                                                                                                400.00/hr       40.00

           GEB Confer with Mr. Smaha regarding operating issues on plan.                          0.10
                                                                                                400.00/hr       40.00

            GEB Go through changes and agree to provide certain changes and discuss               0.70
                items to reintroduce.                                                           400.00/hr      280.00

            GEB Email from Mr. Linett regarding additional claims against Barbara Linett          0.20
                from various years ago.                                                         400.00/hr       80.00

            JLS   Confer with Mr. Bravo regarding trust amendment from Mr. Gorrill and            0.90
                  suggested changes.                                                            550.00/hr      495.00

04/26/21    GEB Email from Mr. Linett regarding status.                                           0.10
                                                                                                400.00/hr       40.00

            GEB Work on change to trust documents.                                                1.50
                                                                                                400.00/hr      600.00

            GEB Emails with Mr. Linett regarding various other items.                             0.10
                                                                                                400.00/hr       40.00

            GEB Work on emails to Mr. Linett regarding status of case, trust and litigation.      0.80
                                                                                                400.00/hr      320.00

            GEB Work on changes to trust.                                                         0.50
                                                                                                400.00/hr      200.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43   Doc 312      Pg.Page
                                                                                                        278 12
                                                           of 364

                                                                                       Hrs/Rate        Amount

04/26/21    GEB Finalize changes to trust, email to Mr. Gorrill and to Mr. Smaha.         1.50
                                                                                        400.00/hr       600.00

            GEB Receive email from Mr. Linett and begin response.                         0.20
                                                                                        400.00/hr        80.00

            GEB Lengthy telephone conference with Mr. Linett regarding options.           0.30
                                                                                        400.00/hr       120.00

04/27/21    GEB Emails regarding additional trustee.                                      0.20
                                                                                        400.00/hr        80.00

            GEB Emails with Mr. Smaha regarding trustee status.                           0.20
                                                                                        400.00/hr        80.00

            GEB Emails with Mr. Linett regarding status of agreements.                    0.20
                                                                                        400.00/hr        80.00

            GEB Review emails regarding status and follow up with Mr. Linett.             0.30
                                                                                        400.00/hr       120.00

            GEB Confer with Mr. Smaha regarding status.                                   0.20
                                                                                        400.00/hr        80.00

            GEB Check on status of various hearings set up.                               0.10
                                                                                        400.00/hr       40.00

04/28/21    GEB Email from Mr. Linett regarding status of trust.                          0.20
                                                                                        400.00/hr       80.00

            GEB Review trust regarding issues raised.                                     0.10
                                                                                        400.00/hr       40.00

            GEB Telephone call to Mr. Gorrill regarding status.                           0.10
                                                                                        400.00/hr       40.00

            GEB Emails with Mr. Linett regarding status.                                  0.20
                                                                                        400.00/hr       80.00

04/29/21    GEB Email to Mr. Gonill regarding status.                                     0.10
                                                                                        400.00/hr       40.00

            GEB Telephone call to Mr. GoITill regarding status report.                    0.10
                                                                                        400.00/hr       40.00

            GEB Emails to and from Mr. Gorrill regarding changes and status.              0.40
                                                                                        400.00/hr      160.00

            GEB Emails with Mr. Smaha regarding status of proposed plan.                  0.30
                                                                                        400.00/hr      120.00

            GEB Emails with Mr. Gorrill and status of report.                             0.10
                                                                                        400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43            Doc 312      Pg.Page
                                                                                                                 279 13
                                                           of 364

                                                                                                Hrs/Rate         Amount

04/29/21    GEB Draft status report and arrange for filing.                                        0.40
                                                                                                 400.00/hr        160.00

            GEB Follow up with Mr. Gorrill regarding filings.                                      0.10
                                                                                                 400.00/hr         40.00

04/30/21    GEB Review emails from Ms. Chiang and follow up.                                       0.20
                                                                                                 400.00/hr         80.00

            GEB Receive and review status updates from court.                                      0.20
                                                                                                 400.00/hr         80.00

            GEB Telephone conference with Ms. Chiang and discuss potential options.                0.40
                                                                                                 400.00/hr        160.00

            GEB Review appeals court docket, no indication of decision.                            0.10
                                                                                                 400.00/hr         40.00

            GEB Email from Mr. Linett regarding various questions.                                 0.20
                                                                                                 400.00/hr         80.00

            GEB Email from Mr. Gorrill regarding status.                                           0.10
                                                                                                 400.00/hr         40.00

            GEB Telephone conference with Mr. Gorrill regarding issues.                            0.10
                                                                                                 400.00/hr         40.00

            JLS   Emails regarding alternative trustee with Mr. Linett and Mr. Bravo.              0.20
                                                                                                 550.00/hr        110.00

           For professional services rendered                                                     19.80        $8,235.00

           Previous balance                                                                                  $179,617.50


           Balance due                                                                                       $187,852.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                    Hours       Rate ----'A-"m~ou=n=t
JOHN L. SMAHA                                                                            2.10     550.00       $1,155.00
Gustavo Bravo                                                                           17.70     400.00       $7,080.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                               280 13
                                                            of 364
    In Reference To:           PLAN & DISCLOSURE STATEMENT


            Professional Services

                                                                                              Hrs/Rate        Amount

05/03/21     GEB Email from Mr. Gorrill regarding status.                                        0.10
                                                                                               400.00/hr        40.00

             GEB Telephone conference with Mr. Linett regarding status of various matters        0.30
                 and upcoming hearing.                                                         400.00/hr       120.00

05/04/21     GEB Review status and follow up with Mr. Smaha.                                     0.10
                                                                                               400.00/hr       40.00

             GEB Confer with Mr. Smaha regarding status of trust and contacts from               0.20
                 divorce counsel with CPA employed by Linett.                                  400.00/hr        80.00

             GEB Receive and review various minute orders.                                       0.20
                                                                                               400.00/hr        80.00

             GEB Confer with Mr. Smaha regarding status.                                         0.10
                                                                                               400.00/hr       40.00

             GEB Email to Mr. Linett regarding details on tentatives and idea moving             0.40
                 forward.                                                                      400.00/hr      160.00

05/05/21     GEB Emails with Mr. Smaha regarding status.                                         0.20
                                                                                               400.00/hr       80.00

             GEB Confer with Mr. Smaha regarding plans moving forward.                           0.10
                                                                                               400.00/hr       40.00

             GEB Email from Ms. Fritz regarding analysis.                                        0.10
                                                                                               400.00/hr       40.00

             GEB Emails with Mr. Gorrill regarding appeal status and other issues.               0.10
                                                                                               400.00/hr       40.00

             GEB Email from Mr. Gorrill regarding issues on trust.                               0.10
                                                                                               400.00/hr       40.00

05/06/21     GEB Confer with Mr. Smaha regarding chapter options and subordination,              0.60
                 review Section 510 and research issues.                                       400.00/hr      240.00

             GEB Finish research and receive new email from Mr. Linett.                          0.20
                                                                                               400.00/hr       80.00

             GEB Review documents sent from Mr. Linett, research issues on appeal and            0.70
                 ability to challenge.                                                         400.00/hr      280.00

05/07 /21    JLS    Review of plan documents.                                                    0.50
                                                                                               550.00/hr      275.00

             JLS    Telephone conference with Mr. Linett regarding options following appeal      0.90
                    decision and filing of a new plan.                                         550.00/hr      495.00
           Case 19-05831-LA11           Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312      Pg. 28114
                                                                                                        Page
                                                            of 364

                                                                                          Hrs/Rate       Amount

05/07/21   GEB Receive and review filing for new disclosure statement and plan.              0.30
                                                                                           400.00/hr      120.00

           GEB Email from Mr. Linett regarding status of appeal and various questions.       0.20
                                                                                           400.00/hr       80.00

           GEB Meeting with Mr. Smaha regarding various pending issues, prepare as           0.60
               well.                                                                       400.00/hr      240.00

           GEB Follow up emails regarding status of pending plan, appeal and other           0.20
               matters.                                                                    400.00/hr       80.00

           GEB Review documents and confer with staff regarding status.                      0.10
                                                                                           400.00/hr       40.00

           GEB Telephone conference with Mr. Linett regarding plan and appeal.               0.10
                                                                                           400.00/hr       40.00

           GEB Lengthy telephone conference with Mr. Linett and Mr. Smaha regarding          1.00
               options.                                                                    400.00/hr      400.00

           GEB Lengthy telephone conference with Mr. Linett regarding ongoing disputes.      0.90
                                                                   (                       400.00/hr      360.00

05/10/21   GEB Briefly review various emails regarding status.                               0.20
                                                                                           400.00/hr       80.00

           GEB Email from Mr. Gorrill regarding plan issues.                                 0.10
                                                                                           400.00/hr       40.00

           GEB Review materials and work on questions.                                       0.10
                                                                                           400.00/hr       40.00

           GEB Telephone call and email from Mr. Linett regarding questions on status.       0.10
                                                                                           400.00/hr       40.00

           GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                           400.00/hr       40.00

           GEB Review plan, disclosure statement and trust.                                  1.50
                                                                                           400.00/hr      600.00

           GEB Review emails and prepare responses.                                          0.20
                                                                                           400.00/hr       80.00

05/11/21    JLS   Review of new plan.                                                        1.10
                                                                                           550.00/hr      605.00
                                                                                             '

            JLS   Go over plan and trust with Mr. Linett.                                    2.20
                                                                                           550.00/hr    1,210.00

            JLS   Confer with Mr. Bravo regarding plan and trust issues.                     0.50
                                                                                           550.00/hr     275.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg.Page
                                                                                                           282 15
                                                          of 364

                                                                                          Hrs/Rate        Amount

05/11/21    JLS   Email Mr. Gorrill regarding plan.                                          0.20
                                                                                           550.00/hr       110.00

            GEB Review materials, prepare for meeting, confer with Mr. Smaha and other       1.00
                items.                                                                     400.00/hr       400.00

            GEB Meeting with Mr. Linett regarding status.                                    2.20
                                                                                           400.00/hr       880.00

            GEB Confer with Mr. Smaha and follow up.                                         0.10
                                                                                           400.00/hr        40.00

            GEB Emails with Mr. Gorrill regarding plan.                                      0.10
                                                                                           400.00/hr        40.00

            GEB Confer with Mr. Smaha, receive emails and work on changes to trust.          0.20
                                                                                           400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding status.                                      0.10
                                                                                           400.00/hr       40.00

            GEB Email from Mr. Linett regarding additional issues.                           0.20
                                                                                           400.00/hr        80.00

            GEB Work on revisions to trust.                                                  1.20
                                                                                           400.00/hr      480.00

            GEB Email response to Mr. Linett.                                                0.30
                                                                                           400.00/hr      120.00

05/12/21    JLS   Review ofrevised plan and trust.                                           1.20
                                                                                           550.00/hr      660.00

            JLS   Emails Mr. Go1Till regarding changes to trust and plan.                    0.10
                                                                                           550.00/hr       55.00

            JLS   Email Mr. Linett regarding plan recommendations.                           0.10
                                                                                           550.00/hr       55.00

            GEB Begin review of plan documents to revise.                                    2.50
                                                                                           400.00/hr     1,000.00

            GEB Lengthy telephone conference with Mr. Linett regarding options.              0.50
                                                                                           400.00/hr      200.00

            GEB Confer with Mr. Smaha regarding status.                                      0.20
                                                                                           400.00/hr       80.00

            GEB Further revisions to trust and plan and confer with Mr. Smaha regarding      0.50
                ongoing issues.                                                            400.00/hr      200.00

            GEB Work on revisions to trust and plan.                                         0.70
                                                                                           400.00/hr      280.00
           Case 19-05831-LA11            Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                                 283 16
                                                             of 364

                                                                                               Hrs/Rate         Amount

05/12/21    GEB Email from Mr. Smaha to Mr. Linett and all regarding status.                      0.10
                                                                                                400.00/hr         40.00

            GEB Email to Mr. Smaha and Mr. Linett regarding updated documents.                    0.10
                                                                                                400.00/hr         40.00

05/13/21    JLS       Review of questions from Mr. Linett regarding plan.                         0.20
                                                                                                550.00/hr        110.00

            JLS       Answer various questions from Mr. Linett regarding business and autos.      0.20
                                                                                                550.00/hr.      J 10.00

            JLS       Answer further questions from Mr. Linett.                                   0.20
                                                                                                550.00/hr        110.00

            GEB Email from Mr. Linett regarding hearing continuance and efforts to                0.20
                re-litigate issues.                                                             400.00/hr         80.00

            GEB Receive and review various emails regarding plan and structure, confer            0.60
                with Mr. Smaha, telephone call with Mr. Linett and follow up.                   400.00/hr       240.00

            GEB Continue receiving emails and status of documents and confer with Mr.             0.30
                Smaha regarding items to complete.                                              400.00/hr        120.00

            GEB Revise plan.                                                                      0.20
                                                                                                400.00/hr         80.00

            GEB Email to Mr. Linett regarding status and confer with Mr. Smaha regarding          0.30
                                                                            I
                outstanding issues.                                                             400.00/hr       120.00

05/14/21    JLS       Emails regarding plan follow up.                                            0.10
                                                                                                550.00/hr        55.00
                  -
            JLS       Confer with Mr. Bravo regarding questions from Mr. Linett.                  0.20
                                                                                                550.00/hr       110.00 ·

            GEB Email from Mr .. Linett and forward to Mr. Smaha regarding title warranty         0.20
                question and status.                                                            400.00/hr        80.00

            GEB Lengthy telephone conference with Ms. Yale regarding potential claim.             0.30
                                                                                                400.00/hr       120.00
                                                                        !'
            GEB Follow up questions with Mr. Smaha regarding status.                              0.10
                                                                                                400.00/hr        40.00

            GEB Review files and other items regarding pending issues raised by Mr.               0.20
                Linett.                                                                         400.00/hr        80.00

            GEB Review documents, prepare lengthy response to Mr. Linett, confer with             1.20
                Mr. Smaha regarding same and finalize email.                                    400.00/hr       480.00

            GEB Confer with Mr. Smaha regarding order and status.                                 0.10
                                                                                                400.00/hr        40.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312          Pg.Page
                                                                                                                284 17
                                                           of 364

                                                                                           Hrs/Rate            Amount

05/14/21    GEB Telephone conference with Mr. Linett regarding status of plan and trust       0.30
                discussions.                                                                400.00/hr           120.00

            GEB Multiple emails with Mr. Linett and Mr. Smaha regarding status of             0.50
                language.                                                                   400.00/hr           200.00

            GEB Confer with Mr. Smaha regarding status, emails with Mr. Linett, email to      0.40
                Ms. Yale and other discussions.                                             400.00/hr           160.00

05/17/21    JLS   Emails Mr. Linett regarding items needed for exhibit E.                     0.20
                                                                                            550.00/hr           110.00

            GEB Emails with Mr. Linett regarding exceptions.                                  0.10
                                                                                            400.00/hr            40.00

            GEB Confer with Mr. Smaha regarding plan and trust.                               0.20
                                                                                            400.00/hr            80.00

            GEB Email to Mr. Linett in response to email questions.                           0.20
                                                                                            400.00/hr            80.00

            GEB Emails to Mr. Linett regarding follow ups.                                    0.20
                                                                                            400.00/hr           80.00

            GEB Email from Mr. Smaha regarding ongoing follows ups.                           0.10
                                                                    \                       400.00/hr           40.00

            GEB Receive and review email from Mr. Linett regarding status.                    0.20
                                                                                            400.00/hr           80.00

            GEB Draft response to Mr. Linett's emails, research issues again, pull            2.20
                information from previous emails and other research done. prepare           400.00/hr          880.00
                lengthy discussion in response to issues raised by Mr. Linett, prepare
                memorandum and update email.

05/18/21    JLS   Conference call Mr. Linett regarding plan changes.                          0.90
                                                                                            550.00/hr          495.00

            JLS   Telephone conference with Mr. Bravo regarding additional changes to         0.20
                  trust.                                                                    550.00/hr          110.00
                                                                                                        /
            JLS   Multiple emails Mr. Linett regarding items for plan trust.                  0.30
                                                                                            550.00/hr          165.00

            JLS   Review of language on trust changes.                                        0.20
                                                                                            550.00/hr          110.00

            GEB Telephone conference with Mr. Smaha regarding plan status.                    0.20
                                                                                            400.00/hr           80.00

            GEB Lengthy telephone conference with Mr. Linett and Mr. Smaha regarding          1.00
                arguments on plan.                                                          400.00/hr          400.00
           Case 19-05831-LA11         Filed 01/11/22        Entered 01/11/22 09:20:43    Doc 312      Pg.Page
                                                                                                          285 18
                                                            of 364

                                                                                         Hrs/Rate        Amount

05/18/21    GEB Follow up emails with Mr. Linett and Mr. Smaha.                             0.20
                                                                                          400.00/hr        80.00

            GEB Further revisions to trust.                                                 0.50
                                                                                          400.00/hr       200.00

            GEB Email to Mr. Smaha and Mr. Linett regarding changes.                        0.10
                                                                                          400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding status.                                     0.10
                                                                                          400.00/hr        40.00

            GEB Research issues on exemption and other issues for Mr. Linett.               0.20
                                                                                          400.00/hr        80.00

            GEB Emails with Mr. Smaha and Mr. Gorrill regarding status.                     0.10
                                                                                          400.00/hr        40.00

            GEB Lengthy telephone conference with Mr. Linett regarding arguments on         0.50
                plan.                                                                     400.00/hr      200.00

            GEB Email to Mr. Linett and revise trust agreement.                             0.30
                                                                                          400.00/hr       120.00

            GEB Follow up email with Mr. Smaha.                                             0.10
                                                                                          400.00/hr       40.00

05/19/21    JLS   Email Mr. Linett regarding plan question.                                 0.10
                                                                                          550.00/hr       55.00

            JLS   Respond to Mr. Linett on plan question.                                   0.10
                                                                                          550.00/hr       55.00

            JLS   Conference call Mr. Linett regarding plan.                                0.70
                                                                                          550.00/hr      385.00

            GEB Confer with Mr. Smaha regarding status of agreement.                        0.10
                                                                                          400.00/hr       40.00

            GEB Email to Mr. Linett regarding status.                                       0.20
                                                                                          400.00/hr       80.00

            GEB Telephone call to Mr. Linett regarding plan and trust.                      0.10
                                                                                          400.00/hr       40.00

            GEB Email from Mr. Linett, work on response.                                    0.20
                                                                                          400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding response, Mr. Smaha to handle, pass on      0.30
                notes and other items.                                                    400.00/hr      120.00

            GEB Review email response to Mr. Linett.                                        0.10
                                                                                          400.00/hr       40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg. 286
                                                                                                         Page 19
                                                          of 364

                                                                                           Hrs/Rate       Amount

05/19/21   GEB Emails regarding status.                                                       0.10
                                                                                            400.00/hr       40.00

           GEB Lengthy telephone conference with Mr. Linett and Mr. Smaha regarding           0.70
               final plan and trust changes.                                                400.00/hr      280.00

           GEB Finalize changes to plan and trust.                                            0.80
                                                                                            400.00/hr      320.00

           GEB Email to Mr. Gon-ill and follow up regarding same.                             0.10
                                                                                            400.00/hr       40.00

05/20/21    JLS   Emails Mr. Gorrill regarding revised plan.                                  0.20
                                                                                            550.00/hr      110.00

            JLS   Telephone conference with Mr. Linett regarding plan sale issues.            0.40
                                               "-
                                                                                            550.00/hr      220.00

           GEB Email from Mr. Gon-ill regarding status.                                       0.10
                                                                                            400.00/hr       40.00

           GEB Confer with Mr. Smaha regarding status of plan.                                0.10
                                                                                            400.00/hr       40.00

           GEB Confer·with Mr. Smaha regarding plan details, consider options and             0.20
               follow up with Mr. Linett.                                                   400.00/hr       80.00

05/21/21    JLS   Telephone conference with Mr. Gon-ill regarding plan items.                 1.00
                                                                                            550.00/hr      550.00

           GEB Emails with Mr. Gon-ill regarding meeting.                                     0.20
                                                     /
                                                                                            400.00/hr       80.00

           GEB Em.ail from Mr. Yale regarding agreement.                                      0.10
                                                                                            400.00/hr       40.00

           GEB Receive deeds and establish proper ownership.                                  0.10
                                                                                            400.00/hr       40.00

           GEB Lengthy telephone conference with Mr. Linett regarding status.                 1.20
                                                                                            400.00/hr     480.00

           GEB Follow up telephone conference with Mr. Gon-ill and with Mr. Linett            0.30
               regarding status.                                                            400.00/hr      120.00

05/24/21    JLS   Answer questions from Mr. Linett regarding issues on plan proposition.      0.30
                                                                                            550.00/hr      165.00

           GEB Confer with Mr. Smaha regarding status of all matters pending and              0.20
               stipulating to extension. '                                                  400.00/hr       80.00

05/26/21   GEB Confer with Mr. Smaha regarding status of plan.                                0.10
                                                                                            400.00/hr      40.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43           Doc 312         Pg.Page
                                                                                                                 287 20
                                                         of 364

                                                                                             Hrs/Rate               Amount

05/26/21    GEB Emails with Mr. Linett regarding ongoing issues.                                0.20
                                                                                              400.00/hr                 80.00

05/27/21    GEB Email to Mr. Gorrill regarding status of opposition and agreement,              0.20
                forward to Mr. Smaha with comments.                                           400.00/hr                 80.00

            GEB Email from Mr. Gorrill regarding agreement on stipulation.                      0.10
                                                                                              400.00/hr                 40.00

            JLS   Emails Mr. Bravo, Mr. Gorrill regarding negotiation.                          0.10
                                                                                              550.00/hr                 55.00

05/28/21    GEB Emails with Mr. Linett regarding capital gains issues with plan and/or          0.20
               ' liquidation.                                                                 400.00/hr                 80.00

           For professional services rendered                                                  49.00          $21,460.00

           Previous balance                                                                                 $187,852.50


           Balance due                                                                                      $209,312.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                  Attorney Summary
Name                                                                                 Hours       Rate _ ___,A"""""m'"'"'-=ou=n""t
JOHN L. SMAHA                                                                        12.40     550.00          $6,820.00
Gustavo Bravo                                                                        36.60     400.00         $14,640.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312       Pg. 288
                                                          of 364                                           Page 13

    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                           Hrs/Rate         Amount

06/01/21    JLS    Follow up on stipulation and trust suggested language.                      0.10
                                                                                             550.00/hr       55.00

            GEB Wark on stipulation for opposition.                                           0.20
                                                                                            400.00/hr        80.00

            GEB Draft order on stipulation.                                                   0.20
                                                                                            400.00/Iu·       80.00

            GEB Email to Mr. Gorrill regarding status.                                        0.10
                                                                                            400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding status of trust and other items.              0.10
                                                                                            400.00/hr        40.00

            GEB Emails with Mr. Smaha and Mr. Gorrill regarding status of plan.               0.30
                                                                                            400.00/Iu·      120.00

            GEB Revise order for submission.                                                  0.10
                                                                                            400.00/hr        40.00
                                                                                                                     J
06/02/21    JLS    Telephone conference with.and multiple emails Mr. Gorrill regarding        0.30
                   plan.                                                                    550.00/hr       165.00

            JLS    Confer Mr. Bravo regarding plan and malpractice cases.                     0.10
                                                                                            550.00/hr        55.00

            GEB Emails with Mr. Gorrill and forward to Mr. Smaha.                             0.20
                                                                                            400.00/hr        80.00

            GEB Lengthy telephone conference with Mr. Linett regarding trust and status.      0.60
                                                                                            400.00/hr       240.00

            GEB Emails regarding employment of special counsel.                               0.20
                                                                                            400.00/hr        80.00

            GEB Draft email to Mr. Gonill and provide it to Mr. Smaha prior to sending.       0.40
                                                                                            400.00/hr       160.00

            GEB Email reply from Mr. Smaha.                                                   0.10
                                                                                            400.00/hr        40.00

            GEB Finalize email and send to Mr. Gorrill.                                       0.10
                                                                                            400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr        40.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43      Doc 312       Pg. 289
                                                           of 364                                        Page 14


                                                                                          Hrs/Rate        Amount

06/02/21    GEB Telephone call and follow up to court regarding stipulation.                 0.10
                                                                                           400.00/hr        40.00

            GEB Telephone call from counsel for bank regarding status.                       0.10
                                                                                           400.00/lu·       40.00

06/03/21    JLS   Email Mr. Linett regarding malpractice case.                               0.10
                                                                                           550.00/hr        55.00

            GEB Email to Mr. Gorrill regarding status.                                       0.10
                                                                                           400.00/hr        40.00

            GEB Telephone conference with court regarding status of order.                   0.10
                                                                                           400.00/hr        40.00

            GEB Receive and review order, deadline changed to June 9, 2021.                  0.10
                                                                                           400.00/lu-       40:00

            GEB Email from Mr. Gorrill regarding status.                                     0.10
                                                                                           400.00/hr        40.00

06/04/21    JLS   Email Mr. GoITill regarding plan.                                          0.10
                                                                                           550.00/hr        55.00

            JLS   Review of materials from Mr. Gorrill regarding response.                   0.20
                                                                                           550.00/hr       110.00

            JLS   Confer with Mr. Bravo regarding response for Mr. Gorrill.                  0.10
                                                                                           550.00/hr        55.00

            GEB Emails with Mr. GoITill, from Mr. Smaha and telephone call to Mr. Duffy      0.20
                regarding status.                                                          400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding status of discussions.                       0.10
                                                                                           400.00/lu·       40.00

            GEB Email from Mr. GoITill regarding comments on trnst.                          0.20
                                                                                           400.00/lu·       80.00

            GEB Confer with Mr. Smaha regarding plan status.                                 0.20
                                                                                           400.00/lu-       80.00

            GEB Email to Mr. Gorrill regarding closing distance.                             0.10
                                                                                           400.00/hr        40.00

06/07/21    JLS   Confer with Mr. Bravo regarding responses from Mr. Gorrill on plan.        0.20
                                                                                           550.00/lu-      110.00

            GEB Consider options on oppositions and confer with Mr. Smaha regarding          0.20
                same.                                                                      400.00/hr        80.00

            GEB Telephone conference with Mr. Smaha, telephone call to Mr. Gorrill,          0.30
                email to Mr. GoITill regarding plan status and follow up.                  400.00/hr      .120.00
            Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43         Doc 312      Pg. 290
                                                           of 364                                           Page 15


                                                                                             Hrs/Rate       Amount

06/07 /21    GEB Email from Mr. Gorrill regarding changes to trust.                             0.10
                                                                                              400.00/hr       40.00

06/08/21     JLS   Email Mr. G01Till regarding coin auction reserve.                            0.10
                                                                                              550.00/hr       55.00

             JLS   Review of trust changes with Mr. Bravo.                                      0.90
                                                                                              550.00/hr      495.00

             JLS   Emails Mr. Gonill regarding plan concepts.                                   0.20 ·
                                                                                              550.00/hr      110.00

             JLS   Go over multiple changes to trust with Mr. Gonill.                           0.60
                                                                                              550.00/hr      330.00

             GEB Email to Mr. Smaha regarding Gorrill email and potential response.             0.20
                                                                                              400.00/hr       80.00

             GEB Various emails regarding status of transfers, plan and other items.            0.30
                                                                                              400.00/hr      120.00

             GEB Review trust agreement and revised.                                            0.20
                                                                                              400.00/hr       80.00

             GEB Research issues on appeal rights, confer with Mr. Smaha regarding other        0.70
                 issues, review various emails and prepare emails in response on trust        400.00/hr      280.00
                 documents.
                                     )

             GEB Meeting with Mr. Smaha regarding status of appeal, changes to trust and        0.30
                 other items.                                                                 400.00/hr      120.00
   )

             GEB Follow up emails with Mr. Gorrill and Mr. Smaha regarding status of            0.30
                 trust, need fmiher discussions.                                              400.00/hr      120.00

             GEB Emails from Mr. Linett and with Mr. Smaha regarding trust changes and          0.20
                 status.                                                                      400.00/hr       80.00

             GEB Email from Mr. Linett regarding collections.                                   0.10
                                                                                              400.00/hr       40.00

             GEB Continue following up on emails regarding potential settlement.                0.20
                                                                                              400.00/hr       80.00

             GEB Confer with Mr. Smaha regarding status.                                        0.10
                                                                                              400.00/hr      40.00

             GEB Emails with Mr. Gorrill and Mr. Smaha regarding status of plan.                0.20
                                                                                              400.00/hr       80.00·

             GEB Receive and review additional e-mail from Mr. Gorrill regarding status of      0.20
                 trust.                                                                       400.00/hr       80.00

             GEB Finalize emails regarding status.                                              0.10
                                                                                              400.00/hr      40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312      Pg. 291
                                                                                                           Page 16
                                                          of 364

                                                                                            Hrs/Rate        Amount

06/09/21    JLS   Review of additional revisions to trust. Prepare revised language.           0.50
                                                                                             550.00/hr      275.00

            JLS   Email Mr. Gorrill regarding changes to documents.                            0.10
                                                                                             550.00/hr       55.00

            JLS   Go over changes to trust with Mr. Bravo.                                     0.20
                                                                                             550.00/hr      110.00

            JLS   Email Mr. Gorrill regarding trust changes.                                   0.10
                                                                                             550.00/hr       55.00

            JLS   Review ofredline revisions to trust.                                         0.20
                                                                                             550.00/hr      110.00

            JLS   Telephone conference with Mr. Gorrill regarding revisions.                   0.20
                                                                                             550.00/hr      110.00

            JLS   Review ofredline revisions, email Mr. Gorrill regarding same.                0.10
                                                                                             550.00/hr       55.00

            JLS   Telephone conference with Mr. Linett regarding trust revisions.              0.20
                                                                                             550.00/hr      110.00

            JLS   Review of materials from Mr. Linett on IRC definitions.                      0.60
                                                                                             550.00/hr      330.00

            GEB Revise agreement, finalize draft, emails with Mr. Gon-ill and confer with      0.80
                Mr. Smaha regarding final changes.                                           400.00/hr      320.00

            GEB Telephone conference with Mr. Gorrill regarding plan structure.                0.20
                                                                                             400.00/hr       80.00

            GEB 'Telephone conference with Mr. Linett regarding plan and "Fighting with        0.30
                 everything we've got."                                                      400.00/hr      120.00

            GEB Emails with Mr. Go1Till regarding final changes.                               0.10
                                                                                             400.00/hr       40.00

            GEB Deal with final edits to trust, confer with Mr. Smaha, review emails from      1.20
                Mr. Linett regarding final efforts and confer with Mr. Smaha regarding       400.00/hr      480.00
                final draft and filing with court.

            GEB Work on emails to Mr. Linett and others.                                       0.50
                                                                                             400.00/hr      200.00

            GEB Telephone conference with counsel for U.S. Bank, confer with Mr. Smaha         0.70
                regarding status of documents for U.S. Bank secured claim, pull same and     400.00/hr      280.00
                review.

            GEB Draft status report, submit same, follow up emails with Mr. Linett, Mr.        0.50
                Smaha and Mr. Gorrill.                                                       400.00/hr      200.00
           Case 19-05831-LA11          Filed 01/11/22       Entered 01/11/22 09:20:43          Doc 312      Pg. 292
                                                            of 364                                           Page 17


                                                                                               Hrs/Rate       Amount

06/09/21   GEB Email from Mr. GoITill regarding status.                                           0.10
                                                                                                400.00/hr       40.00

06/10/21    JLS   Emails Mr. Gorrill regarding operations, administrative matters.                0.20
                                                                                                550.00/hr      110.00

            JLS   Review ins~rance renewal, email Mr. Linett regarding same.                      0.20
                                                                                                550.00/hr      110.00

            JLS   Review of additional changes to trust.                                          0.20
                                                                                                550.00/hr      110.00

            JLS   Emails Mr. Gorrill regarding response.                                          0.10
                                                                                                550.00/hr       55.00

            JLS   Lengthy call with Mr. Linett over trust provisions, go over all aspects of      2.00
                  the trust.                                                                    550.00/hr    1,100.00

            JLS   Confer with Mr. Bravo, Mr. Gorrill regarding plan status.                       0.40
                                                                                                550.00/hr     220.00

           GEB Emails regarding pending trust, treatment of US Bank claim and status of           0.30
               approval by Mr. Linett.                                                          400.00/hr      120.00

           GEB Follow up on various pending matters.                                              0.10
                                                                                                400.00/hr      40.00

           GEB Meeting with Mr. Linett regarding questions.                                       2.00
                                                                                                400.00/hr     800.00

           GEB Lengthy telephone conference with Mr. Gorrill and Mr. Smaha regarding              0.40
               issues on trust.                                                                 400.00/hr     160.00

06/11/21    JLS   Emails and telephone conference with Mr. Linett regarding plan issues,          0.30
                  sale timing.                                                                  550.00/hr     165.00

           JLS    Telephone conference with Mr. Linett regarding plan and trust features          0.30
                  and other questions.                                                          550.00/hr     165.00

           JLS    Preparation of language changes for trust.                                      0.40
                                                                                                550.00/hr     220.00

           JLS    Revise further trust changes.                                                   0.40
                                                                                                550.00/hr     220.00

           JLS    Draft language f<?r limitations and payment of claims of the bank with Mr.      0.40
                  Gorrill.                                                                      550.00/hr     220.00

           JLS    Telephone conference with Mr. Gorrill and Mr. Duffy regarding US Bank           0.50
                  claim.                                                                        550.00/hr     275.00

           JLS    Review language for class 1E payment.                                           0.30
                                                                                                550.00/hr     165.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg. 293
                                                                                                           Page 18
                                                           of 364

                                                                                            Hrs/Rate       Amount

06/11/21    GEB Continue discussions with Mr. Smaha, Mr. Gon-ill and others regarding          0.40
                changes to trust for U.S. Bank and telephone call regarding same.            400.00/hr      160.00

            GEB Emails with Mr. Gorrill regarding changes to trust and begin final             0.30
                revisions to trust for Mr. and Ms. Linett.                                   400.00/hr      120.00

            GEB Follow up emails regarding US Bank issues.                                     0.20
                                                                                             400.00/hr       80.00

            GEB Finalize trust draft, confer with Mr. Smaha and work up additional             0.30
                language.                                                                    400.00/hr      120.00

            GEB Further revisions to trust.                                                    0.50
                                                                                             400.00/hr      200.00

            GEB Review language for US Bank.                                                   0.10
                                                                                             400.00/hr       40.00

            GEB Finalize language requested.                                                   0.30
                                                                                             400.00/hr      120.00

            GEB Emails to Mr. Smaha and Mr. Gon-ill regarding trust language and US            0.20
                Bank situation, receive email from Mr. Gorrill regarding same.               400.00/hr       80.00

           , GEB Lengthy telephone conference with US Bank attorney and Mr. Gorrill            0.30
                 regarring agreement.                                                        400.00/hr      120,00

            GEB Finalize changes to language.                                                  0.30
                                                                                             400.00/hr      120.00

            GEB Finalize emails and forward as requested on finalized language for trust.      0.20
                                                                                             400.00/hr       80.00

            GEB Email from Mr. Go1Till regarding status.                                       0.10
                                                                                             400.00/hr       40.00

06/14/21     JLS   Email Mr. Gorrill regarding items for status and trust amendments.          0.10
                                                                                             550.00/hr       55.00

            GEB Confer with Mr. Smaha regarding status.                                        0.10
                                                                                             400.00/hr       40.00

            GEB Emails with Mr. Duffy, emails to bookkeeper, telephone calls regarding         0.50
                same and attempt to determine status of language.                            400.00/hr      200.00

06/16/21     JLS   Emails Mr. Duffy regarding language in trust.                               0.10
                                                                                             550.00/hr       55.00

            GEB Draft updated status report.                                                   0.20
                                                                                             400.00/hr       80.00

            GEB Email to Mr. Smaha regarding status.                                           0.10
                                                                                             400.00/hr      40.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312      Pg. 294
                                                           of 364                                         Page 19


                                                                                           Hrs/Rate       Amount

06/16/21    GEB Email to Mr. Duffy regarding trust agreement language.                        0.10
                                                                                            400.00/hr       40.00

06/17/21    JLS   Emails Mr. Duffy regarding plan and bank language.                          0.10
                                                                                            550.00/hr       55.00

            JLS   Emails Mr. Gorrill regarding plan and status report.                        0.10
                                                                                            550.00/hr       55.00

06/18/21    JLS   Telephone conference with Mr. Linett regarding plan status and related      0.20
                  issues.                                                                   550.00/hr      110.00

06/21/21    GEB Review tentative ruling.                                                      0.10
                                                                                            400.00/hr       40.00

            GEB Email from Mr. Smaha regarding status.                                        0.10
                                                                                            400.00/hr       40.00

            GEB Review materials on pending matters, review emails regarding agreement        0.30
                and updates.                                                                400.00/hr      120.00

06/22/21    JLS   Review of tentative, email Mr. Bravo regarding same.                        0.10
                                                                                            550.00/hr       55.00

            JLS   Review of email from Mr. Linett regarding negotiations.                     0.10
                                                                                            550.00/hr       55.00

            JLS   Telephone conference with Mr. Linett regarding language issues in           0.40
                  agreement.                                                                550.00/hr      220.00

            JLS   Email Mr. Duffy regarding language follow up.                               0.10
                                                                                            550.00/hr       55.00

            JLS   Follow up items from Mr. Linett.                                            0.10
                                                                                            550.00/hr       55.00

           GEB Lengthy conference with Mr. Smaha regarding status of trust, issues with       0.50
               employment and other matters.                                                400.00/hr      200.00

06/23/21    JLS   Emails Mr. Linett regarding plan provisions and assistance programs.        0.40
                                                                                            550.00/hr      220.00

            JLS   Email Mr. Duffy regarding follow up items on trust language.                0.10
                                                                                            550.00/hr       55.00

           GEB Confer with Mr. Smaha regarding tentative and email to Mr. Gorrill and         0.20
               others regarding same.                                                       400.00/hr       80.00

           GEB Lengthy telephone conference with Mr. Linett regarding status.                 0.30
                                                                                            400.00/hr      120.00

06/24/21    JLS   Email Mr. Linett regarding plan items, reply.                               0.10
                                                                                            550.00/hr       55.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43      Doc 312       Pg. 295
                                                                                                          Page 20
                                                           of 364

                                                                                          Hrs/Rate         Amount

 06/24/21    JLS   Confer with Mr. Bravo regarding hearing and bank response.                 0.10
                                                                                            550.00/hr           55.00

             GEB Telephone call to Mr. Gorrill regarding status.                              0.10
                                                                                            400.00/hr           40.00

             GEB Email from Mr. Linett regarding issues.                                      0.10
                                                                                            400.00/hr           40.00

             GEB Telephone conference with Mr. Gorrill and status of all.                     0.20
                                                                                            400.00/hr           80.00

             GEB Confer with Mr. Smaha regarding status of hearing.                           0.10
                                                                                            400.00/hr           40.00
                                                                                                            )

 06/25/21    GEB Telephone conference with Mr. Linett regarding options.                      0.30
                                                                                            400.00/hr       120.00

             GEB Email from Mr. Linett regarding status, review response from Mr. Smaha      0.20
                 and follow up with Mr. Linett.                                            400.00/hr            80.00

             GEB Receive and review minute orders.                                           0.10
                                                                                           400.00/hr            40.00

             GEB Telephone conference with Mr. Duffy regarding questions on language.        0.20
                                                                                           400.00/hr            80.00

             GEB Confer with Mr. Smaha and review la11;guage.                                0.20
                                                                                           400.00/hr            80.00

             GEB Email to Mr. Duffy regarding valuations and other items.                    0.40
                                                                                           400.00/hr        160.00

 06/28/21    GEB Emails with Mr. Smaha and Mr. Linett regarding status of various            0.30
                 pending matters, follow up with U.S. Bank.                                400.00/hr        120.00

 06/30/21    GEB Lengthy email to Mr. Linett regarding status of trust and options.          0.60
                                                                                           400.00/hr       240.00

            For professional services rendered                                              36.60       $16,590.00

            Previous balance                                                                         . $209,312. 50


            Balance due                                                                                $225,902.50


Please make checks payable to: Smaha Law Group


Thank you for your business.
       Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312   Pg. 296
                                                                                      Page 21
                                             of 364


                                     Attorney Summary
Name                                                              Hours       Rate     Amount
JOHN L. SMAHA                                                      13.00    550.00   $7,150.00
Gustavo Bravo                                                      23.60    400.00   $9,440.00

                                                                  J
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43   Doc 312      Pg.Page
                                                                                                       297 10
                                                          of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                      Hrs/Rate        Amount

07/01/21    GEB Receive email from Mr. Linett, look into response.                       0.10
                                                                                       400.00/hr        40.00

            GEB Review pending matters and indicate for follow up.                       0.10
                                                                                       400.00/hr        40.00

            GEB Research matters raised by Mr. Linett.                                   0.60
                                                                                       400.00/hr       240.00

            GEB Work on email to Mr. Linett.                                             0.20
                                                                                       400.00/hr        80.00·

            GEB Finalize email to Mr. Linett regarding positions.                        1.20
                                                                                       400.00/hr       480.00

            GEB Email to Mr. Duffy regarding agreement status.                           0.10
                                                                                       400.00/hr        40.00

07/02/21    JLS    Review of email Mr. Duffy regarding wording items.                    0.20
                                                                                       550.00/hr       110.00

07/06/21    JLS    Review of emails Mr. Duffy regarding language issues.                 0.10
                                                                                       550.00/hr        55.00

            GEB Review status of calendar and other mattert                              0.10
                                                                                       400.00/hr       40.00

            GEB Emails with Mr. Duffy regarding status.                                  0.20
                                                                                       400.00/hr       80.00

07/07/21    GEB Review appellate brief and language on trust.                            0.?0
                                                                                       400.00/hr      200.00

            GEB Email to Mr. Linett regarding appeal.                                    0.50
                                                                                       400.00/hr      200.00

            GEB Confer with Mr. Smaha regarding status.                                  0.10
                                                                                       400.00/hr       40.00

07/08/21    GEB Telephone call from Mr. Duffy regarding status.                          0.10
                                                                                       400.00/hr       40.00

            GEB Telephone conference with Mr. Duffy regarding response.                  0.10
                                                                                       400.00/hr       40.00

            GEB Follow up emails regarding status of plan.                               0.10
                                                                                       400.00/hr       40.00

07/09/21    GEB Email to Mr. Duffy regarding status.                                     0.10
                                                                                       400.00/hr       40.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43   Doc 312      Pg.Page
                                                                                                         298 11
                                                            of 364

                                                                                        Hrs/Rate        Amount

07 /09/21    GEB Email from Mr. Duffy regarding status.                                    0.10
                                                                                         400.00/hr        40.00

             GEB Telephone conference with Mr. Duffy regarding status.                     0.10
                                                                                         400.00/hr        40.00

07 /12/21    JLS   Telephone conference with Mr. Linett regarding issues on plan and       0.40
                   alternatives.                                                         550.00/hr       220.00

             JLS   Confer with Mr. Bravo regarding bank position.                          0.10
                                                                                         550.00/hr        55.00

             JLS   Review of Duffy response, come up with solutions.                       0.20
                                                                                         550.00/hr       110.00

             GEB Confer with Mr. Smaha regarding status update.                            0.10
                                                                                         400.00/hr        40.00

             GEB Review pending matters and confer with Mr. Smaha regarding same on        0.10
                 filings.                                                                400.00/hr       40.00

             GEB Email from Mr. Duffy regarding language and position.                     0.20
                                                                                         400.00/hr        80.00

             GEB Confer with Mr. Smaha and email to Mr. Gon-ill regarding status of        0.20
                 bank's position.                                                        400.00/hr        80.00

             GEB Confer with Mr. Smaha and arrange for follow up.                          0.20
                                                                                         400.00/hr        80.00

             GEB Email to Mr. Gon-ill regarding proposal.                                  0.20
                                                                                         400.00/hr        80.00

07/13/21     JLS   Review of materials from Mr. Linett regarding plan issues.              0.20
                                                                                         550.00/hr      110.00

             JLS   Email Mr. Linett regarding plan issue.                                  0.20
                                                                                         550.00/hr      110.00

             GEB Emails from Mr. Linett and Mr. Smaha regarding new plan.                  0.20
                                                                                         400.00/hr       80.00

             GEB Telephone call to Mr. Gorrill regarding status.                           0.10
                                                                                         400.00/hr       40.00

             GEB Telephone conference with Mr. Smaha regarding items to do.                0.20
                                                                                         400.00/hr       80.00

             GEB Telephone conference with Mr. Linett regarding status.                    0.20
                                                                                         400.00/hr       80.00

             GEB Telephone calls to Mr. Gon-ill and Mr. Smaha regarding status.            0.10
                                                                                         400.00/hr       40.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg.Page
                                                                                                            299 12
                                                           of 364

                                                                                           Hrs/Rate        Amount

07/14/21    JLS   Telephone conference with Mr. Bravo regarding bank negotiation.             0.20
                                                                                            550.00/hr       110.00

            JLS   Prepare reply to Mr. Linett regarding "new plan" request.                   0.30
                                                                                            550.00/hr       165.00

            JLS   Review of correspondence from Mr. Linett, respond.                          0.10
                                                                                            550.00/hr        55.00

            GEB Email from Mr. Gorrill regarding status.                                      0.10
                                                                                            400.00/hr        40.00

            GEB Telephone conference with Mr. Smaha regarding status of plan.                 0.20
                                                                                            400.00/hr        80.00

            GEB Email from Mr. Smaha regarding requested changes to plan.                     0.10
                                                                                            400.00/hr        40.00

            GEB Telephone conference with Mr. Duffy regarding status.                         0.20
                                                                                            400.00/hr        80.00

            GEB Emails regarding status of plan and requests to court.                        0.20
                                                                                            400.00/hr        80.00

            GEB Work on email to Mr. G01Till regarding status.                                0.30
                                                                                            400.00/hr       120.00

            GEB Draft status report.                                                          0.30
                                                                                            400.00/hr       120.00

07/15/21    GEB Confer with Mr. Smaha regarding status.                                       0.10
                                                                                            400.00/hr       40.00

            GEB Lengthy telephone conference with Mr. Linett regarding final arguments.       0.70
                                                                                            400.00/hr      280.00

            GEB Telephone conference with Mr. Duffy regarding status of agreement.            0.20
                                                                                            400.00/hr        80.00

            GEB Email to Mr. Smaha regarding tem1s.                                           0.10
                                                                                            400.00/hr       40.00

07/16/21    JLS   Email regarding bank position.                                              0.10
                                                                                            550.00/hr       55.00

            JLS   Email Mr. Bravo regarding counter proposal.                                 0.10
                                                                                            550.00/hr       55.00

            JLS   Telephone conference with Mr. Gorrill regarding revised plan concepts,      0.30
                  bank issues.                                                              550.00/hr      165.00

            GEB Emails with Mr. Smaha regarding offer by U.S. Bank, comments by Mr.           0.20
                Linett and fmal efforts on plan.                                            400.00/hr       80.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312       Pg.Page
                                                                                                              300 13
                                                           of 364

                                                                                            Hrs/Rate         Amount

07 /16/21    GEB Telephone call and email to Mr. Gorrill regarding status and position on      0.10
                 final drafts.                                                               400.00/hr         40.00

             GEB Emails with Mr. Gorrill regarding U.S. Bank and status.                       0.10
                                                                                             400.00/hr         40.00

             GEB Receive and review letter regarding offer, emails with Mr. Linett             0.40
                 regarding plan and operating report status, follow up with Mr. Smaha        400.00/hr        160.00
                 regarding negotiations.

             GEB Confer with Mr. Smaha and take part in call with Mr. Gorrill.                 0.20
                                                                                             400.00/hr         80.00

             GEB Confer with Mr. Smaha regarding pending agreements.                           0.10
                                                                                             400.0011n·        40.00

             GEB Emails with Mr. Linett and confer with Mr. Smaha regarding status.            0.10
                                                                                             400.00/hr         40.00

07/19/21     GEB Email to Mr. Duffy regarding status.                                          0.20
                                                                                             400.00/hr         80.00

07/20/21     JLS   Telephone conference with Mr. Linett regarding items on plan                0.20
                   negotiations.                                                             550.00/hr        110.00

             JLS   Email Mr. Gorrill regarding plan provisions.                                0.10
                                                                                             550.00/hr         55.00

             GEB Confer with Mr. Smaha regarding status and email from Mr. Duffy               0.20
                 regarding same.                                                             400.00/hr         80.00

             GEB Email from Mr. Linett regarding status.                                       0.10
                                                                                             400.00/hr        40.00

             GEB Emails from Mr. Gorrill and Mr. Smaha regarding denial of request for         0.20
                 discharge.                                                                  400.00/hr        80.00

             GEB Confer with Mr. Smaha regarding results of call.                              0.30
                                                                                             400.00/hr       120.00

07/21/21     JLS   Confer with Mr. Bravo regarding issues from Mr. Linett.                     0.20
                                                                                             550.0011n·      110.00

             JLS   Email response to Mr. Linett on plan issues.                                0.20
                                                                                             550.00/hr       110.00

             JLS   Emails Mr. Gorrill regarding bank language, Yale retention and plan.        0.20
                                                                                             550.00/hr       110.00

             GEB Email from Mr. Smaha, review legal issues and updates, consider legal         0.30
                 options.                                                                    400.00/hr       120.00

             GEB Confer with Mr. Smaha regarding options and other legal options.              0.20
                                                                                             400.00/hr        80.00
            Case 19-05831-LA11          Filed 01/11/22       Entered 01/11/22 09:20:43       Doc 312      Pg.Page
                                                                                                              301 14
                                                             of 364

                                                                                             Hrs/Rate        Amount

07/21/21     GEB Emails regarding status and work with Mr. Smaha regarding options.             0.20
                                                                                              400.00/hr        80.00

             GEB Work on changes to trust.                                                      0.80
                                                                                              400.00/hr       320.00

             GEB Finalize changes to plan trust and email to Mr. Gorrill regarding cash         0.60
                 collateral and use of funds to pay retainer.                                 400.00/hr       240.00

             GEB Email to Mr. Go1Till regarding status.                                         0.20
                                                                                              400.00/hr        80.00

             GEB Telephone conference with Mr. Smaha regarding status.                          0.10
                                                                                              400.00/hr        40.00

             GEB Email from Mr. Linett and confer with Mr. Smaha regarding same.                0.30
                                                                                              400.00/hr       120.00

07 /22/21    JLS   Paiiial response to plan clarification items.                                0.30
                                                                                              550.00/hr       165.00

             GEB Confer with Mr. Smaha regarding response to Mr. Linett.                        0.10
                                                                                              400.00/hr        40.00

             GEB Research issues on doable items and zealous advocacy, confer with Mr.          0.30
                 Smaha regarding same.                                                        400.00/hr       120.00

             GEB Review materials and email from Mr. Smaha regai·ding status of plan.           0.20
                                                                                              400.00/hr        80.00

             GEB Emails with Mr. Linett regai·ding latest draft.                                0.20
                                                                                              400.00/hr       80.00

             GEB Follow up emails ai1d status of same.                                          0.20
                                                                                              400.00/hr       80.00

             GEB Email responses to Mr. G01Till from his email regarding changes to trust,      0.80
                 email to Mr. Smaha regarding position and draft email response to Mr.        400.00/hr      320.00
                 Linett regarding various questions, further research on tax consequences.

             GEB Review new lai1guage and determine reductions in proceeds, research            0.80
                 reduction of homestead, find Supreme Court case on point.                    400.00/hr      320.00

             GEB Confer with Mr. Smaha regai·ding status and other items.                       0.30
                                                                                              400.00/hr      120.00

             GEB Email to Mr. Gorrill on vai·ious issues.                                       0.30
                                                                                              400.00/hr      120.00

             GEB Review response from Mr. Linett and work on response.                          0.50
                                                                                              400.00/hr      200.00

             GEB Receive and review status reports.                                             0.20
                                                                                              400.00/hr       80.00
             Case 19-05831-LA11        Filed 01/11/22          Entered 01/11/22 09:20:43       Doc 312       Pg.Page
                                                                                                                 302 15
                                                               of 364

                                                                                               Hrs/Rate         Amount

07/23/21      JLS   Prepare response to multiple questions from Mr. Linett regarding plan.         0.80
                                                                                                 550.00/hr       440.00

              JLS   Conference call Mr. Linett regarding trust.                                    0.50
                                                                                                 550.00/hr       275.00

              GEB Review email from Mr. Smaha for comments, review updated status                  0.30
                  reports and other details.                                                     400.00/hr       120.00

              GEB Emails regarding status.                                                         0.20
                                                                                                 400.00/hr        80.00

              GEB Final review of emails and prepare for phone call.                               0.30
                                                                                                 400.00/hr       120.00

07 /26/21     GEB Confer with Mr. Smaha regarding discussions on plan and other items.             0.20
                                                                                                 400.00/hr        80.00

              GEB Review various pending matters and update status of same.                       0.20
                                                                                                400.00/hr         80.00

              GEB Emails to Mr. GoITill and Mr. Linett regarding status.                          0.30
                                                                                                400.00/hr        120.00

              GEB Email from Mr. Linett regarding additional questions, prepare response.         0.30
                                                                                                400.00/hr        120.00

07 /27 /21    JLS   Emails Mr. Linett regarding plan issues.                                      0.10
                                                                                                550.00/hr         55.00

              JLS   Confer with Mr. Linett regarding plan and answers to questions on trust.      0.50
                                                                                                550.00/hr       275.00

              GEB Emails Mr. Linett, follow up on drafts filed, confer with Mr. Smaha and         0.20
                  email to Mr. Gon-ill regarding remaining items.                               400.00/hr         80.00

              GEB Various emails with Mr. Gorrill, Mr. Smaha and Mr. Linett regarding             0.60
                  ongoing issues.                                                               400.00/hr       240.00

              GEB Receive various emails regarding status.                                        0.30
                                                                                                400.00/hr        120.00

              GEB Confer with Mr. Smaha, review issues on litigation matters and wrap up.         0.20
                                                                                                400.00/hr         80.00

07/28/21      GEB Emails with Mr. Duffy regarding agreement.                                      0.10
                                                                                                400.00/hr        40.00

              GEB Email from Mr. Linett and response by Mr. Smaha regarding statement to          0.20
                  court ..                                                                      400.00/hr        80.00

              GEB Receive tentative, various telephone calls and emails with Mr. Linett, Mr.      0.40
                  Gorrill and Mr. Smaha regarding efforts to reorganize.                        400.00/hr       160.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                              303 16
                                                           of 364

                                                                                             Hrs/Rate        Amount

07/29/21    JLS   Review of tentative ruling on plan.                                           0.10
                                                                                              550.00/hr        55.00

            JLS   Confer wit Mr. Bravo, Mr. Linett regarding plan items.                        0.90
                                                                                              550.00/hr      495.00

            JLS   Review of instruction for Mr. Linett.                                         0.10
                                                                                              550.00/hr        55.00

            JLS   Follow up Mr. GoITill regarding issues on negotiation with response.          0.20
                                                                                              550.00/hr       110.00

            JLS   Telephone conference with Mr. Li.nett regarding Barbara Linett response.      0.20
                                                                                              550.00/hr       110.00

            JLS   Explain plan to Mr. Linett as alternative to conversion.                      0.50
                                                                                              550.00/hr      275.00

            JLS   Preparation for hearing on plan and employment.                               0.50
                                                                                              550.00/hr      275.00

            JLS   Attend hearing on plan.                                                       1.10
                                                                                              550.00/hr      605.00

            JLS   Telephone conference with Mr. GoITill regarding plan.                         0.20
                                                                                              550.00/hr       110.00

            JLS   Telephone conference with Mr. Linett regarding plan.                          0.20
                                                                                              550.00/hr       110.00

            GEB Telephone conference with Mr. Smaha regarding options remaining.                0.20
                                                                                              400.00/hr        80.00

            GEB Various telephone calls regarding plan status with Mr. Smaha, Mr. Linett        0.70
                and Mr. GoITill.                                                              400.00/hr      280.00

            GEB Various emails regarding status of plan provisions.                             0.20
                                                                                              400.00/hr       80.00

            GEB Review notes and telephone conference with Mr. Smaha regarding status           0.20
                of efforts to resolve.                                                        400.00/hr       80.00

            GEB Emails regarding status of plan.                                                0.20
                                                                                              400.00/hr       80.00

            GEB Emails and telephone call with Mr. Smaha regarding results ofhea.ring.          0.20
                                                                                              400.00/hr       80.00

07/30/21    JLS   Confer with Mr. Bravo regarding plan.                                         0.20
                                                                                              550.00/hr      110.00

            JLS   Email Mr. Linett regarding issues on plan.                                   . 0.10
                                                                                              550.00/hr       55.00
            Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43            Doc 312      Pg.Page
                                                                                                               304 17
                                                         of 364

                                                                                              Hrs/Rate         Amount

 07/30/21    GEB Confer with Mr. Smaha regarding status of hearing and other items.              0.30
                                                                                               400.00/hr        120.00

             GEB Receive and review various minute orders.                                       0.20
                                                                                               400.00/hr         80.00

            For professional services rendered                                                  33.30       $14,805.00

            Previous balance                                                                               $225,902.50


            Balance due                                                                                    $240,707.50


Please make checks payable to: Smaha Law Group


Thank you for yom business.




                                                 Attorney Summary
Name                                                                                  Hours       Rate -~A~m~ou=n~t
JOHN L. SMAHA                                                                          9.90     550.00       $5,445.00
Gustavo Bravo                                                                         23.40     400.00       $9,360.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43   Doc 312       Pg.Page
                                                                                                         305 13
                                                           of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                       Hrs/Rate           Amount

08/02/21    JLS    Emails Mr. Linett regarding trust language questions.                  0.10
                                                                                        550.00/lrr           55.00

            JLS    Review of trust comments from Mr. Bravo for possible finals.           0.30
                                                                                        550.00/hr          165.00

            GEB Review trust for final changes/comments and prepare redline and           2.50
                comments for Mr. Smaha review.                                          400.00/lrr       1,000.00

            GEB Email from Mr. Linett regarding status.                                   0.10
                                                                                        400.00/hr            40.00

            GEB EmaU_tQ Mr. Smaha with comments and other items.                          0.30,,, '·'· .· , .
                                                                                        400.00/hr             120.00

            GEB Email to Mr. Smaha regarding status.                                      0.10
                                                                                        400.00/hr            40.00

            GEB Confer with Mr. Smaha and follow up on items.                             0.20·
                                                                                        400.00/hr            80.00

08/03/21    JLS    Review of trust changes.                                               0.30
                                                                                        550.00/hr          165.00

            JLS    Confer with Mr. Bravo regarding trust changes.                         0.30
                                                                                        550.00/lrr         165.00

            GEB Confer with Mr. Smaha regarding trust.                                    0.10
                                                                                        400.00/hr           40.00

            GEB Confer with Mr. Smaha regarding trust language and final changes and      0.30
                comments.                                                               400.00/lrr         120.00

            GEB Confer with Mr. Smaha regarding status.                                   0.10
                                                                                        400.00/hr           40.00

            GEB Finalize changes to trust.                                                0.30
                                                                                        400.00/lrr         120.00

            GEB Email to Mr. Linett and Mr. Smaha regarding latest draft.                 0.10
                                                                                        400.00/hr           40.00

            GEB Confer with Mr. Smaha and emails regarding status.                        0.20
                                                                                        400.00/hr           80.00

            GEB Lengthy telephone conference with Mr. Linett regarding status.            0.30
                                                                                        400.00/hr          120.00

            GEB Emails with Mr. Smaha and Mr. Linett regarding status of trust.           0.10
                                                                                        400.00/hr           40.00
           Case 19-05831-LA11         Filed 01/11/22          Entered 01/11/22 09:20:43     Doc 312      Pg.Page
                                                                                                             306 14
                                                              of 364

                                                                                            Hrs/Rate        Amount

08/04/21    JLS   Follow up on plan items.                                                     0.10
                                                                                             550.00/hr        55.00

            JLS   Email Mr. Linett regarding items.                                            0.10
                                                                                             550.00/hr        55.00

            JLS   Telephone conference with Mr. Linett regarding plan and follow up items      1.20
                  requested by Mr. Linett.                                                   550.00/hr       660.00

            JLS   Further comments Mr. Linett regarding insurance.                             0.20
                                                                                             550.00/hr       110.00

            GEB Work on changes to plan, receive email regarding ongoing issues.               0.20
                                                                                             400.00/hr        80.00

            GEB Meeting with Mr. Linett regarding trust and options.                           1.20
                                             ., ,._: l '.i~                                  400.00/hr      480.00

            GEB Work on changes to trust and plan.                                             2.00
                                                                                             400.00/hr       800.00

            GEB Finalize trust and anange for various revisions, email to Mr. Linett, Mr.      0.20
                Gorrill and Mr. Duffy regarding status.                                      400.00/hr        80.00

            GEB Emails with Mr. G01Till regarding U.S. Bank status.                            0.10
                                                                                             400.00/hr       40.00

08/05/21    JLS   Confer with Mr. Bravo regarding plan revisions.                              0.40
                                                                                             550.00/hr      220.00

            JLS   Respond to comments and questions from Mr. Linett regarding trust.           0.50
                                                                                             550.00/hr      275.00

            GEB Work on changes to plan.                                                       1.70
                                                                                             400.00/hr      680.00

            GEB Finalize revisions to plan.                                                    0.70
                                                                                             400.00/hr      280.00

            GEB Finish review of plan, provide to Mr. Smaha and review email from Mr.          0.30
                Linett.                                                                      400.00/hr      120.00

            GEB Follow up email to Mr. Smaha.                                                  0.20
                                                                                             400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding additional emails and other items.             0.40
                                                                                             400.00/hr      160.00

            GEB Email to Mr. Gorrill regarding status of plan.                                 0.20
                                                                                             400.00/hr       80.00

            GEB Review of emails and updates on status.                                        0.20
                                                                                             400.00/hr       80.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43    Doc 312      Pg.Page
                                                                                                         307 15
                                                           of 364

                                                                                        Hrs/Rate        Amount

08/05/21    GEB Check on status of trust.                                                  0.10
                                                                                         400.00/hr        40.00

            GEB Telephone call to Mr. Gorrill regarding status.                            0.10
                                                                                         400.00/hr        40.00

            GEB Email from Mr. Linett regarding still more changes to trust.               0.20
                                                                                         400.00/hr        80.00

08/06/21    JLS   Answer questions on trust from Mr. Linett.                               0.50
                                                                                         550.00/hr       275.00

            GEB Emails with Mr. Gorrill regarding plan and disclosure statement.           0.20
                                                                                         400.00/hr        80.00

            GEB Begin working on discovery statement.                                      0.20
                                                                                         400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding changes to trust.                          0.20
                                                                                         400.00/hr        80.00

            GEB Begin revisions to disclosure statement.                                   1.10
                                                                                         400.00/hr      440.00

            GEB Telephone conference with US Bank regarding resolution process.            0.10
                                                                                         400.00/hr       40.00

            GEB Confer with Mr. Smaha and review email from Mr. Smaha regarding            0.20
                status.                                                                  400.00/hr       80.00

            GEB Work on disclosure statement.                                              2.30
                                                                                         400.00/hr      920.00

08/09/21    JLS   Review ofliquidation analysis, make suggested changes.                   0.40
                                                                                         550.00/hr      220.00

            JLS   Telephone conference with Mr. Bravo regarding plan changes.              0.20
                                                                                         550.00/hr      110.00

            JLS   Further revision of trust interations.                                   0.40
                                                                                         550.00/hr      220.00

            JLS   Review of comments from Mr. Linett.                                      0.20
                                                                                         550.00/hr      110.00

            JLS   Further trust changes and exclusions.                                    0.20
                                                                                         550.00/hr      110.00

            JLS   Confer with Mr. Bravo regarding exclusion language, discuss Gorrill      0.20
                  emails regarding same.                                                 550.00/hr      110.00

            GEB Work on changes to trust and send out emails regarding same.               0.60
                                                                                         400.00/hr      240.00
           Case 19-05831-LA11          Filed 01/11/22         Entered 01/11/22 09:20:43         Doc 312      Pg.Page
                                                                                                                  308 16
                                                              of 364

                                                                                                Hrs/Rate        Amount

08/09/21    GEB Additional emails with Mr. Linett and Mr. Smaha regarding language.                0.30
                                                                                                 400.00/hr       120.00

            GEB Emails to Mr. Gorrill and Mr. Duffy regarding language.                            0.20
                                                                                                 400.00/hr        80.00

            GEB Email from Mr. Linett regarding interest and other issues on secured               0.20
                claims.                                                                          400.00/hr        80.00

            GEB Lengthy email to Mr. Linett regarding interest and issues.                         0.60
                                                                                                 400.00/hr       240.00

            GEB Email from Mr. Smaha and telephone call regarding status of trust and              0.20
                other issues.                                                                    400.00/hr        80.00

            GEB Emails with Mr. Gon-ill regarding status.                                          0.10
                                                                                                 400.00/hr        40.00

            GEB Emails with Mr. Duffy regarding status.                                            0.10
                                                                                                 400.00/hr        40.00

            GEB Finalize changes to plan to combine with trust.                                    0.60
                                                                                                 400.00/hr       240.00

            GEB Emails regarding updates on trust and plan.                                        0.20
                                                                                                 400.00/hr        80.00

            GEB Emails with Mr. Linett regarding tax issues on sales.                              0.20
                                                                                                 400.00/hr        80.00

            GEB Telephone conferences with Mr. Duffy, Mr. Linett and Mr. Smaha                     0.30
                regarding agreement on structure.                                                400.00/hr       120.00

            GEB Continue efforts to finalize trust, various emails, telephone calls and other      1.20
                steps to modify trust and file.                                                  400.00/hr       480.00

            GEB Continue efforts to close agreement.                                               0.30
                                                                                                 400.00/hr       120.00

            GEB Finalize draft of trust, telephone calls and emails with Messrs. Duffy,            0.30
                Linett, Gorrill and Smaha, email with final draft.                               400.00/hr       120.00

            GEB Draft status report and arrange for filing.                                        0.30
                                                                                                 400.00/hr       120.00

            GEB Emails with Mr. Linett regarding follow up items.                                  0.20
                                                                                                 400.00/hr        80.00

            GEB Additional emails with Mr. Gorrill and Mr. Linett regarding agreement.             0.20
                                                                                                 400.00/hr        80.00

08/10/21    JLS   Review of notice filed by Mr. Gorrill.                                           0.10
                                                                                                 550.00/hr        55.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                               309 17
                                                          of 364

                                                                                              Hrs/Rate        Amount

08/10/21    JLS   Emails regarding abandonment language, order submittals.                       0.10
                                                                                               550.00/hr        55.00

            JLS   Email regarding fee claims.                                                    0.10
                                                                                               550.00/hr        55.00

            JLS   Telephone conference with Mr. Linett regarding final version of trust and      0.50
                  plan, banks attorneys fee claim.                                             550.00/hr       275.00

            GEB Various emails and status with Mr. Smaha, Mr. Gorrill and Mr. Linett.            0.50
                                                                                               400.00/hr       200.00

            GEB Lengthy telephone conference with Mr. Linett regarding agreement and             0.40
                status of trust.                                                               400.00/hr       160.00

            GEB Further emails regarding status.                                                 0.30
                                        t·'-'"'-.i                                             400.00/hr       120.00

            GEB Confer with Mr. Smaha regarding status and other items to do.                    0.20
                                                                                               400.00/hr        80.00

            GEB Finalize draft of liquidating trust agreement.                                   0.30
                                                                                               400.00/hr       120.00

            GEB Email from Mr. Linett regarding status.                                          0.10
                                                                                               400.00/hr        40.00

            GEB Work on final revisions to plan.                                                 0.30
                                                                                               400.00/hr       120.00

08/11/21    JLS   Emails regarding trust plan changes.                                           0.20
                                                                                               550.00/hr       110.00

            JLS   Review of record for Supreme Court decision, email Mr. Gorrill regarding       0.20
                  same.                                                                        550.00/hr       110.00

            GEB Emails regarding status and ongoing efforts to finalize documents.               0.20
                                                                                               400.00/hr       80.00

            GEB Emails with Mr. Gorrill and Mr. Smaha regarding trust, finalize same,            0.70
                work on revisions to plan.                                                     400.00/hr      280.00

            GEB Emails with Mr. Gorrill regarding denial by California Supreme Court,            0.30
                confer with Mr. Smaha, review docket and confirm.                              400.00/hr      120.00

            GEB Final revisions on trust.                                                        0.20
                                                                                               400.00/hr       80.00

            GEB Work on final review of plan.                                                    0.80
                                                                                               400.00/hr      320,00

            GEB Finalize plan revisions and email to Mr. Gorrill and Mr. Smaha.                  1.00
                                                                                               400.00/hr      400.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                             310 18
                                                           of 364

                                                                                            Hrs/Rate        Amount

08/11/21    GEB Email to Mr. Linett regarding trust.                                           0.10
                                                                                             400.00/hr        40.00

            GEB Telephone conference with Mr. Linett regarding results in Supreme Court        0.20
                and options.                                                                 400.00/hr        80.00

08/13/21    GEB Email to Mr. Gorrill regarding request for follow up.                          0.20
                                                                                             400.00/hr        80.00

            GEB Prepare updated status report.                                                 0.30
                                                                                             400.00/hr       120.00

            GEB Telephone conference with Mr. Gorrill regarding plan status.                   0.10
                                                                                             400.00/hr        40.00

            GEB Email from Mr. Linett regarding discussions and status.                        0.20
                                                                                             400.00/hr        80.00

08/16/21    GEB Check on status of various pending matters.                                    0.20
                                                                                             400.00/hr        80.00

            GEB Follow up on employment of Yale.                                               0.10
                                                                                             400.00/hr        40.00

            GEB Email to Mr. Gorrill regarding status of various pending items on plan         0.10
                and trust agreement.                                                         400.00/hr        40.00

            GEB Email and telephone call to Mr. Gorrill regarding plan status.                 0.10
                                                                                             400.00/hr        40.00

            GEB Review status of plan and trust, work on disclosure statement.                 0.10
                                                                                             400.00/hr       40.00

            GEB Review email from Mr. GoITill, begin final revisions, emails with Mr.          0.40
                Gorrill regarding disclosure statement.                                      400.00/hr       160.00

08/17/21    GEB Final review of trust, confirm final draft with all and prepare for final      0.70
                filing.                                                                      400.00/hr      280.00

            GEB Final review of plan, confirm final draft with all and prepare for final       0.60
                filing.                                                                      400.00/hr      240.00

            GEB Continue working on joint disclosure statement.                                0.20
                                                                                             400.00/hr       80.00

            GEB Work on joint disclosure statement.                                            1.30
                                                                                             400.00/hr      520.00

            GEB Telephone conference with Mr. Duffy regarding status.                          0.10
                                                                                             400.00/hr       40.00

            GEB Emails with Mr. Koch regarding language of trust.                              0.20
                                                                                             400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43       Doc 312      Pg.Page
                                                                                                          311 19
                                                         of 364

                                                                                         Hrs/Rate        Amount

08/17/21    GEB Work on joint disclosure statement.                                         1.80
                                                                                          400.00/hr       720.00

08/18/21    GEB Work on disclosure statement.                                               0.30
                                                                                          400.00/hr       120.00

            GEB Work on disclosure statement, work on tax and cash flow analysis.           0.70
                                                                                          400.00/hr       280.00

            GEB Review liquidation analysis and cash flow analysis.                         0.30
                                                                                          400.00/hr       120.00

            GEB On going efforts to finalize disclosure statement.                          0.30
                                                                                          400.00/hr       120.00

            GEB Continue working on disclosure statement changes.                           0.40
                                                                                          400.00/hr       160.00

            GEB Emails with Mr. Gon-ill regarding.status.                                   0.10
                                                                                          400.00/hr       40.00

            GEB Telephone conference with Mr. Go1Till regarding status and attempt to       0.30
                finalize disclosure statement draft.                                      400.00/hr      120.00

            GEB Revise cash flow analysis and liquidation analysis.                         0.60
                                                                                          400.00/hr      240.00

            GEB Revise disclosme statement with liquidation analysis discussion and         0.40
                finalize all documents.                                                   400.00/hr      160.00

            GEB Email to Mr. Linett regarding plan and trust.                               0.10
                                                                                          400.00/hr       40.00

            GEB Email to Mr. Gon-ill and Mr. Smaha regarding disclosure statement.          0.10
                                                                                          400.00/hr       40.00

08/19/21    GEB Email from Mr. Linett regarding further concerns on trust and plan.         0.20
                                                                                          400.00/hr       80.00

            GEB Spend lengthy amount of time responding to a long list of questions,        1.60
                rehashed comments, re-asked issues and other various demands by debtor    400.00/hr      640.00
                to rust, plan, litigation options and other matters.

            GEB Confer with Mr. Smaha regarding plan status.                                0.20
                                                                                          400.00/hr       80.00

            GEB Email from Mr. Linett regarding further issues.                             0.20
                                                                                          400.00/hr       80.00

            GEB Work on changes to disclosure statement.                                    0.30
                                                                                          400.00/hr      120.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                              312 20
                                                          of 364

                                                                                            Hrs/Rate                          Amount

08/19/21    GEB Finalize all materials for disclosure statement, emails with Mr. Gorrill        1.10
                regarding status and final changes, email to Mr. Linett regarding status      400.00/hr                       440.00
                and final matters.

            GEB Review emails regarding final comments from Mr. Gon-ill, prepare                0.30
                response.                                                                     400.00/hr                       120.00

08/20/21    JLS   Review of final plan and disclosure statement for filing.                     0.80
                                                                                              550.00/hr                       440.00

            JLS   Emails questions from client.                                                 0.70
                                                                                              550.00/hr                       385.00

            GEB Emails from Mr. Linett and to Mr. Smaha regarding status of plan and           0.30
                disclosure statement and other matters.                                      400.00/hr                        120.00

            GEB Confer with Mr. Smaha and prepare final documents for filing.                  0.20       ,_.. ; :r;., ~ i.   '~: :. !.·.


                                                                                             400.00/hr                            80.00

            GEB Emails with Mr. Gon-ill regarding filing. confer with staff regarding          0.40
                filing, finalize drafts.                                                     400.00/hr                        160.00

            GEB Telephone conference with and email from Mr. Linett regarding status.          0.10
                                                                                             400.00/lrr                          40.00

            GEB Emails with Mr. Koch regarding language of abandonment.                        0.10
                                                                                             400.00/hr                           40.00

            GEB Email from Mr. Linett regarding more questions regarding effect of trust.      0.20
                                                                                             400.00/hr                           80.00

            GEB Additional emails with Mr. Linett regarding questions, emails from Mr.         1.00
                Smaha regarding same.                                                        400.00/hr                        400.00

08/23/21    JLS   Review of comments from Mr. Linett and responses.                            0.20
                                                                                             550.00/hr                        110.00

            JLS   Confer with Mr. Bravo regarding plan process issues.                         0.20
                                                                                             550.00/hr                        110.00

            JLS   Conference call to Mr. Linett regarding plan and trust questions.            0.70
                                                                                             550.00/hr                        385.00

            GEB Review new email from Mr. Linett, prepare response and follow up with          0.40
                Mr. Smaha.                                                                   400.00/hr                        160.00

            GEB Emails with Mr. Linett regarding ongoing issues.                               0.20
                                                                                             400.00/hr                          80.00

            GEB Confer with Mr. Smaha regarding status and receive emails regarding            0.10
                status.                                                                      400.00/hr                          40.00

            GEB Meeting with Mr. Linett and Mr. Smaha regarding plan finalization.             0.80
                                                                                             400.00/hr                        320.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43             Doc 312       Pg.Page
                                                                                                                 313 21
                                                         of 364

                                                                                               Hrs/Rate         Amount

08/23/21    GEB Receive various tentative rulings.                                                 0.20
                                                                                                 400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding tentatives and telephone conference                0.20
                with Mr. Linett regarding same.                                                  400.00/hr        80.00

            GEB Review email from Mr. Linett regarding changes requested.                          0.20
                                                                                                 400.00/hr        80.00

08/24/21    GEB Email from Mr. Linett regarding status of plan concerns.                           0.10
                                                                                                 400.00/hr        40.00

            GEB Email from Mr. Smaha regarding status of plan, disclosure statement and            0.10
                trust.                                                                           400.00/hr        40.00

08/25/21    JLS   Lengthy call Mr. Linett regarding plan interpretation and explanation, and       1.50
                  how implementation will take place. ··c·                                       550.00/hr       825.00   :."'i




            GEB Confer with Mr. Smaha regarding ongoing efforts to finalize questions by           0.20
                Mr. Linett.                                                                      400.00/hr        80.00

            GEB Confer with Mr. Smaha and email to Mr. Gorrill regarding meeting with              0.10
                Hebrank.                                                                         400.00/hr        40.00

08/26/21    JLS   Attend hearing on plan and attorney retention.                                   0.70
                                                                                                 550.00/hr       385.00

            GEB Review tentative rulings, review new tentative on calendar site, review           0.30
                materials and confer with Mr. Smaha.                                            400.00/hr        120.00

            GEB Confirm status of various hearings, emails to Mr. Smaha and Mr. Linett            0.30
                and follow up on same.                                                          400.00/hr        120.00

            GEB Telephone call to court regarding hearing.                                        0.10
                                                                                                400.00/hr         40.00

            GEB Prepare for hearing.                                                              0.20
                                                                                                400.00/hr         80.00

            GEB Prepare notice of hearing.                                                        0.30
                                                                                                400.00/hr        120.00

08/27/21    GEB Confer with staff regarding notice.                                               0.10
                                                                                                400.00/hr         40.00

08/30/21    JLS   Review of tentative ruling.                                                     0.10
                                                                                                550.00/hr         55.00

            GEB Receive email regarding suggestion for surrender and response, U.S.               0.20
                Bank request.                                                                   400.00/hr         80.00

            GEB Telephone conference with Mr. Duffy regarding status.                             0.10
                                                                                                400.00/hr        40.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43                 Doc 312      Pg.Page
                                                                                                                    314 22
                                                         of 364

                                                                                                   Hrs/Rate         Amount

08/30/21    GEB Review minute order from court regarding new deadlines.                               0.10
                                                                                                    400.00/hr         40.00

            GEB Email to Mr. Linett in response to various questions.                                 0.30
                                                                                                    400.00/hr        120.00

08/31/21    GEB Emails with U.S. Trustee regarding hearing, notice and other items.                   0.20
                                                                                                    400.00/hr         80.00

            GEB Emails regarding status of U.S. Bank agreement.                                       0.20
                                                                                                    400.00/hr         80.00

           For professional services rendered                                                         61.70      $26,435.00

           Previous balance                                                                                     $240,707.50
                                                                         :,:;.::·o.,, '·


           Balance due                                                                                          $267,142.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                       Hours       Rate         Amount
JOHN L. SMAHA                                                                              11.70     550.00       $6,435.00
Gustavo Bravo                                                                              50.00     400.00      $20,000.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312       Pg. 315
                                                           of 364                                        Page 13


    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                         Hrs/Rate        Amount

09/01/21    JLS    Confer with Mr. Bravo regarding issues on disclosure statement.          0.10
                                                                                          550.00/hr        55.00

            GEB Emails with Ms. Hong regarding plan provisions for discharge.               0.30
                                                                                          400.00/hr       120.00

            GEB Emails and telephone calls with U.S. Bank regarding agreement.              0.20
                                                                                          400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding position on discharge.                      0.10
                                                                                          400.00/hr        40.00

            GEB Telephone conference with Ms. Hong regarding discharge issues.              0.30            ·"   .        ...
                                                                                                                     ,,,.~, ·,·   ·\~



                                                                                          400.00/lu·      120.00

            GEB Receive and review stipulation from Mr. Duffy, review same and forward      0.20
                to Mr. Linett for approval.                                               400.00/hr        80.00

            GEB Lengthy telephone conference with Mr. Linett again regarding issues on      0.60
                plan, stipulation and other items.                                        400.00/hr       240.00

            GEB Emails regarding pending stipulation.                                       0.20
                                                                                          400.00/hr        80.00

09/02/21    JLS    Email Mr. Linett regarding bank fee claims.                              0.20
                                                                                          550.00/hr       110.00

            JLS    Prepare response to Mr. Linett on bank fee claims.                       0.20
                                                                                          550.00/hr       110.00

            JLS    Review of objection to plan.                                             0.20
                                                                                          550.00/hr       110.00

            GEB Various emails and responses with Mr. Linett and Mr. Smaha regarding        0.30
                stipulation.                                                              400.00/lu·      120.00

            GEB Email follow up to Mr. Linett regarding stipulation.                        0.20
                                                                                          400.00/hr        80.00

            GEB Telephone conference with Mr. Duffy, confer with Mr. Smaha, prepare         0.70
                additional responses to Mr. Linett and ask for final response.            400.00/hr       280.00

            GEB Email to Mr. Linett regarding final response request.                       0.10
                                                                                          400.00/hr        40.00

            GEB Receive and review objection from Ms. Garwood.                              0.20
                                                                                          400.00/hr        80.00

            GEB Telephone conference with Mr. Linett and email to Mr. Duffy regarding       0.10
                agreement.                                                                400.00/lu·       40.00
            Case 19-05831-LA11         Filed 01/11/22         Entered 01/11/22 09:20:43   Doc 312      Pg. 316
                                                                                                         Page 14
                                                              of 364

                                                                                          Hrs/Rate        Amount

09/02/21     GEB Email from Mr. Linett regarding U.S. Bank issues.                           0.10
                                                                                           400.00/hr       40.00

             GEB Research issues on plan discharge and methods.                              0.60
                                                                                           400.00/hr      240.00

             GEB Review status of objection received and confer with Mr. Smaha.              0.10
                                                                                           400.00/hr       40.00

09/03/21     GEB Complete review of cases and confer with Mr. Smaha.                         0.20
                                                                                           400.00/hr       80.00

             GEB Work on email to Ms. Hong.                                                  0.30
                                                                                           400.00/hr      120.00

             GEB Confer with Mr. Smaha regarding status.                                     0.10
                                                                                           400.00/hr       40.00

             GEB Draft email to Ms. Hong regarding language.                                 0.50
                                                                                           400.00/hr      200.00

             GEB Confer with Mr. Smaha regarding contacting Mr. Hebrank.                     0.10
                                                                                           400.00/hr       40.00

             GEB Telephone call to Mr. Hebrank regarding status.                             0.10
                                                                                           400.00/hr       40.00

             GEB Telephone conference with Mr. Hebrank regarding plan and trust.             0.20
                                                                                           400.00/hr       80.00

             GEB Email to Mr. Hebrank regarding documents.                                   0.10
                                                                                           400.00/hr       40.00

             GEB Email from Mr. Linett regarding status of plan and tax treatment.           0.10
                                                                                           400.00/hr       40.00

09/07 /21    JLS   Answer tax questions for Mr. Linett.                                      0.20
                                                                                           550.00/hr      110.00

             JLS   Review of disclosure statement analysis.                                  0.20
                                                                                           550.00/hr      110.00

             GEB Review and follow up on orders., emails and telephone calls with Mr.        0.40
                 Linett regarding same.                                                    400.00/hr      160.00

             GEB Review objection to disclosure statement and follow up.                     0.30
                                                                                           400.00/hr      120.00

             GEB Finalize language on disclosure statement and send email to Mr. Smaha       0.50
                 and Mr. Gorrill regarding disclosure statement status and hearing.        400.00/hr      200.00

             GEB Email from Mr. Smaha regarding Mr. Linett regarding tax issues.             0.10
                                                                                           400.00/hr       40.00
            Case 19-05831-LA11        Filed 01/11/22        Entered 01/11/22 09:20:43        Doc 312       Pg. 317
                                                                                                             Page 15
                                                            of 364

                                                                                             Hrs/Rate         Amount

09/07 /21    GEB Work on various issues with plan.                                               0.20
                                                                                               400.00/hr        80.00

             GEB Emails with Mr. Hebrank regarding visit and other items.                        0.10
                                                                                               400.00/hr        40.00

09/08/21     JLS   Review of information request from Mr. Linett.                                0.10
                                                                                               550.00/hr        55.00

             JLS   Confer with Mr. Bravo regarding issues on responses to questions from         0.10
                   Mr. Linett.                                                                 550.00/hr        55.00

             GEB Review materials for hearing and follow up with Mr. Smaha regarding             0.10
                 same.                                                                         400.00/hr        40.00

             GEB Follow up emails and status.                                                    0.20
                                                                                               400.00/hr        80.00

             GEB Emails with Mr. Duffy regarding follow up to agreement.                        0.10
                                                                                              400.00/hr         40.00

             GEB Email from Mr. Linett regarding additional questions.                          0.20
                                                                                              400.00/hr         80.00

             GEB Work on revisions to disclosme statement.                                      0.30
                                                                                              400.00/hr        120.00

             GEB Finalize changes to disclosure statement, emails with Mr. GoITill and          0.50
                 others regarding changes and final status.                                   400.00/hr       200.00

             GEB Various emails regarding status of disclosure statement.                       0.30
                                                                                              400.00/hr        120.00

             GEB Follow up emails on draft of disclosure statement with changes.                0.20
                                                                                              400.00/hr        80.00

             GEB Review email from Mr. Linett in detail, confer with Mr. Smaha regarding        0.30
                 response.                                                                    400.00/hr       120.00

             GEB Emails with Mr. Gorrill and others regarding status of plan.                   0.20
                                                                                              400.00/hr        80.00

             GEB Draft response to Mr. Linett regarding ongoing questions, confer with Mr.      0.60
                 Smaha and revise same.                                                       400.00/hr       240.00

09/09/21     JLS   Review of responses on plan questions.                                       0.10
                                                                                              550.00/hr        55.00

             GEB Telephone conference with Ms. Hong regarding notice of separate motion         0.20
                 for discharge.                                                               400.00/hr        80.00

             GEB Confer with Mr. Smaha and email to Ms. Hong regarding noticed motion.          0.20
                                                                                              400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43    Doc 312      Pg.Page
                                                                                                         318 16
                                                           of 364

                                                                                        Hrs/Rate        Amount

09/09/21    GEB Emails with Mr. Koch regarding changes to disclosure statement.            0.20
                                                                                         400.00/hr        80.00

            GEB Attend hearing on disclosure statement, oral argument and confer with      1.10
                Mr. Smaha after end.                                                     400.00/hr      440.00

            GEB Telephone call with court regarding status.                                0.10
                                                                                         400.00/hr        40.00

09/10/21    JLS   Emails regarding contemplated amendment to the plan and disclosure       0.10
                  statement.                                                             550.00/hr        55.00

            JLS   Email Mr. Gorrill regarding disclosure changes.                          0.10
                                                                                         550.00/hr        55.00

            GEB Email from Mr. Gorrill regarding decision on charge-off.                   0.20
                                                                                         400.00/hr       80.00

            GEB Follow up emails regarding stipulation, status and other items.            0.20
                                                                                         400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding solution.                                  0.10
                                                                                         400.00/hr       40.00

            GEB Emails with Mr. Gorrill regarding agreement.                               0.20
                                                                                         400.00/hr       80.00

09/13/21    JLS   Emails Mr. Linett regarding plan/trust issues.                           0.10
                                                                                         550.00/hr       55.00

            JLS   Follow up Mr. Linett regarding items for discussion on plan.             0.10
                                                                                         550.00/hr       55.00

            JLS   Confer with Mr. Bravo regarding plan changes.                            0.10
                                                                                         550.00/hr       55.00

            JLS   Conference call Mr. Linett regarding plan questions.                     0.80
                                                                                         550.00/hr      440.00

            GEB Emails regarding status of plan and other items with Mr. Linett, Mr.       0.20
                Smaha and Ms. Chiang.                                                    400.00/hr       80.00

            GEB Review matters for final disclosure statement draft and update same.       0.20
                                                                                         400.00/hr       80.00

            GEB Emails with Mr. Linett regarding plan and status.                          0.20
                                                                                         400.00/hr       80.00

            GEB Draft revisions to plan, disclosure statement and trust.                   0.50
                                                                                         400.00/hr      200.00

            GEB Confer with Mr. Smaha regarding plan language on homestead.                0.20
                                                                                         400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                              319 17
                                                          of 364

                                                                                             Hrs/Rate        Amount

09/13/21    GEB Finalize changes to trust, disclosure statement and plan.                       0.20
                                                                                              400.00/hr        80.00

            GEB Lengthy conference with Mr. Smaha and Mr. Linett regarding ongoing              0.50
                issues.                                                                       400.00/hr       200.00

            GEB Emails with Mr. Gorrill regarding remaining issue on homestead and              0.40
                status.                                                                       400.00/hr       160.00

            GEB Work on order for disclosure statement.                                         0.20
                                                                                              400.00/hr        80.00

            GEB Further emails with Mr. Gorrill and confer with Mr. Smaha.                      0.20
                                                                                              400.00/hr        80.00

            GEB Follow up email on homestead.                                                   0.20
                                                                                              400.00/hr        80.00

            GEB Work on order for disclosure statement.                                         0.30
                                                                                              400.00/hr       120.00

            GEB Confer with Mr. Smaha regarding homestead issue.                                0.10
                                                                                              400.00/hr       40.00

09/14/21    JLS   Review of plan issues, research regarding same on joint tenancy lien.         0.30
                                                                                              550.00/hr      165.00

            JLS   Review of sale calculations for plan, homestead.                              0.10
                                                                                              550.00/hr       55.00

            GEB Email from Mr. Smaha regarding status.                                          0.10
                                                                                              400.00/hr       40.00

            GEB Lengthy email to Mr. Gorrill regarding process, finalize order and look at      0.50
                other documents to prepare.                                                   400.00/hr      200.00

            GEB Work on documents needed for plan.                                              0.20
                                                                                              400.00/hr       80.00

            GEB Email to Mr. Gorrill regarding status.                                          0.20
                                                                                              400.00/hr       80.00

            GEB Work on notice of plan.                                                         0.30
                                                                                              400.00/hr      120.00

            GEB Draft ballot for plan.                                                          0.20
                                                                                              400.00/hr       80.00

            GEB Finalize documents.                                                             0.10
                                                                                              400.00/hr       40.00

            GEB Research issues on homestead and FLARPL liens, confer with Mr.                  2.20
                Smaha, review language of various documents, pull deed and prepare            400.00/hr      880.00
                lengthy response to Mr. Gorrill regarding status of trust language.
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                             320 18
                                                         of 364

                                                                                            Hrs/Rate        Amount

09/14/21    GEB Email to Mr. Smaha regarding status.                                           0.10
                                                                                             400.00/hr        40.00

09/15/21    JLS   Revise plan language regarding homestead and payment.                        0.20
                                                                                             550.00/hr       110.00

            GEB Emails with Mr. Smaha regarding homestead language and prepare new             0.50
                proposed language, request feedback from Mr. Smaha.                          400.00/hr       200.00

            GEB Email to Mr. Gorrill regarding status.                                         0.20
                                                                                             400.00/hr        80.00

            GEB Various conferences with Mr. Smaha and review emails regarding status.         0.20
                                                                                             400.00/hr        80.00

            GEB Finalize versions of all documents, awaiting word from Mr. Gorrill             0.20
                regarding status and structure.                                              400.00/hr        80.00

            GEB Telephone call to Mr. Gorrill regarding status.                                0.10
                                                                                             400.00/hr        40.00

            GEB Email to Mr. Gorrill regarding disclosure statement, trust and plan            0.10
                language.                                                                    400.00/hr        40.00

            GEB Email from Mr. Linett regarding redundant and previously asked                 0.10
                questions on plan.                                                           400.00/hr        40.00

            GEB Follow up email to Mr. Gorrill and telephone call.                             0.10
                                                                                             400.00/hr        40.00

            GEB Confer with staff regarding filings coming.                                    0.10
                                                                                             400.00/hr       40.00

            GEB Emails with Mr. Gorrill regarding status of order and disclosme statement      0.20
                and other documents.                                                         400.00/hr       80.00

            GEB Review email from Mr. Gorrill, review language, review MSA and                 0.30
                research issue.                                                              400.00/hr       120.00

            GEB Draft motion to grant discharge and notice of same.                            1.10
                                                                                             400.00/hr      440.00

09/16/21    JLS   Review of emails from Mr. Linett regarding plan issues.                      0.20
                                                                                             550.00/hr      110.00

            JLS   Review of email from Mr. Gorrill.                                            0.10
                                                                                             550.00/hr       55.00

            JLS   Review of law on Family Law liens, and proof of claim of Beatrice            0.30
                  Snider, list possible objections.                                          550.00/hr      165.00

            JLS   Answer further questions from Mr. Linett regarding operation under the       0.30
                  plan.                                                                      550.00/hr      165.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312       Pg.Page
                                                                                                               321 19
                                                           of 364

                                                                                             Hrs/Rate           Amount

09/16/21    JLS   Answer additional questions from Mr. Linett.                                   0.30
                                                                                               550.00/hr        165.00

            JLS   Review of additional questions from Mr. Linett regarding plan.                 0.20
                                                                                               550.00/hr        110.00

            GEB Meet with Mr. Smaha, review emails with Mr. Linett and Mr. Gorrill.             0.30
                                                                                              400.00/hr         120.00

            GEB Prepare final versions of trust, plan and disclosure statement and prepare      1.40
                redlines of each.        ·                                                    400.00/hr         560.00

            GEB Revise order on disclosure statement, email to Mr. Koch regarding order         1.50
                and disclosure redline and confer with Mr. Smaha regarding final              400.00/hr         600.00
                submissions.

            GEB Arrange for various filings and update ballot.                                   0.2D,;,'°- .
                                                                                              400.00/hr          80.00

            GEB Email to Mr. Koch regarding status of order.                                    0.10
                                                                                              400.00/hr          40.00

            GEB Confirm filings and follow up on same, status of order follow up.               0.20
                                                                                              400.00/hr          80.00

            GEB Telephone call to Mr. Koch regarding order, leave message.                      0.10
                                                                                              400.00/hr          40.00

09/17/21    GEB Confer with staff regarding issues on filings.                                  0.20
                                                                                              400.00/hr          80.00

            GEB Review of email from Mr. Smaha regarding status.                                0.10
                                                                                              400.00/hr          40.00

            GEB Emails to Mr. Koch regarding status of order.                                   0.20
                                                                                              400.00/hr          80.00

            GEB Emails with Mr. Gorrill and Mr. Koch, get documents signed off and deal         0.30
                with final issues.                                                            400.00/hr         120.00

            GEB Review documents and filings, confer with Mr. Smaha and finalize all            0.20
                disclosure statement items.                                                   400.00/hr          80.00

            GEB Telephone call with court regarding order.                                      0.10
                                                                                              400.00/hr          40.00

            GEB Emails with Mr. Linett regarding status.                                        0.10
                                                                                              400.00/hr          40.00

            GEB Telephone call to court regarding order and submit all filings.                 0.10
                                                                                              400.00/hr          40.00

            GEB Confer with staff and ensure that mail-out has occurred.                        0.10
                                                                                              400.00/hr          40.00
           Case 19-05831-LA11         Filed 01/11/22                        Entered 01/11/22 09:20:43   Doc 312      Pg. 322
                                                                                                                       Page 20
                                                                            of 364

                                                  ···-                                                  Hrs/Rate        Amount

09/19/21    JLS   Answer questions from debtor in particular.                                              0.40
                                                                                                         550.00/hr      220.00

            JLS   Confer with Mr. Bravo regarding disclosure statement mailings.                           0.10
                                                                                                         550.00/hr       55.00

09/20/21    JLS   Review of order on disclosure statement.                                                 0.10
                                                                                                         550.00/hr       55.00

            GEB Receive and review order and confer with staff regarding mailings and                      0.10
                status.                                                                                  400.00/hr       40.00

            GEB Review order and ensure proper identification of dates and service issues,                 0.10
                confer with staff regarding san1e.                                                       400.00/hr       40.00

09/22/21    JLS   Answer questions posed by Mr. Linett.                                                    0.30
                                          -: ~   . ...,.: ... ; ·: ... ~.                                550.00/hr      165.00

09/23/21    GEB Emails with Mr. Linett regarding plan and confer with Mr. Smaha.                           0.20
                                                                                                         400.00/hr       80.00

09/24/21    GEB Telephone call from and emails with Mr. Gorrill regarding status and                       0.30
                service issues.                                                                          400.00/hr      120.00

09/27/21    GEB Confirm mailings, review status and update dates for various hearings.                     0.10
                                                                                                         400.00/hr       40.00

            GEB Emails with Mr. Linett regarding status.                                                   0.10
                                                                                                         400.00/hr       40.00

09/28/21    JLS   Conference with Mr. Bravo regarding affect of litigation.                                0.20
                                                                                                         550.00/hr      110.00

            JLS   Telephone conference with Mr. Gorrill regarding plan and issues                          0.20
                  presented from house legislation.                                                      550.00/hr      110.00

            GEB Confer with Mr. Smaha regarding status of plan and other items.                            0.20
                                                                                                         400.00/hr       80.00

            GEB Emails with Mr. Hebrank regarding status.                                                  0.20
                                                                                                         400.00/hr       80.00

            GEB Follow up conversation with Mr. Smaha regarding trust and law changes.                     0.20
                                                                                                         400.00/hr       80.00

09/29/21    GEB Research on status of order.                                                               0.20
                                                                                                         400.00/hr       80.00

            GEB Review pending matters and follow up with status of plan.                                  0.10
                                                                                                         400.00/hr       40.00

09/30/21    JLS   Review of balloting, confer with Mr. Bravo regarding same.                               0.10
                                                                                                         550.00/hr       55.00
           Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43          Doc 312       Pg.Page
                                                                                                             323 21
                                                        of 364

                                                                                           Hrs/Rate           Amount

09/30/21    GEB Confer with Mr. Smaha regarding status.                                        0.10
                                                                                             400.00/hr           40.00

            GEB Receive ballots, confer with Mr. Smaha and move forward.                       0.20
                                                                                             400.00/hr           80.00

            GEB Lengthy telephone conference with Mr. Linett regarding status of various       1.10
                matters.                                                                     400.00/hr         440.00

            GEB Emails with Mr. Smaha regarding status.                                        0.20
                                                                                             400.00/hr           80.00

           For professional services rendered                                                 38.30       $16,235.00

           Previous balance                                                                              $267,142.50


           Balance due                                                                                   $283,377.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                               Hours       Rate _ __,A--"m~ou=n-=-=t
JOHN L. SMAHA                                                                       6.10     550.00       $3,355.00
Gustavo Bravo                                                                      32.20     400.00      $12,880.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg. 324
                                                                                                             Page 13
                                                           of 364
    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                              Hrs/Rate       Amount

10/01/21   GEB Review status and confer with Mr. Smaha regarding status.                         0.10
                                                                                               400.00/hr       40.00

           GEB Confer with Mr. Smaha regarding status and options.                               0.10
                                                                                               400.00/hr       40.00

            JLS    Telephone conference with Mr. Linett regarding plan issues.                   0.20
                                                                                               550.00/hr      110.00

10/04/21   GEB Telephone conference with Mr. Linett regarding status.                            0.20
                                                                                               400.00/hr       80.00

            GEB Email to Mr. Linett regarding requested documents.                               0.10
                                                                                               400.00/hr       40.00

10/05/21    JLS     Emails Mr. Linett regarding plan questions and discharge questions with      0.30
                  . replies.                                                                   550.00/hr      165.00

            GEB Emails and confer with Mr. Smaha regarding various issues.                       0.20
                                                                                               400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding options on reformation.                          0.10
                                                                                               400.00/hr       40.00

            GEB Follow up with Mr. Smaha regarding various pending matters, update               0.20
                filings and follow up with Mr. Linett.                                         400.00/hr       80.00

            GEB Lengthy telephone conference with Mr. Linett regarding plans and other           0.50
                pending maters.                                                                400.00/hr      200.00

10/07/21    JLS    Review of emails with plan questions and responses with Mr. Linett.           0.40
                                                                                               550.00/hr      220.00

            GEB Emails from Mr. Linett, from Mr. Smaha and response regarding same.              0.30
                                                                                               400.00/hr      120.00

            GEB Confer with Mr. Smaha regarding status of plan and dates.                        0.10
                                                                                               400.00/hr       40.00

            GEB Email from Mr. Smaha regarding status of plan.                                   0.10
                                                                                               400.00/hr       40.00

10/08/21    GEB Telephone conference with Mr. Duffy regarding agreement on plan.                 0.10
                                                                                               400.00/hr       40.00

            GEB Check on status of orders and other items, confer with Mr. Duffy                 0.20
                regarding changes.                                                             400.00/hr       80.00

            GEB Email to Mr. Smaha regarding trust indications.                                  0.10
                                                                                               400.00/hr      40.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg.Page
                                                                                                            325 14
                                                          of 364

                                                                                           Hrs/Rate        Amount

10/11/21    GEB Review language of trust.                                                     0.30
                                                                                            400.00/hr       120.00

            GEB Review language of plan.                                                      0.10
                                                                                            400.00/hr        40.00

            GEB Begin drafting agreement with U.S. Bank on cash collateral and trust.         0.10
                                                                                            400.00/hr        40.00

            GEB Review language of agreement and continue working on same.                    0.10
                                                                                            400.00/hr        40.00

            GEB Work on agreement.                                                            0.30
                                                                                            400.00/hr       120.00

10/12/21    GEB Confer with Mr. Smaha regarding status of plan and potential objections.      0.20
                                                                                            400.00/hr        80.00

            GEB Review file regarding pending materials.                                      0.10
                                                                                            400.00/hr       40.00

            GEB Work on agreement.                                                            0.30
                                                                                            400.00/hr       120.00

            GEB Finalize draft of agreement with U.S. Bank and draft email to Mr. Smaha       1.00
                with various issue.                                                         400.00/hr      400.00

10/13/21 . JLS    Telephone conference with Mr. Gorrill regarding plan and ways and           0.20
                  means bill, affect on plan.                                               550.00/hr      110.00

            GEB Emails with Mr. Gorrill regarding status of various pending matters.          0.10
                                                                                            400.00/hr       40.00

            GEB Emails with Mr. Gorrill regarding plan status.                                0.10
                                                                                            400.00/hr       40.00

            GEB Receive new ballot.                                                           0.10
                                                                                            400.00/hr       40.00

            GEB Emails with Mr. Duffy regarding status.                                       0.10
                                                                                            400.00/hr       40.00

            GEB Telephone conference with Mr. Duffy regarding language on stipulation.        0.20
                                                                                            400.00/hr       80.00

            GEB Revise agreement with U.S. Bank.                                              0.20
                                                                                            400.00/hr       80.00

10/14/21    GEB Telephone conference with Mr. Linett regarding status of plan and other       0.20
                issues.                                                                     400.00/hr       80.00

            GEB Telephone conference with Mr. Duffy regarding plan.approval.                  0.20
                                                                                            400.00/hr       80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43       Doc 312      Pg.Page
                                                                                                            326 15
                                                          of 364

                                                                                          Hrs/Rate        Amount

10/14/21    GEB Telephone conference with Mr. Duffy regarding plan approval and              0.20
                clarifications, also tax payment.                                          400.00/hr        80.00

10/15/21    GEB Telephone call and emails with Mr. Duffy regarding status.                   0.20
                                                                                           400.00/hr        80.00

            GEB Review ballots received, review plan regarding language on objections        0.30
                and email to Mr. Smaha regarding results of plan voting and research on    400.00/hr       120.00
                objections.

10/18/21    GEB Email follow ups with Mr. Smaha and Mr. Linett regarding plan status         0.10
                and success.                                                               400.00/hr        40.00

            GEB Telephone conference with counsel for Banco Popular and emails               0.30
                regarding status of same.                                                  400.00/hr       120.00

            GEB Review objection and revie'.Vc ~mail from Mr. Linett regarding same.         0.20                    _.,.., .-::-..,...i·:<..-<;;•.   '~~~




                                                                                           400.00/hr        80.00

10/19/21    JLS   Confer with Mr. Bravo regarding objection to plan by Banco Popular.        0.20
                                                                                           550.00/hr       110.00

            GEB Emails with Mr. Smaha and Mr. Linett regarding status.                       0.20
                                                                                           400.00/hr        80.00

            GEB Confer with Mr. Smaha regarding objection and status.                        0.20
                                                                                           400.00/hr        80.00

            GEB Review materials and determine obligations by Friday.                        0.10
                                                                                           400.00/hr        40.00

            GEB Revise agreement, pull documents requested and email to Mr. Duffy            0.30
                regarding same.                                                            400.00/hr       120.00

            GEB Email to Mr. Gorrill regarding objections.                                   0.20
                                                                                           400.00/hr        80.00

            GEB Begin work on briefs in support, objections and plan summaries for           0.50
                balloting.                                                                 400.00/hr      200.00

10/20/21    JLS   Emails Mr. Linett regarding plan provisions.                               0.20
                                                                                           550.00/hr       110.00

            JLS   Telephone conference with Mr. Linett regarding specific plan.              0.40
                                                                                           550.00/hr      220.00

            GEB Emails and follow ups with Mr. Smaha and Mr. Linett regarding plan           0.20
                status.                                                                    400.00/hr        80.00

            GEB Email to Ms. Smith regarding report.                                         0.10
                                                                                           400.00/hr       40.00

            GEB Emails with Mr. Gorrill and status of objection.                             0.20
                                                                                           400.00/hr       80.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg.Page
                                                                                                               327 16
                                                           of 364

                                                                                              Hrs/Rate        Amount

10/20/21    GEB Work on brief.                                                                   1.00
                                                                                               400.00/hr       400.00

            GEB Emails with Mr. Gorrill regarding status of plan.                                0.10
                                                                                               400.00/hr        40.00

            GEB Confer with Mr. Smaha regarding status of various items.                         0.20
                                                                                               400.00/hr        80.00

            GEB Work on brief in support of plan.                                                2.10
                                                                                               400.00/hr       840.00

10/21/21    GEB Email to Mr. Hebrank regarding meeting.                                          0.10
                                                                                               400.00/hr        40.00

            GEB Work on revisions to brief.                                                      0.70
                                                                                               400.00/hr       280.00

            GEB Emails regarding visit.                                                          0.20
                                                                                               400.00/hr        80.00

            GEB Continue work on brief.                                                          0.40
                                                                                               400.00/hr       160.00

            GEB Finalize brief in support of plan and declaration of Mr. Linett for filing.      0.90
                                                                                               400.00/hr      360.00

            GEB Prepare summary of ballots.                                                      0.20
                                                                                               400.00/hr        80.00

            GEB Work on opposition to objection.                                                 0.20
                                                                                               400.00/hr       80.00

            GEB Finalize ballot summary documents.                                               0.30
                                                                                               400.00/hr      120.00

            GEB Work on reply to objection.                                                      0.50
                                                                                               400.00/hr      200.00

            GEB Finalize opposition/reply to objection, finalize all documents for plan          1.00
                confirmation.                                                                  400.00/hr      400.00

10/22/21    JLS   Respond to plan questions from Mr. Linett.                                     0.20
                                                                                               550.00/hr      110.00

            JLS   Review and revise plan brief.                                                  0.40
                                                                                               550.00/hr      220.00

            JLS   Review and revise declaration of Dana Linett.                                  0.20
                                                                                               550.00/hr      110.00

            JLS   Review and revise ballot summary.                                              0.20
                                                                                               550.00/hr      110.00
           Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43     Doc 312       Pg.Page
                                                                                                           328 17
                                                           of 364

                                                                                         Hrs/Rate         Amount

10/22/21    JLS   Review and revise Banco Popular response.                                  0.40
                                                                                           550.00/hr       220.00

            JLS   Telephone conference with Mr. Linett regarding plan issues.                0.30
                                                                                           550.00/hr       165.00

            JLS   Finalize all filings for Chapter 11 plan hearing.                          0.40
                                                                                           550.00/hr       220.00

10/25/21    GEB Confirm various filings and log conversations from Friday and weekend.       0.20
                                                                                           400.00/hr        80.00

            GEB Email to Mr. Hebrank regarding status of meetings.                          0.10
                                                                                          400.00/hr         40.00

            GEB Receive and review email regarding status.                                  0.10
                                                                                          400.00/hr         40.00

            GEB Emails looking to set up meeting with Mr. Hebrank.                          0.20
                                                                                          400.00/hr         80.00

            GEB Email to Mr. Linett regarding meeting and status.                           0.10
                                                                                          400.00/ln·       40.00

            GEB Confer with Mr. Smaha and email to Mr. Linett regarding meeting.            0.20
                                                                                          400.00/hr         80.00

            GEB Emails and conference with Mr. Smaha regarding meeting.                     0.20
                                                                                          400.00/hr        80.00

10/26/21    JLS   Conference call Mr. Linett regarding how to implement the plan.           0.60
                                                                                          550.00/hr       330.00

            GEB Email from Mr. Duffy regarding status.                                      0.10
                                                                                          400.00/hr        40.00

            GEB Telephone call to Mr. Duffy regarding status.                               0.10
                                                                                          400.00/hr        40.00

            GEB Confinn telephone call and follow up.                                       0.10
                                                                                          400.00/hr        40.00

            GEB Lengthy telephone conference with Mr. Linett and Mr. Smaha regarding        0.70
                Hebrank meeting and other details.                                        400.00/hr       280.00

            GEB Emails with Mr. Hebrank regarding meeting.                                  0.10
                                                                                          400.00/hr        40.00

10/27/21    GEB Telephone conference with Mr. Line~ regarding meeting with Mr.              0.10
                Hebrank.                                                                  400.00/hr        40.00

            GEB Emails regarding meeting with Mr. Hebrank                                   0.10
                                                                                          400.00/hr        40.00
            Case 19-05831-LA11         Filed 01/11/22       Entered 01/11/22 09:20:43        Doc 312        Pg.Page
                                                                                                                329 18
                                                            of 364

                                                                                             Hrs/Rate           Amount

 10/27/21    GEB Confer with Mr. Linett regarding status of disputes.                            0.20
                                                                                               400.00/hr          80.00

             GEB Email to Mr. Duffy regarding signature on report.                               0.10
                                                                                               400.00/hr          40.00

 10/28/21    GEB Emails with Mr. Duffy and sign off on agreement.                                0.20
                                                                                               400.00/lu·         80.00

             GEB Emails with Mr. Hebrank regarding plan and turnover of documents.               0.30
                                                                                               400.00/hr         120.00

             GEB Begin working on email to Mr. Linett regarding documents requested.             0.20
                                                                                               400.00/lu·         80.00

             GEB Emails with Mr. Linett regarding forbearance and status.                        0.20
                                                                                               400.00/hr          80.00

             GEB Emails with Mr. Linett regarding agreements and other items.                    0.20
                                                                                               400.00/lu·         80.00

 10/29/21    GEB Telephone conference with Mr. Linett and to Mr. Hebrank regarding               0.20
                 status.                                                                       400.00/hr          80.00

             GEB Telephone conference with Mr. Duffy regarding agreement.                        0.10
                                                                                               400.00/hr          40.00
                \
             GEB Emails with Mr. Linett regarding status.                                        0.30
                                                                                               400.00/hr         120.00

            For professional services rendered                                                  26.30        $11,210.00

            Previous balance                                                                                $283,377.50


            Balance due                                                                                     $294,587.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                 Hours       Rate           Amount
JOHN L. SMAHA                                                                         4.60     550.00         $2,530.00
Gustavo Bravo                                                                        21.70     400.00         $8,680.00
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43     Doc 312      Pg. 330
                                                           of 364                                       Page 11

    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                         Hrs/Rate       Amount

11/01/21    JLS    Review of tentative ruling.                                              0.10
                                                                                          550.00/hr       55.00

            GEB Emails from Mr. Linett regarding status.                                    0.20
                                                                                          400.00/hr       80.00

            GEB Begin response to email from Mr. Linett.                                    1.50
                                                                                          400.00/hr      600.00

            GEB Email from court regarding tentative ruling.                                0.20
                                                                                          400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding plan and tentative ruling, email from       0.10
                Mr. Smaha regarding same.                                                 400.00/hr       40.00

            GEB Email to Mr. Linett regardin~ tentative ruling.                             0.10
                                                                                          400.00/hr       40.00

11/02/21    GEB Email from Mr. Linett regarding order and status.                           0.10
                                                                                          400.00/hr       40.00

            GEB Emails with counsel for Banco Popular regarding plan.                       0.20
                                                                                          400.00/hr       80.00

            GEB Email from Mr. Ortiz regarding order.                                       0.10
                                                                                          400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding order and status.                           0.20
                                                                                          400.00/hr       80.00

            GEB Emails regarding hearing, order and status.                                 0.20
                                                                                          400.00/hr       80.00

            GEB Work on email to Mr. Hebrank.                                               0.20
                                                                                          400.00/hr       80.00

            GEB Follow up on items to complete and review list of items to do prior to      0.10
                approval.                                                                 400.00/hr       40.00

            GEB Emails regarding conference with Mr. Linett regarding plan approval.        0.10
                                                                                          400.00/hr       40.00

            GEB Finalize email to Mr. Hebrank and send out.                                 0.10
                                                                                          400.00/hr       40.00

11/03/21    GEB Emails with Mr. Hebrank regarding status.                                   0.10
                                                                                          400.00/hr       40.00

            GEB Emails with Mr. Hebrank regarding transfers.                                0.20
                                                                                          400.00/hr       80.00
           Case 19-05831-LA11        Filed 01/11/22       Entered 01/11/22 09:20:43           Doc 312       Pg. 331
                                                                                                              Page 12
                                                          of 364

                                                                                              Hrs/Rate         Amount

11/03/21    GEB Confer with Mr. Hebrank and set up meeting regarding transfers, confirm           0.10
                hearing requirements.                                                           400.00/hr        40.00

11/04/21    JLS   Review of changes to possible laws affecting grantor trusts, as the same,       0.20
                  might affect the plan implementation.                                         550.00/hr       110.00

            JLS   Phone conference Mr. Linett regarding plan implementation procedures.           0.90
                                                                                                550.00/hr      495.00

            GEB Lengthy conference call with Mr. Smaha regarding updated status.                  0.70
                                                                                                400.00/hr      280.00

            GEB Confirm telephone conference with Mr. Hebrank.                                   0.10
                                                                                               400.00/hr        40.00

11/05/21    GEB Telephone conferences with Mr. Gorrill and Mr. Hebrank regarding status.         0.20
                                                                                               400.00/hr         80.00

            GEB Begin working on orders.                                                         0.30
                                                                                               400.00/hr       120.00

            GEB Continue working on order.                                                       1.20
                                                                                               400.00/hr       480.00

11/08/21    GEB Telephone conference with Mr. Hebrank regarding status.                          1.00
                                                                                               400.00/hr       400.00

            GEB Confer with Mr. Smaha regarding status of plan.                                  0.10
                                                                                               400.00/hr        40.00

            GEB Work on order.                                                                   0.10
                                                                                               400.00/hr       - 40.00

11/09/21    GEB Work on order.                                                                   0.30
                                                                                               400.00/hr       120.00

            GEB Work on confirmation order.                                                      2.10
                                                                                               400.00/hr       840.00

11/10/21    GEB Work on order.                                                                   0.70
                                                                                               400.00/hr       280.00

            GEB Email to Mr. Gorrill regarding status.                                           0.10
                                                                                               400.00/hr        40.00

            GEB Email from Mr. Duffy regarding stipulation.                                      0.10
                                                                                               400.00/hr        40.00

            GEB Emails with Mr. Duffy regarding status.                                          0.10
                                                                                               400.00/hr        40.00

            GEB Work on order.                                                                   1.00
                                                                                               400.00/hr       400.00
           Case 19-05831-LA11         Filed 01/11/22     Entered 01/11/22 09:20:43       Doc 312      Pg. 332
                                                                                                        Page 13
                                                         of 364

                                                                                         Hrs/Rate        Amount

11/10/21    GEB Review file regarding status of documents and other matters pending.        0.20
                                                                                          400.00/hr       80.00

            GEB Emails with Mr. Gorrill regarding changes to plan order.                    0.20
                                                                                          400.00/hr       80.00

11/12/21    JLS   Emails Mr. Linett regarding plan implementation.                          0.10
                                                                                          550.00/hr       55.00

            GEB Emails with Mr. Gorrill, review final changes on order and provide          0.40
                response to Mr. Gorrill regarding same.                                   400.00/hr      160.00

            GEB Work on order for discharge.                                                0.20
                                                                                          400.00/hr       80.00

            GEB Follow up emails and telephone conference with Mr. Gorrill and Mr.          0.20
                Duffy.                                                                    400.00/hr       80.00

            GEB Continue work on order for discharge.                                       0.30
                                                                                          400.00/hr      120.00

            GEB Telephone call to Mr. Gorrill regarding order.                              0.10
                                                                                          400.00/hr       40.00

            GEB Email from Mr. Gorrill regarding final drat of plan order.                  0.10
                                                                                          400.00/hr       40.00

            GEB Final review and approval of order, confer with Mr. Smaha, emails with      0.80
                Mr. Gorrill and put in final form.                                        400.00/hr      320.00

            GEB Finalize order for discharge.                                               0.20
                                                                                          400.00/hr       80.00

            GEB Review documents and other items to prepare grant deed for trust.           0.30
                                                                                          400.00/hr      120.00

            GEB Work on grant deed.                                                         0.80
                                                                                          400.00/hr      320.00

            GEB Receive and review signed order draft and arrange for filing.               0.10
                                                                                          400.00/hr       40.00

            GEB Email to Mr. Gorrill regarding grant deed.                                  0.10
                                                                                          400.00/hr       40.00

11/15/21    GEB Various emails regarding claims and status of plan.                         0.20
                                                                                          400.00/hr       80.00

            GEB Receive notice of minute entry from court and confer with Mr. Smaha,        0.10
                emails with Mr. Koch regarding same.                                      400.00/hr       40.00

            GEB Confirm upload of order and follow up on status.                            0.10
                                                                                          400.00/hr       40.00
           Case 19-05831-LA11        Filed 01/11/22        Entered 01/11/22 09:20:43        Doc 312       Pg. 333
                                                                                                            Page 14
                                                           of 364

                                                                                            Hrs/Rate         Amount

11/16/21     JLS   Confer with Mr. Bravo regarding plan items.                                  0.10
                                                                                              550.00/hr        55.00

            GEB Check on status of order.                                                       0.10
                                                                                              400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status of order.                                0.10
                                                                                              400.00/hr       40.00

11/17/21    JLS    Review of deed for plan implementation.                                      0.10
                                                                                              550.00/hr       55.00

            GEB Telephone call to court regarding status of order.                              0.10
                                                                                              400.00/hr       40.00

            GEB Receive and review orders entered by court.                                     0.20
                                                                                              400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status.                                         0.10
                                                                                              400.00/hr       40.00

            GEB Review emails with Mr. GoITill, confer with Mr. Smaha regarding                 0.70
                quitclaim deed, revise deed, add exemption and emails with Mr. Gorrill        400.00/hr      280.00
                regarding same.

            GEB Email to Mr. Hebrank regarding order.                                           0.10
                                                                                              400.00/hr       40.00

            GEB Emails with Mr. Go1Till regarding timing of signatures.                        0.20
                                                                                             400.00/hr        80.00

            GEB Email with Mr. Gorrill regarding status.                                       0.10
                                                                                             400.00/hr        40.00

            GEB Work on email to Mr. Linett and others.                                        0.20
                                                                                             400.00/hr        80.00

            GEB Finalize email to Mr. Linett and attach various documents.                     0.20
                                                                                             400.00/hr        80.00

            GEB Review pending materials and discuss with client regarding ongoing             0.10
                issues.                                                                      400.00/hr        40.00

            GEB Email from Mr. Hebrank regarding order and status.                             0.10
                                                                                             400.00/hr        40.00

11/18/21    GEB Email from Mr. Hebrank regarding order and status.                             0.10
                                                                                             400.00/hr        40.00

11/19/21    GEB Emails from Mr. Linett regarding status.                                       0.20
                                                                                             400.00/hr        80.00

            GEB Finalize documents, convert for filing and email to Mr. Gorrill regarding      0.20
                signatures.                                                                  400.00/hr        80.00
           Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43        Doc 312      Pg. 334
                                                                                                          Page 15
                                                          of 364

                                                                                           Hrs/Rate        Amount

11/19/21    GEB Telephone call to Mr. Gorrill regarding pending matters.                      0.10
                                                                                            400.00/hr       40.00

11/29/21    JLS   Emails Mr. Linett regarding plan consummation.                              0.20
                                                                                            550.00/hr      110.00

            JLS   Telephone conference with Mr. Linett regarding considerations on            0.30
                  implementation.                                                           550.00/hr      165.00

            GEB Review file, update items and determine dates.                                0.20
                                                                                            400.00/hr       80.00

            GEB Review various emails regarding status of signing off on plan and trust.      0.20
                                                                                            400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status.                                       0.20
                                                                                            400.00/hr       80.00

            GEB Lengthy telephone conference with Mr. Linett regarding agreement on           0.30
                plan and status.                                                            400.00/hr      120.00

            GEB Confer with staff and Mr. Smaha regarding PCOR requirements.                  0.10
                                                                                            400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding confirmation of signatures.                   0.10
                                                                                            400.00/hr       40.00

            GEB Emails with Mr. Hebrank and confer with Mr. Smaha regarding meeting           0.20
                and status.                                                                 400.00/hr       80.00

11/30/21    JLS   Telephone conference with Mr. Hebrank regarding implementation of           0.40
                  plan.                                                                     550.00/hr      220.00

            JLS   Confer w.Jth Mr. Linett regarding final plan implementation.                1.20
                                                                                            550.00/hr      660.00

            GEB Emails regarding status of various pending matters for fmal sign off on       0.20
                trust.                                                                      400.00/hr       80.00

            GEB Confer with Mr. Smaha regarding status of filings and repo1i to court.        0.10
                                                                                            400.00/hr       40.00

            GEB Confer with Mr. Smaha regarding status of plan and other items.               0.10
                                                                                            400.00/hr       40.00

            GEB Meeting with Mr. Smaha and Mr. Linett regarding final decision.               0.50
                                                                                            400.00/hr      200.00

            GEB Rec~ive signed agreements, confer with Mr. Smaha and move on                  0.20
                finalizations.                                                              400.00/hr       80.00

            GEB Emails to Mr. Hebrank and Mr. Gorrill regarding status.                       0.20
                                                                                            400.00/hr       80.00
            Case 19-05831-LA11         Filed 01/11/22      Entered 01/11/22 09:20:43          Doc 312      Pg. 335
                                                                                                              Page 16
                                                           of 364

                                                                                              Hrs/Rate         Amount

 11/30/21    GEB Receive fully signed agreement and follow up with staff and others              0.20
                 regarding status.                                                             400.00/hr         80.00

             GEB Draft status report and arrange for filing.                                     0.30
                                                                                               400.00/hr        120.00

             GEB Telephone conference with Mr. Gorrill regarding plan and fee                    0.20
                 applications.                                                                 400.00/hr         80.00

             GEB Email to Ms. Smith regarding further actions with trust.                        0.10
                                                                                               400.00/hr         40.00

            For professional services rendered                                                  26.20       $11,020.00

            Previous balance                                                                               $294,587.50


            Balance due                                                                                    $305,607.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                    Attorney Summary
Name                                                                                  Hours       Rate        Amount
JOHNL. SMAHA                                                                           3.60     550.00       $1,980.00
Gustavo Bravo                                                                         22.60     400.00       $9,040.00
      Case 19-05831-LA11             Filed 01/11/22       Entered 01/11/22 09:20:43         Doc 312      Pg. 336
                                                          of 364                                          Page 13


    In Reference To:          PLAN & DISCLOSURE STATEMENT


           Professional Services

                                                                                            Hrs/Rate       Amount

12/01/21   GEB Work on email to Mr. Hebrank and finalize.                                      0.50
                                                                                             400.00/hr     200.00

12/02/21   GEB Review pending matters for plan performance and confer with Mr. Smaha.          0.10
                                                                                             400.00/hr      40.00

           GEB Emails with Ms. Chiang regarding status of taxes and tax returns, confer        0.40
               with Mr. Smaha and discuss remaining.                                         400.00/hr     160.00

           GEB Prepare for and attend hearing on objection to claim.                           1.00
                                                                                             400.00/hr     400.00

12/03/21   GEB Receive and review minute order and follow up with Mr. Smaha.                   0.20
                                                                                             400.00/hr      80.00

12/06/21   GEB Email to Mr. Hebrank regarding status.                                          0.20
                                                                                             400.00/hr      80.00

           GEB Telephone calls to Mr. Linett and Mr. Hebrank regarding progress.               0.20
                                                                                             400.00/hr      80.00

           GEB Email to Mr. Linett regarding update on various matters.                        0.30
                                                                                             400.00/hr     120.00

12/07/21   GEB Email from Mr. Linett regarding status of various pending plan                  0.20
               confirmation issues.                                                          400.00/hr      80.00

           GEB Follow up telephone calls on various pending matters.                           0.20
                                                                                             400.00/hr      80.00

12/08/21   GEB Telephone conference with Mr. Linett regarding status of dispute.               0.20
                                                                                             400.00/hr      80.00

           GEB Emails with Mr. Linett regarding various ongoing questions and issues.          0.50
                                                                                             400.00/hr     200.00

12/09/21   GEB Emails from Mr. Linett regarding status of various concerns and email           0.40
               follow up regarding pending matters.                                          400.00/hr     160.00

           GEB Emails with Mr. Linett regarding claims for set off and other items.            0.20
                                                                                             400.00/hr      80.00

12/10/21   GEB Confer with Mr. Smaha regarding status and various other pending                0.20
               matters.                                                                      400.00/hr      80.00

12/13/21    JLS    Emails regarding coordination on information transfers to Mr. Hebrank.      0.10
                                                                                             550.00/hr      55.00

12/14/21   GEB Email from Mr. Linett regarding status.                                         0.20
                                                                                             400.00/hr      80.00
       Case 19-05831-LA11             Filed 01/11/22    Entered 01/11/22 09:20:43             Doc 312       Pg. 337
                                                        of 364                                                Page 14


                                                                                              Hrs/Rate         Amount

 12/14/21    GEB Emails with Mr. Linett regarding various pending items and cooperation          0.20
                 with Mr. Hebrank.                                                             400.00/hr         80.00

 12/20/21    JLS   Review of email from Mr. Linett on plan implementation.                       0.20
                                                                                               550.00/hr        110.00

 12/21/21   GEB Telephone call and email to Mr. Linett regarding various questions.              0.10
                                                                                               400.00/hr         40.00

            For professional services rendered                                                   5.60        $2,285.00

            Previous balance                                                                               $305,607.50


            Balance due                                                                                    $307,892.50


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                 Attorney Summary
Name                                                                                  Hours       Rate -~A-m~ou=n~t
JOHN L. SMAHA                                                                          0.30     550.00         $165.00
Gustavo Bravo                                                                          5.30     400.00       $2,120.00
   Case 19-05831-LA11               Filed 01/11/22         Entered 01/11/22 09:20:43      Doc 312     Pg. 338
                                                           of 364


                                                 RELIEF FROM STAY


         JLS                        GEB                    JPT               KMF
MONTH    HR                         HR                     HR                 HR                         TOTAL
INCURRED $550     JLS Fee           $400     GEBFee        $325     JPTFee   $450    KMFFee   TOTAL FEES HOURS
Jan-21     0.00   $         -        0.30    $    120.00     0.00   $    -    0.00  $     -   $   120.00             0.30
Feb-21     0.00   $         -        0.00    $        -      0.00   $    -    0.00  $     -   $        -             0.00
Mar-21     0.00   $         -        0.00    $        -      0.00   $    -    0.00  $     -   $        -             0.00
Apr-21     0.00   $         -        0.00    $        -      0.00   $    -    0.00  $     -   $        -             0.00
May-21     0.00   $         -        0.00    $        -      0.00   $    -    o.oo[ $     -   $        -             0.00
Jun-21     0.00   $         -        0.00    $        -      0.00   $    -    0.00 $      -   $        -             0.00
Jul-21     0.00   $         -        0.00    $        -      0.00   $    -    0.00 $      -   $        -             0.00
Aug-21     0.00   $         -        0.00    $        -      0.00   $    -    0.00 $      -   $        -             0.00
Sep-21     0.00   $         -        0.20    $     80.00     0.00   $    -    0.00 $      -   $     80.00            0.20
Oct-21     0.00   $         -        0.10    $     40.00     0.00   $    -    0.00 $      -   $     40.00            0.10
Nov-21     0.00   $         -        0.001   $        -      0.00   $    -    0.00 $      -   $        -             0.00
TOTALS:    0.00   $         -   I    0.60    $    240.00     0.00   $    -    0.00 $      -   $   240.00 I           0.60




                                                                                                            Linett
           Case 19-05831-LA11          Filed 01/11/22      Entered 01/11/22 09:20:43             Doc 312      Pg. 339
                                                                                                               Page 20
                                                           of 364
     In Reference To:          RELIEF FROM STAY PROCEEDINGS


           Professional Services

                                                                                                 Hrs/Rate       Amount

01/20/21    GEB Email from counsel for bank regarding relief to go after other entity.              0.10
                                                                                                  400.00/hr       40.00

01/29/21    GEB Emails with counsel for US Bank regarding request for stipulation for               0.20
                relief from stay.                                                                 400.00/hr       80.00

           For professional se1vices rendered                                                        0.30       $120.00


           Balance due                                                                                          $120.00


Please make checks payable to: Smaha Law Group


Thank you for your business.


                                                 Attorney Smmnary
Name                                                                                     Hours       Rate -~A~m~o=un~t
Gustavo Bravo                                                                             0.30     400.00      $120.00
             Case 19-05831-LA11         Filed 01/11/22   Entered 01/11/22 09:20:43           Doc 312      Pg.Page
                                                                                                              340 22
                                                         of 364
     In Reference To:           RELIEF FROM STAY PROCEEDINGS


             Professional Services

                                                                                             Hrs/Rate        Amount

09 /3 0/21    GEB Review State Comi docket regarding notice of stay and review fee              0.20
                  motion, email to Mr. Smaha regarding pending stay.                          400.00/hr        80.00

             For professional services rendered                                                  0.20         $80.00

             Previous balance                                                                                $120.00


             Balance due                                                                                     $200.00


Please make.~h~cks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                 Hours       Rate _ _A_m~ou=n~t
Gustavo Bravo                                                                         0.20     400.00        $80.00
            Case 19-05831-LA11         Filed 01/11/22    Entered 01/11/22 09:20:43           Doc 312          Pg.Page
                                                                                                                  341 19
                                                         of 364
     In Reference To:          RELIEF FROM STAY PROCEEDINGS


            Professional Services

                                                                                             Hrs/Rate                 Amount

 10/05/21    GEB Confer with Mr. Smaha regarding potential relief from stay order.               0.10
                                                                                               400.00/hr                  40.00

            For professional services rendered                                                   0.10                   $40.00

            Previous balance                                                                                         $200.00


            Balance due                                                                                              $240.00


Please make checks payable to: Smaha Law Group


Thank you for your business.




                                                   Attorney Summary
Name                                                                                 Hours       Rate ----=A""'m:..a..:.:;o=un'"'""t
Gustavo Bravo                                                                         0.10     400.00                  $40.00
Case 19-05831-LA11   Filed 01/11/22   Entered 01/11/22 09:20:43   Doc 312   Pg. 342
                                      of 364




       EXHIBIT C
                         Case 19-05831-LA11             Filed 01/11/22             Entered 01/11/22 09:20:43                Doc 312             Pg. 343
                                                                                   of 364
                                                                                   COSTS

                                                                     SERVICE                              LEGAL                 OUTSIDE
MONTH/                                    OVERNIGHT     FILING          OF                               RESEARCH               COl'Y   DOCUMENT         DEPOSITION        TOTAL
YEAil      COl'IES      FAX       POSTAGE DELIVERY       FEES        l'ROCESS MESSENGER     PACER         COPIES DropBox        SERVICE PRODUCTION       TRANSCRIPTS       COSTS


Apr-20     $   73.80    $     - $      30.60    $   -   $       -     $    -   $       - $       0.50     $     -   $      -     $     -    $        -    $            - $     104.90

IViay-20   $   16.80    $     - $       4.32    $   -   $       -     $    -   $       - $       1.00     $     -   $      -     $     -    $        -    $            - $     22.12

Jun-20     $   11.40    $     - $       3.12    $   -   $       -     $    -   $       -    $       -     $     -   $      -     $     -    $        -    $            -   $    14.52

Jul-20     $   53.80    $     - $       4.44    $   -   $       -     $    -   $       - $       0.90     $     -   $      -     $     -    $        -    $            -   $    59.14

Aug-20     $ 125.00     $     - $      48.30    $   -   $       -     $    -   $       -    $       -     $     -   $      -     $     -    $        -    $            - $     173.30

Sep-20     $       -    $     - $      18.20    $   -   $       -     $    -   $       -    $    2.30     $     -   $      -     $     -    $        -    $            - $      20.50

Oct-20     $   36.20    $     - $        0.60   $   -   $       -     $    -   $       -    $       -     $     -   $      -     $     -    $        -    $            - $      36.80

Nov-20     $    8.80    $     -    $       -    $   -   $       -     $    -   $       - $      28.40     $     -   $      -     $     -    $        -    $            - $      37.20

Dec-20     $   28.40    $     - $        1.56   $   -   $       -     $    -   $       - $      12.10     $     -   $      -     $     -    $        -    $            -   $    42.06

Jan-21     $    5.40    $     -    $       -    $   -   $       -     $    -   $       - $      10.30     $     -   $      -     $     -    $        -    $            - $      15.70

Feb-21     $   33.80    $     - $        1.46   $   -   $       -     $    -   $       - $      19.10     $     -   $      -     $     -    $        -    $            - $      54.36

Mar-21     $   20.20    $     - $        6.82   $   -   $       -     $    -   $       -    $    3.40     $     -   $      -     $     -    $        -    $            - $      30.42

Apr-21     $   10.20    $     - $        2.53   $   -   $       -     $    -   $       - $       2.20     $     -   $      -     $     -    $        -    $            - $      14.93

May-21     $   26.80    $     -   $      2.16   $   - $       4.00    $    -   $       -    $       -     $     - $     45.00    $     -    $        -    $            - $      77.96

Jun-21     $ 181.40     $     -   $     41.76   $   -   $        -    $    -   $       -    $       -     $     - $     45.00    $   4.00   $        -    $            - $     272.16

Jul-21     $   17.80    $     - $        4.08   $   -   $        -    $    -   $       -    $    1.90     $     -   $      -     $     -    $        -    $            - $      23.78

Aug-21     $   84.00    $     - $       31.25   $   -   $        -    $    -   $       -    $       -     $     -   $      -     $     -    $        -    $            - $     115.25

Sep-21     $ 627.00     $     - $      178.40   $   -   $        -    $    -   $       - $      20.80     $     -   $      -     $     -    $        -    $            - $     826.20

Oct-21     $   15.80    $     - $        3.98   $   -   $        -    $    -   $       - $      14.00     $     -   $      -     $     -    $        -    $            - $      33.78

Nov-21     $   13.80    $     -    $       -    $   -   $        -    $    -   $       - $      18.00     $     -   $      -     $     -    $        -    $            - $      31.80

Dec-21     $    7.00    $     - $        6.13   $   - $     115.00    $    -   $       - $       2.80     $     -   $      -     $     -    $        -    $            -   $   130.93

TOTALS:    $ 1,397.40   $     -   $    389.71   $   -   $   119.00    $    -   $        -   $   137.70    $     -   $   90.00 $      4.00   $        -    $            -   $ 2,137.81




                                                                                                                                                                                 Linet!
          Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312   Pg. 344
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA 92067


 In Reference To: Chapter 11 Costs
 Invoice # 45132

          Additional Charges :

                                                                                                        Amt.

Access PACER Bankruptcy Court information.                                                            0.50
Postage charges.                                                                                     30.60
Copy charges at $.20 each.                                                                           73.80
          Total additional charges                                                                $104.90

          Previous balance                                                                       $1,867.99


          Balance due                                                                            $1,972.89



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11             Filed 01/11/22      Entered 01/11/22 09:20:43               Doc 312   Pg. 345
                                                            of 364
                                                           Smaha Law Group
                                                        2398 San Diego Avenue
                                                         San Diego, CA 92110
                                                      Federal Tax I.D. XX-XXXXXXX
                                                              (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX 3507
 Rancho Santa Fe, CA 92067

                                                                                             June 05, 2020
 In Reference To: Chapter 11 Costs
 Invoice# 45372

          Additional Charges :

                                                                                                                        Amt.

Access PACER Bankruptcy Court information.                                                                               1.00
Postage charges.                                                                                                         4.32
Copy charges at $;20 each.                                                                                              16.80
          Total additional charges                                                                                  $22.12

          Previous balance                                                                                        $1,972.89

          Accounts receivable transactions

 6/5/2020 Payment on account from funds held in trust according to 5/29/20 court approved application for        ($1,867.99)
          compensation. Thank You!

          Total payments and adjustments                                                                         ($1,867.99)


          Balance due                                                                                              $127.02



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43    Doc 312   Pg. 346
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA 92067

                                                                               July 6, 2020
 In Reference To: Chapter 11 Costs
 Invoice# 45561

          Additional Charges :

                                                                                                         Amt.

Postage charges.                                                                                          3.12
Copy charges at $.20 each.                                                                               11.40
          Total additional charges                                                                   $14.52

          Previous balance                                                                          $127.02


          Balance due                                                                               $141.54



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312    Pg. 347
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 POBOX3507
 Rancho Santa Fe, CA 92067

                                                                               August10,2020
 In Reference To: Chapter 11 Costs
 Invoice #45756

          Additional Charges :

                                                                                                         Amt.

Access PACER Bankruptcy Court information.                                                             0.90
Postage charges.                                                                                       4.44
Copy charges at $.20 each.                                                                            53.80
          Total additional charges                                                                   $59.14

          Previous balance                                                                          $141.54


          Balance due                                                                               $200.68



Please make checks payable to: Smaha Law Group


Thank you for your business.
          Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312        Pg. 348
                                                         of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX 3507
 Rancho Santa Fe, CA 92067

                                                                               September 4, 2020
 In Reference To: Chapter 11 Costs
 Invoice# 45955

          Additional Charges :

                                                                                                             Amt.

Postage charges.                                                                                          48.30
Copy charges at $.20 each.                                                                               125.00
          Total additional charges                                                                     $173.30

          Previous balance                                                                              $200.68


          Balance due                                                                                  $373.98



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312       Pg. 349
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA 92067

                                                                               October 07, 2020
 In Reference To: Chapter 11 Costs
 Invoice #46159

          Additional Charges :

                                                                                                            Amt.

Access PACER Banlauptcy CoU1i information                                                                    2.30
Copy charges at $.20 each.                                                                                  18.20
          Total additional charges                                                                      $20.50

          Previous balance                                                                             $373.98


          Balance due                                                                                  $394.48



Please make checks payable to: Smaha Law Group


Thank you for yom business.
          Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312    Pg. 350
                                                         of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA 92067

                                                                               November 06, 2020
 In Reference To: Chapter 11 Costs
 Invoice # 46354

          Additional Charges :

                                                                                                         Amt.

Postage charges.                                                                                       0.60
Copy charges at $.20 each.                                                                            36.20
          Total additional charges                                                                   $36.80

          Previous balance                                                                          $394.48


          Balance due                                                                               $431.28



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312    Pg. 351
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX 3507
 Rancho Santa Fe, CA 92067

                                                                               December 08, 2020
 In Reference To: Chapter 11 Costs
 Invoice# 46543

          Additional Charges :

                                                                                                         Amt.

Access PACER Bankruptcy Court information                                                                28.40
Copy charges at $.20 each.                                                                                8.80
          Total additional charges                                                                   $37.20

          Previous balance                                                                          $431.28


          Balance due                                                                               $468.48



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312       Pg. 352
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA 92067

                                                                               January 07, 2021
 In Reference To: Chapter 11 Costs
 Invoice# 46733

          Additional Charges :

                                                                                                            Amt.

Access PACER Bankruptcy Court information.                                                               12.10
Copy charges at $.20 each.                                                                               28.40
Postage charges.                                                                                          1.56
          Total additional charges                                                                      $42.06

          Previous balance                                                                             $468.48


          Balance due                                                                                  $510.54



Please make checks payable to: Smaha Law Group


Thank you for your business.
          Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43    Doc 312       Pg. 353
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA-92067

                                                                               February 04, 2021
 In Reference To: Chapter 11 Costs
 Invoice #46923

          Additional Charges :

                                                                                                             Amt.

Access PACER Bankruptcy Court infonnation.                                                               10.30
Copy charges at $.20 each.                                                                                5.40
          Total additional charges                                                                      $15.70

          Previous balance                                                                             $510.54


          Balance due                                                                                  $526.24



Please make checks payable to: Smaha Law Group


Thank you for your business.
          Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312     Pg. 354
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 POBOX3507
 Rancho Santa Fe, CA 92067

                                                                               March 05, 2021
 In Reference To: Chapter 11 Costs
 Invoice #47116

          Additional Charges :

                                                                                                          Amt.

Access PACER Bankruptcy Court information.                                                             19.10
Postage charges.                                                                                        1.46
Copy charges at $.20 each.                                                                             33.80
          Total additional charges                                                                    $54.36

          Previous balance                                                                           $526.24


          Balance due                                                                                $580.60



Please make checks payable to: Smaha Law Group


Thank you for your business.
          Case 19-05831-LA11          Filed 01/11/22   Entered 01/11/22 09:20:43     Doc 312    Pg. 355
                                                       of 364
                                                     Srnaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                       (619) 688-1557
 Invoice submitted to:

 Mr. DanaLinett
 PO BOX3507
 Rancho Santa Fe, CA 92067

                                                                               April 05, 2021
 In Reference To: Chapter 11 Costs
 Invoice #47316

          Additional Charges :

                                                                                                          Amt.

Access PACER Bankruptcy Court information.                                                             3.40
Postage charges.                                                                                       6.82
Copy charges at $.20 each.                                                                            20.20
          Total additional charges                                                                   $30.42

          Previous balance                                                                          $580.60


          Balance due                                                                               $611.02



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312   Pg. 356
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX 3507
 Rancho Santa Fe, CA 92067

                                                                               May 07, 2021
 In Reference To: Chapter 11 Costs
 Invoice #47512

          Additional Charges :

                                                                                                        Amt.

Access PACER Bankruptcy Court information.                                                            2.20
Postage charges.                                                                                      2.53
Copy charges at $.20 each.                                                                           10.20
          Total additional charges                                                                  $14.93

          Previous balance                                                                         $611.02


          Balance due                                                                              $625.95



Please make checks payable to: Smaha Law Group


Thank you for your business.
          Case 19-05831-LA11             Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312    Pg. 357
                                                           of 364
                                                          Smaha Law Group
                                                      2398 San Diego Avenue
                                                       San Diego, CA 92110
                                                    Federal Tax I.D. XX-XXXXXXX
                                                           (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX 3507
 Rancho Santa Fe, CA 92067

                                                                                  June 04, 2021
 In Reference To: Chapter 11 Costs
 Invoice# 47698

          Additional Charges :

                                                                                                            Amt.

Drop box fee.                                                                                            45.00
Filing fees, County of San Diego order for deeds.                                                         4.00
Postage charges.                                                                                          2.16
Copy charges at $.20 each.                                                                               26.80
          Total additional charges                                                                      $77.96

           Previous balance                                                                            $625.95


           Balance due                                                                                 $703.91



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11             Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312   Pg. 358
                                                           of 364
                                                         Smaha Law Group
                                                    2398 San Diego Avenue
                                                     San Diego, CA 92110
                                                  Federal Tax I.D. XX-XXXXXXX
                                                          (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX 3507
 Rancho Santa Fe, CA 92067

                                                                                July 06, 2021
 In Reference To: Chapter 11 Costs
 Invoice #47872

          Additional Charges :

                                                                                                          Amt.

Drop box fee.                                                                                          45.00
Outside copy service, County of SD deeds order.                                                         4.00
Postage charges.                                                                                       41.76
Copy charges at $.20 each.                                                                            181.40
          Total additional charges'                                                                 $272.16

          Previous balance                                                                           $703.91


          Balance due                                                                                $976.07



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43    Doc 312      Pg. 359
                                                       of 364
                                                      Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 9211 O
                                                 Federal Tax I.D. XX-XXXXXXX
                                                       (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA 92067

                                                                               August 05, 2021
 In Reference To: Chapter 11 Costs
 Invoice #48042

          Additi\mal Charges :

                                                                                                           Amt.

Access PACER Bankruptcy Court infonnation.                                                                  1.90
Postage charges.                                                                                            4.08
Copy charges at $.20 each.                                                                                 17.80
          Total additional charges                                                                     $23.78

          Previous balance                                                                            $976.07


          Balance due                                                                                 $999.85



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312    Pg. 360
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX 3507
 Rancho Santa Fe, CA 92067

                                                                               September 07, 2021
 In Reference To: Chapter 11 Costs
 Invoice #48122

          Additional Charges :

                                                                                                         Amt.

Postage charges.                                                                                         31.25
Copy charges at $.20 each.                                                                               84.00
          Total additional charges                                                                   $115.25

          Previous balance                                                                           $999.85


          Balance due                                                                               $1,115.10



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11          Filed 01/11/22    Entered 01/11/22 09:20:43    Doc 312       Pg. 361
                                                       of 364
                                                      Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                       (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA 92067

                                                                               October 06, 2021
 In Reference To: Chapter 11 Costs
 Invoice# 48402

          Additional Charges :

                                                                                                            Amt.

Access PACER Bankruptcy Court information.                                                               20.80
Postage charges.                                                                                        178.40
Copy charges at $.20 each.                                                                              627.00
          Total additional charges                                                                     $826.20

          Previous balance                                                                            $1,115.10


          Balance due                                                                                 $1,941.30



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312    Pg. 362
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 POBOX3507
 Rancho Santa Fe, CA 92067

                                                                               November 08, 2021
 In Reference To: Chapter 11 Costs
 Invoice #48596

          Additional Charges :

                                                                                                         Amt.

Access PACER Bankruptcy Court information.                                                             14.00
Copy/Print charges at $.20 each.                                                                       15.80
Postage charges.                                                                                        3.98
          Total additional charges                                                                   $33.78

          Previous balance                                                                         $1,941.30


          Balance due                                                                              $1,975.08



Please make checks payable to: Smaha Law Group


Thank you for your business.
         Case 19-05831-LA11           Filed 01/11/22    Entered 01/11/22 09:20:43   Doc 312    Pg. 363
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 PO BOX3507
 Rancho Santa Fe, CA.92067

                                                                               December 06, 2021
 In Reference To: Chapter 11 Costs
 Invoice #48783

          Additional Charges :

                                                                                                         Amt.

Access PACER Bankruptcy Court information.                                                               18.00
Copy charges at $.20 each.                                                                               13.80
          Total additional charges                                                                   $31.80

          Previous balance                                                                         $1,975.08


          Balance due                                                                              $2,006.88



Please make checks payable to: Smaha Law Group


Thank you for your business.
       Case 19-05831-LA11             Filed 01/11/22    Entered 01/11/22 09:20:43    Doc 312     Pg. 364
                                                        of 364
                                                       Smaha Law Group
                                                   2398 San Diego Avenue
                                                    San Diego, CA 92110
                                                 Federal Tax I.D. XX-XXXXXXX
                                                        (619) 688-1557
 Invoice submitted to:

 Mr. Dana Linett
 POBOX3507
 Rancho Santa Fe, CA 92067

                                                                               January 6, 2022
  In Reference To: Chapter 11 Costs
  Invoice # 48870

          Additional Charges :

                                                                                                       Amt.

 Access PACER Bankruptcy Court infom1ation.                                                             2.80
 Recording fees.                                                                                      115.00
·Postage charges.                                                                                       6.13
 Copy charges at $.20 each.                                                                             7.00
          Total additional charges                                                                  $130.93

          Previous balance                                                                         $2,006.88


          Balance due                                                                              $2,137.81



Please make checks payable to: Smaha Law Group


Thank you for your business.
